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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                        Chapter 11

    EBIX, INC., et al. 1                                          Case No. 23-80004 (SWE)

                              Debtors.                            (Jointly Administered)


                             SCHEDULES OF ASSETS AND LIABILITIES
                             OF DEBTOR EBIX, INC. (CASE NO. 23-80004)




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are: Ebix, Inc. (1975), Vertex, Incorporated (6295), P.B. Systems, Inc. (9074), Ebix
      Consulting, Inc. (6666), Ebix US, LLC (N/A), Facts Services, Inc. (1348), Doctors Exchange, Inc. (N/A), Ebix
      International LLC (N/A), Agency Solutions.com, LLC d/b/a/ Health Connect LLC (N/A), ConfirmNet
      Corporation (2737), A.D.A.M., Inc. (8070), and Ebix Latin America, LLC (N/A). The Debtors’ mailing address
      is 1 Ebix Way, Johns Creek, Georgia 30097.
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and Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


    In re:                                                       Chapter 11

    EBIX, INC., et al. 1                                         Case No. 23-80004 (SWE)

                            Debtors.                             (Jointly Administered)


        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Ebix, Inc. (1975), Vertex, Incorporated (6295), P.B. Systems, Inc. (9074), Ebix Consulting,
Inc. (6666), Ebix US, LLC (N/A), Facts Services, Inc. (1348), Doctors Exchange, Inc. (N/A), Ebix International LLC
(N/A), Agency Solutions.com, LLC d/b/a/ Health Connect LLC (N/A), ConfirmNet Corporation (2737), A.D.A.M.,
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      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        On December 17, 2023 (the “Petition Date”), Ebix, Inc. and its affiliated debtors in the
above-captioned chapter 11 cases (each a “Debtor” and, collectively, the “Debtors”) commenced
voluntary cases (the “Chapter 11 Cases”) under chapter 11 of title 11, United States Code, §§ 101
et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern District
of Texas (the “Court”).

       The Debtors continue to operate their businesses and manage their properties as debtors
and debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
administered under case number 23-80004 (SWE).

        The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) were prepared pursuant to section 521 of the Bankruptcy Code and rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of
the Debtors with unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of, each of the
Debtors’ Schedules and Statements and should be referred to in connection with any review of the
Schedules and Statements. Disclosure of information in one Schedule or Statement, even if
incorrectly placed, shall be deemed to be disclosed in the correct Schedule or Statement.

      The Schedules and Statements and these Global Notes should not be relied upon by
any persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

1.     Reservation of Rights. The Debtors’ Chapter 11 Cases are large and complex. The
Debtors’ management has made every reasonable effort to ensure that the Schedules and
Statements are as accurate and complete as possible, based on the information that was available
to them at the time of preparation.

       Subsequent information or discovery may result in material changes to these Schedules
and Statements, and inadvertent errors or omissions may have occurred. As the Schedules and
Statements contain unaudited information, which is subject to further review, verification, and
potential adjustment, there can be no assurance that these Schedules and Statements are accurate
and/or complete. Accordingly, the Debtors reserve all rights to supplement and amend the
Schedules and Statements.

2.      Limitation of Liability. The Debtors and their officers, employees, agents, attorneys, and
financial advisors do not guarantee or warrant the accuracy, completeness, or correctness of the
data that is provided herein and shall not be liable for any loss or injury arising out of or caused,
in whole or in part, by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information


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contained herein. In no event shall the Debtors or their officers, employees, agents, attorneys, and
financial advisors be liable to any third party for any direct, indirect, incidental, consequential, or
special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused.

3.      No Waiver. Nothing contained in the Schedules and Statements, or these Global Notes
shall constitute an admission or a waiver of rights with respect to these Chapter 11 Cases,
including, but not limited to, any issues involving substantive consolidation for plan purposes,
subordination, and/or causes of action arising under the provisions of Chapter 5 of the Bankruptcy
Code and other relevant non-bankruptcy laws to recover assets or avoid transfers. For the
avoidance of doubt, listing a claim on Schedule D as “secured,” on Schedule E as “priority,” on
Schedule F as “unsecured priority,” or listing a contract or lease on Schedule G as “executory” or
“unexpired,” does not constitute an admission by the Debtors of the legal rights of the claimant
and/or contractual counterparty, or a waiver of a Debtors’ right to recharacterize or reclassify such
claim or contract. Failure to designate a claim on a given Debtor’s Schedules as “disputed,”
“contingent,” or “unliquidated” does not constitute an admission by the Debtors that such amount
is not “disputed,” “contingent,” or “unliquidated” or that such claim is not subject to objection.
The Debtors reserve their respective rights to dispute, or assert offsets, setoffs, or defenses to, any
claim reflected on the Schedules as to the nature, amount, liability, or status or to otherwise
subsequently designate any claim as disputed, contingent, and/or unliquidated.

4.       Basis of Presentation. For financial reporting purposes, the Debtors prepare consolidated
financial statements and have done so since conception. The Schedules and Statements are
unaudited and reflect the Debtors’ reasonable efforts to report certain financial information of each
Debtor on an unconsolidated basis. These Schedules and Statements do not purport to represent
financial statements prepared in accordance with Generally Accepted Accounting Principles in the
United States (“GAAP”). The Debtors used reasonable efforts to attribute the assets and liabilities
to each particular Debtor entity. However, because the Debtors’ accounting systems, policies, and
practices were developed for consolidated reporting purposes rather than for reporting by legal
entity, it is possible that not all assets and liabilities have been recorded with the correct legal entity
on the Schedules and Statements. Moreover, the Debtors have never considered their accounting
and operating practices to assume separate legal entities; therefore, it is possible intercompany
balances between legal entities may vary materially. Accordingly, the Debtors reserve all rights
to supplement and amend the Schedules and Statements in this regard, including with respect to
reallocation of assets or liabilities to any particular entity.

5.      Amendment. Reasonable efforts have been made to prepare and file complete and
accurate Schedules and Statements. Despite these efforts, inadvertent errors or omissions may
exist. The Debtors reserve all rights to, but are not required to, amend or supplement, or both, the
Schedules and Statements from time to time as is necessary and appropriate.

6.      Recharacterization. The Debtors have made reasonable efforts to correctly characterize,
classify, categorize, and designate assets, liabilities, executory contracts, unexpired leases, and
other items reported in the Schedules and Statements. However, due to the complexity and size
of the Debtors’ business and operations, the Debtors may have improperly characterized,


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classified, categorized, or designated certain items. In addition, certain items reported in the
Schedules and Statements could be included in more than one category. In those instances, one
category has been chosen to avoid duplication. Further, the designation of a category is not meant
to be wholly inclusive or descriptive of the rights or obligations represented by such item. The
Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or redesignate items
reported in the Schedules and Statements as necessary or appropriate as additional information
becomes available, including, without limitation, whether contracts or leases listed herein were
deemed executory or unexpired as of the Petition Date and remain executory and unexpired
postpetition.

7.      Reporting Date. Unless otherwise noted on the specific responses, the Schedules and
Statements generally reflect the Debtors’ books and records as of the close of business on the
Petition Date. The liability values are as of the Petition Date and may have been adjusted for
authorized payments made under the First Day Orders (as defined below).

8.       Cash Management System. The Debtors use a consolidated cash management system
through which the Debtors collect substantially all receipts and pay liabilities and expenses. As a
result, certain payments in the Schedules and Statements may have been made prepetition by one
entity on behalf of another entity through the operation of the consolidated cash management
system. The Debtors’ prepetition cash management system is described in the Debtors’
Emergency Motion For Entry of an Order (I) Authorizing the Debtors to (A) Continue to Operate
Their Cash Management System and Maintain Existing Bank Accounts and (B) Continue to
Perform Intercompany Transactions and (II) Granting Related Relief [Docket No. 5].

9.      Currency. All amounts are reflected in U.S. dollars, which the Debtors use as their
reporting currency.

10.     Estimates and Assumptions. The preparation of the Schedules and Statements required
the Debtors to make estimates and assumptions that affected the reported amounts of certain assets
and liabilities, the disclosure of certain contingent assets and liabilities, and the reported amounts
of revenue and expense. Actual results could differ materially from these estimates. The Debtors
reserve the right to amend the reported amounts of assets, liabilities, revenues, and expenses to
reflect changes in those estimates or assumptions.

11.     Totals. All totals that are included in the Schedules and Statements represent totals of all
known amounts. To the extent there are unknown or undetermined values or, conversely, claims
listed as unliquidated, contingent and/or disputed, the actual totals may be different than the listed
totals.

12.    Undetermined, To be Determined or Unknown Amounts. The description of an amount
as “undetermined,” “to be determined,” or “unknown” is not intended to reflect upon the
materiality of such amount. Certain amounts may be clarified during the Chapter 11 Cases.

13.     Asset Presentation and Valuation. The Debtors’ assets presented are based on values
consistent with their books and records as of 12/31/2023. These values do not purport to represent
the ultimate value that would be received in the event of a sale and may not represent economic


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value as determined by an appraisal or other valuation technique. As it would be prohibitively
expensive and an inefficient use of estate assets for the Debtors to obtain current economic
valuations for all of their assets, unless otherwise noted, the carrying value on the Debtors’ books
(e.g., net book value), rather than current economic values, is reflected on the Schedules and
Statements. Additionally, amounts ultimately realized may differ materially from net book value
(or whatever value was ascribed). Certain depreciable assets with a net book value of zero ($0)
may also be included for completeness. The Debtors have not performed an analysis of impairment
of fixed assets, goodwill, or other intangibles. The Debtors do not intend to amend these Schedules
and Statements to reflect actual values.

14.     Contingent Assets and Causes of Action. Despite their reasonable efforts to identify all
known assets, the Debtors may not have listed all of their causes of action or potential causes of
action against third parties as assets in their Schedules and Statements, including, but not limited
to, avoidance actions arising under Chapter 5 of the Bankruptcy Code and actions under other
relevant non-bankruptcy laws to recover assets. The Debtors reserve all of their rights with respect
to any causes of action, avoidance actions, controversy, right of set-off, cross claim, counterclaim,
or recoupment, and any claim in connection with any contract, breach of duty imposed by law or
in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
judgment, account, defense, power, privilege, license, and franchise of any kind or character
whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertible
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
in law or in equity, or pursuant to any other theory of law they may have, and neither these Global
Notes nor the Schedules and Statements shall be deemed a waiver of any such claims, causes of
actions, or avoidance actions or in any way prejudice or impair the assertion of such claims.

15.     Payment of Prepetition Claims Pursuant to First Day Orders. Following the Petition
Date, the Court entered certain orders (the “First Day Orders”) authorizing, but not directing, the
Debtors to, among other things, pay certain (a) insurance obligations; (b) employee wages,
salaries, additional compensation, contractor obligations, and employee benefit programs;
(c) taxes and fees; (d) utilities; (e) service charges and other fees, costs, and expenses charged by
the Debtors’ cash management banks; and (f) certain critical vendor payments. Where the
Schedules and Statements list creditors and set forth the Debtors’ scheduled amounts attributable
to such claims, such scheduled amounts reflect balances owed as of the Petition Date. To the
extent the Debtors later pay any amount of the claims listed in the Schedules and Statements
pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
supplement the Schedules and Statements or to take other action, such as filing claims objections,
as is necessary and appropriate to avoid overpayment or duplicate payments for liabilities, to the
extent that any such action is necessary. For the avoidance of doubt, the Debtors are not required
and may not amend the Schedules and Statements to reflect the postpetition payment of prepetition
obligations under the First Day Orders to avoid duplicate payment. Nothing contained herein
should be deemed to alter the rights of any party-in-interest to contest a payment made pursuant
to an order of the Bankruptcy Court where such order preserves the right to contest.

16.    Other Paid Claims. To the extent the Debtors have reached any postpetition settlement
with a vendor or other creditor, the terms of such settlement will prevail and supersede amounts


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listed in the Debtors’ Schedules and Statements, and shall be enforceable by all parties, subject to
any applicable Bankruptcy Court approval.

17.    Liabilities. Some of the scheduled liabilities are unknown, contingent, and/or unliquidated
at this time. In such cases, the amounts are listed as “unknown” or “undetermined.”
Accordingly, the total amounts listed for some categories of liabilities in the Schedules and the
Statements may not be equal to the aggregate amount of the Debtors’ total liabilities as noted on
any financial statements issued prior to the Petition Date.

18.     Confidentiality. As applicable, the names, home addresses, email addresses, and other
personally identifiable information of the Debtors’ individual creditors, including the Debtors’
employees, contract workers, debtholders, and equity holders, have been redacted to ensure
confidentiality. See Order (I) Authorizing the Debtors to (A) File a Consolidated Creditor Matrix
and (B) File a Consolidated List of 30 Largest Unsecured Creditors; (II) Waiving Requirement to
File a List of Equity Security Holders and Modifying Notice Requirements for Equity Security
Holders; (III) Authorizing the Debtors to Redact Certain Personal Identifying Information;
(IV) Establishing a Complex Case Service List; (V) Approving the Form and Manner of Notice of
Commencement; and (VI) Granting Related Relief [Docket No. 55].

19.      Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
not necessarily value, all material categories of assets and liabilities in the Schedules. The Debtors
may have excluded the following items which may be included in their GAAP financial statements
from the Schedules: accrued salaries and wages, employee benefit accruals, accrued tax
obligations, and certain other accruals, certain prepaid and other current assets considered to have
de minimis or no market value. The Debtors also have excluded rejection damage claims of
counterparties to executory contracts and unexpired leases that may be rejected, to the extent such
damage claims exist. Additionally, employee wages have been paid in the normal course and the
Debtors have made an effort to exclude prepetition amounts that were outstanding as of the Petition
Date but have since been paid pursuant to the First Day Orders. Other immaterial assets and
liabilities may also have been excluded.

20.     Liens. The inclusion on Schedule D of creditors is not an acknowledgement of the validity,
extent, or priority of any liens, and the Debtors reserve their right to challenge such liens and the
underlying claims on any ground whatsoever, subject to the Interim Order (I) Authorizing (A)
Postpetition Financing, and (B) The Use of Cash Collateral; (II) Granting Liens and Providing
Superpriority Administrative Expense Claims; (III) Granting Adequate Protection to Prepetition
Lenders; (IV) Modifying the Automatic Stay; (V) Scheduling a Final Hearing; and (VI) Granting
Related Relief [Docket No. 64] (the “Interim DIP Order”). A careful review of the applicable
agreements and other relevant documents is necessary for a complete description of the collateral
and the nature, extent and priority of any liens. Nothing in these Global Notes or the Schedules
and Statements shall be deemed a modification or interpretation of the terms of such agreements
or an acknowledgment of same.

21.     Insiders. For the purposes of their responses to Statement Question 28, the Debtors have
listed the current officers and directors for each individual Debtor entity to the extent available
based on current records. For purposes of Statement Question 4 and Question 30, the Debtors


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have included “insiders,” as those members of the board of directors of the Debtors and the
Debtors’ principal officers (members of management who are responsible for determining the
Debtors’ operating policies and financial undertakings).

       Persons listed as “insiders” have been included for informational purposes only and do
not constitute an admission that any such individuals are insiders for purposes of the Bankruptcy
Code or otherwise. The Debtors do not take any position with respect to: (a) such person’s
influence over the control of the Debtors; (b) the management responsibilities or functions of
such individual; (c) the decision-making or corporate authority of such individual; or (d) whether
such individual could successfully argue that he or she is not an “insider” under applicable law,
including the federal securities laws, or with respect to any theories of liability or for any other
purpose.

22.     Inventory. The inventory information is reflected in each Schedule and Statement based
on the location of the physical inventory. The inventory information is reflective of the lower of
cost or net realizable value as of the Petition Date unless otherwise noted. The Debtors maintain
reserve accounts: an excess and obsolescence reserve and a net realizable value reserve.

23.     Signatory. The Schedules and Statements have been signed by Amit K. Garg in his capacity
as Chief Financial Officer of Ebix, Inc. In reviewing and signing the Schedules and Statements,
he has necessarily relied upon the efforts, statements and representations of various of the Debtors’
personnel and professionals. He has not (and could not have) personally verified the accuracy of
each such statement and representation, including statements and representations concerning
amounts owed to creditors and their addresses.

24.    Global Notes Control. In the event that the Schedules and Statements differ from these
Global Notes, the Global Notes shall control.

                       SCHEDULES OF ASSETS AND LIABILITIES

Schedule A/B Notes.

   •   General. Each Debtor’s assets in Schedule A/B are listed at net book value as of the
       Petition Date, unless otherwise noted, and may not necessarily reflect the market or
       recoverable value of these assets as of the Petition Date. Amounts ultimately realized may
       differ materially from net book value (or whatever value was ascribed). Certain
       depreciable assets with a net book value of zero ($0) may also be included for
       completeness. The Debtors have not performed an analysis of impairment of fixed assets,
       goodwill, or other intangibles. The Debtors do not intend to amend these Schedules and
       Statements to reflect actual values.

   •   Cash and Cash Equivalents (AB1 through AB5). The Debtors have included accounts that
       were active as of the Petition Date.

   •   Bank Accounts (AB3). The reflected bank balances are as of the Petition Date.



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   •   Deposits (AB7). The Debtors have made reasonable efforts to identify all deposits.
       However, the Schedules may not reflect an exhaustive list of deposits.

   •   Accounts Receivable (AB 10 through AB12). The Debtors have also included amounts
       outstanding beyond 365 days as doubtful or non-collectable.

   •   Office Furniture, Fixtures and Equipment (AB38 through AB45). Items listed in AB38-
       AB45 are scheduled according to their net book value as of December 31, 2023. The
       Debtors have made reasonable efforts to identify all assets; however, it is possible that
       inadvertent errors, misclassifications, or omissions may have occurred, or that property of
       de minimis value is not included in response to this question.

   •   Machinery, Equipment, and Vehicles (AB46 through AB53). The vehicles, machinery and
       equipment listed in AB46-AB53 are scheduled according to their net book value as of
       December 31, 2023. The Debtors have made reasonable efforts to identify all assets;
       however, it is possible that inadvertent errors, misclassifications, or omissions may have
       occurred, or that property of de minimis value is not included in response to this question.

   •   Tax Refunds and Unused Net Operating Losses (“NOL”) (AB72). The Debtors estimate
       that, as of December 31, 2022, they had approximately $35 million of federal NOLs and
       an asset basis to be determined (together with certain other tax attributes, collectively, the
       “Tax Attributes”).

   •   Interests in Insurance Policies (AB73). The Debtors maintain various insurance policies,
       including as required by law, including director and officer liability, property, worker’s
       compensation, employment, and cyber. However, none of these insurance policies carry
       cash value and none are reflected. A list of the Debtors insurance policies and related
       information is available in the Debtors’ Emergency Motion For Entry of an Order
       (I) Authorizing the Debtors to (A) Continue Insurance Policies and (B) Pay All Obligations
       With Respect Thereto; (II) Authorizing Financial Institutions to Honor and Process
       Related Checks and Transfers; and (III) Granting Related Relief [Docket No. 3].

Schedule D Notes.

   •   The Debtors have made reasonable efforts to report all secured claims against the Debtors
       on Schedule D based on the Debtors’ books and records as of the Petition Date. However,
       the actual value of claims against the Debtors may vary significantly from the represented
       liabilities. Parties in interest should not accept that the listed liabilities necessarily reflect
       the correct amount of any secured creditor’s allowed claims or the correct amount of all
       secured claims. Similarly, parties in interest should not anticipate that recoveries in these
       cases will reflect the relationship of the aggregate asset values and aggregate liabilities set
       forth in the Schedules. Parties in interest should consult their own professionals and
       advisors with respect to pursuing a claim. Although the Debtors and their professionals
       have generated financial information and data the Debtors believe to be reasonable, actual
       liabilities (and assets) may deviate significantly from the Schedules due to certain events
       that occur throughout these Chapter 11 Cases.


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   •   Creditors’ claims on Schedule D arose, or were incurred, on various dates. In certain
       instances, the date on which such claim arose may be an open issue of fact. Except as
       otherwise agreed in accordance with a stipulation and order entered by the Court, the
       Debtors reserve their rights to dispute or challenge the validity, perfection, or immunity
       from avoidance of any lien listed on Schedule D purported to be granted to a secured
       creditor or perfected in any specific asset.

   •   The amounts in Schedule D are consistent with the Debtors’ stipulations set forth in the
       Interim DIP Order, which are subject to investigation and challenge by any creditors’
       committee or other parties in interest, all as more fully set forth in the Interim DIP Order.
       The amounts outstanding under the Debtors’ prepetition secured debt reflect the
       approximate principal amounts only as of the Petition Date. The Debtors have excluded
       accrued interest because they are unable to accurately determine such amounts at this time.

   •   Except as specifically stated herein, lessors of equipment, utility companies, and any other
       parties which may hold security deposits or other security interests, have not been listed on
       Schedule D. The Debtors have also not listed on Schedule D any parties whose claims may
       be secured through rights of setoff, deposits, or advance payments.

   •   The descriptions provided on Schedule D are intended only as a summary. Reference to
       the applicable loan agreements and related documents is necessary for a complete
       description of the collateral and the nature, extent and priority of any liens. Nothing in
       these Global Notes or in the Schedules and Statements shall be deemed a modification,
       interpretation or an acknowledgment of the terms of such agreements or related documents.

Schedule E/F Notes.

   •   The Debtors have made reasonable efforts to report all priority and general unsecured
       claims against the Debtors on Schedule E/F based on the Debtors’ books and records as of
       the Petition Date. However, the actual value of claims against the Debtors may vary
       significantly from the represented liabilities. Certain claims on Schedule E/F may have
       been satisfied postpetition by the Debtors (including employee wages in the ordinary
       course) or third parties in accordance with any orders of this Court. Furthermore, accrued
       interest for some claims may not have been possible to determine. Parties in interest should
       not accept that the listed liabilities necessarily reflect the correct amount of any unsecured
       creditor’s allowed claims or the correct amount of all unsecured claims. Similarly, parties
       in interest should not anticipate that recoveries in these cases will reflect the relationship
       of the aggregate asset values and aggregate liabilities set forth in the Schedules. Parties in
       interest should consult their own professionals and advisors with respect to pursuing a
       claim. Although the Debtors and their professionals have generated financial information
       and data the Debtors believe to be reasonable, actual liabilities (and assets) may deviate
       significantly from the Schedules due to certain events that occur throughout these Chapter
       11 Cases.

   •   The claims listed on Schedule E/F arose or were incurred on various dates. In certain
       instances, the date on which a claim arose may be unknown or subject to dispute. Although


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       reasonable efforts have been made to determine the date upon which claims listed in
       Schedule E/F were incurred or arose, updating that date for each claim in Schedule E/F
       would be unduly burdensome and cost-prohibitive and, therefore, the Debtors have not
       listed a date for each claim listed on Schedule E/F.

   •   Schedule E/F also contains information regarding certain litigation involving the Debtors.
       However, certain omissions may have occurred. The inclusion of any judgement value in
       the Schedules and Statements does not constitute an admission by the Debtors of any
       liability.

   •   In the ordinary course of business, the Debtors generally receive invoices for goods and
       services after the delivery of such goods or services. As of the filing of the Schedules and
       Statements, the Debtors may not have received all invoices for payables, expenses, or
       liabilities that may have accrued before the Petition Date. Furthermore, payments to
       vendors and lienholders made subsequent to the filing of these Schedules will not be
       reflected in these Schedules. The Debtors reserve the right, but are not required, to amend
       Schedules E/F if they receive such invoices and/or make such payments. The claims of
       individual creditors are generally listed at the amounts recorded on the Debtors’ books and
       records and may not reflect all credits or allowances due from the creditor. The Debtors
       reserve all of their rights concerning credits or allowances.

   •   On Schedule E/F, Part 1, the Debtors included certain claims owing to various taxing
       authorities to which the Debtors may be liable. The inclusion of any amounts owed to
       taxing authorities does not constitute an admission by the Debtors of such liability.

   •   On Schedule E/F, Part 2, the Debtors included certain customer advances and unclaimed
       property as to which the Debtors may be liable. The inclusion of any amounts owed to
       customers does not constitute an admission by the Debtors of such liability.

   •   The Debtors reserve the right to assert that any claim listed on Schedule E/F does not
       constitute a priority claim under the Bankruptcy Code.

Schedule G Notes.

   •   The Debtors hereby reserve all rights to dispute the validity, status, or enforceability of any
       contracts, agreements or leases set forth in Schedule G and to amend or supplement
       Schedule G as necessary. Additionally, the placing of a contract or lease onto Schedule G
       shall not be deemed an admission that such contract is an executory contract or unexpired
       lease, or that it is necessarily a binding, valid, and enforceable contract. Any and all of the
       Debtors’ rights, claims and causes of action with respect to the contracts and agreements
       listed on Schedule G are hereby reserved and preserved. In addition, the Debtors are
       continuing their review of all relevant documents and expressly reserve their right to amend
       all Schedules at a later time as necessary and/or to challenge the classification of any
       agreement as an executory contract or unexpired lease in any appropriate filing.




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   •   In some cases, the same contract counterparty appears multiple times in a Debtor’s
       Schedule G. This multiple listing is generally intended to reflect distinct agreements
       between the applicable Debtor and such counterparty, however, due to the magnitude of
       data, it is possible that a multiple listing may be the result of duplicates. As part of Schedule
       G, the Debtors made best efforts to include executory contracts and all supporting
       documents (e.g. amendments) to executory contracts listing.

   •   Omission of a contract or agreement from Schedule G does not constitute an admission
       that such omitted contract or agreement is not an executory contract or unexpired lease.
       The Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts
       or agreements are not impaired by the omission. A Debtor’s Schedule G may be amended
       at any time to add or remove, as the case may be, any omitted contract, agreement, or lease.
       In addition, certain nondisclosure agreements and or other confidential information have
       been omitted, as well as certain short-term purchase and sales orders given their large
       number and transitory nature. Executory agreements that are oral in nature have not been
       included in Schedule G.

   •   The contracts, agreements, and leases listed on Schedule G may have expired or may have
       been rejected, terminated, assigned, modified, amended, and/or supplemented from time
       to time by various amendments, change orders, restatements, waivers, estoppel certificates,
       letters, and other documents, instruments, and agreements that may not be listed therein or
       that may be listed as a single entry. The Debtors expressly reserve their rights to challenge
       whether such related materials constitute an executory contract, a single contract or
       agreement, or multiple, severable, or separate contracts.

   •   Certain of the contracts, agreements, and leases listed on Schedule G may have been
       entered into by more than one of the Debtors. Further, in certain instances, the specific
       Debtor obligor to certain of the executory contracts could not be specifically ascertained.
       In such cases, the Debtors have made their best efforts to determine the correct Debtors’
       Schedule G on which to list such executory contract.

                         STATEMENTS OF FINANCIAL AFFAIRS

Statement Question 4 – Payments to Insiders. Refer to the response to Question 30 for this
item.

Statement Question 7 – Legal Actions. The Debtors have made reasonable best efforts to identify
all current pending litigation and legal proceedings involving the Debtors. The Debtors reserve
all of their rights and defenses with respect to any and all listed lawsuits and legal proceedings.
The listing of such suits and proceedings shall not constitute an admission by the Debtors of any
liabilities or that the actions or proceedings were correctly filed against the Debtors.

Statement Question 26d – Books, records and financial statements. In the regular course of
business, in addition to complying with the reporting requirements of Ebix, Inc., as a publicly
traded company under applicable federal securities laws, the Debtors have provided
consolidated financial information to banks, customers, suppliers, rating agencies, landlords and
other various interested parties. In light of the number of recipients and the possibility that such

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information may have also been shared with parties without the Debtors’ knowledge or consent,
the Debtors have not disclosed specific individuals or entities.
Statement Question 30 – Payments, Distributions, or Withdrawals to Insiders. The response
to Question 30 contains the full list of regular compensation, bonuses, and expense reimbursements
made to insiders by the Debtor entities during the one year preceding the Petition Date. The
Debtors reserve all rights with respect to the determination or status of a person as an “insider” as
defined in section 101(13) of the Bankruptcy Code. The Response to Question 30 does not include
unpaid interest on intercompany loans that accrued during the one-year period prior to the Petition
Date.
                             * * * END OF GLOBAL NOTES * * *




                                                 12
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Fill in this information to identify the case:
Debtor Name:           Ebix, Inc.

United States Bankruptcy Court for the:                    Northern District of Texas                                                                                                     Check if this is an
                                                                                                                                                                                          amended filing
Case Number (if known):              23-80004-11



Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15


  Part 1:             Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


      1a. Real property:
                                                                                                                                                                                                     $21,758,513
           Copy line 88 from Schedule A/B                        ..................................................................................................................



      1b. Total personal property:
                                                                                                                                                                                                   $368,348,162
           Copy line 91A from Schedule A/B                           ..............................................................................................................

                                                                                                                                                                                      +
      1c. Total of all property:
                                                                                                                                                                                                   $390,106,676
           Copy line 92 from Schedule A/B                           ...............................................................................................................




  Part 2:             Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   $634,721,690
  Copy the total dollar amount listed in Column
                                              ..................................................................................................................
                                                  A, Amount of claim, from line 3 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


      3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                $0
           Copy the total claims from Part 1 from
                                                ..................................................................................................................
                                                    line 6a of Schedule E/F



      3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                     $18,692,878
           Copy the total of the amount of claims from
                                                  ..............................................................................................................
                                                          Part 2 from line 6b of Schedule E/F

                                                                                                                                                                                      +
4. Total liabilities
                                                                                                                                                                                                   $653,414,568
  Lines 2 + 3a + 3b             ...................................................................................................................................................




                                                                      Page 1 of 1 to Summary of Assets and Liabilities
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Ebix, Inc.                                                                                            Case Number:       23-80004-11

Schedule A/B: Assets — Real and Personal Property
      Part 1:         Cash and cash equivalents

1.    Does the debtor have any cash or cash equivalents?

              No. Go to Part 2.
              Yes. Fill in the information below.


     General description                                        Type of account (if applicable)   Last 4 digits of   Current value of
                                                                                                  account #          debtor’s interest
                                                                                                  (if applicable)


2.     Cash on hand
      21


3.     Checking, savings, money market, or financial brokerage accounts (Identify all)
      31     CITIZENS OPERATING ACCOUNT                       ZBA FOR PAYROLL FUNDING                    3493                            $0

      32     CITIZENS OPERATING ACCOUNT                       OPERATING ACCOUNT                          2705                $1,562,142

      33     CITIZENS OPERATING ACCOUNT                       OAKSTONE A/R COLLECTIONS                   3485                $1,598,479

      34     PNC BANK N.A.                                    CHECKING ACCOUNT                           2144                  $218,454


4.     Other cash equivalents (Identify all)
      41



5.     Total of Part 1.                                                                                                      $3,379,075
       Add lines 2 through 4. Copy the total to line 80.




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Ebix, Inc.                                                                                          Case Number:      23-80004-11

Schedule A/B: Assets — Real and Personal Property
      Part 2:          Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

               No. Go to Part 3.
               Yes. Fill in the information below.


     General description                                                                                       Current value of
                                                                                                               debtor’s interest




7.     Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit


        71      PACIFIC ADVISORS LLC - OFFICE BUILDING SUBLEASE DEPOSIT                                                      $11,658

        72      SOUTH LAKE AVENUE INVESTORS LLC - PASADENA OFFICE LEASE SECURITY DEPOSIT                                     $33,568

8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment


        81      ACORD-ACH /IN: 410202                                                                                        $12,700

        82      ACORD-ACH /IN: 410984                                                                                        $24,750

        83      ACTIAN CORPORATION /IN: 02-21653                                                                           $574,010

        84      ADOBE SYSTEMS SOFTWARE IRELAND LTD /IN: 4200098240                                                            $3,625

        85      ADOBE SYSTEMS SOFTWARE IRELAND LTD /IN: 4400074861                                                           $17,638

        86      AMER ACADEMY OF FAMILY PHYS /IN: 1818109                                                                           $998

        87      ASPOSE PTY LTD - WIRE /IN: 231101005741                                                                       $8,493

        88      AT&T MOBILITY /IN: PREPAY1223                                                                                 $7,303

        89      BERKLEY TECHNOLOGY UNDERWRITERS - ACH /IN: 10102023                                                          $80,410

        8 10    CLIEDIS /IN: CLI2023A0393-01                                                                                  $1,582

        8 11    CYXTERA COMMUNICATIONS, LLC - ACH /IN: B1-2384062                                                            $23,607

        8 12    DATASYSTEM SOLUTIONS, INC. /IN: 34851                                                                              $431

        8 13    DOCUSIGN INC /IN: 111100154723                                                                             $100,268

        8 14    FIRST INSURANCE FUNDING                                                                                   $2,800,905

        8 15    GETTY IMAGES, INC. /IN: 18915246                                                                             $12,150

        8 16    HUBSPOT, INC /IN: 10314719                                                                                    $4,549

        8 17    INFLUXDATA INV17258                                                                                           $6,477

        8 18    ITERABLE - ACH/IN: INV00137383                                                                                $5,714



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Ebix, Inc.                                                                                 Case Number:   23-80004-11

Schedule A/B: Assets — Real and Personal Property
  Part 2:         Deposits and prepayments

     8 19    ITERABLE INC - ACH /IN: INV00126242                                                              $22,589

     8 20    LOCKTON BDO INSURANCE                                                                          $1,529,552

     8 21    LOCKTON FINANCE FEES                                                                             $25,455

     8 22    NEW RELIC, INC. - ACH /IN: INV00816591                                                           $13,785

     8 23    ONESPAN INV RCLS / IN: CA1-0004814                                                               $26,186

     8 24    ORACLE AMERICA, INC /IN: 100644096                                                                $1,261

     8 25    ORACLE AMERICA, INC /IN: 100747522                                                                $8,183

     8 26    PRECISION DATA SYSTEMS /IN: 8422                                                                  $5,244

     8 27    QUALYS, INC /IN: 193804                                                                             $878

     8 28    RCLS ORACLE INV TO PREPAIDS                                                                       $3,186

     8 29    RED CANARY /IN: 47992                                                                            $53,238

     8 30    ROCKET SOFTWARE INC - ACH /IN: 2110204594                                                         $2,432

     8 31    ROCKET SOFTWARE INC - ACH /IN: 2110206147                                                        $16,734

     8 32    ROCKET SOFTWARE INC - ACH /IN: 2110206467                                                         $2,141

     8 33    ROCKET SOFTWARE INC - ACH /IN: 2110211656                                                         $7,392

     8 34    ROCKET SOFTWARE INC - ACH /IN: 2110211658                                                         $9,556

     8 35    ROCKET SOFTWARE INC - ACH/IN: 2110212453                                                          $3,189

     8 36    S&P GLOBAL MARKET INTELLIGENCE /IN: INV-80392                                                    $33,290

     8 37    SISENSE /IN: U23000342                                                                           $12,696

     8 38    THE HARTFORD /IN: 02272023                                                                          $701

     8 39    THOMSON REUTERS TAX & ACCTING /IN: 18207831                                                       $4,102

     8 40    VALIDIC /IN: INV-4076                                                                             $5,490

     8 41    VALIDIC /IN: INV-6216                                                                            $16,470

     8 42    VERACODE INC - WIRE /IN: INV41490                                                                 $2,413

     8 43    VERACODE INC /IN: INV40312                                                                        $4,489

     8 44    VIMEO.COM INC. - ACH /IN: INV00054360                                                             $7,500

     8 45    WORKIVA INC /IN: INV-179757                                                                      $23,956

     8 46    ZOOMINFO TECHNOLOGIES LLC - ACH /IN: 423142                                                       $1,250




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Ebix, Inc.                                                                                     Case Number:   23-80004-11

Schedule A/B: Assets — Real and Personal Property
     Part 2:        Deposits and prepayments


9.    Total of Part 2                                                                                           $5,574,194
      Add lines 7 through 8. Copy the total to line 81.




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Ebix, Inc.                                                                                                   Case Number:             23-80004-11

Schedule A/B: Assets — Real and Personal Property
      Part 3:       Accounts receivable
10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes. Fill in the information below.


 General description                                                             Face or requested       Doubtful or              Current value of
                                                                                 amount                  uncollectable            debtor’s interest



11.     Accounts receivable

        11a. 90 days old or less:                                                     $18,258,870    -                   $0   =         $18,258,870

        11b. Over 90 days old:                                                        $11,363,487    -         $7,056,307     =           $4,307,180


        11c. All accounts receivable:                                                                -                        =


12.     Total of Part 3                                                                                                                $22,566,050
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.




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Ebix, Inc.                                                                                         Case Number:           23-80004-11

Schedule A/B: Assets — Real and Personal Property
   Part 4:          Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.


 General description                                                                      Valuation method used    Current value of
                                                                                          for current value        debtor’s interest




14. Mutual funds or publicly traded stocks not included in Part 1
      Name of fund or stock:

    14 1   N/A


15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership,
    or joint venture
      Name of entity:

    15 1                                                                                         NONE                    UNDETERMINED
           DELPHI WORLD MONEY LIMITED (FKA WEIZMANN FOREX LIMITED)


    15 2   A.D.A.M. INC.                                                                         NONE                    UNDETERMINED


    15 3   AGENCY SOLUTIONS.COM, LLC (D/B/A HEALTH CONNECT LLC)                                  NONE                    UNDETERMINED


    15 4   BSE EBIX INSURANCE BROKING PVT LTD                                                    NONE                    UNDETERMINED


    15 5   BSE EBIX INSURETECH PRIVATE LIMITED (FKA MARKETPLACE EBIX                             NONE                    UNDETERMINED
           TECHNOLOGY SERVICES PRIVATE LIMITED


    15 6   BUY FOREX LIMITED                                                                     NONE                    UNDETERMINED


    15 7   CONFIRMNET INC.                                                                       NONE                    UNDETERMINED


    15 8   DOCTORS EXCHANGE, INC.                                                                NONE                    UNDETERMINED


    15 9   EBIX ASIA HOLDINGS INC.                                                               NONE                    UNDETERMINED


    15 10 EBIX ASIA PACIFIC FZ – LLC                                                             NONE                    UNDETERMINED


    15 11 EBIX AUSTRALIA (VIC) PTY LTD                                                           NONE                    UNDETERMINED


    15 12 EBIX AUSTRALIA PTY LTD                                                                 NONE                    UNDETERMINED


    15 13 EBIX BUS TECHNOLOGIES PVT LTD. INDIA                                                   NONE                    UNDETERMINED


    15 14 EBIX CABS PRIVATE LIMITED (FORMERLY WAAH TAXIS PVT LTD)                                NONE                    UNDETERMINED



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Ebix, Inc.                                                                         Case Number:   23-80004-11

Schedule A/B: Assets — Real and Personal Property
  Part 4:       Investments

   15 15 EBIX CANADA SOLUTIONS                                                    NONE            UNDETERMINED


   15 16 EBIX CAPITAL EXCHANGE PRIVATE LIMITED                                    NONE            UNDETERMINED


   15 17 EBIX CONSULTING, INC.                                                    NONE            UNDETERMINED


   15 18 EBIX CORPORATE SERVICES PVT LTD                                          NONE            UNDETERMINED


   15 19 EBIX E-LEARNING VENTURES PTE LTD                                         NONE            UNDETERMINED


   15 20 EBIX EUROPE LIMITED                                                      NONE            UNDETERMINED


   15 21 EBIX EXCHANGE AUSTRALIA PTY LTD                                          NONE            UNDETERMINED


   15 22 EBIX HEALTH ADMINISTRATION EXCHANGE INC.                                 NONE            UNDETERMINED


   15 23 EBIX HEALTH ADMINISTRATION EXCHANGE, INC.                                NONE            UNDETERMINED


   15 24 EBIX HEALTH EXCHANGE HOLDINGS, INC. (OWNERSHIP: 0.51%)                   NONE            UNDETERMINED


   15 25 EBIX INTERNATIONAL HOLDINGS LIMITED                                      NONE            UNDETERMINED


   15 26 EBIX INTERNATIONAL LLC                                                   NONE            UNDETERMINED


   15 27 EBIX LATIN AMERICA                                                       NONE            UNDETERMINED


   15 28 EBIX LATIN AMERICA TECNOLOGIA E CONSULTORIA LTDA (FKA MCN                NONE            UNDETERMINED
         TECH)


   15 29 EBIX MONEY EXPRESS PRIVATE LTD.                                          NONE            UNDETERMINED


   15 30 EBIX NEW ZEALAND LIMITED (FKA EBIX NEW ZEALAND)                          NONE            UNDETERMINED


   15 31 EBIX PAYMENT SERVICES PVT LTD (FKA ITZ CASH CARD LTD)                    NONE            UNDETERMINED


   15 32 EBIX PAYTECH PVT LTD                                                     NONE            UNDETERMINED


   15 33 EBIX SINGAPORE PTE. LTD                                                  NONE            UNDETERMINED


   15 34 EBIX SMARTCLASS EDUCATIONAL SERVICES PRIVATE LTD                         NONE            UNDETERMINED


   15 35 EBIX TECHNOLOGIES PVT LTD “INDUS”                                        NONE            UNDETERMINED


   15 36 EBIX TOURS AND TRAVELS PRIVATE LIMITED (FKA LAWSON TRAVEL                NONE            UNDETERMINED
         AND TOURS)



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Ebix, Inc.                                                                        Case Number:   23-80004-11

Schedule A/B: Assets — Real and Personal Property
  Part 4:       Investments

   15 37 EBIX TRAVEL & HOLIDAYS LIMITED (FKA MERCURY TRAVELS)                    NONE            UNDETERMINED


   15 38 EBIX TRAVELS MIDDLE EAST FZ LLC (FKA FLIGHT RAJA MIDDLEEAST             NONE            UNDETERMINED
         FZ LLC)


   15 39 EBIX TRAVELS PVT LTD                                                    NONE            UNDETERMINED


   15 40 EBIX US, LLC                                                            NONE            UNDETERMINED


   15 41 EBIX VAYAM TECHNOLOGIES PVT LTD                                         NONE            UNDETERMINED


   15 42 EBIXCASH EXCHANGE PTE LTD                                               NONE            UNDETERMINED


   15 43 EBIXCASH FINANCIAL TECHNOLOGIES PVT LTD (FKA MILES                      NONE            UNDETERMINED
         SOFTWARE SOLUTIONS PVT LTD)


   15 44 EBIXCASH GLOBAL SERVICES PVT LTD (FKA ASSUREEDGE GLOBAL                 NONE            UNDETERMINED
         SERVICES PVT LTD)


   15 45 EBIXCASH LIMITED                                                        NONE            UNDETERMINED


   15 46 EBIXCASH MOBILITY SOFTWARE INDIA LIMITED (FKA TRIMAX IT                 NONE            UNDETERMINED
         INFRASTRUCTURE & SERVICE LIMITED)


   15 47 EBIXCASH WORLD MONEY LTD “CENTRUM”                                      NONE            UNDETERMINED


   15 48 EBIXCITY PRIVATE LIMITED                                                NONE            UNDETERMINED


   15 49 FACTS SERVICES INC.                                                     NONE            UNDETERMINED


   15 50 FINTECHNIX PTY LIMITED                                                  NONE            UNDETERMINED


   15 51 FLIGHT RAJA TRAVELS PHILIPPINES                                         NONE            UNDETERMINED


   15 52 FLIGHT RAJA TRAVELS SINGAPORE                                           NONE            UNDETERMINED


   15 53 INTERACTIVE FINANCIAL & TRADING SERVICES PRIVATE LIMITED                NONE            UNDETERMINED


   15 54 INTERACTIVE TRADEX INDIA PRIVATE LIMITED                                NONE            UNDETERMINED


   15 55 KRISH AND RAM FOREX PRIVATE LIMITED                                     NONE            UNDETERMINED


   15 56 LEISURECORP PVT LTD INDIA                                               NONE            UNDETERMINED


   15 57 MERCURY HIMALAYAN EXPLORATIONS LTD.                                     NONE            UNDETERMINED




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Ebix, Inc.                                                                                      Case Number:        23-80004-11

Schedule A/B: Assets — Real and Personal Property
   Part 4:        Investments

    15 58 MILES SOFTWARE SOLUTIONS FZ-LLC                                                      NONE                 UNDETERMINED


    15 59 MILES SOFTWARE SOLUTIONS INC., PHILIPPINES                                           NONE                 UNDETERMINED


    15 60 P.T. ADYA TOURS INDONESIA                                                            NONE                 UNDETERMINED


    15 61 PB SYSTEMS INC.                                                                      NONE                 UNDETERMINED


    15 62 ROUTIER OPERATIONS CONSULTING PVT LTD                                                NONE                 UNDETERMINED


    15 63 SWISS BUREAU GMBH                                                                    NONE                 UNDETERMINED


    15 64 TRIMAX DATA CENTRE SERVICES LIMITED                                                  NONE                 UNDETERMINED


    15 65 VERTEX INC.                                                                          NONE                 UNDETERMINED


    15 66 VIA PHILIPPINES TRAVEL CORPORATION                                                   NONE                 UNDETERMINED


    15 67 WALL STREET CANADA A/K/A EBIXCASH WORLD MONEY LTD CANADA                             NONE                 UNDETERMINED


    15 68 ZILLIOUS SOLUTIONS PRIVATE LIMITED                                                   NONE                 UNDETERMINED


16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
      Describe:

    16 1   N/A



17. Total of Part 4
                                                                                                                             $0
    Add lines 14 through 16. Copy the total to line 83.




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Ebix, Inc.                                                                                           Case Number:         23-80004-11

Schedule A/B: Assets — Real and Personal Property
   Part 5:          Inventory, excluding agriculture assets - detail
18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.


 General description                                   Date of the last        Net book value of     Valuation method   Current value of
                                                       physical inventory      debtor's interest     used for current   debtor’s interest
                                                                               (Where available)     value

19. Raw materials

   19 1

20. Work in progress

   20 1

21. Finished goods, including goods held for resale

   21 1   #10 Teal logo                                                                     $1,000   NET BOOK VALUE              $1,000

   21 2   #10 Yellow logo                                                                   $5,000   NET BOOK VALUE              $5,000

   21 3   #10s                                                                             $35,000   NET BOOK VALUE             $35,000

   21 4   2023 Best Bites                                                                    $400    NET BOOK VALUE                $400

   21 5   2023 Hope                                                                                  NET BOOK VALUE                   $0

   21 6   2023 YOGH                                                                          $400    NET BOOK VALUE                $400

   21 7   2023 YOGH CND                                                                              NET BOOK VALUE                   $0

   21 8   6 x 9.5 Left window                                                              $12,000   NET BOOK VALUE             $12,000

   21 9   binders                                                                            $350    NET BOOK VALUE                $350

   21 10 Boxes                                                                              $3,200   NET BOOK VALUE              $3,200

   21 11 Boxes                                                                              $1,600   NET BOOK VALUE              $1,600

   21 12 Calendar 9x12s                                                                     $2,000   NET BOOK VALUE              $2,000

   21 13 Calendar BOXES                                                                      $600    NET BOOK VALUE                $600

   21 14 CD's                                                                                $480    NET BOOK VALUE                $480

   21 15 DD Boxes                                                                            $628    NET BOOK VALUE                $628

   21 16 Envelopes                                                                          $8,000   NET BOOK VALUE              $8,000

   21 17 Food & Fitness Tracker (Apple)                                                      $500    NET BOOK VALUE                $500

   21 18 Forms                                                                               $250    NET BOOK VALUE                $250

   21 19 Letterhead-Logo on L                                                                 $30    NET BOOK VALUE                 $30

   21 20 Letterhead-Logo on R                                                                $400    NET BOOK VALUE                $400

   21 21 NEWSLETTER #10 ENVELOPES                                                           $6,750   NET BOOK VALUE              $6,750

   21 22 Oakstone BRE                                                                       $5,000   NET BOOK VALUE              $5,000

   21 23 Other                                                                              $1,000   NET BOOK VALUE              $1,000

   21 24 other envelopes                                                                     $500    NET BOOK VALUE                $500

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Ebix, Inc.                                                                                                Case Number:    23-80004-11

Schedule A/B: Assets — Real and Personal Property
   Part 5:         Inventory, excluding agriculture assets - detail

   21 25 other packing supplies                                                                 $1,000   NET BOOK VALUE        $1,000

   21 26 other packing supplies                                                                  $400    NET BOOK VALUE             $400

   21 27 Paper                                                                                  $2,000   NET BOOK VALUE        $2,000

   21 28 Paper                                                                                           NET BOOK VALUE               $0

   21 29 Paper DD                                                                               $4,000   NET BOOK VALUE        $4,000

   21 30 Paper Medical                                                                         $11,000   NET BOOK VALUE       $11,000

   21 31 PR Envelopes                                                                           $1,200   NET BOOK VALUE        $1,200

   21 32 Product on shelve                                                                      $1,000   NET BOOK VALUE        $1,000

   21 33 Reward Shells                                                                           $240    NET BOOK VALUE             $240

   21 34 Sleeves                                                                                $3,200   NET BOOK VALUE        $3,200

   21 35 Steve Effort Shells                                                                     $500    NET BOOK VALUE             $500

   21 36 Stress Booklets                                                                          $50    NET BOOK VALUE              $50

   21 37 USB                                                                                   $14,000   NET BOOK VALUE       $14,000

   21 38 USB Mailers                                                                            $5,200   NET BOOK VALUE        $5,200

22. Other Inventory or supplies

   22 1


23. Total of Part 5                                                                                                          $128,878
    Add lines 19 through 22. Copy the total to line 84.


24. Is any of the property listed in Part 5 perishable?

           No
           Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes.       Book Value              $1,200         Valuation method NET BOOK VALUE             Current value     $1,200

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

           No
           Yes




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Schedule A/B: Assets — Real and Personal Property
   Part 6:             Farming and fishing-related assets (other than titled motor vehicles and land) - detail
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

            No. Go to Part 7.
            Yes. Fill in the information below.

 General description                                                      Net book value of    Valuation method         Current value of
                                                                          debtor's interest    used for current value   debtor’s interest
                                                                          (Where available)

28. Crops—either planted or harvested
     28 1


29. Farm animals
      Examples: Livestock, poultry, farm-raised fish
     29 1


30. Farm machinery and equipment
      (O her than titled motor vehicles)
     30 1


31. Farm and fishing supplies, chemicals, and feed
     31 1


32. Other farming and fishing-related property not already listed in Part 6
     32 1



33. Total of Part 6
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
            No
            Yes. Is any of the debtor’s property stored at the cooperative?

                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

            No
            Yes.        Book Value                            Valuation method                        Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?

            No
            Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

            No
            Yes




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Schedule A/B: Assets — Real and Personal Property
      Part 7:          Office furniture, fixtures, and equipment; and collectibles - detail
38.      Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

               No. Go to Part 8.
               Yes. Fill in the information below.


         General description                                           Net book value of      Valuation method         Current value of
                                                                       debtor's interest      used for current value   debtor’s interest
                                                                       (Where available)



39.    Office furniture

      39. 1      OFFICE F&F:FACILITIES-ACCL CUBICAL FU                                         NET BOOK VALUE                              $0



      39. 2      OFFICE F&F:FACILITIES-ACCL MAHOGANY                                           NET BOOK VALUE                              $0



      39. 3      OFFICE F&F:FACILITIES-CORP 10 CHAIRS                                          NET BOOK VALUE                              $0



      39. 4      OFFICE F&F:FACILITIES-CORP 2 SEATER SOFA Q                       $2,832       NET BOOK VALUE                        $2,832



      39. 5      OFFICE F&F:FACILITIES-CORP 3 SEATER SOFA Q                       $2,092       NET BOOK VALUE                        $2,092



      39. 6      OFFICE F&F:FACILITIES-CORP 57"W CUSTOM                                        NET BOOK VALUE                              $0



      39. 7      OFFICE F&F:FACILITIES-CORP 6 FOOT BENCH W                          $697       NET BOOK VALUE                          $697



      39. 8      OFFICE F&F:FACILITIES-CORP APEL OCCASIONA                          $436       NET BOOK VALUE                          $436



      39. 9      OFFICE F&F:FACILITIES-CORP CENTRE TABLE Q                          $784       NET BOOK VALUE                          $784



      39. 10     OFFICE F&F:FACILITIES-CORP CHAIR QTY: 1                            $327       NET BOOK VALUE                          $327



      39. 11     OFFICE F&F:FACILITIES-CORP CHAIR QTY: 4                            $620       NET BOOK VALUE                          $620



      39. 12     OFFICE F&F:FACILITIES-CORP CHAIRS (5), DRA                                    NET BOOK VALUE                              $0



      39. 13     OFFICE F&F:FACILITIES-CORP CODE LOW BACK                           $247       NET BOOK VALUE                          $247




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   39. 14    OFFICE F&F:FACILITIES-CORP COUCH QTY: 17                    $4,488     NET BOOK VALUE           $4,488



   39. 15    OFFICE F&F:FACILITIES-CORP DOWN TOWN STO                   $12,276     NET BOOK VALUE          $12,276



   39. 16    OFFICE F&F:FACILITIES-CORP DURKIN CUSTOM                    $2,440     NET BOOK VALUE           $2,440



   39. 17    OFFICE F&F:FACILITIES-CORP ELLESMERE TWO                    $3,675     NET BOOK VALUE           $3,675



   39. 18    OFFICE F&F:FACILITIES-CORP GLASS DESK FOR                              NET BOOK VALUE              $0



   39. 19    OFFICE F&F:FACILITIES-CORP HIGH RISE SOFA                   $2,033     NET BOOK VALUE           $2,033



   39. 20    OFFICE F&F:FACILITIES-CORP LUX EXECUTIVE C                    $789     NET BOOK VALUE            $789



   39. 21    OFFICE F&F:FACILITIES-CORP MASSAGE CHAI                                NET BOOK VALUE              $0



   39. 22    OFFICE F&F:FACILITIES-CORP MISC FURNITURE                              NET BOOK VALUE              $0



   39. 23    OFFICE F&F:FACILITIES-CORP ML CHAIR QTY:                    $3,486     NET BOOK VALUE           $3,486



   39. 24    OFFICE F&F:FACILITIES-CORP RED OFFICE CHA                              NET BOOK VALUE              $0



   39. 25    OFFICE F&F:FACILITIES-CORP SINGLE SEATER S                    $508     NET BOOK VALUE            $508



   39. 26    OFFICE F&F:FACILITIES-CORP THREE SEATER S                     $697     NET BOOK VALUE            $697



   39. 27    OFFICE F&F:FACILITIES-CORP TWO SEATER SOF                   $7,727     NET BOOK VALUE           $7,727



   39. 28    OFFICE F&F:FACILITIES-EZ DATA CONFERENCE                               NET BOOK VALUE              $0
             AN



   39. 29    OFFICE F&F:FACILITIES-EZ DATA HERMAN Q MILL                            NET BOOK VALUE              $0



   39. 30    OFFICE F&F:FACILITIES-EZ DATA OFFICE                                   NET BOOK VALUE              $0
             FURNITUR



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Schedule A/B: Assets — Real and Personal Property
      Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

40.    Office fixtures

      40. 1     OFFICE F&F:FACILITIES-CORP 19 - 34"D X 28"                               NET BOOK VALUE              $0



      40. 2     OFFICE F&F:FACILITIES-CORP 2"D X 8"W X 30"                               NET BOOK VALUE              $0



      40. 3     OFFICE F&F:FACILITIES-CORP 20 MULTI-OUTLET                               NET BOOK VALUE              $0



      40. 4     OFFICE F&F:FACILITIES-CORP 22- 2"D X 8"W X                               NET BOOK VALUE              $0



      40. 5     OFFICE F&F:FACILITIES-CORP 6 SOFTCURV                                    NET BOOK VALUE              $0



      40. 6     OFFICE F&F:FACILITIES-CORP 64 - 67"W X 2"H                               NET BOOK VALUE              $0



      40. 7     OFFICE F&F:FACILITIES-CORP 64 - POWER/DA                                 NET BOOK VALUE              $0



      40. 8     OFFICE F&F:FACILITIES-CORP BOARD ROOM T                                  NET BOOK VALUE              $0



      40. 9     OFFICE F&F:FACILITIES-CORP CUSTOM FRAME                                  NET BOOK VALUE              $0



      40. 10    OFFICE F&F:FACILITIES-CORP DRAPES IN EXEC                                NET BOOK VALUE              $0



      40. 11    OFFICE F&F:FACILITIES-CORP FLEXIBLE CABLE                                NET BOOK VALUE              $0



      40. 12    OFFICE F&F:FACILITIES-CORP PAINTING ON 2N                                NET BOOK VALUE              $0



      40. 13    OFFICE F&F:FACILITIES-CORP PICTURES                                      NET BOOK VALUE              $0



      40. 14    OFFICE F&F:FACILITIES-CORP PICTURES                                      NET BOOK VALUE              $0



      40. 15    OFFICE F&F:FACILITIES-CORP PICTURES                                      NET BOOK VALUE              $0



      40. 16    OFFICE F&F:FACILITIES-CORP PICTURES                                      NET BOOK VALUE              $0




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Schedule A/B: Assets — Real and Personal Property
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      40. 17    OFFICE F&F:FACILITIES-CORP PICTURES                                      NET BOOK VALUE               $0



      40. 18    OFFICE F&F:FACILITIES-CORP TALK HEXAGON                                  NET BOOK VALUE               $0




41.    Office equipment, including all computer equipment and communication systems equipment and software

      41. 1     BUILDING IMPROVEMENTS:FACILITIES-CORP 6'                      $1,000     NET BOOK VALUE            $1,000
                LONG THERM



      41. 2     BUILDING IMPROVEMENTS:FACILITIES-CORP                        $12,735     NET BOOK VALUE           $12,735
                EQUIPMENT



      41. 3     BUILDING IMPROVEMENTS:FACILITIES-CORP                         $3,559     NET BOOK VALUE            $3,559
                FURNISHINGS



      41. 4     BUILDING IMPROVEMENTS:FACILITIES-CORP                         $1,862     NET BOOK VALUE            $1,862
                HEADQUARTERS



      41. 5     BUILDING IMPROVEMENTS:FACILITIES-CORP                         $3,463     NET BOOK VALUE            $3,463
                LOCKS FOR DOORS



      41. 6     BUILDING IMPROVEMENTS:FACILITIES-CORP                        $17,463     NET BOOK VALUE           $17,463
                SILK ON SILK CA



      41. 7     COMPUTER EQUIPMENT:FACILITIES FUJITSU FI-66                              NET BOOK VALUE               $0



      41. 8     COMPUTER EQUIPMENT:FACILITIES HBA CARD                                   NET BOOK VALUE               $0
                FOR B



      41. 9     COMPUTER EQUIPMENT:FACILITIES-ACCL CDS                                   NET BOOK VALUE               $0
                SCANNER



      41. 10    COMPUTER EQUIPMENT:FACILITIES-ACCL CTO                                   NET BOOK VALUE               $0
                CHASSIS D



      41. 11    COMPUTER EQUIPMENT:FACILITIES-ACCL DELL                                  NET BOOK VALUE               $0
                OPTIPLEX 7



      41. 12    COMPUTER EQUIPMENT:FACILITIES-ACCL DELL                                  NET BOOK VALUE               $0
                POWEREDG




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Schedule A/B: Assets — Real and Personal Property
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   41. 13    COMPUTER EQUIPMENT:FACILITIES-ACCL DELL                               NET BOOK VALUE              $0
             POWEREDG



   41. 14    COMPUTER EQUIPMENT:FACILITIES-ACCL DELL                               NET BOOK VALUE              $0
             POWERESG



   41. 15    COMPUTER EQUIPMENT:FACILITIES-ACCL FI-6770                            NET BOOK VALUE              $0
             FLATB



   41. 16    COMPUTER EQUIPMENT:FACILITIES-ACCL FI-6770                            NET BOOK VALUE              $0
             SHTFED



   41. 17    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             FUJITSU DOCU



   41. 18    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             FUJITSU FI-66



   41. 19    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             FUJITSU FI-66



   41. 20    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             FUJITSU FI-66



   41. 21    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             FUJITSU FI-67



   41. 22    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             FUJITSU SCANNE



   41. 23    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             HEWLETT PACKA



   41. 24    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             1TB 6G SA



   41. 25    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             600GB 12G



   41. 26    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             600GB 12G




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   41. 27    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             DESKTOP C



   41. 28    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             DL380 GEN



   41. 29    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 30    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 31    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 32    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 33    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 34    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 35    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 36    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 37    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             SERVER DL3



   41. 38    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             SERVER SBY



   41. 39    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             STORAGE W



   41. 40    COMPUTER EQUIPMENT:FACILITIES-ACCL HP                                 NET BOOK VALUE              $0
             STOREEVER




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   41. 41    COMPUTER EQUIPMENT:FACILITIES-ACCL INTEL                     $613     NET BOOK VALUE            $613
             XEON 12 C



   41. 42    COMPUTER EQUIPMENT:FACILITIES-ACCL INTEL                     $607     NET BOOK VALUE            $607
             XEON E5-



   41. 43    COMPUTER EQUIPMENT:FACILITIES-ACCL INTEL                     $564     NET BOOK VALUE            $564
             XEON E5-



   41. 44    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             INTERACTIVE VOI



   41. 45    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             INTERACTIVE VOI



   41. 46    COMPUTER EQUIPMENT:FACILITIES-ACCL                         $1,215     NET BOOK VALUE           $1,215
             LUMINX IVR SY



   41. 47    COMPUTER EQUIPMENT:FACILITIES-ACCL                           $780     NET BOOK VALUE            $780
             LUMINX IVR SY



   41. 48    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             LUMINX IVR SY



   41. 49    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             LUMINX IVR SY



   41. 50    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             LUMINX IVR SY



   41. 51    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             LUMINX IVR SY



   41. 52    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             MEMORY SERVE



   41. 53    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             MEMORY UPGRA



   41. 54    COMPUTER EQUIPMENT:FACILITIES-ACCL NCAS -                             NET BOOK VALUE              $0
             ENCRYP




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   41. 55    COMPUTER EQUIPMENT:FACILITIES-ACCL NCAS                               NET BOOK VALUE              $0
             ENCRYPT



   41. 56    COMPUTER EQUIPMENT:FACILITIES-ACCL NEW                                NET BOOK VALUE              $0
             AIG IVR S



   41. 57    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             POWEREDGE T4



   41. 58    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             POWEREDGE T4



   41. 59    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             POWEREDGE T4



   41. 60    COMPUTER EQUIPMENT:FACILITIES-ACCL RHA                                NET BOOK VALUE              $0
             IVR SYSTE



   41. 61    COMPUTER EQUIPMENT:FACILITIES-ACCL ROA                                NET BOOK VALUE              $0
             IMAGE EQ



   41. 62    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             SCANNER FI- 66



   41. 63    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             SCANNER FI-67



   41. 64    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             SERVERS HP 30



   41. 65    COMPUTER EQUIPMENT:FACILITIES-ACCL SGB -                              NET BOOK VALUE              $0
             IMAGING



   41. 66    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             SMARTBUY H



   41. 67    COMPUTER EQUIPMENT:FACILITIES-ACCL                                    NET BOOK VALUE              $0
             SMARTBUY PROB



   41. 68    COMPUTER EQUIPMENT:FACILITIES-ACCL TLC                       $298     NET BOOK VALUE            $298
             PRODUCTIO




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   41. 69    COMPUTER EQUIPMENT:FACILITIES-BEBETTER                                NET BOOK VALUE              $0
             BEBETTER OPEN



   41. 70    COMPUTER EQUIPMENT:FACILITIES-CORP                        $13,520     NET BOOK VALUE          $13,520



   41. 71    COMPUTER EQUIPMENT:FACILITIES-CORP 146GB                              NET BOOK VALUE              $0
             SAS 15



   41. 72    COMPUTER EQUIPMENT:FACILITIES-CORP 2TB                                NET BOOK VALUE              $0
             7.2K SATA



   41. 73    COMPUTER EQUIPMENT:FACILITIES-CORP 3 TB                               NET BOOK VALUE              $0
             DRIVE (24),



   41. 74    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 75    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 76    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 77    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 78    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 79    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 80    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 81    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 82    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7




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Schedule A/B: Assets — Real and Personal Property
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   41. 83    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 84    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 85    COMPUTER EQUIPMENT:FACILITIES-CORP 3TB                                NET BOOK VALUE              $0
             6G SAS 7



   41. 86    COMPUTER EQUIPMENT:FACILITIES-CORP 4                                  NET BOOK VALUE              $0
             CISCO 1921 R



   41. 87    COMPUTER EQUIPMENT:FACILITIES-CORP 4                                  NET BOOK VALUE              $0
             FIBER SWITCH



   41. 88    COMPUTER EQUIPMENT:FACILITIES-CORP 5                       $2,182     NET BOOK VALUE           $2,182
             LAPTOPS FOR BI



   41. 89    COMPUTER EQUIPMENT:FACILITIES-CORP 600 4                              NET BOOK VALUE              $0
             GB 15K



   41. 90    COMPUTER EQUIPMENT:FACILITIES-CORP 600                                NET BOOK VALUE              $0
             GB 15K 4G



   41. 91    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             15K 4G



   41. 92    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             15K 4G



   41. 93    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             15K 4G



   41. 94    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             15K 4G



   41. 95    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             15K 4G



   41. 96    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             15K 4G




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   41. 97    COMPUTER EQUIPMENT:FACILITIES-CORP 600GB                              NET BOOK VALUE              $0
             6G SA



   41. 98    COMPUTER EQUIPMENT:FACILITIES-CORP AMPF                               NET BOOK VALUE              $0
             (SERVE



   41. 99    COMPUTER EQUIPMENT:FACILITIES-CORP AMPF                               NET BOOK VALUE              $0
             (SERVE



   41. 100   COMPUTER EQUIPMENT:FACILITIES-CORP APC                                NET BOOK VALUE              $0
             METERED R



   41. 101   COMPUTER EQUIPMENT:FACILITIES-CORP APC                     $2,706     NET BOOK VALUE           $2,706
             SMART-UP



   41. 102   COMPUTER EQUIPMENT:FACILITIES-CORP AVH                   $16,615      NET BOOK VALUE          $16,615
             12335512



   41. 103   COMPUTER EQUIPMENT:FACILITIES-CORP                          $998      NET BOOK VALUE            $998
             BACKUP STORAG



   41. 104   COMPUTER EQUIPMENT:FACILITIES-CORP BR-                      $231      NET BOOK VALUE            $231
             5100 / BRO



   41. 105   COMPUTER EQUIPMENT:FACILITIES-CORP BR-                      $945      NET BOOK VALUE            $945
             5100/ BROC



   41. 106   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             BROCADE 30



   41. 107   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             BROCADE 300 2



   41. 108   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             BROCADE 65



   41. 109   COMPUTER EQUIPMENT:FACILITIES-CORP BSI                                NET BOOK VALUE              $0
             MIGRATIO



   41. 110   COMPUTER EQUIPMENT:FACILITIES-CORP CDW                   $29,065      NET BOOK VALUE          $29,065
             DIRECT




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   41. 111   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             CHEETAH 15K.7



   41. 112   COMPUTER EQUIPMENT:FACILITIES-CORP CISCO                              NET BOOK VALUE              $0
             ASA 552



   41. 113   COMPUTER EQUIPMENT:FACILITIES-CORP CISCO                    $336      NET BOOK VALUE            $336
             FIREPOW



   41. 114   COMPUTER EQUIPMENT:FACILITIES-CORP CORP                               NET BOOK VALUE              $0
             DEVEL



   41. 115   COMPUTER EQUIPMENT:FACILITIES-CORP CTO                                NET BOOK VALUE              $0
             CHASSIS



   41. 116   COMPUTER EQUIPMENT:FACILITIES-CORP CX-4                               NET BOOK VALUE              $0
             STORAGE D



   41. 117   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CENTER EQ



   41. 118   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CENTER H



   41. 119   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CENTER H



   41. 120   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CENTER IB



   41. 121   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CENTER S



   41. 122   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CENTER S



   41. 123   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CTR EQUIP



   41. 124   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CTR EQUIP




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   41. 125   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CTR EQUIP



   41. 126   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CTR: HP D



   41. 127   COMPUTER EQUIPMENT:FACILITIES-CORP DATA                               NET BOOK VALUE              $0
             CTR: HP D



   41. 128   COMPUTER EQUIPMENT:FACILITIES-CORP DELL                               NET BOOK VALUE              $0
             OPTIPL



   41. 129   COMPUTER EQUIPMENT:FACILITIES-CORP DELL                               NET BOOK VALUE              $0
             SERVER PA



   41. 130   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $29,560      NET BOOK VALUE          $29,560
             GEN10



   41. 131   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $23,759      NET BOOK VALUE          $23,759
             GEN10



   41. 132   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $21,735      NET BOOK VALUE          $21,735
             GEN10



   41. 133   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $15,471      NET BOOK VALUE          $15,471
             GEN10



   41. 134   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                   $8,485     NET BOOK VALUE           $8,485
             GEN10



   41. 135   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                   $7,861     NET BOOK VALUE           $7,861
             GEN10



   41. 136   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $20,661      NET BOOK VALUE          $20,661
             GEN10 8SFF CTO CHASSIS



   41. 137   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $15,048      NET BOOK VALUE          $15,048
             GEN10 8SFF CTO CHASSIS



   41. 138   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                 $13,557      NET BOOK VALUE          $13,557
             GEN10 8SFF CTO CHASSIS




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   41. 139   COMPUTER EQUIPMENT:FACILITIES-CORP DL360                   $3,869     NET BOOK VALUE           $3,869
             GENT0



   41. 140   COMPUTER EQUIPMENT:FACILITIES-CORP E5506                              NET BOOK VALUE              $0
             PROCESS



   41. 141   COMPUTER EQUIPMENT:FACILITIES-CORP EMC                                NET BOOK VALUE              $0
             4GB DAE



   41. 142   COMPUTER EQUIPMENT:FACILITIES-CORP FIBER                              NET BOOK VALUE              $0
             SWICHES



   41. 143   COMPUTER EQUIPMENT:FACILITIES-CORP FIBER                              NET BOOK VALUE              $0
             SWITCHES



   41. 144   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DISK DRIV



   41. 145   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DRIVES H



   41. 146   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DRIVES - H



   41. 147   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DRIVES 60



   41. 148   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DRIVES EM



   41. 149   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DRIVES HP



   41. 150   COMPUTER EQUIPMENT:FACILITIES-CORP HARD                               NET BOOK VALUE              $0
             DRIVES HP



   41. 151   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HARDWARE INFRA



   41. 152   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HARDWARE REFR




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   41. 153   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEALTHCONN



   41. 154   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEALTHCONN



   41. 155   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEALTHCONN



   41. 156   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEALTHCONN



   41. 157   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEWLETT PACKA



   41. 158   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEWLETT PACKA



   41. 159   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             HEWLETT PACKA



   41. 160   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             146GB 6G



   41. 161   COMPUTER EQUIPMENT:FACILITIES-CORP HP 16                              NET BOOK VALUE              $0
             GB 4RX



   41. 162   COMPUTER EQUIPMENT:FACILITIES-CORP HP 16                              NET BOOK VALUE              $0
             GB DUA



   41. 163   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             16GB (1X1



   41. 164   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             2530 48GI



   41. 165   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 166   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G




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   41. 167   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 168   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 169   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 170   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 171   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 172   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             300GB 6G



   41. 173   COMPUTER EQUIPMENT:FACILITIES-CORP HP                    $59,239      NET BOOK VALUE          $59,239
             32GB (1X3



   41. 174   COMPUTER EQUIPMENT:FACILITIES-CORP HP                       $359      NET BOOK VALUE            $359
             32GB (1X3



   41. 175   COMPUTER EQUIPMENT:FACILITIES-CORP HP                      $2,439     NET BOOK VALUE           $2,439
             32GB 4RX



   41. 176   COMPUTER EQUIPMENT:FACILITIES-CORP HP                      $1,369     NET BOOK VALUE           $1,369
             32GB 4RX



   41. 177   COMPUTER EQUIPMENT:FACILITIES-CORP HP                       $818      NET BOOK VALUE            $818
             32GB 4RX



   41. 178   COMPUTER EQUIPMENT:FACILITIES-CORP HP                       $762      NET BOOK VALUE            $762
             32GB 4RX



   41. 179   COMPUTER EQUIPMENT:FACILITIES-CORP HP                       $644      NET BOOK VALUE            $644
             32GB 4RX



   41. 180   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G




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   41. 181   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 182   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 183   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 184   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 185   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 186   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 187   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             500GB 6G



   41. 188   COMPUTER EQUIPMENT:FACILITIES-CORP HP                       $586      NET BOOK VALUE            $586
             600GB 12G



   41. 189   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             600GB 12G



   41. 190   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             600GB 12G



   41. 191   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             600GB 6G



   41. 192   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             750W CS H



   41. 193   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             8GB 2RX4



   41. 194   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             8GB DUAL R




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   41. 195   COMPUTER EQUIPMENT:FACILITIES-CORP HP                      $3,743     NET BOOK VALUE           $3,743
             DL360 GEN



   41. 196   COMPUTER EQUIPMENT:FACILITIES-CORP HP                    $10,261      NET BOOK VALUE          $10,261
             DL360 GEN9 8SFF CTO SERVER



   41. 197   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             DL360P GE



   41. 198   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             DL360R06



   41. 199   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             HARD DRI



   41. 200   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             HARD DRIVE



   41. 201   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             HARDWARE M



   41. 202   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             M6710 900



   41. 203   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             MODULAR SM



   41. 204   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             MSA 2040



   41. 205   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             MSA 2040



   41. 206   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             P2000 3TB



   41. 207   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             P2000 DUA



   41. 208   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT




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   41. 209   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT



   41. 210   COMPUTER EQUIPMENT:FACILITIES-CORP HP                       $106      NET BOOK VALUE            $106
             PROLIANT DL



   41. 211   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT DL



   41. 212   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT DL



   41. 213   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT DL



   41. 214   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT DL



   41. 215   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT DL



   41. 216   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             PROLIANT DL



   41. 217   COMPUTER EQUIPMENT:FACILITIES-CORP HP                                 NET BOOK VALUE              $0
             SERVERS (3)



   41. 218   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                   $80,126      NET BOOK VALUE          $80,126
             32GB (1X



   41. 219   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                      $508      NET BOOK VALUE            $508
             600GB S



   41. 220   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                   $27,967      NET BOOK VALUE          $27,967
             DL360 G



   41. 221   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $7,368     NET BOOK VALUE           $7,368
             DL360 G



   41. 222   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $6,522     NET BOOK VALUE           $6,522
             DL360 G




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   41. 223   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $6,306     NET BOOK VALUE           $6,306
             DL360 G



   41. 224   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $5,939     NET BOOK VALUE           $5,939
             DL360 G



   41. 225   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $4,134     NET BOOK VALUE           $4,134
             DL360 G



   41. 226   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $3,869     NET BOOK VALUE           $3,869
             DL360 G



   41. 227   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                   $14,659      NET BOOK VALUE          $14,659
             DL360 GEN 10 INTEL XEON



   41. 228   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                     $3,637     NET BOOK VALUE           $3,637
             DL360 GEN10 INTEL XEON-GOLD 6140



   41. 229   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                                NET BOOK VALUE              $0
             M6710 1.



   41. 230   COMPUTER EQUIPMENT:FACILITIES-CORP HPE                                NET BOOK VALUE              $0
             MSA 4TB



   41. 231   COMPUTER EQUIPMENT:FACILITIES-CORP IBM                  $124,930      NET BOOK VALUE         $124,930
             FLASHSYST



   41. 232   COMPUTER EQUIPMENT:FACILITIES-CORP IBM                   $15,983      NET BOOK VALUE          $15,983
             STOREWIZE



   41. 233   COMPUTER EQUIPMENT:FACILITIES-CORP IBM                  $100,188      NET BOOK VALUE         $100,188
             V7000 (17



   41. 234   COMPUTER EQUIPMENT:FACILITIES-CORP ID                                 NET BOOK VALUE              $0
             PHOTO BADG



   41. 235   COMPUTER EQUIPMENT:FACILITIES-CORP INTEL                    $847      NET BOOK VALUE            $847
             XEON 12 C



   41. 236   COMPUTER EQUIPMENT:FACILITIES-CORP INTEL                    $458      NET BOOK VALUE            $458
             XEON 12 C




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   41. 237   COMPUTER EQUIPMENT:FACILITIES-CORP KEMP                               NET BOOK VALUE              $0
             LOAD BA



   41. 238   COMPUTER EQUIPMENT:FACILITIES-CORP                         $1,724     NET BOOK VALUE           $1,724
             LATITUDE E5450



   41. 239   COMPUTER EQUIPMENT:FACILITIES-CORP                          $960      NET BOOK VALUE            $960
             LATITUDE E5450



   41. 240   COMPUTER EQUIPMENT:FACILITIES-CORP                         $3,762     NET BOOK VALUE           $3,762
             LEIBERT 6KKVA



   41. 241   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             LEOCH XP12-1



   41. 242   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             LOADMASTER 24



   41. 243   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             LOADMASTER 24



   41. 244   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             LUMINX FIREWA



   41. 245   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             MEMORY FOR SE



   41. 246   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             MEMORY HARD D



   41. 247   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             MEMORY SERVE



   41. 248   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             MEMORY UPGRA



   41. 249   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             MEMORY UPGRA



   41. 250   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             MEMORY/HARD D




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   41. 251   COMPUTER EQUIPMENT:FACILITIES-CORP MS                                 NET BOOK VALUE              $0
             SURFACE PR



   41. 252   COMPUTER EQUIPMENT:FACILITIES-CORP NEW 3                              NET BOOK VALUE              $0
             PAR ST



   41. 253   COMPUTER EQUIPMENT:FACILITIES-CORP NEW                      $337      NET BOOK VALUE            $337
             PC'S REF



   41. 254   COMPUTER EQUIPMENT:FACILITIES-CORP                         $2,343     NET BOOK VALUE           $2,343
             PRECISION 3440 SMALL FORM FACTOR



   41. 255   COMPUTER EQUIPMENT:FACILITIES-CORP                         $2,476     NET BOOK VALUE           $2,476
             PRECISION 5820 TOWER INTEL XEON



   41. 256   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             PROCURVE S



   41. 257   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             ROUTERS FOR JOH



   41. 258   COMPUTER EQUIPMENT:FACILITIES-CORP                       $28,935      NET BOOK VALUE          $28,935
             SAMSUNG SSD



   41. 259   COMPUTER EQUIPMENT:FACILITIES-CORP                          $396      NET BOOK VALUE            $396
             SAMSUNG SSD



   41. 260   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (HAR



   41. 261   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (HAR



   41. 262   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (HAR



   41. 263   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (SERV



   41. 264   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (SERV




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   41. 265   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (SERV



   41. 266   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (SERV



   41. 267   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS (SERV



   41. 268   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SAVVIS DATA



   41. 269   COMPUTER EQUIPMENT:FACILITIES-CORP SBY                                NET BOOK VALUE              $0
             PROBROOK



   41. 270   COMPUTER EQUIPMENT:FACILITIES-CORP SBY                                NET BOOK VALUE              $0
             PROBROOK



   41. 271   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SERVER FOR



   41. 272   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SERVERS: HP 16



   41. 273   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SMARTBUY H



   41. 274   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (H



   41. 275   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (H



   41. 276   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (H



   41. 277   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (H



   41. 278   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (H




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   41. 279   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 280   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 281   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 282   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 283   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 284   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 285   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 286   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 287   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 288   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 289   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 290   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 291   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD (SE



   41. 292   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             SUNGARD AD




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   41. 293   COMPUTER EQUIPMENT:FACILITIES-CORP                                    NET BOOK VALUE              $0
             TS3200 TAPE



   41. 294   COMPUTER EQUIPMENT:FACILITIES-CORP V5000                   $7,858     NET BOOK VALUE           $7,858
             SFF EX



   41. 295   COMPUTER EQUIPMENT:FACILITIES-CORP WIFI                               NET BOOK VALUE              $0
             DEVICE U



   41. 296   COMPUTER EQUIPMENT:FACILITIES-CUREPET                                 NET BOOK VALUE              $0
             CUREPET OPENI



   41. 297   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE                               NET BOOK VALUE              $0
             CABLES: SAMSU



   41. 298   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE HP                 $2,337     NET BOOK VALUE           $2,337
             32GB 4RX



   41. 299   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE HP                            NET BOOK VALUE              $0
             600GB 12G



   41. 300   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE HP                            NET BOOK VALUE              $0
             8GB 2RX4



   41. 301   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE HP                            NET BOOK VALUE              $0
             DL360 GE



   41. 302   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE HP                            NET BOOK VALUE              $0
             SERVER DL3



   41. 303   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE                               NET BOOK VALUE              $0
             INFORCE PRO DE



   41. 304   COMPUTER EQUIPMENT:FACILITIES-EBIX LIFE                     $173      NET BOOK VALUE            $173
             WINFLEX BENCH



   41. 305   COMPUTER EQUIPMENT:FACILITIES-EZ DATA                                 NET BOOK VALUE              $0
             CISCO ASA 552



   41. 306   COMPUTER EQUIPMENT:FACILITIES-EZ DATA HP                              NET BOOK VALUE              $0
             600GB 12G




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   41. 307   COMPUTER EQUIPMENT:FACILITIES-EZ DATA HP                              NET BOOK VALUE              $0
             PRODESK 40



   41. 308   COMPUTER EQUIPMENT:FACILITIES-EZ DATA HP                              NET BOOK VALUE              $0
             PRODESK 40



   41. 309   COMPUTER EQUIPMENT:FACILITIES-EZ DATA HP                              NET BOOK VALUE              $0
             PRODESK 40



   41. 310   COMPUTER EQUIPMENT:FACILITIES-EZ DATA                                 NET BOOK VALUE              $0
             SMARTBUY HP 3



   41. 311   COMPUTER EQUIPMENT:FACILITIES-EZ DATA                                 NET BOOK VALUE              $0
             SUNGARD (SE



   41. 312   COMPUTER EQUIPMENT:FACILITIES-EZ DATA                                 NET BOOK VALUE              $0
             THORNTON C



   41. 313   COMPUTER EQUIPMENT:FACILITIES-EZ DATA                                 NET BOOK VALUE              $0
             WIFI ROUTER DS



   41. 314   COMPUTER EQUIPMENT:FACILITIES-FINETRE HP                              NET BOOK VALUE              $0
             PROBOOK 44



   41. 315   COMPUTER EQUIPMENT:FACILITIES-FINETRE                                 NET BOOK VALUE              $0
             PROCURVE S



   41. 316   COMPUTER EQUIPMENT:FACILITIES-FINETRE                                 NET BOOK VALUE              $0
             PROCURVE S



   41. 317   COMPUTER EQUIPMENT:FACILITIES-FINETRE                                 NET BOOK VALUE              $0
             SATA II DISK D



   41. 318   COMPUTER EQUIPMENT:FACILITIES-FINETRE                                 NET BOOK VALUE              $0
             SAVVIS DATA



   41. 319   COMPUTER EQUIPMENT:FACILITIES-HOPE HOPE                               NET BOOK VALUE              $0
             HEALTH O



   41. 320   COMPUTER EQUIPMENT:FACILITIES-IDS DELL                                NET BOOK VALUE              $0
             MONITORS 1




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   41. 321   COMPUTER EQUIPMENT:FACILITIES-IDS                                     NET BOOK VALUE              $0
             DESKTOP COMP



   41. 322   COMPUTER EQUIPMENT:FACILITIES-IDS HP                                  NET BOOK VALUE              $0
             600GB 6G



   41. 323   COMPUTER EQUIPMENT:FACILITIES-IDS HP                                  NET BOOK VALUE              $0
             DESKTOP C



   41. 324   COMPUTER EQUIPMENT:FACILITIES-IDS HP                                  NET BOOK VALUE              $0
             DL380P G8



   41. 325   COMPUTER EQUIPMENT:FACILITIES-IDS HP PRO                              NET BOOK VALUE              $0
             6200 M



   41. 326   COMPUTER EQUIPMENT:FACILITIES-IDS NEW                                 NET BOOK VALUE              $0
             SERVER FOR



   41. 327   COMPUTER EQUIPMENT:FACILITIES-IDS                                     NET BOOK VALUE              $0
             SCANNER FUJITS



   41. 328   COMPUTER EQUIPMENT:FACILITIES-OAK AUDIO                     $524      NET BOOK VALUE            $524
             COMPUT



   41. 329   COMPUTER EQUIPMENT:FACILITIES-OAK BTO                       $543      NET BOOK VALUE            $543
             PREC 58



   41. 330   COMPUTER EQUIPMENT:FACILITIES-OAK                           $742      NET BOOK VALUE            $742
             COMPUTERS 800



   41. 331   COMPUTER EQUIPMENT:FACILITIES-OAK                                     NET BOOK VALUE              $0
             MACINTOSH COM



   41. 332   COMPUTER EQUIPMENT:FACILITIES-OAK MD-                                 NET BOOK VALUE              $0
             1000 HARD



   41. 333   COMPUTER EQUIPMENT:FACILITIES-OAK PR1                                 NET BOOK VALUE              $0
             CARD ON B



   41. 334   COMPUTER EQUIPMENT:FACILITIES-OAK                                     NET BOOK VALUE              $0
             RECORDING STU




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   41. 335   COMPUTER EQUIPMENT:FACILITIES-OAK                             $508      NET BOOK VALUE            $508
             SERVER POWER B



   41. 336   COMPUTER EQUIPMENT:FACILITIES-OAK VIDEO                                 NET BOOK VALUE              $0
             EDITING H



   41. 337   COMPUTER EQUIPMENT:FACILITIES-OAK VIDEO                       $358      NET BOOK VALUE            $358
             PRODUCTI



   41. 338   COMPUTER EQUIPMENT:FACILITIES-PERICULUM                                 NET BOOK VALUE              $0
             HP 1TB 6G SA



   41. 339   COMPUTER EQUIPMENT:FACILITIES-                                          NET BOOK VALUE              $0
             PLANETSOFT HP PROBOOK 44



   41. 340   COMPUTER EQUIPMENT:FACILITIES-                                          NET BOOK VALUE              $0
             PLANETSOFT LAPTOP HP PRO



   41. 341   COMPUTER EQUIPMENT:FACILITIES-                                          NET BOOK VALUE              $0
             PLANETSOFT TABLET/ LAPTOP



   41. 342   LEASEHOLD IMPROVEMEN:FACILITIES-EBIX LIFE                               NET BOOK VALUE              $0
             RELOCATE UTAH



   41. 343   OFFICE EQUIPMENT:FACILITIES-ACCL D120 JCT                               NET BOOK VALUE              $0
             LSE



   41. 344   OFFICE EQUIPMENT:FACILITIES-ACCL FUJITSU                                NET BOOK VALUE              $0
             SCANNE



   41. 345   OFFICE EQUIPMENT:FACILITIES-ACCL                                        NET BOOK VALUE              $0
             INTERACTIVE VOI



   41. 346   OFFICE EQUIPMENT:FACILITIES-ACCL SCANNER -                              NET BOOK VALUE              $0
             F1-6



   41. 347   OFFICE EQUIPMENT:FACILITIES-CORP 1ST                                    NET BOOK VALUE              $0
             FLOOR CONFE



   41. 348   OFFICE EQUIPMENT:FACILITIES-CORP 4TH                                    NET BOOK VALUE              $0
             FLOOR CONF




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   41. 349   OFFICE EQUIPMENT:FACILITIES-CORP 4TH                                  NET BOOK VALUE              $0
             FLOOR CONF



   41. 350   OFFICE EQUIPMENT:FACILITIES-CORP 4TH                                  NET BOOK VALUE              $0
             FLOOR VISITO



   41. 351   OFFICE EQUIPMENT:FACILITIES-CORP 7 AVAYA                              NET BOOK VALUE              $0
             B179



   41. 352   OFFICE EQUIPMENT:FACILITIES-CORP AFFING                               NET BOOK VALUE              $0
             OF TRAVE



   41. 353   OFFICE EQUIPMENT:FACILITIES-CORP AVAYA                                NET BOOK VALUE              $0
             PHONE B



   41. 354   OFFICE EQUIPMENT:FACILITIES-CORP BIKE                                 NET BOOK VALUE              $0
             RACKS



   41. 355   OFFICE EQUIPMENT:FACILITIES-CORP BOARD                                NET BOOK VALUE              $0
             ROOM



   41. 356   OFFICE EQUIPMENT:FACILITIES-CORP CEO                                  NET BOOK VALUE              $0
             OFFICE



   41. 357   OFFICE EQUIPMENT:FACILITIES-CORP CEO TV                               NET BOOK VALUE              $0



   41. 358   OFFICE EQUIPMENT:FACILITIES-CORP CRESTON                              NET BOOK VALUE              $0
             FUSION



   41. 359   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             CUSTOMER INTER



   41. 360   OFFICE EQUIPMENT:FACILITIES-CORP DIGITAL                              NET BOOK VALUE              $0
             PROJECTO



   41. 361   OFFICE EQUIPMENT:FACILITIES-CORP DIRECT                               NET BOOK VALUE              $0
             TV INSTA



   41. 362   OFFICE EQUIPMENT:FACILITIES-CORP DMW 27.5                             NET BOOK VALUE              $0
             700




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   41. 363   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             ELEVATOR AREAS



   41. 364   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             ELEVATOR CAR D



   41. 365   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             FAXPRESS R



   41. 366   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             HOISTWAY CLEAN



   41. 367   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             HOSHIZAKI ICE M



   41. 368   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             HOSHIZAKI ICE M



   41. 369   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             INSTALLATION WA



   41. 370   OFFICE EQUIPMENT:FACILITIES-CORP LIEBERT                              NET BOOK VALUE              $0
             NPOWE



   41. 371   OFFICE EQUIPMENT:FACILITIES-CORP LOBBY                                NET BOOK VALUE              $0
             AREA 2N



   41. 372   OFFICE EQUIPMENT:FACILITIES-CORP LOBBY                                NET BOOK VALUE              $0
             AREA FIR



   41. 373   OFFICE EQUIPMENT:FACILITIES-CORP LOBBY                                NET BOOK VALUE              $0
             AREA FIR



   41. 374   OFFICE EQUIPMENT:FACILITIES-CORP REPUBLIC                             NET BOOK VALUE              $0
             BIKES



   41. 375   OFFICE EQUIPMENT:FACILITIES-CORP ROOM                                 NET BOOK VALUE              $0
             SCHEDU



   41. 376   OFFICE EQUIPMENT:FACILITIES-CORP                                      NET BOOK VALUE              $0
             SCHEDULING SY




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   41. 377   OFFICE EQUIPMENT:FACILITIES-CORP SMALL                                  NET BOOK VALUE              $0
             HUDDLE/C



   41. 378   OFFICE EQUIPMENT:FACILITIES-CORP SMALL                                  NET BOOK VALUE              $0
             HUDDLE/C



   41. 379   OFFICE EQUIPMENT:FACILITIES-CORP SUMMIT                                 NET BOOK VALUE              $0
             REFRIGE



   41. 380   OFFICE EQUIPMENT:FACILITIES-CORP                                        NET BOOK VALUE              $0
             TELEVISION JC H



   41. 381   OFFICE EQUIPMENT:FACILITIES-CORP THERMAL                      $871      NET BOOK VALUE            $871
             MIRROR



   41. 382   OFFICE EQUIPMENT:FACILITIES-CORP VISITOR                                NET BOOK VALUE              $0
             LOUNGE



   41. 383   OFFICE EQUIPMENT:FACILITIES-CORP WIRELESS                               NET BOOK VALUE              $0
             MICS



   41. 384   OFFICE EQUIPMENT:FACILITIES-CORP WIRELESS                               NET BOOK VALUE              $0
             MICS



   41. 385   OFFICE EQUIPMENT:FACILITIES-EBIX LIFE                                   NET BOOK VALUE              $0
             SOUTHTEL PHON



   41. 386   OFFICE EQUIPMENT:FACILITIES-EZ DATA HP                                  NET BOOK VALUE              $0
             PRINTER/COP



   41. 387   OFFICE EQUIPMENT:FACILITIES-EZ DATA IP                                  NET BOOK VALUE              $0
             PHONE SYSTE



   41. 388   OFFICE EQUIPMENT:FACILITIES-EZ DATA PHONE                               NET BOOK VALUE              $0
             SYSTEM



   41. 389   OFFICE EQUIPMENT:FACILITIES-EZ DATA                                     NET BOOK VALUE              $0
             SOUTHTEL PHON



   41. 390   OFFICE EQUIPMENT:FACILITIES-IDS MAILROOM                                NET BOOK VALUE              $0
             EQUI




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   41. 391   OFFICE EQUIPMENT:FACILITIES-OAK ATOMOS                        $1,222     NET BOOK VALUE           $1,222
             SHOGU



   41. 392   OFFICE EQUIPMENT:FACILITIES-OAK CD                                       NET BOOK VALUE              $0
             DUPLICATION



   41. 393   OFFICE EQUIPMENT:FACILITIES-OAK CD                                       NET BOOK VALUE              $0
             INSERTING E



   41. 394   OFFICE EQUIPMENT:FACILITIES-OAK CD/DVD                                   NET BOOK VALUE              $0
             DUPLI



   41. 395   OFFICE EQUIPMENT:FACILITIES-OAK DATAVIDEO                                NET BOOK VALUE              $0
             DAC



   41. 396   OFFICE EQUIPMENT:FACILITIES-OAK FOLDING                                  NET BOOK VALUE              $0
             MACHIN



   41. 397   OFFICE EQUIPMENT:FACILITIES-OAK LICENSE                                  NET BOOK VALUE              $0
             UPGRAD



   41. 398   OFFICE EQUIPMENT:FACILITIES-OAK                                          NET BOOK VALUE              $0
             RECORDING STU



   41. 399   OFFICE EQUIPMENT:FACILITIES-OAK                                          NET BOOK VALUE              $0
             RECORDING STU



   41. 400   OFFICE EQUIPMENT:FACILITIES-OAK                                          NET BOOK VALUE              $0
             RECORDING STU



   41. 401   OFFICE F&F:FACILITIES-CORP 12 - 84"H STORA                               NET BOOK VALUE              $0



   41. 402   OFFICE F&F:FACILITIES-CORP 128 - BRTSB7                                  NET BOOK VALUE              $0



   41. 403   OFFICE F&F:FACILITIES-CORP 128 -RECTANGU                                 NET BOOK VALUE              $0



   41. 404   OFFICE F&F:FACILITIES-CORP 128 -RECTANGU                                 NET BOOK VALUE              $0



   41. 405   OFFICE F&F:FACILITIES-CORP 128 -VION-HB                                  NET BOOK VALUE              $0



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   41. 406   OFFICE F&F:FACILITIES-CORP 19 HOUSING TO                                 NET BOOK VALUE              $0



   41. 407   OFFICE F&F:FACILITIES-CORP 22 -BASE FEED                                 NET BOOK VALUE              $0



   41. 408   OFFICE F&F:FACILITIES-CORP 230 40 BRTBA                                  NET BOOK VALUE              $0



   41. 409   OFFICE F&F:FACILITIES-CORP 232 128 BRTS                                  NET BOOK VALUE              $0



   41. 410   OFFICE F&F:FACILITIES-CORP 240 128 6331-                                 NET BOOK VALUE              $0



   41. 411   OFFICE F&F:FACILITIES-CORP 264 - DUPLEX R                                NET BOOK VALUE              $0



   41. 412   OFFICE F&F:FACILITIES-CORP 32 - 25" SHARE                                NET BOOK VALUE              $0



   41. 413   OFFICE F&F:FACILITIES-CORP 32 -ARTI-UPH                                  NET BOOK VALUE              $0



   41. 414   OFFICE F&F:FACILITIES-CORP 32 - BELOW WO                                 NET BOOK VALUE              $0



   41. 415   OFFICE F&F:FACILITIES-CORP 32 - LUXE - TA                                NET BOOK VALUE              $0



   41. 416   OFFICE F&F:FACILITIES-CORP 32 GLASS TABLE                                NET BOOK VALUE              $0



   41. 417   OFFICE F&F:FACILITIES-CORP 32 PEDESTAL CU                                NET BOOK VALUE              $0



   41. 418   OFFICE F&F:FACILITIES-CORP 42 - BRTBA34                                  NET BOOK VALUE              $0



   41. 419   OFFICE F&F:FACILITIES-CORP 42- HOUSING TO                                NET BOOK VALUE              $0



   41. 420   OFFICE F&F:FACILITIES-CORP 44 - L 62.5"D X                               NET BOOK VALUE              $0



   41. 421   OFFICE F&F:FACILITIES-CORP 44 - BRTBA63                                  NET BOOK VALUE              $0



   41. 422   OFFICE F&F:FACILITIES-CORP 64 - 25" SHARE                                NET BOOK VALUE              $0




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Ebix, Inc.                                                                                Case Number:   23-80004-11

Schedule A/B: Assets — Real and Personal Property
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   41. 423   OFFICE F&F:FACILITIES-CORP 64 - 25" SHARE                               NET BOOK VALUE              $0



   41. 424   OFFICE F&F:FACILITIES-CORP 64 - BELOW WO                                NET BOOK VALUE              $0



   41. 425   OFFICE F&F:FACILITIES-CORP 64 - GLASS TAB                               NET BOOK VALUE              $0



   41. 426   OFFICE F&F:FACILITIES-CORP 64 - PEDESTAL C                              NET BOOK VALUE              $0



   41. 427   OFFICE F&F:FACILITIES-CORP 64- GLASS TABL                               NET BOOK VALUE              $0



   41. 428   OFFICE F&F:FACILITIES-CORP 64 PEDESTAL CU                               NET BOOK VALUE              $0



   41. 429   OFFICE F&F:FACILITIES-CORP 64 RECTANGULA                                NET BOOK VALUE              $0



   41. 430   OFFICE F&F:FACILITIES-CORP 64- VION-HB W                                NET BOOK VALUE              $0



   41. 431   OFFICE F&F:FACILITIES-CORP BASE FEED-SIN                                NET BOOK VALUE              $0



   41. 432   OFFICE F&F:FACILITIES-CORP BUZZIBLINDS 59                               NET BOOK VALUE              $0



   41. 433   OFFICE F&F:FACILITIES-CORP CAHOOTS LARGE                                NET BOOK VALUE              $0



   41. 434   OFFICE F&F:FACILITIES-CORP CHROME HURE T                                NET BOOK VALUE              $0



   41. 435   OFFICE F&F:FACILITIES-CORP COLLABORAT                                   NET BOOK VALUE              $0



   41. 436   OFFICE F&F:FACILITIES-CORP COVE FLUSH MO                                NET BOOK VALUE              $0



   41. 437   OFFICE F&F:FACILITIES-CORP DUET-ARMLESS                                 NET BOOK VALUE              $0



   41. 438   OFFICE F&F:FACILITIES-CORP DUPLEX RECEP                                 NET BOOK VALUE              $0



   41. 439   OFFICE F&F:FACILITIES-CORP EXEC ROOM AP                                 NET BOOK VALUE              $0




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Schedule A/B: Assets — Real and Personal Property
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   41. 440   OFFICE F&F:FACILITIES-CORP EXEC ROOM AP                                  NET BOOK VALUE              $0



   41. 441   OFFICE F&F:FACILITIES-CORP FURNITURE                                     NET BOOK VALUE              $0



   41. 442   OFFICE F&F:FACILITIES-CORP FURNITURE FREIG                               NET BOOK VALUE              $0



   41. 443   OFFICE F&F:FACILITIES-CORP HOUSING TO HO                                 NET BOOK VALUE              $0



   41. 444   OFFICE F&F:FACILITIES-CORP NEWTON GRAND                                  NET BOOK VALUE              $0



   41. 445   OFFICE F&F:FACILITIES-CORP SYZ LOW MEE                                   NET BOOK VALUE              $0



   41. 446   OFFICE F&F:FACILITIES-CORP TABLE 216 X 60                                NET BOOK VALUE              $0



   41. 447   OFFICE F&F:FACILITIES-CORP VION-HB WEIG                                  NET BOOK VALUE              $0



   41. 448   OFFICE F&F:FACILITIES-EBIX LIFE SLC OFFICE/C                             NET BOOK VALUE              $0



   41. 449   OFFICE F&F:FACILITIES-OAK METALLIC PR                                    NET BOOK VALUE              $0



   41. 450   OFFICE F&F:FACILITIES-OAK OFFICE FURN                                    NET BOOK VALUE              $0



   41. 451   OFFICE F&F:FACILITIES-OAK OFFICE FURN                                    NET BOOK VALUE              $0



   41. 452   OFFICE F&F:FACILITIES-OAK OFFICE FURN                                    NET BOOK VALUE              $0



   41. 453   OFFICE F&F:FACILITIES-PEAK OFFICE FURNITUR                               NET BOOK VALUE              $0



   41. 454   SOFTWARE:FACILITIES-ACCL PRONEXUS VBV                                    NET BOOK VALUE              $0



   41. 455   SOFTWARE:FACILITIES-ACCL SHAREPOINT PRO                                  NET BOOK VALUE              $0



   41. 456   SOFTWARE:FACILITIES-CORP 23 VISUAL STUD                                  NET BOOK VALUE              $0




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Schedule A/B: Assets — Real and Personal Property
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   41. 457   SOFTWARE:FACILITIES-CORP ABCPDF.NET                                   NET BOOK VALUE              $0



   41. 458   SOFTWARE:FACILITIES-CORP ADOBE ACROBA                                 NET BOOK VALUE              $0



   41. 459   SOFTWARE:FACILITIES-CORP ADOBE CAPT                                   NET BOOK VALUE              $0



   41. 460   SOFTWARE:FACILITIES-CORP GOANWHERE AD                                 NET BOOK VALUE              $0



   41. 461   SOFTWARE:FACILITIES-CORP GOANYWHERE A                                 NET BOOK VALUE              $0



   41. 462   SOFTWARE:FACILITIES-CORP MICROSOFT EXCH                               NET BOOK VALUE              $0



   41. 463   SOFTWARE:FACILITIES-CORP MICROSOFT EXCH                               NET BOOK VALUE              $0



   41. 464   SOFTWARE:FACILITIES-CORP MICROSOFT LICEN                              NET BOOK VALUE              $0



   41. 465   SOFTWARE:FACILITIES-CORP MICROSOFT OFFIC                              NET BOOK VALUE              $0



   41. 466   SOFTWARE:FACILITIES-CORP MICROSOFT OFFIC                              NET BOOK VALUE              $0



   41. 467   SOFTWARE:FACILITIES-CORP MICROSOFT SQL                                NET BOOK VALUE              $0



   41. 468   SOFTWARE:FACILITIES-CORP MICROSOFT SQL                                NET BOOK VALUE              $0



   41. 469   SOFTWARE:FACILITIES-CORP MICROSOFT SQL                                NET BOOK VALUE              $0



   41. 470   SOFTWARE:FACILITIES-CORP MICROSOFT VISUA                              NET BOOK VALUE              $0



   41. 471   SOFTWARE:FACILITIES-CORP MICROSOFT WIND                               NET BOOK VALUE              $0



   41. 472   SOFTWARE:FACILITIES-CORP MICROSOFT WIND                               NET BOOK VALUE              $0



   41. 473   SOFTWARE:FACILITIES-CORP MICROSOFT WINR                               NET BOOK VALUE              $0




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   41. 474   SOFTWARE:FACILITIES-CORP MICROSOFT WINS                               NET BOOK VALUE              $0



   41. 475   SOFTWARE:FACILITIES-CORP MICROSOFT                                    NET BOOK VALUE              $0
             WORD



   41. 476   SOFTWARE:FACILITIES-CORP MS SQL SVR S                                 NET BOOK VALUE              $0



   41. 477   SOFTWARE:FACILITIES-CORP MS VISUAL STUD                               NET BOOK VALUE              $0



   41. 478   SOFTWARE:FACILITIES-CORP MS VISUAL STUD                               NET BOOK VALUE              $0



   41. 479   SOFTWARE:FACILITIES-CORP MS VISUAL STUD                               NET BOOK VALUE              $0



   41. 480   SOFTWARE:FACILITIES-CORP MS WINDOW LI                                 NET BOOK VALUE              $0



   41. 481   SOFTWARE:FACILITIES-CORP NEW 3 PAR ST                                 NET BOOK VALUE              $0



   41. 482   SOFTWARE:FACILITIES-CORP OFFICE STD DE                                NET BOOK VALUE              $0



   41. 483   SOFTWARE:FACILITIES-CORP ORACLE DATABA                                NET BOOK VALUE              $0



   41. 484   SOFTWARE:FACILITIES-CORP ORACLE DATABA                                NET BOOK VALUE              $0



   41. 485   SOFTWARE:FACILITIES-CORP PROJECT PRO 201                              NET BOOK VALUE              $0



   41. 486   SOFTWARE:FACILITIES-CORP SAGE 100 INTEL                               NET BOOK VALUE              $0



   41. 487   SOFTWARE:FACILITIES-CORP SHAREPOINT SVR                               NET BOOK VALUE              $0



   41. 488   SOFTWARE:FACILITIES-CORP SPLITVIEW PERSO                              NET BOOK VALUE              $0



   41. 489   SOFTWARE:FACILITIES-CORP THALES LICENSING                             NET BOOK VALUE              $0



   41. 490   SOFTWARE:FACILITIES-CORP VIS STUDIO PRO                               NET BOOK VALUE              $0




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   41. 491   SOFTWARE:FACILITIES-CORP VISIO STD 201                                  NET BOOK VALUE              $0



   41. 492   SOFTWARE:FACILITIES-CORP VISIOPRO 2013                                  NET BOOK VALUE              $0



   41. 493   SOFTWARE:FACILITIES-CORP VISSTUDIO PRO U                                NET BOOK VALUE              $0



   41. 494   SOFTWARE:FACILITIES-CORP VISUAL STUDIO 2                                NET BOOK VALUE              $0



   41. 495   SOFTWARE:FACILITIES-CORP VISUAL STUDIO 2                                NET BOOK VALUE              $0



   41. 496   SOFTWARE:FACILITIES-CORP VISUAL STUDIO E                                NET BOOK VALUE              $0



   41. 497   SOFTWARE:FACILITIES-CORP VISUAL STUDIO P                                NET BOOK VALUE              $0



   41. 498   SOFTWARE:FACILITIES-CORP VISUAL STUDIO P                                NET BOOK VALUE              $0



   41. 499   SOFTWARE:FACILITIES-CORP VISUAL STUDIO P                                NET BOOK VALUE              $0



   41. 500   SOFTWARE:FACILITIES-CORP WIN RDS USE                                    NET BOOK VALUE              $0



   41. 501   SOFTWARE:FACILITIES-CORP WINDOWS SE                                     NET BOOK VALUE              $0



   41. 502   SOFTWARE:FACILITIES-CORP WINDOWS SERV                                   NET BOOK VALUE              $0



   41. 503   SOFTWARE:FACILITIES-CORP XMLSPY 2019                                    NET BOOK VALUE              $0



   41. 504   SOFTWARE:FACILITIES-EBIX LIFE 2017 VISUAL ST                            NET BOOK VALUE              $0



   41. 505   SOFTWARE:FACILITIES-EZ DATA ASPOSE                                      NET BOOK VALUE              $0
             LIBRARY



   41. 506   SOFTWARE:FACILITIES-EZ DATA HTTPWATCH                                   NET BOOK VALUE              $0
             LICE




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Schedule A/B: Assets — Real and Personal Property
  Part 7:       Office furniture, fixtures, and equipment; and collectibles - detail

   41. 507   SOFTWARE:FACILITIES-EZ DATA ORACLE                                    NET BOOK VALUE              $0
             ADVANC



   41. 508   SOFTWARE:FACILITIES-EZ DATA TX CONTROL                                NET BOOK VALUE              $0
             (UN



   41. 509   SOFTWARE:FACILITIES-OAK AVAYA LICENSE                                 NET BOOK VALUE              $0



   41. 510   SOFTWARE:FACILITIES-OAK AVAYA LICENSE                                 NET BOOK VALUE              $0



   41. 511   SOFTWARE:FACILITIES-OAK AVAYA LICENSE                                 NET BOOK VALUE              $0



   41. 512   SOFTWARE:FACILITIES-OAK DATA TRANSFER                                 NET BOOK VALUE              $0



   41. 513   SOFTWARE:FACILITIES-OAK OAKSTONE WEB                                  NET BOOK VALUE              $0



   41. 514   SOFTWARE:FACILITIES-OAK PB WELLNESS R                                 NET BOOK VALUE              $0



   41. 515   SOFTWARE:FACILITIES-OAK PD CAP: PB EN                                 NET BOOK VALUE              $0



   41. 516   SOFTWARE:FACILITIES-OAK REPORTING XIM                                 NET BOOK VALUE              $0



   41. 517   SOFTWARE:FACILITIES-OAK SOFTWARE TO DE                                NET BOOK VALUE              $0



   41. 518   SOFTWARE:FACILITIES-OAK XIMA CHRONICA                                 NET BOOK VALUE              $0



   41. 519   SOFTWARE:FACILITIES-PEAK CRYSTAL REPORT                               NET BOOK VALUE              $0



   41. 520   SOFTWARE:FACILITIES-PERICULUM WINDOW 7                                NET BOOK VALUE              $0
             LICE



   41. 521   SOFTWARE:FACILITIES-PLANETSOFT MAPFORCE                               NET BOOK VALUE              $0
             ALTOV




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Schedule A/B: Assets — Real and Personal Property
      Part 7:           Office furniture, fixtures, and equipment; and collectibles - detail

42.    Collectibles

      42. 1




43.           Total of Part 7                                                                                           $856,752

              Add lines 39 through 42. Copy the total to line 86.


44. Is a depreciation schedule available for any of the property listed in Part 7?

                No
                Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

                No
                Yes




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Schedule A/B: Assets — Real and Personal Property
   Part 8:          Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

            No. Go to Part 9.
            Yes. Fill in the information below.


 General description                                                               Net book value of   Valuation method         Current value of
                                                                                   debtor's interest   used for current value   debtor’s interest
                                                                                   (Where available)




47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47 1


48. Watercraft, trailers, motors, and related accessories
     Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels

     48 1


49. Aircraft and accessories

     49 1


50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

     50 1



51. Total of Part 8
    Add lines 47 through 50. Copy the total to line 87.


52. Is a depreciation schedule available for any of the property listed in Part 8?

            No
            Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

            No
            Yes




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Schedule A/B: Assets — Real and Personal Property
   Part 9:         Real property - detail

54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes. Fill in the information below.


Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   55 1      BUILDING IMPROVEMENTS:FACILITIES-                                               $1,035   NET BOOK VALUE                $1,035
             CORP 16 LIGHTS IN HA (: NOT
             AVAILABLE )


   55 2      BUILDING IMPROVEMENTS:FACILITIES-                                              $34,509   NET BOOK VALUE               $34,509
             CORP BREAKROOMS M (: NOT
             AVAILABLE )


   55 3      BUILDING IMPROVEMENTS:FACILITIES-                                                $560    NET BOOK VALUE                  $560
             CORP CEO MASSAGE (: NOT
             AVAILABLE )


   55 4      BUILDING IMPROVEMENTS:FACILITIES-                                          $201,003      NET BOOK VALUE             $201,003
             CORP CERAMIC TILES (: NOT
             AVAILABLE )


   55 5      BUILDING IMPROVEMENTS:FACILITIES-                                              $99,834   NET BOOK VALUE               $99,834
             CORP GLASS, GLAZING (: NOT
             AVAILABLE )


   55 6      BUILDING IMPROVEMENTS:FACILITIES-                                          $342,030      NET BOOK VALUE             $342,030
             CORP HVAC (: NOT AVAILABLE )


   55 7      BUILDING IMPROVEMENTS:FACILITIES-                                               $2,883   NET BOOK VALUE                $2,883
             CORP INSTALLATION OF N (: NOT
             AVAILABLE )


   55 8      BUILDING IMPROVEMENTS:FACILITIES-                                               $1,704   NET BOOK VALUE                $1,704
             CORP LIGHT FIXTURE AN (: NOT
             AVAILABLE )


   55 9      BUILDING IMPROVEMENTS:FACILITIES-                                              $19,266   NET BOOK VALUE               $19,266
             CORP LIGHTING ITEMS; (: NOT
             AVAILABLE )


   55 10     BUILDING IMPROVEMENTS:FACILITIES-                                               $5,726   NET BOOK VALUE                $5,726
             CORP LIGHTING ITEMS; (: NOT
             AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 11     BUILDING IMPROVEMENTS:FACILITIES-                                               $5,611   NET BOOK VALUE                $5,611
             CORP NEW COMPRES (: NOT
             AVAILABLE )


   55 12     BUILDING IMPROVEMENTS:FACILITIES-                                               $2,097   NET BOOK VALUE                $2,097
             CORP OUTDOOR JORDA (: NOT
             AVAILABLE )


   55 13     BUILDING IMPROVEMENTS:FACILITIES-                                               $2,078   NET BOOK VALUE                $2,078
             CORP OUTDOOR JORDA (: NOT
             AVAILABLE )


   55 14     BUILDING IMPROVEMENTS:FACILITIES-                                              $58,704   NET BOOK VALUE               $58,704
             CORP PAINT/WALLCOVE (: NOT
             AVAILABLE )


   55 15     BUILDING IMPROVEMENTS:FACILITIES-                                                $563    NET BOOK VALUE                  $563
             CORP PAINTING ON 2N (: NOT
             AVAILABLE )


   55 16     BUILDING IMPROVEMENTS:FACILITIES-                                               $3,313   NET BOOK VALUE                $3,313
             CORP TOILET EXHAUST (: NOT
             AVAILABLE )


   55 17     BUILDING:FACILITIES-CORP                                                       $46,264   NET BOOK VALUE               $46,264
             ACOUSTICAL (: NOT AVAILABLE )


   55 18     BUILDING:FACILITIES-CORP                                                       $28,731   NET BOOK VALUE               $28,731
             ARCHITECTURAL P (: NOT AVAILABLE )


   55 19     BUILDING:FACILITIES-CORP                                                       $21,494   NET BOOK VALUE               $21,494
             ARCHITECTURAL P (: NOT AVAILABLE )


   55 20     BUILDING:FACILITIES-CORP BUILDING                                              $45,997   NET BOOK VALUE               $45,997
             DESIG (: NOT AVAILABLE )


   55 21     BUILDING:FACILITIES-CORP BUILDING                                              $16,592   NET BOOK VALUE               $16,592
             DESIG (: NOT AVAILABLE )


   55 22     BUILDING:FACILITIES-CORP BUILDING                                              $14,572   NET BOOK VALUE               $14,572
             DESIG (: NOT AVAILABLE )


   55 23     BUILDING:FACILITIES-CORP BUILDING                                               $1,950   NET BOOK VALUE                $1,950
             ENGIN (: NOT AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
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Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 24     BUILDING:FACILITIES-CORP CONCRETE                                               $2,312   NET BOOK VALUE                $2,312
             WORK (: NOT AVAILABLE )


   55 25     BUILDING:FACILITIES-CORP                                                       $27,726   NET BOOK VALUE               $27,726
             DEMOLITION (: NOT AVAILABLE )


   55 26     BUILDING:FACILITIES-CORP DRYWALL                                           $379,620      NET BOOK VALUE             $379,620
             (: NOT AVAILABLE )


   55 27     BUILDING:FACILITIES-CORP DUE                                                    $4,835   NET BOOK VALUE                $4,835
             DILLIGENCE (: NOT AVAILABLE )


   55 28     BUILDING:FACILITIES-CORP                                                   $975,027      NET BOOK VALUE             $975,027
             ELECTRICAL (: NOT AVAILABLE )


   55 29     BUILDING:FACILITIES-CORP                                                       $15,431   NET BOOK VALUE               $15,431
             ENGINEERING FO (: NOT AVAILABLE )


   55 30     BUILDING:FACILITIES-CORP                                                       $10,042   NET BOOK VALUE               $10,042
             ENGINEERING FO (: NOT AVAILABLE )


   55 31     BUILDING:FACILITIES-CORP FIRE                                                  $35,408   NET BOOK VALUE               $35,408
             PROTECTION (: NOT AVAILABLE )


   55 32     BUILDING:FACILITIES-CORP FIRST                                                 $32,129   NET BOOK VALUE               $32,129
             AMERICAN (: NOT AVAILABLE )


   55 33     BUILDING:FACILITIES-CORP LAND                                                   $3,460   NET BOOK VALUE                $3,460
             DISTURBAN (: NOT AVAILABLE )


   55 34     BUILDING:FACILITIES-CORP MILLWORK                                          $245,387      NET BOOK VALUE             $245,387
             (: NOT AVAILABLE )


   55 35     BUILDING:FACILITIES-CORP MISC                                            $1,155,437      NET BOOK VALUE            $1,155,437
             BUILDING/O (: NOT AVAILABLE )


   55 36     BUILDING:FACILITIES-CORP PLUMBING                                          $125,098      NET BOOK VALUE             $125,098
             (: NOT AVAILABLE )


   55 37     BUILDING:FACILITIES-CORP PROPERTY                                               $5,147   NET BOOK VALUE                $5,147
             COND (: NOT AVAILABLE )


   55 38     BUILDING:FACILITIES-CORP PURCHASE                                              $60,886   NET BOOK VALUE               $60,886
             DUE (: NOT AVAILABLE )


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Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 39     BUILDING:FACILITIES-CORP PURCHASE                                        $6,749,041      NET BOOK VALUE            $6,749,041
             OF 11 (: NOT AVAILABLE )


   55 40     BUILDING:FACILITIES-CORP ROUGH                                                  $4,765   NET BOOK VALUE                $4,765
             CARPEN (: NOT AVAILABLE )


   55 41     BUILDING:FACILITIES-CORP ROUGH                                                 $51,634   NET BOOK VALUE               $51,634
             HARDWA (: NOT AVAILABLE )


   55 42     BUILDING:FACILITIES-CORP                                                       $10,465   NET BOOK VALUE               $10,465
             STRUCTURAL STEE (: NOT AVAILABLE )


   55 43     BUILDING:FACILITIES-CORP SURVEY                                                 $1,211   NET BOOK VALUE                $1,211
             AND PRO (: NOT AVAILABLE )


   55 44     BUILDING:FACILITIES-CORP WOOD                                                  $72,631   NET BOOK VALUE               $72,631
             DOORS (: NOT AVAILABLE )


   55 45     LAND IMPROVEMENTS:FACILITIES-                                                   $2,002   NET BOOK VALUE                $2,002
             CORP AGORA CHANNE (: NOT
             AVAILABLE )


   55 46     LAND IMPROVEMENTS:FACILITIES-                                                  $44,981   NET BOOK VALUE               $44,981
             CORP ANNUAL FLOWER (: NOT
             AVAILABLE )


   55 47     LAND IMPROVEMENTS:FACILITIES-                                                  $50,494   NET BOOK VALUE               $50,494
             CORP BACK OF PROPER (: NOT
             AVAILABLE )


   55 48     LAND IMPROVEMENTS:FACILITIES-                                                  $15,482   NET BOOK VALUE               $15,482
             CORP BICYCLE HUT; M (: NOT
             AVAILABLE )


   55 49     LAND IMPROVEMENTS:FACILITIES-                                                  $19,505   NET BOOK VALUE               $19,505
             CORP BOCCE COURT A (: NOT
             AVAILABLE )


   55 50     LAND IMPROVEMENTS:FACILITIES-                                                  $21,994   NET BOOK VALUE               $21,994
             CORP BOCCE COURT S (: NOT
             AVAILABLE )


   55 51     LAND IMPROVEMENTS:FACILITIES-                                                  $24,381   NET BOOK VALUE               $24,381
             CORP CANOPY ARTIFICI (: NOT
             AVAILABLE )


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Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 52     LAND IMPROVEMENTS:FACILITIES-                                                  $22,794   NET BOOK VALUE               $22,794
             CORP CEO PARKING W (: NOT
             AVAILABLE )


   55 53     LAND IMPROVEMENTS:FACILITIES-                                                  $32,828   NET BOOK VALUE               $32,828
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 54     LAND IMPROVEMENTS:FACILITIES-                                                  $22,696   NET BOOK VALUE               $22,696
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 55     LAND IMPROVEMENTS:FACILITIES-                                                  $22,456   NET BOOK VALUE               $22,456
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 56     LAND IMPROVEMENTS:FACILITIES-                                                  $22,267   NET BOOK VALUE               $22,267
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 57     LAND IMPROVEMENTS:FACILITIES-                                                   $9,044   NET BOOK VALUE                $9,044
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 58     LAND IMPROVEMENTS:FACILITIES-                                                   $3,938   NET BOOK VALUE                $3,938
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 59     LAND IMPROVEMENTS:FACILITIES-                                                   $3,458   NET BOOK VALUE                $3,458
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 60     LAND IMPROVEMENTS:FACILITIES-                                                   $3,245   NET BOOK VALUE                $3,245
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 61     LAND IMPROVEMENTS:FACILITIES-                                                   $2,958   NET BOOK VALUE                $2,958
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 62     LAND IMPROVEMENTS:FACILITIES-                                                   $2,853   NET BOOK VALUE                $2,853
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )




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Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 63     LAND IMPROVEMENTS:FACILITIES-                                                   $2,765   NET BOOK VALUE                $2,765
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 64     LAND IMPROVEMENTS:FACILITIES-                                                   $2,516   NET BOOK VALUE                $2,516
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 65     LAND IMPROVEMENTS:FACILITIES-                                                   $1,989   NET BOOK VALUE                $1,989
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 66     LAND IMPROVEMENTS:FACILITIES-                                                   $1,003   NET BOOK VALUE                $1,003
             CORP DESIGN, PERMIT (: NOT
             AVAILABLE )


   55 67     LAND IMPROVEMENTS:FACILITIES-                                                  $41,050   NET BOOK VALUE               $41,050
             CORP DRY CREEK BED (: NOT
             AVAILABLE )


   55 68     LAND IMPROVEMENTS:FACILITIES-                                                  $14,706   NET BOOK VALUE               $14,706
             CORP DRY CREEK BED (: NOT
             AVAILABLE )


   55 69     LAND IMPROVEMENTS:FACILITIES-                                                  $12,097   NET BOOK VALUE               $12,097
             CORP DRY CREEK BED (: NOT
             AVAILABLE )


   55 70     LAND IMPROVEMENTS:FACILITIES-                                                  $16,472   NET BOOK VALUE               $16,472
             CORP ELECT WORK; INS (: NOT
             AVAILABLE )


   55 71     LAND IMPROVEMENTS:FACILITIES-                                                  $41,871   NET BOOK VALUE               $41,871
             CORP FENCING BLACK (: NOT
             AVAILABLE )


   55 72     LAND IMPROVEMENTS:FACILITIES-                                                  $35,674   NET BOOK VALUE               $35,674
             CORP FENCING BLACK (: NOT
             AVAILABLE )


   55 73     LAND IMPROVEMENTS:FACILITIES-                                                  $15,908   NET BOOK VALUE               $15,908
             CORP FENCING REMA (: NOT
             AVAILABLE )




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Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest     used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 74     LAND IMPROVEMENTS:FACILITIES-                                                  $11,326   NET BOOK VALUE               $11,326
             CORP FIRE PIT FIRE PIT (: NOT
             AVAILABLE )


   55 75     LAND IMPROVEMENTS:FACILITIES-                                                  $85,565   NET BOOK VALUE               $85,565
             CORP FRONT ENTRANCE (: NOT
             AVAILABLE )


   55 76     LAND IMPROVEMENTS:FACILITIES-                                                  $15,740   NET BOOK VALUE               $15,740
             CORP FRONT ENTRANCE (: NOT
             AVAILABLE )


   55 77     LAND IMPROVEMENTS:FACILITIES-                                                  $94,111   NET BOOK VALUE               $94,111
             CORP FRONT OF BUILDIN (: NOT
             AVAILABLE )


   55 78     LAND IMPROVEMENTS:FACILITIES-                                                  $34,238   NET BOOK VALUE               $34,238
             CORP FRONT OF BUILDIN (: NOT
             AVAILABLE )


   55 79     LAND IMPROVEMENTS:FACILITIES-                                              $122,720      NET BOOK VALUE             $122,720
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 80     LAND IMPROVEMENTS:FACILITIES-                                                  $76,134   NET BOOK VALUE               $76,134
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 81     LAND IMPROVEMENTS:FACILITIES-                                                  $75,018   NET BOOK VALUE               $75,018
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 82     LAND IMPROVEMENTS:FACILITIES-                                                  $70,920   NET BOOK VALUE               $70,920
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 83     LAND IMPROVEMENTS:FACILITIES-                                                  $58,705   NET BOOK VALUE               $58,705
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 84     LAND IMPROVEMENTS:FACILITIES-                                                  $41,956   NET BOOK VALUE               $41,956
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )




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Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
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Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 85     LAND IMPROVEMENTS:FACILITIES-                                                  $38,996   NET BOOK VALUE               $38,996
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 86     LAND IMPROVEMENTS:FACILITIES-                                                  $37,329   NET BOOK VALUE               $37,329
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 87     LAND IMPROVEMENTS:FACILITIES-                                                  $24,990   NET BOOK VALUE               $24,990
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 88     LAND IMPROVEMENTS:FACILITIES-                                                  $22,155   NET BOOK VALUE               $22,155
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 89     LAND IMPROVEMENTS:FACILITIES-                                                  $12,903   NET BOOK VALUE               $12,903
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 90     LAND IMPROVEMENTS:FACILITIES-                                                  $11,825   NET BOOK VALUE               $11,825
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 91     LAND IMPROVEMENTS:FACILITIES-                                                  $11,286   NET BOOK VALUE               $11,286
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 92     LAND IMPROVEMENTS:FACILITIES-                                                  $10,879   NET BOOK VALUE               $10,879
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 93     LAND IMPROVEMENTS:FACILITIES-                                                   $7,747   NET BOOK VALUE                $7,747
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 94     LAND IMPROVEMENTS:FACILITIES-                                                   $7,581   NET BOOK VALUE                $7,581
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )


   55 95     LAND IMPROVEMENTS:FACILITIES-                                                   $5,129   NET BOOK VALUE                $5,129
             CORP GATED ENTRY/EN (: NOT
             AVAILABLE )




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Description and location of property                      Nature and extent     Net book value of     Valuation method   Current value of
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Assessor Parcel Number (APN), and type of property        interest in           (Where available)     value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 96     LAND IMPROVEMENTS:FACILITIES-                                                  $13,899   NET BOOK VALUE               $13,899
             CORP GAZEBO CONC (: NOT
             AVAILABLE )


   55 97     LAND IMPROVEMENTS:FACILITIES-                                                  $54,266   NET BOOK VALUE               $54,266
             CORP GAZEBO ROOF (: NOT
             AVAILABLE )


   55 98     LAND IMPROVEMENTS:FACILITIES-                                                  $17,753   NET BOOK VALUE               $17,753
             CORP GRADING OF TEN (: NOT
             AVAILABLE )


   55 99     LAND IMPROVEMENTS:FACILITIES-                                                  $30,377   NET BOOK VALUE               $30,377
             CORP GRILLING AREA D (: NOT
             AVAILABLE )


   55 100    LAND IMPROVEMENTS:FACILITIES-                                                  $12,126   NET BOOK VALUE               $12,126
             CORP GRILLING AREA A (: NOT
             AVAILABLE )


   55 101    LAND IMPROVEMENTS:FACILITIES-                                                   $8,075   NET BOOK VALUE                $8,075
             CORP GRILLING AREA LA (: NOT
             AVAILABLE )


   55 102    LAND IMPROVEMENTS:FACILITIES-                                                  $14,189   NET BOOK VALUE               $14,189
             CORP GUARD HOUSE C (: NOT
             AVAILABLE )


   55 103    LAND IMPROVEMENTS:FACILITIES-                                                   $7,074   NET BOOK VALUE                $7,074
             CORP GUARD HOUSE C (: NOT
             AVAILABLE )


   55 104    LAND IMPROVEMENTS:FACILITIES-                                                   $2,490   NET BOOK VALUE                $2,490
             CORP GUARD HOUSE C (: NOT
             AVAILABLE )


   55 105    LAND IMPROVEMENTS:FACILITIES-                                                  $11,299   NET BOOK VALUE               $11,299
             CORP GUARD HOUSE F (: NOT
             AVAILABLE )


   55 106    LAND IMPROVEMENTS:FACILITIES-                                                   $8,556   NET BOOK VALUE                $8,556
             CORP INSTALLATION OF F (: NOT
             AVAILABLE )




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(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 107    LAND IMPROVEMENTS:FACILITIES-                                                   $74,349   NET BOOK VALUE               $74,349
             CORP IPE SIDING SIDE (: NOT
             AVAILABLE )


   55 108    LAND IMPROVEMENTS:FACILITIES-                                                   $25,576   NET BOOK VALUE               $25,576
             CORP IRRIGATION IRRIG (: NOT
             AVAILABLE )


   55 109    LAND IMPROVEMENTS:FACILITIES-                                                   $16,407   NET BOOK VALUE               $16,407
             CORP IRRIGATION FRON (: NOT
             AVAILABLE )


   55 110    LAND IMPROVEMENTS:FACILITIES-                                                   $38,017   NET BOOK VALUE               $38,017
             CORP LAGOON WIRING, (: NOT
             AVAILABLE )


   55 111    LAND IMPROVEMENTS:FACILITIES-                                              $158,772       NET BOOK VALUE             $158,772
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 112    LAND IMPROVEMENTS:FACILITIES-                                              $102,408       NET BOOK VALUE             $102,408
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 113    LAND IMPROVEMENTS:FACILITIES-                                                   $93,678   NET BOOK VALUE               $93,678
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 114    LAND IMPROVEMENTS:FACILITIES-                                                   $89,946   NET BOOK VALUE               $89,946
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 115    LAND IMPROVEMENTS:FACILITIES-                                                   $76,074   NET BOOK VALUE               $76,074
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 116    LAND IMPROVEMENTS:FACILITIES-                                                   $75,772   NET BOOK VALUE               $75,772
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 117    LAND IMPROVEMENTS:FACILITIES-                                                   $68,938   NET BOOK VALUE               $68,938
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )




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Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 118    LAND IMPROVEMENTS:FACILITIES-                                                   $68,291   NET BOOK VALUE               $68,291
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 119    LAND IMPROVEMENTS:FACILITIES-                                                   $58,469   NET BOOK VALUE               $58,469
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 120    LAND IMPROVEMENTS:FACILITIES-                                                   $56,073   NET BOOK VALUE               $56,073
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 121    LAND IMPROVEMENTS:FACILITIES-                                                   $52,772   NET BOOK VALUE               $52,772
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 122    LAND IMPROVEMENTS:FACILITIES-                                                   $44,125   NET BOOK VALUE               $44,125
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 123    LAND IMPROVEMENTS:FACILITIES-                                                   $43,069   NET BOOK VALUE               $43,069
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 124    LAND IMPROVEMENTS:FACILITIES-                                                   $38,822   NET BOOK VALUE               $38,822
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 125    LAND IMPROVEMENTS:FACILITIES-                                                   $36,360   NET BOOK VALUE               $36,360
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 126    LAND IMPROVEMENTS:FACILITIES-                                                   $31,029   NET BOOK VALUE               $31,029
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 127    LAND IMPROVEMENTS:FACILITIES-                                                   $28,827   NET BOOK VALUE               $28,827
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 128    LAND IMPROVEMENTS:FACILITIES-                                                   $27,660   NET BOOK VALUE               $27,660
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )




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Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 129    LAND IMPROVEMENTS:FACILITIES-                                                   $26,737   NET BOOK VALUE               $26,737
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 130    LAND IMPROVEMENTS:FACILITIES-                                                   $25,221   NET BOOK VALUE               $25,221
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 131    LAND IMPROVEMENTS:FACILITIES-                                                   $24,208   NET BOOK VALUE               $24,208
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 132    LAND IMPROVEMENTS:FACILITIES-                                                   $21,947   NET BOOK VALUE               $21,947
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 133    LAND IMPROVEMENTS:FACILITIES-                                                   $19,752   NET BOOK VALUE               $19,752
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 134    LAND IMPROVEMENTS:FACILITIES-                                                   $17,991   NET BOOK VALUE               $17,991
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 135    LAND IMPROVEMENTS:FACILITIES-                                                   $17,459   NET BOOK VALUE               $17,459
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 136    LAND IMPROVEMENTS:FACILITIES-                                                   $17,292   NET BOOK VALUE               $17,292
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 137    LAND IMPROVEMENTS:FACILITIES-                                                   $16,792   NET BOOK VALUE               $16,792
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 138    LAND IMPROVEMENTS:FACILITIES-                                                   $14,663   NET BOOK VALUE               $14,663
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 139    LAND IMPROVEMENTS:FACILITIES-                                                   $14,319   NET BOOK VALUE               $14,319
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )




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Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 140    LAND IMPROVEMENTS:FACILITIES-                                                   $13,349   NET BOOK VALUE               $13,349
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 141    LAND IMPROVEMENTS:FACILITIES-                                                   $13,028   NET BOOK VALUE               $13,028
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 142    LAND IMPROVEMENTS:FACILITIES-                                                   $12,768   NET BOOK VALUE               $12,768
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 143    LAND IMPROVEMENTS:FACILITIES-                                                   $11,750   NET BOOK VALUE               $11,750
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 144    LAND IMPROVEMENTS:FACILITIES-                                                   $11,343   NET BOOK VALUE               $11,343
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 145    LAND IMPROVEMENTS:FACILITIES-                                                   $10,624   NET BOOK VALUE               $10,624
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 146    LAND IMPROVEMENTS:FACILITIES-                                                   $10,181   NET BOOK VALUE               $10,181
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 147    LAND IMPROVEMENTS:FACILITIES-                                                    $9,957   NET BOOK VALUE                $9,957
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 148    LAND IMPROVEMENTS:FACILITIES-                                                    $8,698   NET BOOK VALUE                $8,698
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 149    LAND IMPROVEMENTS:FACILITIES-                                                    $8,315   NET BOOK VALUE                $8,315
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 150    LAND IMPROVEMENTS:FACILITIES-                                                    $7,437   NET BOOK VALUE                $7,437
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 151    LAND IMPROVEMENTS:FACILITIES-                                                    $5,058   NET BOOK VALUE                $5,058
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 152    LAND IMPROVEMENTS:FACILITIES-                                                    $4,738   NET BOOK VALUE                $4,738
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 153    LAND IMPROVEMENTS:FACILITIES-                                                    $4,150   NET BOOK VALUE                $4,150
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 154    LAND IMPROVEMENTS:FACILITIES-                                                    $3,899   NET BOOK VALUE                $3,899
             CORP LAGOON/TIKI HU (: NOT
             AVAILABLE )


   55 155    LAND IMPROVEMENTS:FACILITIES-                                                   $10,838   NET BOOK VALUE               $10,838
             CORP LANDSCAPE ARC (: NOT
             AVAILABLE )


   55 156    LAND IMPROVEMENTS:FACILITIES-                                                    $9,197   NET BOOK VALUE                $9,197
             CORP LIGHTS FOR TENN (: NOT
             AVAILABLE )


   55 157    LAND IMPROVEMENTS:FACILITIES-                                                    $2,000   NET BOOK VALUE                $2,000
             CORP MISC IMPROVEM (: NOT
             AVAILABLE )


   55 158    LAND IMPROVEMENTS:FACILITIES-                                                    $6,453   NET BOOK VALUE                $6,453
             CORP MISC LANDSCAP (: NOT
             AVAILABLE )


   55 159    LAND IMPROVEMENTS:FACILITIES-                                                    $6,415   NET BOOK VALUE                $6,415
             CORP MISC LANDSCAP (: NOT
             AVAILABLE )


   55 160    LAND IMPROVEMENTS:FACILITIES-                                                    $3,946   NET BOOK VALUE                $3,946
             CORP MISC LANDSCAP (: NOT
             AVAILABLE )


   55 161    LAND IMPROVEMENTS:FACILITIES-                                                    $2,834   NET BOOK VALUE                $2,834
             CORP MISC LANDSCAP (: NOT
             AVAILABLE )




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   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 162    LAND IMPROVEMENTS:FACILITIES-                                                    $1,807   NET BOOK VALUE                $1,807
             CORP MISC LANDSCAP (: NOT
             AVAILABLE )


   55 163    LAND IMPROVEMENTS:FACILITIES-                                                    $1,112   NET BOOK VALUE                $1,112
             CORP MISC LANDSCAP (: NOT
             AVAILABLE )


   55 164    LAND IMPROVEMENTS:FACILITIES-                                                   $29,847   NET BOOK VALUE               $29,847
             CORP PARKING DECK C (: NOT
             AVAILABLE )


   55 165    LAND IMPROVEMENTS:FACILITIES-                                                    $9,891   NET BOOK VALUE                $9,891
             CORP PARKING LOT PA (: NOT
             AVAILABLE )


   55 166    LAND IMPROVEMENTS:FACILITIES-                                                   $12,964   NET BOOK VALUE               $12,964
             CORP PARKING LOT; O (: NOT
             AVAILABLE )


   55 167    LAND IMPROVEMENTS:FACILITIES-                                                   $82,497   NET BOOK VALUE               $82,497
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 168    LAND IMPROVEMENTS:FACILITIES-                                                   $54,012   NET BOOK VALUE               $54,012
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 169    LAND IMPROVEMENTS:FACILITIES-                                                   $50,131   NET BOOK VALUE               $50,131
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 170    LAND IMPROVEMENTS:FACILITIES-                                                   $32,642   NET BOOK VALUE               $32,642
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 171    LAND IMPROVEMENTS:FACILITIES-                                                   $30,168   NET BOOK VALUE               $30,168
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 172    LAND IMPROVEMENTS:FACILITIES-                                                   $21,775   NET BOOK VALUE               $21,775
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )




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Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 173    LAND IMPROVEMENTS:FACILITIES-                                                   $19,739   NET BOOK VALUE               $19,739
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 174    LAND IMPROVEMENTS:FACILITIES-                                                   $12,391   NET BOOK VALUE               $12,391
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 175    LAND IMPROVEMENTS:FACILITIES-                                                   $11,171   NET BOOK VALUE               $11,171
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 176    LAND IMPROVEMENTS:FACILITIES-                                                    $6,665   NET BOOK VALUE                $6,665
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 177    LAND IMPROVEMENTS:FACILITIES-                                                    $5,737   NET BOOK VALUE                $5,737
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 178    LAND IMPROVEMENTS:FACILITIES-                                                    $5,340   NET BOOK VALUE                $5,340
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 179    LAND IMPROVEMENTS:FACILITIES-                                                    $3,049   NET BOOK VALUE                $3,049
             CORP PLANT MATERIALS (: NOT
             AVAILABLE )


   55 180    LAND IMPROVEMENTS:FACILITIES-                                                   $86,237   NET BOOK VALUE               $86,237
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 181    LAND IMPROVEMENTS:FACILITIES-                                                   $78,742   NET BOOK VALUE               $78,742
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 182    LAND IMPROVEMENTS:FACILITIES-                                                   $66,100   NET BOOK VALUE               $66,100
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 183    LAND IMPROVEMENTS:FACILITIES-                                                   $55,379   NET BOOK VALUE               $55,379
             CORP PUTTING GREEN (: NOT
             AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 184    LAND IMPROVEMENTS:FACILITIES-                                                   $37,977   NET BOOK VALUE               $37,977
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 185    LAND IMPROVEMENTS:FACILITIES-                                                   $35,949   NET BOOK VALUE               $35,949
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 186    LAND IMPROVEMENTS:FACILITIES-                                                   $30,009   NET BOOK VALUE               $30,009
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 187    LAND IMPROVEMENTS:FACILITIES-                                                   $29,628   NET BOOK VALUE               $29,628
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 188    LAND IMPROVEMENTS:FACILITIES-                                                   $24,070   NET BOOK VALUE               $24,070
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 189    LAND IMPROVEMENTS:FACILITIES-                                                   $22,940   NET BOOK VALUE               $22,940
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 190    LAND IMPROVEMENTS:FACILITIES-                                                   $22,546   NET BOOK VALUE               $22,546
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 191    LAND IMPROVEMENTS:FACILITIES-                                                   $17,120   NET BOOK VALUE               $17,120
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 192    LAND IMPROVEMENTS:FACILITIES-                                                   $14,747   NET BOOK VALUE               $14,747
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 193    LAND IMPROVEMENTS:FACILITIES-                                                   $11,996   NET BOOK VALUE               $11,996
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 194    LAND IMPROVEMENTS:FACILITIES-                                                   $10,375   NET BOOK VALUE               $10,375
             CORP PUTTING GREEN (: NOT
             AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 195    LAND IMPROVEMENTS:FACILITIES-                                                   $10,375   NET BOOK VALUE               $10,375
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 196    LAND IMPROVEMENTS:FACILITIES-                                                   $10,365   NET BOOK VALUE               $10,365
             CORP PUTTING GREEN (: NOT
             AVAILABLE )


   55 197    LAND IMPROVEMENTS:FACILITIES-                                                    $6,077   NET BOOK VALUE                $6,077
             CORP ROOF GARDEN M (: NOT
             AVAILABLE )


   55 198    LAND IMPROVEMENTS:FACILITIES-                                                   $30,196   NET BOOK VALUE               $30,196
             CORP SEWER AND WA (: NOT
             AVAILABLE )


   55 199    LAND IMPROVEMENTS:FACILITIES-                                                   $30,196   NET BOOK VALUE               $30,196
             CORP SIDEWALK 8 FT C (: NOT
             AVAILABLE )


   55 200    LAND IMPROVEMENTS:FACILITIES-                                                    $1,328   NET BOOK VALUE                $1,328
             CORP SIDEWALK 8FT C (: NOT
             AVAILABLE )


   55 201    LAND IMPROVEMENTS:FACILITIES-                                                   $16,508   NET BOOK VALUE               $16,508
             CORP SIDEWALK REPO (: NOT
             AVAILABLE )


   55 202    LAND IMPROVEMENTS:FACILITIES-                                                   $33,338   NET BOOK VALUE               $33,338
             CORP SITE ELECTRICAL E (: NOT
             AVAILABLE )


   55 203    LAND IMPROVEMENTS:FACILITIES-                                                   $32,370   NET BOOK VALUE               $32,370
             CORP SITE ELECTRICAL E (: NOT
             AVAILABLE )


   55 204    LAND IMPROVEMENTS:FACILITIES-                                                   $25,661   NET BOOK VALUE               $25,661
             CORP SITE ELECTRICAL E (: NOT
             AVAILABLE )


   55 205    LAND IMPROVEMENTS:FACILITIES-                                                   $16,874   NET BOOK VALUE               $16,874
             CORP SITE ELECTRICAL E (: NOT
             AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 206    LAND IMPROVEMENTS:FACILITIES-                                                   $30,650   NET BOOK VALUE               $30,650
             CORP SITE ELECTRICAL L (: NOT
             AVAILABLE )


   55 207    LAND IMPROVEMENTS:FACILITIES-                                                   $13,815   NET BOOK VALUE               $13,815
             CORP SOCCER FIELD - (: NOT
             AVAILABLE )


   55 208    LAND IMPROVEMENTS:FACILITIES-                                                   $88,044   NET BOOK VALUE               $88,044
             CORP SOCCER FIELD D (: NOT
             AVAILABLE )


   55 209    LAND IMPROVEMENTS:FACILITIES-                                                   $35,142   NET BOOK VALUE               $35,142
             CORP SOCCER FIELD S (: NOT
             AVAILABLE )


   55 210    LAND IMPROVEMENTS:FACILITIES-                                              $142,451       NET BOOK VALUE             $142,451
             CORP SOCCER FIELD: S (: NOT
             AVAILABLE )


   55 211    LAND IMPROVEMENTS:FACILITIES-                                                    $3,337   NET BOOK VALUE                $3,337
             CORP SOUTHEASTE (: NOT AVAILABLE )


   55 212    LAND IMPROVEMENTS:FACILITIES-                                                    $6,488   NET BOOK VALUE                $6,488
             CORP STONE BENCHES (: NOT
             AVAILABLE )


   55 213    LAND IMPROVEMENTS:FACILITIES-                                                    $1,620   NET BOOK VALUE                $1,620
             CORP TENNIS COURT M (: NOT
             AVAILABLE )


   55 214    LAND IMPROVEMENTS:FACILITIES-                                                   $57,503   NET BOOK VALUE               $57,503
             CORP TIKI HUT/ LAGOO (: NOT
             AVAILABLE )


   55 215    LAND IMPROVEMENTS:FACILITIES-                                                     $809    NET BOOK VALUE                  $809
             CORP TRANSFORMER B (: NOT
             AVAILABLE )


   55 216    LAND IMPROVEMENTS:FACILITIES-                                                   $48,783   NET BOOK VALUE               $48,783
             CORP TREES; SABEL P (: NOT
             AVAILABLE )


   55 217    LAND IMPROVEMENTS:FACILITIES-                                                   $40,740   NET BOOK VALUE               $40,740
             CORP UPGRADE SERVIC (: NOT
             AVAILABLE )


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Schedule A/B: Assets — Real and Personal Property
   Part 9:        Real property - detail

Description and location of property                      Nature and extent     Net book value of      Valuation method   Current value of
Include street address or other description such as       of debtor’s           debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property        interest in           (Where available)      value
(for example, acreage, factory, warehouse, apartment or   property
office building), if available.




   55 218    LAND IMPROVEMENTS:FACILITIES-                                                   $68,935   NET BOOK VALUE               $68,935
             CORP VOLLEYBALL COU (: NOT
             AVAILABLE )


   55 219    LAND:FACILITIES-CORP LAND                                                 $1,996,296      NET BOOK VALUE            $1,996,296
             PURCHASE (: NOT AVAILABLE )


   55 220    LAND:FACILITIES-CORP LAND                                                        $8,064   NET BOOK VALUE                $8,064
             PURCHASE (: NOT AVAILABLE )


   55 221    LAND:FACILITIES-CORP PHASE 1                                                     $2,350   NET BOOK VALUE                $2,350
             ENVIRO (: NOT AVAILABLE )


   55 222    LAND:FACILITIES-CORP PURCHASE OF                                          $3,866,667      NET BOOK VALUE            $3,866,667
             11 (: NOT AVAILABLE )


   55 223    LEASEHOLD IMPROVEMEN:FACILITIES-                                                          NET BOOK VALUE           Undetermined
             ACCL ACCESS CONTRO (: NOT
             AVAILABLE )


   55 224    LEASEHOLD IMPROVEMEN:FACILITIES-                                                          NET BOOK VALUE           Undetermined
             ACCL CABLING IN PITTS (: NOT
             AVAILABLE )


   55 225    LEASEHOLD IMPROVEMEN:FACILITIES-                                                 $4,995   NET BOOK VALUE                $4,995
             EZ DATA INTALL 51 CAT6 P (: NOT
             AVAILABLE )


   55 226    LEASEHOLD IMPROVEMEN:FACILITIES-                                                          NET BOOK VALUE           Undetermined
             OAK ACCESS CONTRO (: NOT
             AVAILABLE )


   55 227    LEASEHOLD IMPROVEMEN:FACILITIES-                                                          NET BOOK VALUE           Undetermined
             OAK ADDITIONAL OUTL (: NOT
             AVAILABLE )


   55 228    LEASEHOLD IMPROVEMEN:FACILITIES-                                                          NET BOOK VALUE           Undetermined
             OAK CABLES FOR NEW (: NOT
             AVAILABLE )


   55 229    LEASEHOLD IMPROVEMEN:FACILITIES-                                                          NET BOOK VALUE           Undetermined
             OAK CUBICLE EXTENS (: NOT
             AVAILABLE )




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Schedule A/B: Assets — Real and Personal Property
   Part 9:         Real property - detail

Description and location of property                        Nature and extent       Net book value of       Valuation method   Current value of
Include street address or other description such as         of debtor’s             debtor's interest       used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property          interest in             (Where available)       value
(for example, acreage, factory, warehouse, apartment or     property
office building), if available.




   55 230    LEASEHOLD IMPROVEMEN:FACILITIES-                                                               NET BOOK VALUE           Undetermined
             OAK ELECTRICAL ADD O (: NOT
             AVAILABLE )


   55 231    LEASEHOLD IMPROVEMEN:FACILITIES-                                                               NET BOOK VALUE           Undetermined
             OAK INSTALL SERVER R (: NOT
             AVAILABLE )


   55 232    LEASEHOLD IMPROVEMEN:FACILITIES-                                                               NET BOOK VALUE           Undetermined
             OAK INSTALLATION OF A (: NOT
             AVAILABLE )


   55 233    LEASEHOLD IMPROVEMEN:FACILITIES-                                                               NET BOOK VALUE           Undetermined
             OAK INSTALLED NEW I (: NOT
             AVAILABLE )



56. Total of Part 9                                                                                                                 $21,758,513
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total to line 88.


57. Is a depreciation schedule available for any of the property listed in Part 9?

            No
            Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

            No
            Yes




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Schedule A/B: Assets — Real and Personal Property
  Part 10:         Intangibles and intellectual property - detail

59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes. Fill in the information below.


 General description                                                   Net book value of    Valuation method         Current value of
                                                                       debtor's interest    used for current value   debtor’s interest
                                                                       (Where available)



60. Patents, copyrights, trademarks, and trade secrets

    60.1     CUREPET - TRADEMARK                                                     $628    NET BOOK VALUE                          $628

61. Internet domain names and websites

    61.1     EBIX.COM                                                     UNDETERMINED        UNDETERMINED                 UNDETERMINED

62. Licenses, franchises, and royalties

    62.1

63. Customer lists, mailing lists, or other compilations

    63.1     BEBETTER - CUSTOMER RELATIONSHIPS                                  $177,108     NET BOOK VALUE                      $177,108

    63.2     EZ DATA - CUSTOMER RELATIONSHIPS                                $10,917,333     NET BOOK VALUE                   $10,917,333

    63.3     HOPE - CUSTOMER RELATIONSHIPS                                        $93,770    NET BOOK VALUE                       $93,770

    63.4     3 - CUSTOMER RELATIONSHIPS                                           $28,406    NET BOOK VALUE                       $28,406

    63.5     OAKSTONE - CUSTOMER RELATIONSHIPS                                  $154,976     NET BOOK VALUE                      $154,976

    63.6     P.B. SYSTEMS - CUSTOMER RELATIONSHIPS                              $387,816     NET BOOK VALUE                      $387,816

    63.7     PEAK - CUSTOMER RELATIONSHIPS                                      $105,239     NET BOOK VALUE                      $105,239

    63.8     PLANETSOFT - CUSTOMER RELATIONSHIPS                                $338,650     NET BOOK VALUE                      $338,650

    63.9     VERTEX - CUSTOMER RELATIONSHIPS                                    $187,673     NET BOOK VALUE                      $187,673

64. Other intangibles, or intellectual property

    64.1     CORP FIXED ASSETS SOFTWARE RECLASS                                   $58,607    NET BOOK VALUE                       $58,607

    64.2     OAKSTONE DEVELOPED TECHNOLOGY (CAP SW)                           $6,052,727     NET BOOK VALUE                    $6,052,727

65. Goodwill

    65.1     GOODWILL                                                       $192,040,854     NET BOOK VALUE                  $192,040,854




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Schedule A/B: Assets — Real and Personal Property
  Part 10:        Intangibles and intellectual property - detail


66. Total of Part 10                                                                                                         $210,543,787
    Add lines 60 through 65. Copy the total to line 89.


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and
    107)?

           No
           Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

           No
           Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

           No
           Yes




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Schedule A/B: Assets — Real and Personal Property
  Part 11:           All other assets
70. Does the debtor own any other assets that have not yet been reported on this form? Include all interests in executory
    contracts and unexpired leases not previously reported on this form.

            No. Go to Part 12.
            Yes. Fill in the information below.


 General description                                                                                                     Current value of
                                                                                                                         debtor’s interest




71. Notes receivable
       Description (include name of obligor)

    71 1   Intercompany Receivable - Due from Non-Debtor Affiliate (Ebix Asia Holdings Inc., Mauritius) (assigned to           $90,299,426
           Regions Bank)



72. Tax refunds and unused net operating losses (NOLs)
       Description (for example, federal, state, local)

    72 1   Unused Net Operating Loss (NOLs)                                                                                    $35,000,000
           (Tax year: 2022)



73. Interests in insurance policies or annuities

    73 1




74. Causes of action against third parties (whether or not a lawsuit has been filed)

    74 1




75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set
    off claims

    75 1




76. Trusts, equitable or future interests in property

    76 1




77. Other property of any kind not already listed Examples: Season tickets, country club membership
       Examples: Season tickets, country club membership

    77 1




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Schedule A/B: Assets — Real and Personal Property
   Part 11:        All other assets

78. Total of Part 11
                                                                                                                      $125,299,426
     Add lines 71 through 77. Copy the total to line
     90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

           No
           Yes




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Schedule A/B: Assets — Real and Personal Property
   Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form.

  Type of property                                                                  Current value of          Current value of   Total of all property
                                                                                    personal property          real property


80.    Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                $3,379,075

81.    Deposits and prepayments. Copy line 9, Part 2.                                    $5,574,194

82.    Accounts receivable. Copy line 12, Part 3.                                       $22,566,050

83.    Investments. Copy line 17, Part 4.                                                         $0

84.    Inventory. Copy line 23, Part 5.                                                    $128,878

85.    Farming and fishing-related assets. Copy line 33, Part 6.                                  $0

86.    Office furniture, fixtures, and equipment; and collect bles. Copy                   $856,752
       line 43, Part 7.

87.    Machinery, equipment, and vehicles. Copy line 51, Part 8.                                  $0

88.    Real property. Copy line 56, Part 9.                                                                       $21,758,513

89.    Intang bles and intellectual property. Copy line 66, Part 10.                   $210,543,787

90.    All other assets. Copy line 78, Part 11.                                        $125,299,426



91.    Total. Add lines 80 through 90 for each column.                                 $368,348,162               $21,758,513
                                                                               a.                       b..



92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                                     $390,106,676




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Ebix, Inc.                                                                                                                                                       Case Number:         23-80004-11

Schedule D: Creditors Who Have Claims Secured by Property

1.    Do any creditors have claims secured by debtor’s property?
             No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in all of the information below.


      Part 1:       List Creditors Who Have Secured Claims
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.

 Creditor's Name and Mailing Address, E-mail                   Co-      Insider     Co-      Date Claim was Incurred, Property Description,          C U     D    Amount of Claim   Value of Collateral
 Address & An Account Number                                 Interest              Debtor    Lien & Co-Interest Creditor

Secured Debt

2.1     FULTON COUNTY TAX COMMISSIONER                                                      PROPERTY DESCRIPTION: SECURED TAXES
        ARTHUR E FERDINAND                                                                  LIEN DESCRIPTION: PERSONAL AND PROPERTY
        P O BOX 105052                                                                      TAX
        ATLANTA, GA




2.2     REGIONS BANK, AS ADMINISTRATIVE AGENT                                               PROPERTY DESCRIPTION: REVOLVER                                          $444,901,621
        521 E. MOREHEAD ST
        SUITE 200
        CHARLOTTE, NC 28202




2.3     REGIONS BANK, AS ADMINISTRATIVE AGENT                                               PROPERTY DESCRIPTION: TERM LOAN                                         $171,871,580
        521 E. MOREHEAD ST
        SUITE 200
        CHARLOTTE, NC 28202




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Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U     D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Secured Debt

2.4   REGIONS BANK, AS ADMINISTRATIVE AGENT                                 PROPERTY DESCRIPTION: ACCRUED INTEREST                            $12,946,917
      521 E. MOREHEAD ST
      SUITE 200
      CHARLOTTE, NC 28202




2.5   REGIONS BANK, AS ADMINISTRATIVE AGENT                                 PROPERTY DESCRIPTION: ACCRUED INTEREST                             $5,001,571
      521 E. MOREHEAD ST
      SUITE 200
      CHARLOTTE, NC 28202




                                                                                                                Secured Debt Total:          $634,721,690




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Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Liens

2.6   ATLANTA OFFICE TECHNOLOGIES                                           DATE: 8/5/2014
      800 WALNUT ST
      F0005-044                                                             PROPERTY DESCRIPTION: UCC LIEN
      DES MOINES, IA 50309                                                  LIEN DESCRIPTION: EBIX, INC. UCC LIEN
                                                                            SEARCH: ORIGINAL: 20196102060




2.7   EVERBANK COMMERCIAL FINANCE, INC.                                     DATE: 3/30/2017
      1750 LINCOLN ST.
      DEPT 1608                                                             PROPERTY DESCRIPTION: UCC LIEN
      DENVER, CO                                                            LIEN DESCRIPTION: EBIX, INC. UCC LIEN
                                                                            SEARCH: ORIGINAL: 20172093257




2.8   REGIONS BANK, AS COLLATERAL AGENT                                     DATE: 4/8/2021
      521 E. MOREHEAD ST
      SUITE 200                                                             PROPERTY DESCRIPTION: UCC LIEN
      CHARLOTTE, NC 28202                                                   LIEN DESCRIPTION: EBIX, INC. UCC LIEN
                                                                            SEARCH: ORIGINAL: 20143133014;
                                                                            CONTINUATION: 20190852355




2.9   VAR TECHNOLOGY FINANCE                                                DATE: 12/8/2020
      2330 I-30
      MESQUITE, TX 75150                                                    PROPERTY DESCRIPTION: UCC LIEN
                                                                            LIEN DESCRIPTION: EBIX, INC. UCC LIEN
                                                                            SEARCH: ORIGINAL: 20208601819;
                                                                            CONTINUATION: 20217965735




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Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U       D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Liens

2.10 VAR TECHNOLOGY FINANCE                                                 DATE: 1/21/2021
     2330 I-30
     MESQUITE, TX 75150                                                     PROPERTY DESCRIPTION: UCC LIEN
                                                                            LIEN DESCRIPTION: EBIX, INC. UCC LIEN
                                                                            SEARCH: ORIGINAL: 20210539321




                                                                                                                         Liens Total:




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Schedule D: Creditors Who Have Claims Secured by Property

                                                                                                                Amount of Claim


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.      $634,721,690




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Schedule D: Creditors Who Have Claims Secured by Property
  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 Name and Mailing Address                                               Part 1 Line on which the Related         Last 4 Digits of Account
                                                                               Creditor was Listed                Number for this Entity


NONE




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 1:       List All Creditors with PRIORITY Unsecured Claims

1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.
             Yes. Go to line 2.
2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
      has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 Creditor's Name, Mailing Address Including          Date Claim Was Incurred And       C U     D      Offset      Total Claim      Priority Amount
 Zip Code                                                  Account Number

Deposits by individuals 507(a)(7)

2.1 AMERIPRISE FINANCIAL SERVICES /IN:                        11/16/2022                                        UNDETERMINED UNDETERMINED
    09222022
    ATTN: ACCOUNTS PAYABLE                         ACCOUNT NO.: NOT AVAILABLE
    829 AMERIPRISE FINANCIAL CTR
    MINNEAPOLIS, MN 55474

2.2 BLACK & WHITE MERCHANDISING CO                             5/18/2023                                        UNDETERMINED UNDETERMINED
    /IN: 5032023
    170 MARCEL-LAURIN BOUL                         ACCOUNT NO.: NOT AVAILABLE
    ST LAURENT, QC H4P2J5
    CANADA

2.3 BOFA SECURITIES CK 001775249 TO BE         10/31/2021                                                       UNDETERMINED UNDETERMINED
    REFUNDED
    ATTN: ACCOUNTS PAYABLE             ACCOUNT NO.: NOT AVAILABLE
    4800 DEER LAKE DR EAST
    JACKSONVILLE, FL 32246

2.4                                                            11/9/2022                                        UNDETERMINED UNDETERMINED

                                                   ACCOUNT NO.: NOT AVAILABLE

2.5                                                            8/24/2023                                        UNDETERMINED UNDETERMINED

                                                   ACCOUNT NO.: NOT AVAILABLE

2.6 DTCC TAMPA                                                 4/7/2020                                         UNDETERMINED UNDETERMINED
    18301 BERMUDA GREEN DR
    ATTN: CHARLENE DORSELT                         ACCOUNT NO.: NOT AVAILABLE
    TAMPA, FL 33647

2.7 FRATES BENEFIT ADMINISTRATORS /IN:          1/9/2020                                                        UNDETERMINED UNDETERMINED
    REF-090418
    ATTN: RICK FRANKLIN                ACCOUNT NO.: NOT AVAILABLE
    13439 BROADWAY EXT
    SUITE 110
    OKLAHOMA CITY, OK 73114

2.8                                                            6/30/2022                                        UNDETERMINED UNDETERMINED

                                                   ACCOUNT NO.: NOT AVAILABLE

2.9 GRANT REGIONAL HEALTH CENTER /IN:         3/31/2022                                                         UNDETERMINED UNDETERMINED
    REF-02102020
    C/O ROCHELLE WILLIAMS             ACCOUNT NO.: NOT AVAILABLE
    507 S MONROE ST
    LANCASTER, WI 53813


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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including      Date Claim Was Incurred And      C U    D   Offset    Total Claim   Priority Amount
Zip Code                                              Account Number

Deposits by individuals 507(a)(7)

2.10 IMAGINE LEARNING LLC                               6/30/2023                                    UNDETERMINED UNDETERMINED
     ATTN: ANN ZINNI
     8860 CHAPARRAL RD.                       ACCOUNT NO.: NOT AVAILABLE
     SCOTTSDALE, AZ 85250

2.11 M&S REMODELING COMPANY /IN:                        9/16/2022                                    UNDETERMINED UNDETERMINED
     08242022
     510 W SIXTH STREET                       ACCOUNT NO.: NOT AVAILABLE
     SUITE 1002
     LOS ANGELES, CA 90014

2.12 MIDTOWN FINANCIAL /IN: 06032021                    6/14/2021                                    UNDETERMINED UNDETERMINED
     ATTN: KENDA BLACKWOOD
     1201 BATTLEGROUND AVE STE 200            ACCOUNT NO.: NOT AVAILABLE
     GREENSBORO, NC 27408

2.13 RICHMOND POWER & LIGHT                             3/31/2020                                    UNDETERMINED UNDETERMINED
     C/O MARY STEPHENS
     2000 US HWY 27S                          ACCOUNT NO.: NOT AVAILABLE
     RICHMOND, IN 47374

2.14 S/O INVOICE ENTRY - 11/30/2021                     11/30/2021                                   UNDETERMINED UNDETERMINED
     ADVISORS RESOURCES
     NIOLE STANDSTROM                         ACCOUNT NO.: NOT AVAILABLE
     7900 EXELSIOR BLVD, STE. 80
     HOPKINS, MN 55343

2.15 S/O INVOICE ENTRY - 11/30/2021                     11/30/2021                                   UNDETERMINED UNDETERMINED
     TENNESSEE BROKERAGE
     JOHN FELTON                              ACCOUNT NO.: NOT AVAILABLE
     6508 BAUM DRIVE
     KNOXVILLE, TN 37919

2.16 S/O INVOICE ENTRY - 9/30/21 UNIV OF                9/30/2021                                    UNDETERMINED UNDETERMINED
     ST THOMAS XX-XXXXXXX
     ATTN ACCOUNTS PAYABLE                    ACCOUNT NO.: NOT AVAILABLE
     3800 MONTROSE BLVD
     HOUSTON, TX 77006

2.17 SAINT LOUIS UNIVERSITY                             6/30/2023                                    UNDETERMINED UNDETERMINED
     ATTN: MICHAEL LUCIDO
     3556 CAROLINE MALL                       ACCOUNT NO.: NOT AVAILABLE
     SAINT LOUIS, MO 63103

2.18 SSM HEALTH CARE GROUP /IN:                         11/30/2022                                   UNDETERMINED UNDETERMINED
     11022022
     % SAINT LOUIS UNIVERSITY                 ACCOUNT NO.: NOT AVAILABLE
     1402 S. GRAND BLVD
     SCHWITALLA HALL, MS 283
     SAINT LOUIS, MO 63195

2.19                                                    11/30/2023                                   UNDETERMINED UNDETERMINED

                                              ACCOUNT NO.: NOT AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including      Date Claim Was Incurred And      C U    D     Offset     Total Claim   Priority Amount
Zip Code                                              Account Number

Deposits by individuals 507(a)(7)

2.20 TRAILNORTH FEDERAL CREDIT UNION                    10/31/2023                                      UNDETERMINED UNDETERMINED
     178 STATE HWY 9N
     TICONDEROGA, NY 12883                    ACCOUNT NO.: NOT AVAILABLE

                                                          Deposits by individuals 507(a)(7) Total:      UNDETERMINED UNDETERMINED




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including      Date Claim Was Incurred And      C U    D   Offset    Total Claim   Priority Amount
Zip Code                                              Account Number

Taxes and certain other debts owed to the government 507(a)(8)

2.21 ALABAMA DEPARTMENT OF REVENUE                      UNKNOWN                                      UNDETERMINED UNDETERMINED
     CORPORATE TAX SECTION
     P.O. BOX 327435                          ACCOUNT NO.: NOT AVAILABLE
     MONTGOMERY, AL 36132-7435

2.22 ARIZONA DEPARTMENT OF REVENUE                      UNKNOWN                                      UNDETERMINED UNDETERMINED
     PO BOX 29079
     PHOENIX, AZ 85038-9079                   ACCOUNT NO.: NOT AVAILABLE

2.23 CITY AND COUNTY OF DENVER                          UNKNOWN                                      UNDETERMINED UNDETERMINED
     DEPARTMENT OF FINANCE
     TREASURY DIVISION                        ACCOUNT NO.: NOT AVAILABLE
     P.O. BOX 660860
     DALLAS, TX 75266-0860

2.24 CITY OF SEATTLE                                    UNKNOWN                                      UNDETERMINED UNDETERMINED
     LICENSING ANDTAX ADMINISTRATIO
     PO BOX 34904                             ACCOUNT NO.: NOT AVAILABLE
     SEATTLE, WA 98124-1904

2.25 COLORADO DEPARTMENT OF REVENUE        UNKNOWN                                                   UNDETERMINED UNDETERMINED
     BANKRUPTCY DEPT
     RM 104                         ACCOUNT NO.: NOT AVAILABLE
     1881 PIERCE ST
     LAKEWOOD, CO 80214

2.26 COMMONWEALTH OF MASSACHUSETTS        UNKNOWN                                                    UNDETERMINED UNDETERMINED
     P. O. BOX 7025
     MASS.DEPARTMENT OF REVENUE    ACCOUNT NO.: NOT AVAILABLE
     BOSTON, MA 02204-7025

2.27 DELAWARE DIVISION OF REVENUE                       UNKNOWN                                      UNDETERMINED UNDETERMINED
     STATE OF DELAWARE
     820 N. FRENCH STREET                     ACCOUNT NO.: NOT AVAILABLE
     WILMINGTON, DE 19801

2.28 FLORIDA DEPARTMENT OF REVENUE                      UNKNOWN                                      UNDETERMINED UNDETERMINED
     5050 W TENNESSEE STREET
     TALLAHASSEE, FL 32399-0125               ACCOUNT NO.: NOT AVAILABLE

2.29 GEORGIA DEPARTMENT OF REVENUE                      UNKNOWN                                      UNDETERMINED UNDETERMINED
     SALES AND USE TAX
     P. O. BOX 105408                         ACCOUNT NO.: NOT AVAILABLE
     ATLANTA, GA 30348-5408

2.30 GEORGIA SECRETARY OF STATE                         UNKNOWN                                      UNDETERMINED UNDETERMINED
     CORP. DIV. 313 WEST TOWER
     2 MARTIN LUTHER KING JR. DRIVE           ACCOUNT NO.: NOT AVAILABLE
     ATLANTA, GA 30334-1530

2.31 ILLINOIS DEPARTMENT OF REVENUE                     UNKNOWN                                      UNDETERMINED UNDETERMINED
     P.O. BOX 19045
     SPRINGFIELD, IL 62794-9045               ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including      Date Claim Was Incurred And      C U    D   Offset    Total Claim   Priority Amount
Zip Code                                              Account Number

Taxes and certain other debts owed to the government 507(a)(8)

2.32 INDIANA DEPARTMENT OF REVENUE                      UNKNOWN                                      UNDETERMINED UNDETERMINED
     100 NORTH SENATE AVENUE
     INDIANAPOLIS, IN 46204-2253              ACCOUNT NO.: NOT AVAILABLE

2.33 INTERNAL REVENUE SERVICE                           UNKNOWN                                      UNDETERMINED UNDETERMINED
     INTERNAL REVENUE SERVICE
     CINCINNATI, OH 45999-0150                ACCOUNT NO.: NOT AVAILABLE

2.34 IOWA DEPARTMENT OF REVENUE & TAX        UNKNOWN                                                 UNDETERMINED UNDETERMINED
     P O BOX 10412
     DES MOINES, IA 50306-0412        ACCOUNT NO.: NOT AVAILABLE

2.35 KANSAS DEPARTMENT OF REVENUE                       UNKNOWN                                      UNDETERMINED UNDETERMINED
     SALES & EXCISE TAX
     915 SW HARRISON ST                       ACCOUNT NO.: NOT AVAILABLE
     TOPEKA, KS 66625-2007

2.36 LOUISIANA DEPARTMENT OF REVENUE        UNKNOWN                                                  UNDETERMINED UNDETERMINED
     & TAX
     SALES TAX DIVISION              ACCOUNT NO.: NOT AVAILABLE
     P O BOX 3138
     BATON ROUGE, LA 70821-3138

2.37 MAINE REVENUE SERVICES                             UNKNOWN                                      UNDETERMINED UNDETERMINED
     SALES TAX SECTION
     PO BOX 9101                              ACCOUNT NO.: NOT AVAILABLE
     AUGUSTA, ME 04332-1065

2.38 MARYLAND SALES AND USE TAX                         UNKNOWN                                      UNDETERMINED UNDETERMINED
     RETURN
     COMPTROLLER OF MARYLAND                  ACCOUNT NO.: NOT AVAILABLE
     P. O. BOX 17405
     BALTIMORE, MD 21297-1405

2.39 MINNESOTA DEPT OF REVENUE                          UNKNOWN                                      UNDETERMINED UNDETERMINED
     MAIL STATION 1250
     ST.PAUL                                  ACCOUNT NO.: NOT AVAILABLE
     SAINT PAUL, MN 55145-1250

2.40 NEW JERSEY DEPARTMENT OF                           UNKNOWN                                      UNDETERMINED UNDETERMINED
     REVENUE
     NJ DIV OF TAX REVENUE PROCESSI           ACCOUNT NO.: NOT AVAILABLE
     CORPORATION BUSINESS TAX
     PO BOX 257
     TRENTON, NJ 08646-0257

2.41 NEW YORK STATE CORPORATION TAX                     UNKNOWN                                      UNDETERMINED UNDETERMINED
     NYS DEPT OF TAXATION & FINANCE
     CORP-V                                   ACCOUNT NO.: NOT AVAILABLE
     PO BOX 4136
     BINGHAMTON, NY 13902-4136




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including      Date Claim Was Incurred And      C U    D   Offset    Total Claim   Priority Amount
Zip Code                                              Account Number

Taxes and certain other debts owed to the government 507(a)(8)

2.42 NORTH CAROLINA DEPARTMENT OF                       UNKNOWN                                      UNDETERMINED UNDETERMINED
     REVENUE
     P.O. BOX 25000                           ACCOUNT NO.: NOT AVAILABLE
     RALEIGH, NC 27640-0500

2.43 OHIO DEPARTMENT OF TAXATION                        UNKNOWN                                      UNDETERMINED UNDETERMINED
     P.O. BOX 182101
     COLUMBUS, OH 43218-2101                  ACCOUNT NO.: NOT AVAILABLE

2.44 PENNSYLVANIA DEPARTMENT OF                         UNKNOWN                                      UNDETERMINED UNDETERMINED
     REVENUE
     PO BOX 280412                            ACCOUNT NO.: NOT AVAILABLE
     HARRISBURG, PA 17128-0412

2.45 SOUTH CAROLINA DEPARTMENT OF                       UNKNOWN                                      UNDETERMINED UNDETERMINED
     REVENUE
     BANKRUPTCY                               ACCOUNT NO.: NOT AVAILABLE
     P.O. BOX 2535
     COLUMBIA, SC 29202

2.46 STATE OF CALIFORNIA                                UNKNOWN                                      UNDETERMINED UNDETERMINED
     BOARD OF EQUALIZATION
     P. O. BOX 942879                         ACCOUNT NO.: NOT AVAILABLE
     SACRAMENTO, CA 94279-7072

2.47 STATE OF CONNECTICUT                               UNKNOWN                                      UNDETERMINED UNDETERMINED
     DEPARTMENT OF REVENUE SERVICES
     P O BOX 5030                             ACCOUNT NO.: NOT AVAILABLE
     HARTFORD, CT 06102-5030

2.48 STATE OF MICHIGAN                                  UNKNOWN                                      UNDETERMINED UNDETERMINED
     P. O. BOX 30774
     MI. DEPARTMENT OF TREASURY               ACCOUNT NO.: NOT AVAILABLE
     LANSING, MI 48909

2.49 STATE OF NEVADA                                    UNKNOWN                                      UNDETERMINED UNDETERMINED
     P. O. BOX 52609
     PHOENIX, AZ 85072                        ACCOUNT NO.: NOT AVAILABLE

2.50 STATE OF WASHINGTON                                UNKNOWN                                      UNDETERMINED UNDETERMINED
     PO BOX 34054
     SEATTLE, WA 98124-1054                   ACCOUNT NO.: NOT AVAILABLE

2.51 TENNESSEE DEPARTMENT OF                            UNKNOWN                                      UNDETERMINED UNDETERMINED
     REVENUE
     ANDREW JACKSON STATE OFFICE BL           ACCOUNT NO.: NOT AVAILABLE
     500 DEADERICK STREET
     NASHVILLE, TN 37242-0700

2.52 TEXAS STATE TREASURER                              UNKNOWN                                      UNDETERMINED UNDETERMINED
     TEXAS COMPTROLLER OF PUBLIC AC
     P.O. BOX 149359                          ACCOUNT NO.: NOT AVAILABLE
     AUSTIN, TX 78714-9359




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including      Date Claim Was Incurred And      C U    D   Offset    Total Claim   Priority Amount
Zip Code                                              Account Number

Taxes and certain other debts owed to the government 507(a)(8)

2.53 UTAH STATE TAX COMMISSION                          UNKNOWN                                      UNDETERMINED UNDETERMINED
     210 N 1950 W
     SALT LAKE CITY, UT 84134-0180            ACCOUNT NO.: NOT AVAILABLE

2.54 VIRGINIA DEPARTMENT OF TAXATION                    UNKNOWN                                      UNDETERMINED UNDETERMINED
     VIRGINIA RETAIL SALES& USE TAX
     P.O. BOX 26626                           ACCOUNT NO.: NOT AVAILABLE
     RICHMOND, VA 23261-6626

2.55 WEST VIRGINIA STATE TAX                            UNKNOWN                                      UNDETERMINED UNDETERMINED
     DEPARTMENT
     2019 WASHINGTON STREET, EAST             ACCOUNT NO.: NOT AVAILABLE
     P. O. BOX 50130
     PURCHASING DIV. VENDOR REGISTR
     CHARLESTON, WV 25305-0130

2.56 WISCONSIN DEPARTMENT OF REVENUE        UNKNOWN                                                  UNDETERMINED UNDETERMINED
     P. O. BOX 930389
     MILWAUKEE, WI 53293-0389        ACCOUNT NO.: NOT AVAILABLE

                                 Taxes and certain other debts owed to the government 507(a)(8)      UNDETERMINED UNDETERMINED
                                                                                        Total:




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

   Total: All Creditors with PRIORITY Unsecured Claims                                   UNDETERMINED UNDETERMINED




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
      nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


 Creditor's Name, Mailing Address                Date Claim Was Incurred And        C U      D     Basis For       Offset      Amount of Claim
 Including Zip Code                                    Account Number                                Claim

Trade Payables

3.1      365 OPERATING COMPANY, LLC -                      10/1/2023                             Trade Payable                          $94,396
        ACH
        BANK OF AMERICA, NA                    ACCOUNT NO.: NOT AVAILABLE
        222 BROADWAY
        NEW YORK, NY 10038


3.2      A.M. BEST COMPANY, INC                            8/22/2023                             Trade Payable                          $60,930
        P.O. BOX 828806
        PHILADELPHIA, PA 19182-8806            ACCOUNT NO.: NOT AVAILABLE


3.3                                                        12/4/2023                             Trade Payable                           $2,000

                                               ACCOUNT NO.: NOT AVAILABLE


3.4      ACCO BRANDS USA LLC                               3/17/2020                             Trade Payable                           $1,587
        PO BOX 203412
        DALLAS, TX 75320-3412                  ACCOUNT NO.: NOT AVAILABLE


3.5      ACCUIMAGE-ACH                                      8/1/2023                             Trade Payable                           $7,476
        330 TENNANT AVE
        MORGAN HILL, CA 95037                  ACCOUNT NO.: NOT AVAILABLE


3.6      ACTIAN CORPORATION                                11/8/2023                             Trade Payable                          $67,938
        DEPT 3593
        P O BOX 123593                         ACCOUNT NO.: NOT AVAILABLE
        DALLAS, TX 75312-3593


3.7      ADFIRE HEALTH LLC - ACH                           8/31/2023                             Trade Payable                          $50,947
        1297 E PUTNAM AVE #1012
        RIVERSIDE, CT 06878                    ACCOUNT NO.: NOT AVAILABLE


3.8      AHOU MEETINGS DEPARTMENT                           9/8/2022                             Trade Payable                           $4,000
        1800 M STREET NW, SUITE 400S
        WASHINGTON, DC 20036                   ACCOUNT NO.: NOT AVAILABLE


3.9                                                       11/30/2022                             Trade Payable                           $1,000

                                               ACCOUNT NO.: NOT AVAILABLE


3.10                                                      12/22/2023                             Trade Payable                           $1,188

                                               ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                               Claim

Trade Payables

3.11    ALASKA TANKER COMPANY                  11/24/2020                             Trade Payable                       $720
       ATTN NICOLE FERRETT
       15220 NW GREENBRIER PKWY       ACCOUNT NO.: NOT AVAILABLE
       STE 270
       BEAVERTON, OR 97006


3.12                                            12/4/2023                             Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.13                                            6/26/2023                             Trade Payable                       $343

                                      ACCOUNT NO.: NOT AVAILABLE


3.14                                            8/14/2023                             Trade Payable                       $750

                                      ACCOUNT NO.: NOT AVAILABLE


3.15                                            11/8/2023                             Trade Payable                       $375

                                      ACCOUNT NO.: NOT AVAILABLE


3.16                                            8/21/2023                             Trade Payable                       $800

                                      ACCOUNT NO.: NOT AVAILABLE


3.17    ALL STAR SUPER STORAGE                  7/14/2023                             Trade Payable                     $7,820
       302 S. LYON AVENUE
       HEMET, CA 92543                ACCOUNT NO.: NOT AVAILABLE


3.18    ALLEGRA MARKETING PRINT                 4/6/2023                              Trade Payable                     $8,040
       MAIL
       6054 LOVERS LN                 ACCOUNT NO.: NOT AVAILABLE
       PORTAGE, MI 49002


3.19                                            3/3/2022                              Trade Payable                       $750

                                      ACCOUNT NO.: NOT AVAILABLE


3.20                                            8/17/2020                             Trade Payable                     $6,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.21    AM. COLLEGE OF PHYSICIANS               9/30/2023                             Trade Payable                    $41,899
       ATTN CHUCK GRAVER
       190 N INDEPENDENCE MALL WEST   ACCOUNT NO.: NOT AVAILABLE
       PHILADELPHIA, PA 19106-1572



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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Trade Payables

3.31                                        12/20/2021                             Trade Payable                       $200

                                   ACCOUNT NO.: NOT AVAILABLE


3.32                                         12/2/2023                             Trade Payable                     $1,534

                                   ACCOUNT NO.: NOT AVAILABLE


3.33                                        12/17/2021                             Trade Payable                       $500

                                   ACCOUNT NO.: NOT AVAILABLE


3.34                                         12/4/2023                             Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.35                                        11/22/2023                             Trade Payable                     $1,250

                                   ACCOUNT NO.: NOT AVAILABLE


3.36                                         6/30/2023                             Trade Payable                       $494

                                   ACCOUNT NO.: NOT AVAILABLE


3.37                                        12/22/2023                             Trade Payable                       $250

                                   ACCOUNT NO.: NOT AVAILABLE


3.38                                         8/10/2023                             Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.39                                         2/8/2021                              Trade Payable                     ($1,000)

                                   ACCOUNT NO.: NOT AVAILABLE



3.40                                         9/30/2022                             Trade Payable                     $1,210

                                   ACCOUNT NO.: NOT AVAILABLE


3.41                                         12/4/2023                             Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Trade Payables

3.42                                         8/1/2023                              Trade Payable                       $500

                                   ACCOUNT NO.: NOT AVAILABLE


3.43                                         7/6/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.44                                         8/1/2023                              Trade Payable                       $500

                                   ACCOUNT NO.: NOT AVAILABLE


3.45    ANSWERS IN CME - WIRE                5/31/2023                             Trade Payable                   $476,649
       71 BROADWAY 2B,
       SUITE 185                   ACCOUNT NO.: NOT AVAILABLE
       NEW YORK, NY 10006


3.46                                         8/14/2023                             Trade Payable                     $3,500

                                   ACCOUNT NO.: NOT AVAILABLE


3.47                                         8/23/2023                             Trade Payable                     $1,750

                                   ACCOUNT NO.: NOT AVAILABLE


3.48                                         12/9/2022                             Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.49                                        10/12/2023                             Trade Payable                       $600

                                   ACCOUNT NO.: NOT AVAILABLE



3.50    ARMS                                 7/27/2023                             Trade Payable                       $718
       ANNUAL REGISTRATION MGMT
       SVC                         ACCOUNT NO.: NOT AVAILABLE
       3675 CRESTWOOD PARKWAY S-
       350
       DULUTH, GA 30096


3.51    ARMSTRONG TRANSFER &                 4/30/2023                             Trade Payable                     $1,600
       STORAGE CO INC
       ARMSTRONG RELOCATION CO     ACCOUNT NO.: NOT AVAILABLE
       212 TOTAL SOLUTIONS WAY
       ALABASTER, AL 35007




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                          Account Number                               Claim

Trade Payables

3.52                                           7/6/2023                              Trade Payable                     $1,500

                                     ACCOUNT NO.: NOT AVAILABLE


3.53    ASCENSION GROWTH &                  7/14/2023                                Trade Payable                    $99,165
       INNOVATION STRATEGIES LLC
       ACH                          ACCOUNT NO.: NOT AVAILABLE
       C/O CRAIG APATOV MNG PARTNER
       2000 RIVEREDGE PKWY STE 945
       ATLANTA, GA 30328


3.54                                           5/8/2020                              Trade Payable                       $500

                                     ACCOUNT NO.: NOT AVAILABLE



3.55    ASPOSE PTY LTD - WIRE                  11/1/2023                             Trade Payable                     $1,312
       163/79 LONGUEVILLE RD
       LANE COVE NSW 2066            ACCOUNT NO.: NOT AVAILABLE
       AUSTRALIA


3.56    AT&T MOBILITY                          12/7/2023                             Trade Payable                       $581
       P O BOX 6463
       CAROL STREAM, IL 60197-6463   ACCOUNT NO.: NOT AVAILABLE


3.57    ATHENS PAPER COMPANY ACH               8/26/2022                             Trade Payable                     $5,247
       PO BOX 291329
       NASHVILLE, TN 37229-1329      ACCOUNT NO.: NOT AVAILABLE


3.58    ATLANTA OFFICE                        12/31/2019                             Trade Payable                    $21,451
       TECHNOLOGIES INC - ACH
       5600 OAKBROOK PKWY            ACCOUNT NO.: NOT AVAILABLE
       SUITE 260
       NORCROSS, GA 30093


3.59    BALCH & BINGHAM, LLP                   4/20/2023                             Trade Payable                    $12,539
       PO BOX 306
       BIRMINGHAM, AL 35201          ACCOUNT NO.: NOT AVAILABLE


3.60                                           12/4/2023                             Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.61    BBT                                    9/14/2020                             Trade Payable                       $213
       PO BOX 580007
       CHARLOTTE, NC 28258           ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                               Claim

Trade Payables

3.62    BCC SOFTWARE, LLC                       4/18/2023                             Trade Payable                     $2,580
       PO BOX 1174
       BUFFALO, NY 14240              ACCOUNT NO.: NOT AVAILABLE


3.63    BEACON RESEARCH                         9/1/2023                              Trade Payable                    $14,475
       790 W FRONTAGE RD #335
       NORTHFIELD, IL 60093-1204      ACCOUNT NO.: NOT AVAILABLE


3.64                                            6/30/2023                             Trade Payable                       $514

                                      ACCOUNT NO.: NOT AVAILABLE


3.65                                           10/22/2023                             Trade Payable                     $1,200

                                      ACCOUNT NO.: NOT AVAILABLE


3.66                                            12/4/2023                             Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.67    BERKLEY TECHNOLOGY                     10/10/2023                             Trade Payable                    ($16,923)
       UNDERWRITERS - ACH
       3840 109TH ST.                 ACCOUNT NO.: NOT AVAILABLE
       URBANDALE, IA 50322


3.68    BIDMC DEPT OF PSYCHIATRY                6/30/2022                             Trade Payable                    $12,334
       ATTN SANDRA LEITAO
       330 BROOKLINE AVE              ACCOUNT NO.: NOT AVAILABLE
       BOSTON, MA 02215


3.69    BIG COMMERCE, INC - ACH                 11/9/2022                             Trade Payable                     $2,946
       11305 FOUR POINTS DRIVE
       BLDG II 1ST FLOOR              ACCOUNT NO.: NOT AVAILABLE
       AUSTIN, TX 78726


3.70    BIODIGITAL                             10/23/2023                             Trade Payable                       $773
       594 BROADWAY
       SUITE 1101                     ACCOUNT NO.: NOT AVAILABLE
       NEW YORK, NY 10012


3.71    BIO-MEDICAL DEVICES SYNTECH             4/19/2023                             Trade Payable                       $178
       C/O SHIRLEY POWERS
       17171 DAIMLER ST               ACCOUNT NO.: NOT AVAILABLE
       IRVINE, CA 92614




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                          Account Number                               Claim

Trade Payables

3.72    BLOSSOM WOMEN'S HEALTH                 8/23/2023                             Trade Payable                       $825
       CENTER - ACH
       ATTN: LAQUINTA MARTINEZ       ACCOUNT NO.: NOT AVAILABLE
       3400 OLD MILTON PKWY
       STE 585, BLDG C
       ALPHARETTA, GA 30005


3.73    BMI AUDIT SERVICES                     7/21/2022                             Trade Payable                     ($7,650)
       PO BOX 989
       STE 400                       ACCOUNT NO.: NOT AVAILABLE
       SOUTH BEND, IN 46601


3.74                                           7/6/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.75                                           5/1/2020                              Trade Payable                       $520

                                     ACCOUNT NO.: NOT AVAILABLE


3.76                                           12/4/2023                             Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.77                                           8/9/2023                              Trade Payable                       $125

                                     ACCOUNT NO.: NOT AVAILABLE


3.78                                           3/3/2022                              Trade Payable                       $750

                                     ACCOUNT NO.: NOT AVAILABLE


3.79    BRIGHAM & WOMEN'S HOSPITAL            11/11/2021                             Trade Payable                   $137,556
       ATTN SIMONE LORENA
       HOSPITAL MEDICINE UNIT        ACCOUNT NO.: NOT AVAILABLE
       75 FRANCIS ST PBB B-428
       BOSTON, MA 02115


3.80    BRIGHAM AND WOMEN'S                    3/15/2023                             Trade Payable                   $470,686
       HOSPITAL
       DEPARTMENT OF MEDICINE        ACCOUNT NO.: NOT AVAILABLE
       MICHELLE DERANEYSTEPHANIE
       TRAN
       1620 TREMONT ST RM OBC3-32
       CME
       BOSTON, MA 02120




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                         Account Number                               Claim

Trade Payables

3.81    BRIGHAM AND WOMEN'S                   6/20/2023                             Trade Payable                     $6,230
       PHYSICIANS ORG INC-ACH
       ATTN CATHY QUADE             ACCOUNT NO.: NOT AVAILABLE
       75 FRANCIS STREET
       BOSTON, MA 02115


3.82    BRIGHAM WOMEN'S HOSPITAL             12/31/2021                             Trade Payable                    $18,487
       ATTN: CHRISTOPHER ROY MD
       DIRECTOR OF HOSPITAL         ACCOUNT NO.: NOT AVAILABLE
       MEDICINE
       75 FRANCIS ST - PBB-B4
       BOSTON, MA 02115


3.83                                          8/14/2023                             Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE




3.84                                          8/3/2023                              Trade Payable                     $4,900

                                    ACCOUNT NO.: NOT AVAILABLE


3.85    BUTTLE FINANCIAL NETWORK              9/8/2021                              Trade Payable                       $276
       ATTN ACCOUNTS PAYABLE
       425 US ROUTE 30              ACCOUNT NO.: NOT AVAILABLE
       SUITE 300
       DYER, IN 46311


3.86                                         10/15/2023                             Trade Payable                       $400

                                    ACCOUNT NO.: NOT AVAILABLE


3.87    CANON FINANCIAL SERVICES,            12/12/2023                             Trade Payable                       $223
       INC.
       14904 COLLECTIONS CENTER     ACCOUNT NO.: NOT AVAILABLE
       DRIVE
       CHICAGO, IL 60693-0149


3.88                                          7/3/2023                              Trade Payable                     $4,984

                                    ACCOUNT NO.: NOT AVAILABLE



3.89                                          8/14/2023                             Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                                Claim

Trade Payables

3.101                                        4/18/2023                              Trade Payable                       $600

                                   ACCOUNT NO.: NOT AVAILABLE




3.102                                       10/16/2023                              Trade Payable                       $600

                                   ACCOUNT NO.: NOT AVAILABLE


3.103                                        1/14/2020                              Trade Payable                     $3,836

                                   ACCOUNT NO.: NOT AVAILABLE


3.104                                        8/1/2023                               Trade Payable                       $500

                                   ACCOUNT NO.: NOT AVAILABLE


3.105                                        12/5/2019                              Trade Payable                       $700

                                   ACCOUNT NO.: NOT AVAILABLE


3.106                                        11/3/2023                              Trade Payable                       $500

                                   ACCOUNT NO.: NOT AVAILABLE



3.107                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.108                                        4/3/2023                               Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.109                                        10/3/2023                              Trade Payable                     $8,740

                                   ACCOUNT NO.: NOT AVAILABLE


3.110                                        4/6/2023                               Trade Payable                       $250

                                   ACCOUNT NO.: NOT AVAILABLE


3.111                                        8/3/2023                               Trade Payable                     $2,375

                                   ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                            Account Number                                Claim

Trade Payables

3.112                                            12/4/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.113                                            3/31/2023                              Trade Payable                     $1,163

                                       ACCOUNT NO.: NOT AVAILABLE



3.114                                            9/11/2023                              Trade Payable                     $3,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.115                                            8/29/2023                              Trade Payable                       $600

                                       ACCOUNT NO.: NOT AVAILABLE


3.116                                            8/14/2023                              Trade Payable                       $750

                                       ACCOUNT NO.: NOT AVAILABLE


3.117                                            12/4/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.118    CLEVELAND CLINIC                        6/1/2023                               Trade Payable                    $11,700
        EDUCATIONAL FOUNDATION - ACH
        ATTN LAURIE WEISS              ACCOUNT NO.: NOT AVAILABLE
        PO BOX 931653
        CLEVELAND, OH 44193


3.119                                            12/4/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.120    COLORADO WEST                           3/12/2021                              Trade Payable                       $880
        OTOLARYNGOLOGY ACH
        C/O MICHAEL M TROWBRIDGE       ACCOUNT NO.: NOT AVAILABLE
        2643 PATTERSON ROAD #503
        GRAND JUNCTION, CO 81506


3.121    COMPUTERSHARE INC                       5/10/2023                              Trade Payable                    $11,246
        DEPT CH 16934
        PALATINE, IL 60055-9228        ACCOUNT NO.: NOT AVAILABLE


3.122    CONCORD III                             8/1/2023                               Trade Payable                     $3,767
        P O BOX 84125
        SEATTLE, WA 98124-5425         ACCOUNT NO.: NOT AVAILABLE


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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                                Claim

Trade Payables

3.123                                           6/1/2020                               Trade Payable                       $200

                                      ACCOUNT NO.: NOT AVAILABLE


3.124                                           8/10/2023                              Trade Payable                       $450

                                      ACCOUNT NO.: NOT AVAILABLE


3.125    CUCAMONGA VALLEY WATER                 4/24/2023                              Trade Payable                       $390
        DISTRICT
        C/O ROSSANA AMMARI            ACCOUNT NO.: NOT AVAILABLE
        10440 ASHFORD ST
        RANCHO CUCAMONGA, CA 91730


3.126                                           3/20/2023                              Trade Payable                        $27

                                      ACCOUNT NO.: NOT AVAILABLE


3.127    CVFI-S LAKE AVE, LP - WIRE             6/27/2023                              Trade Payable                    $35,852
        PO BOX 847341
        LOS ANGELES, CA 90084-7341    ACCOUNT NO.: NOT AVAILABLE


3.128                                           4/18/2023                              Trade Payable                       $600

                                      ACCOUNT NO.: NOT AVAILABLE


3.129                                           4/18/2023                              Trade Payable                       $600

                                      ACCOUNT NO.: NOT AVAILABLE


3.130                                           6/4/2021                               Trade Payable                       $375

                                      ACCOUNT NO.: NOT AVAILABLE



3.131                                           6/11/2021                              Trade Payable                       $450

                                      ACCOUNT NO.: NOT AVAILABLE


3.132                                           12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.133                                           8/17/2022                              Trade Payable                       $250

                                      ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                             Account Number                                Claim

Trade Payables

3.134                                             12/8/2020                              Trade Payable                       $125

                                        ACCOUNT NO.: NOT AVAILABLE


3.135                                             8/14/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.136                                             8/14/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE



3.137    DATA MEMORY MARKETING, INC.             10/31/2023                              Trade Payable                     $9,949
        ACH
        950 TAYLOR STATION ROAD         ACCOUNT NO.: NOT AVAILABLE
        SUITE O
        COLUMBUS, OH 43230


3.138    DATASYSTEM SOLUTIONS, INC. -             12/1/2023                              Trade Payable                     $4,298
        ACH
        8001 CONSER STE 140             ACCOUNT NO.: NOT AVAILABLE
        OVERLAND PARK, KS 66204


3.139                                             4/18/2023                              Trade Payable                       $600

                                        ACCOUNT NO.: NOT AVAILABLE


3.140                                             4/18/2023                              Trade Payable                       $900

                                        ACCOUNT NO.: NOT AVAILABLE


3.141                                             8/1/2023                               Trade Payable                       $500

                                        ACCOUNT NO.: NOT AVAILABLE


3.142                                             8/1/2023                               Trade Payable                     $3,600

                                        ACCOUNT NO.: NOT AVAILABLE


3.143                                             12/4/2023                              Trade Payable                     $2,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.144                                             7/6/2023                               Trade Payable                     $3,600

                                        ACCOUNT NO.: NOT AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address    Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                                Claim

Trade Payables

3.145                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.146                                        4/18/2023                              Trade Payable                       $600

                                   ACCOUNT NO.: NOT AVAILABLE


3.147                                        3/3/2022                               Trade Payable                       $500

                                   ACCOUNT NO.: NOT AVAILABLE


3.148                                        9/28/2022                              Trade Payable                     $2,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.149                                        12/4/2023                              Trade Payable                       $600

                                   ACCOUNT NO.: NOT AVAILABLE


3.150                                        8/7/2023                               Trade Payable                     $7,565

                                   ACCOUNT NO.: NOT AVAILABLE


3.151                                        8/10/2023                              Trade Payable                       $475

                                   ACCOUNT NO.: NOT AVAILABLE


3.152                                        8/3/2023                               Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.153                                        7/8/2023                               Trade Payable                    $62,377

                                   ACCOUNT NO.: NOT AVAILABLE



3.154                                       11/24/2023                              Trade Payable                     $9,100

                                   ACCOUNT NO.: NOT AVAILABLE


3.155                                       12/11/2023                              Trade Payable                     $1,143

                                   ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                                Claim

Trade Payables

3.156                                           8/9/2023                               Trade Payable                     $1,250

                                      ACCOUNT NO.: NOT AVAILABLE


3.157                                          12/15/2021                              Trade Payable                       $470

                                      ACCOUNT NO.: NOT AVAILABLE


3.158                                           5/3/2023                               Trade Payable                       $750

                                      ACCOUNT NO.: NOT AVAILABLE


3.159                                          11/25/2023                              Trade Payable                       $350

                                      ACCOUNT NO.: NOT AVAILABLE


3.160                                           8/14/2023                              Trade Payable                       $750
                          E
                                      ACCOUNT NO.: NOT AVAILABLE


3.161                                          12/22/2023                              Trade Payable                       $125

                                      ACCOUNT NO.: NOT AVAILABLE


3.162    DEPARTMENT OF PSYCHIATRY               6/5/2023                               Trade Payable                    $10,450
        AND BEHAVIORAL SCIENCES
        ATTN KIM MIELE                ACCOUNT NO.: NOT AVAILABLE
        1120 NORTHWEST FOURTEENTH
        STREET SUITE 1455
        MIAMI, FL 33136


3.163    DF KING & CO, INC                      1/23/2023                              Trade Payable                    $13,095
        PO BOX 1701
        NEW YORK, NY 10268-1701       ACCOUNT NO.: NOT AVAILABLE


3.164                                           5/23/2023                              Trade Payable                     $8,500

                                      ACCOUNT NO.: NOT AVAILABLE




3.165    DIGITAL MEDIA INNOVATIONS,             7/14/2023                              Trade Payable                     $9,742
        LLC
        C/O INTRADO CORPORATION       ACCOUNT NO.: NOT AVAILABLE
        PO BOX 74007143
        CHICAGO, IL 60674-7143




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Including Zip Code                         Account Number                                Claim

Trade Payables

3.166                                         7/6/2023                               Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.167                                         3/13/2023                              Trade Payable                    $72,076

                                    ACCOUNT NO.: NOT AVAILABLE


3.168                                         12/8/2023                              Trade Payable                     $2,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.169                                         3/30/2020                              Trade Payable                     $2,500

                                    ACCOUNT NO.: NOT AVAILABLE


3.170    DROPBOX INC                         12/22/2021                              Trade Payable                       $120
        1800 OWENS STREET STE 200
        SAN FRANCISCO, CA 94158     ACCOUNT NO.: NOT AVAILABLE


3.171    DTCC SOLUTIONS LLC - ACH             11/9/2023                              Trade Payable                     $4,124
        P O BOX 27590
        NEW YORK, NY 10087-7590     ACCOUNT NO.: NOT AVAILABLE


3.172                                         7/6/2023                               Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.173    DXC TECHNOLOGY SERVICES,            12/20/2023                              Trade Payable                   $252,376
        LLC - ACH
        P O BOX 740868              ACCOUNT NO.: NOT AVAILABLE
        ATLANATA, GA 30374-0868


3.174    EDGE BUSINESS SYSTEMS                8/18/2023                              Trade Payable                     $2,123
        1350 NORTHMEADOW PKWY
        SUITE 130                   ACCOUNT NO.: NOT AVAILABLE
        ROSWELL, GA 30076


3.175                                         12/4/2023                              Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.176                                         8/16/2023                              Trade Payable                       $750

                                    ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                                Claim

Trade Payables

3.177                                         11/8/2023                              Trade Payable                       $500

                                    ACCOUNT NO.: NOT AVAILABLE


3.178                                         12/4/2019                              Trade Payable                       $250

                                    ACCOUNT NO.: NOT AVAILABLE


3.179                                         6/2/2023                               Trade Payable                       $450

                                    ACCOUNT NO.: NOT AVAILABLE


3.180    ELITE UNDERWRITING LIFE              8/31/2023                              Trade Payable                     ($5,925)
        CONSULTING, LLC - ACH
        10219 SHIPMANS LANDING DR   ACCOUNT NO.: NOT AVAILABLE
        MISSOURI CITY, TX 77459


3.181                                        10/27/2023                              Trade Payable                    $10,096

                                    ACCOUNT NO.: NOT AVAILABLE


3.182                                         9/22/2023                              Trade Payable                       $300

                                    ACCOUNT NO.: NOT AVAILABLE


3.183                                        12/20/2021                              Trade Payable                       $200

                                    ACCOUNT NO.: NOT AVAILABLE


3.184                                         6/30/2023                              Trade Payable                     $3,111
                              4
                                    ACCOUNT NO.: NOT AVAILABLE


3.185                                         7/20/2023                              Trade Payable                     $3,978

                                    ACCOUNT NO.: NOT AVAILABLE



3.186                                         12/4/2023                              Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.187                                         7/5/2023                               Trade Payable                       $250

                                    ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                                Claim

Trade Payables

3.188                                           12/1/2023                              Trade Payable                     $2,480

                                      ACCOUNT NO.: NOT AVAILABLE


3.189    EMPLOYEE POOLING                       8/11/2023                              Trade Payable                     $6,517
        2000 GLEN ECHO ROAD
        SUITE 111                     ACCOUNT NO.: NOT AVAILABLE
        NASHVILLE, TN 37215


3.190    EMPLOYEETECH - ACH                     8/1/2023                               Trade Payable                    $41,147
        939 W NORTH AVE
        STE 750                       ACCOUNT NO.: NOT AVAILABLE
        CHICAGO, IL 60642


3.191    EMPRISE TECHNOLOGIES LLC -             9/5/2023                               Trade Payable                    $17,325
        ACH
        5693 SWAN CREEK DR            ACCOUNT NO.: NOT AVAILABLE
        TOLEDO, OH 43614


3.192    EQHEALTH SOLUTIONS LLC                 3/31/2023                              Trade Payable                   $113,750
        ATTN: FINANCE DEPT
        777 EAST PARK DRIVE           ACCOUNT NO.: NOT AVAILABLE
        HARRISBURG, PA 17111-2754


3.193    ERIC ENDLICH, PHD - ACH                7/11/2023                              Trade Payable                     $4,499
        360 PICKERING PLACE
        WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.194    ERNST & YOUNG INDIA-WIRE              10/31/2023                              Trade Payable                    $30,000
        4TH & 5TH FLOOR
        PLOT NO 2B                    ACCOUNT NO.: NOT AVAILABLE
        TOWER 2 SECTOR 126
        NOIDA, UTTAR PRADESH
        INDIA


3.195    ERNST & YOUNG US LLP - ACH            10/31/2023                              Trade Payable                   $130,905
        WELLS FARGO BANK, NA
        P.O. BOX 933514               ACCOUNT NO.: NOT AVAILABLE
        ATLANTA, GA 31193-3514


3.196    ESKER, INC. - ACH                      7/31/2023                              Trade Payable                     $3,808
        P. O. BOX 44953
        MADISON, WI 53744-4953        ACCOUNT NO.: NOT AVAILABLE


3.197    EVERBANK                               5/7/2023                               Trade Payable                    $14,088
        P O BOX 911608
        DENVER, CO 80291              ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address        Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                            Account Number                                Claim

Trade Payables

3.219    FUSION LLC - ACH                        11/1/2023                              Trade Payable                       ($76)
        PO BOX 51341
        LOS ANGELES, CA 90051          ACCOUNT NO.: NOT AVAILABLE


3.220                                            7/24/2023                              Trade Payable                     $1,240

                                       ACCOUNT NO.: NOT AVAILABLE


3.221                                           12/12/2022                              Trade Payable                     $1,500

                                       ACCOUNT NO.: NOT AVAILABLE


3.222                                           11/30/2023                              Trade Payable                     $4,645

                                       ACCOUNT NO.: NOT AVAILABLE


3.223                                            12/4/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.224    GANA 22 ANESTHESIA SERVICES             6/5/2023                               Trade Payable                     $2,100
        ATTN: STEPHEN G CECIL
        3729 NORMAN BLALOCK RD         ACCOUNT NO.: NOT AVAILABLE
        WILLOW SPRING, NC 27592


3.225                                           10/31/2023                              Trade Payable                     $1,639

                                       ACCOUNT NO.: NOT AVAILABLE



3.226                                            12/4/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.227    GCG FINANCIAL LLC                       5/15/2020                              Trade Payable                       $717
        ATTN: COMMISSION DEPT
        THREE PARKWAY NORTH, STE 500   ACCOUNT NO.: NOT AVAILABLE
        DEERFIELD, IL 60015


3.228                                           10/20/2021                              Trade Payable                     $3,000

                                       ACCOUNT NO.: NOT AVAILABLE



3.229    GETTY IMAGES, INC.                     11/17/2023                              Trade Payable                     $1,238
        P. O. BOX 953604
        SAINT LOUIS, MO 63195          ACCOUNT NO.: NOT AVAILABLE



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Creditor's Name, Mailing Address        Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                            Account Number                                Claim

Trade Payables

3.230    GIISSUES INC.                           4/5/2023                               Trade Payable                     $3,080
        C/O RONALD KORETZ
        16847 COLVEN RD                ACCOUNT NO.: NOT AVAILABLE
        GRANADA HILLS, CA 91344


3.231                                            8/14/2023                              Trade Payable                     $2,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.232                                            8/14/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.233                                            12/4/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.234    GOKARE LAW FIRM - ACH                  11/22/2023                              Trade Payable                     ($2,050)
        11545 PARK WOODS CIRCLE
        SUITE D                        ACCOUNT NO.: NOT AVAILABLE
        ALPHARETTA, GA 30005


3.235                                            8/7/2023                               Trade Payable                     $2,720

                                       ACCOUNT NO.: NOT AVAILABLE


3.236    GOOGLE INC-WIRE                        11/30/2023                              Trade Payable                   $234,620
        DEPT 33654 - PO BOX 39000
        SAN FRANCISCO, CA 94139        ACCOUNT NO.: NOT AVAILABLE


3.237    GREATAMERICA FINANCIAL SVCS             7/7/2023                               Trade Payable                    $12,561
        PO BOX 660831
        DALLAS, TX 75266-0831          ACCOUNT NO.: NOT AVAILABLE


3.238                                            7/25/2023                              Trade Payable                     $1,875

                                       ACCOUNT NO.: NOT AVAILABLE


3.239                                           12/12/2022                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.240                                            8/14/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                             Account Number                                Claim

Trade Payables

3.241                                             11/6/2019                              Trade Payable                       $200

                                        ACCOUNT NO.: NOT AVAILABLE


3.242    HACIENDA HEALTHCARE                     12/17/2021                              Trade Payable                       $520
        C/O LINDA STILLMAN
        1402 E SOUTH MOUNTAIN AVE       ACCOUNT NO.: NOT AVAILABLE
        PHOENIX, AZ 85042


3.243                                             11/3/2023                              Trade Payable                       $250

                                        ACCOUNT NO.: NOT AVAILABLE


3.244                                             12/8/2023                              Trade Payable                       $500

                                        ACCOUNT NO.: NOT AVAILABLE


3.245                                             11/8/2023                              Trade Payable                       $375

                                        ACCOUNT NO.: NOT AVAILABLE


3.246    HARVARD MEDICAL SCHOOL                   4/21/2023                              Trade Payable                    $49,000
        POSTGRADUATE MEDICAL
        EDUCATION                       ACCOUNT NO.: NOT AVAILABLE
        ATTN MARY LOU
        4 BLACKFAN CIR 4TH FL
        BOSTON, MA 02115


3.247                                             12/4/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE



3.248                                             7/6/2023                               Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.249    HIRERIGHT LLC                            7/31/2023                              Trade Payable                       $710
        PO BOX 847891
        DALLAS, TX 75284-7891           ACCOUNT NO.: NOT AVAILABLE


3.250    HOLADOCTOR INC - ACH                     7/5/2023                               Trade Payable                    $18,066
        ATTN: ACCOUNTS RECEIVABLE
        800 OLD ROSWELL LKS PKWY #150   ACCOUNT NO.: NOT AVAILABLE
        ROSWELL, GA 30076


3.251                                             8/14/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                               Account Number                                Claim

Trade Payables

3.252                                               9/5/2023                               Trade Payable                     $6,900

                                          ACCOUNT NO.: NOT AVAILABLE



3.253                                               8/14/2023                              Trade Payable                     $1,000

                                          ACCOUNT NO.: NOT AVAILABLE



3.254    HRDIRECT                                   4/17/2023                              Trade Payable                         $5
        P O BOX 669390
        POMPANO BEACH, FL 33066-9390      ACCOUNT NO.: NOT AVAILABLE


3.255    IBM CORPORATION                           11/30/2023                              Trade Payable                     $1,110
        P. O. BOX 534151
        ATLANTA, GA 30353-4151            ACCOUNT NO.: NOT AVAILABLE


3.256    IDEAL PRINTING COMPANY                     3/14/2022                              Trade Payable                       $895
        2801 OAK INDUSTRIAL DR NE
        GRAND RAPIDS, MI 49505            ACCOUNT NO.: NOT AVAILABLE


3.257    IMAGEWORKS ACH                            11/30/2023                              Trade Payable                    $10,181
        3332 OLD MONTGOMERY HWY
        STE 201                           ACCOUNT NO.: NOT AVAILABLE
        BIRMINGHAM, AL 35209


3.258    INFLUXDATA INC                             8/29/2023                              Trade Payable                    $12,296
        548 MARKET ST
        PMB 77953                         ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94104


3.259    INSIGHT DIRECT USA, INC. - ACH             7/31/2023                              Trade Payable                    $30,308
        P. O. BOX 731069
        DALLAS, TX 75373-1069             ACCOUNT NO.: NOT AVAILABLE


3.260    INTEGRATED CORPORATE                       7/31/2023                              Trade Payable                    $33,972
        HEALTH ACH
        2403 SIDNEY STREET                ACCOUNT NO.: NOT AVAILABLE
        SUITE 800
        PITTSBURGH, PA 15203


3.261    IQVIA INC                                  4/13/2023                              Trade Payable                   $105,448
        PO BOX 8500-784290
        PHILADELPHIA, PA 19178-4290       ACCOUNT NO.: NOT AVAILABLE


3.262                                               7/6/2023                               Trade Payable                     $1,000

                                          ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                         Account Number                                Claim

Trade Payables

3.285                                         8/26/2023                              Trade Payable                     $2,650

                                    ACCOUNT NO.: NOT AVAILABLE


3.286                                         4/18/2023                              Trade Payable                       $600

                                    ACCOUNT NO.: NOT AVAILABLE


3.287                                         8/14/2023                              Trade Payable                       $750

                                    ACCOUNT NO.: NOT AVAILABLE


3.288    JECKIL PROMOTIONS, INC.              8/22/2023                              Trade Payable                     $1,442
        5553 PEACHTREE RD
        STE 100                     ACCOUNT NO.: NOT AVAILABLE
        ATLANTA, GA 30341


3.289                                         8/9/2023                               Trade Payable                       $375

                                    ACCOUNT NO.: NOT AVAILABLE


3.290                                         12/8/2023                              Trade Payable                       $500

                                    ACCOUNT NO.: NOT AVAILABLE




3.291                                         8/1/2023                               Trade Payable                     $6,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.292                                        11/29/2022                              Trade Payable                       $900

                                    ACCOUNT NO.: NOT AVAILABLE




3.293                                        10/26/2022                              Trade Payable                       $300

                                    ACCOUNT NO.: NOT AVAILABLE


3.294                                        10/28/2023                              Trade Payable                       $188

                                    ACCOUNT NO.: NOT AVAILABLE


3.295                                         3/31/2023                              Trade Payable                        $86

                                    ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                                Claim

Trade Payables

3.307                                          9/16/2022                              Trade Payable                       $900

                                     ACCOUNT NO.: NOT AVAILABLE


3.308                                         12/30/2022                              Trade Payable                       $760

                                     ACCOUNT NO.: NOT AVAILABLE


3.309                                          9/21/2021                              Trade Payable                    $11,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.310                                         11/13/2023                              Trade Payable                     $4,375

                          -          ACCOUNT NO.: NOT AVAILABLE


3.311                                          7/6/2023                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.312                                          6/1/2021                               Trade Payable                     $1,500

                                     ACCOUNT NO.: NOT AVAILABLE


3.313                                          4/18/2023                              Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE


3.314    JOHNS HOPKINS OFF OF CONT             6/30/2023                              Trade Payable                       $441
        EDU
        ATTN: HENRY BESELMAN         ACCOUNT NO.: NOT AVAILABLE
        720 RUTLAND AVE TURNER 20
        BALTIMORE, MD 21205-2195


3.315                                         12/22/2023                              Trade Payable                     $2,970

                                     ACCOUNT NO.: NOT AVAILABLE


3.316                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.317                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                        Account Number                                Claim

Trade Payables

3.318                                        9/10/2023                              Trade Payable                       $540

                                   ACCOUNT NO.: NOT AVAILABLE



3.319                                        8/1/2023                               Trade Payable                       $875

                                   ACCOUNT NO.: NOT AVAILABLE


3.320                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.321                                       12/19/2023                              Trade Payable                       $200

                                   ACCOUNT NO.: NOT AVAILABLE


3.322                                        4/2/2020                               Trade Payable                       $125

                                   ACCOUNT NO.: NOT AVAILABLE


3.323                                        6/15/2023                              Trade Payable                       $598

                                   ACCOUNT NO.: NOT AVAILABLE



3.324                                        8/9/2023                               Trade Payable                       $300

                                   ACCOUNT NO.: NOT AVAILABLE


3.325                                        9/11/2023                              Trade Payable                     $1,360

                                   ACCOUNT NO.: NOT AVAILABLE


3.326                                        8/6/2020                               Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.327                                        8/14/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.328                                        6/30/2023                              Trade Payable                       $111

                                   ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                                Claim

Trade Payables

3.340    KELLER BENEFIT SERVICES              9/8/2021                               Trade Payable                     $1,648
        ATTN ACCOUNTS PAYABLE
        7316 WISCONSIN AVE          ACCOUNT NO.: NOT AVAILABLE
        SUITE 400
        BETHESDA, MD 20814


3.341                                         12/3/2023                              Trade Payable                       $864

                                    ACCOUNT NO.: NOT AVAILABLE


3.342                                         6/30/2023                              Trade Payable                       $284

                                    ACCOUNT NO.: NOT AVAILABLE


3.343                                         7/6/2023                               Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.344                                         10/3/2023                              Trade Payable                     $1,380

                                    ACCOUNT NO.: NOT AVAILABLE


3.345                                         6/30/2023                              Trade Payable                       $487

                                    ACCOUNT NO.: NOT AVAILABLE


3.346                                         7/2/2020                               Trade Payable                       $700

                                    ACCOUNT NO.: NOT AVAILABLE


3.347                                         9/11/2023                              Trade Payable                       $600

                                    ACCOUNT NO.: NOT AVAILABLE


3.348    KEYWORD ARTISTS, INC.                7/25/2023                              Trade Payable                    $32,800
        1515 SEABAY RD.
        WESTON, FL 33326            ACCOUNT NO.: NOT AVAILABLE


3.349                                         7/16/2023                              Trade Payable                       $584

                                    ACCOUNT NO.: NOT AVAILABLE


3.350                                         7/31/2023                              Trade Payable                     $3,150

                                    ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                                Claim

Trade Payables

3.351                                           12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.352                                           8/10/2023                              Trade Payable                     $1,500

                                      ACCOUNT NO.: NOT AVAILABLE


3.353                                           7/6/2023                               Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.354                                           8/10/2023                              Trade Payable                     $5,700

                                      ACCOUNT NO.: NOT AVAILABLE


3.355                                           12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE



3.356    LABCORP EMPLOYER SERVICES,            11/17/2023                              Trade Payable                     $3,598
        INC-ACH
        P O BOX 8034                  ACCOUNT NO.: NOT AVAILABLE
        BURLINGTON, NC 27216


3.357    LAFARGE CANADA                         10/4/2022                              Trade Payable                        $18
        C/O JACK DUGAS
        95 HOBSON RD                  ACCOUNT NO.: NOT AVAILABLE
        HAMILTON, ON L8H0A4
        CANADA


3.358                                           12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.359                                           8/14/2023                              Trade Payable                     $2,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.360                                           4/18/2023                              Trade Payable                       $600

                                      ACCOUNT NO.: NOT AVAILABLE


3.361                                           3/31/2023                              Trade Payable                       $619

                                      ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                                Claim

Trade Payables

3.362                                           1/13/2020                              Trade Payable                       $438

                                      ACCOUNT NO.: NOT AVAILABLE


3.363                                           8/20/2021                              Trade Payable                       $200

                                      ACCOUNT NO.: NOT AVAILABLE



3.364                                           12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.365                                           3/20/2023                              Trade Payable                     $3,600

                                      ACCOUNT NO.: NOT AVAILABLE


3.366                                           12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.367                                           7/6/2023                               Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.368    LCM DATA, INC. DBA                     8/1/2023                               Trade Payable                    $25,000
        BENEFITFRONT - ACH
        P O BOX 967                   ACCOUNT NO.: NOT AVAILABLE
        WESTHAMPTON BEACH, NY 11978


3.369    LEADER BERKON COLAO &                  5/10/2023                              Trade Payable                    $85,723
        SILVERSTEIN LLP
        630 THIRD AVENUE              ACCOUNT NO.: NOT AVAILABLE
        NEW YORK, NY 10017


3.370    LEAF-ACH                               7/19/2023                              Trade Payable                    $25,966
        P O BOX 5066
        HARTFORD, CT 06102-5066       ACCOUNT NO.: NOT AVAILABLE


3.371                                           7/6/2023                               Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.372                                           4/18/2023                              Trade Payable                       $900

                                      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                                Claim

Trade Payables

3.373                                           10/22/2023                              Trade Payable                     $1,200

                                       ACCOUNT NO.: NOT AVAILABLE


3.374    LIFE PRODUCTS SOLUTIONS                 8/3/2023                               Trade Payable                   $140,292
        GROUP,
        7900 RED ROAD, PH23            ACCOUNT NO.: NOT AVAILABLE
        MIAMI, FL 33143


3.375                                           10/20/2022                              Trade Payable                       $976

                                       ACCOUNT NO.: NOT AVAILABLE


3.376    LINKCONNECTOR-ACH                       10/5/2023                              Trade Payable                    $25,570
        1001 WINSTEAD DR
        STE 300                        ACCOUNT NO.: NOT AVAILABLE
        CARY, NC 27513


3.377    LL GLOBAL INC. DBA LOMA - WIRE          1/6/2023                               Trade Payable                    ($18,400)
        P.O. BOX 660
        BRIDGEPORT, CT 06601-0660       ACCOUNT NO.: NOT AVAILABLE


3.378                                            8/16/2023                              Trade Payable                       $300

                                       ACCOUNT NO.: NOT AVAILABLE


3.379                                            11/6/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE



3.380    LUNARLAB LLC - ACH                      9/5/2023                               Trade Payable                     $6,038
        457 ST ANNE'S DRIVE
        BIRMINGHAM, AL 35244           ACCOUNT NO.: NOT AVAILABLE


3.381                                            7/10/2023                              Trade Payable                     $1,800

                                       ACCOUNT NO.: NOT AVAILABLE


3.382                                            6/26/2023                              Trade Payable                     $2,250

                                       ACCOUNT NO.: NOT AVAILABLE


3.383                                            9/16/2023                              Trade Payable                       $500

                                       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                                Claim

Trade Payables

3.384                                          9/5/2023                               Trade Payable                     $1,200

                                     ACCOUNT NO.: NOT AVAILABLE


3.385                                          6/7/2023                               Trade Payable                     $1,750

                                     ACCOUNT NO.: NOT AVAILABLE



3.386                                          8/21/2023                              Trade Payable                     $4,300

                                     ACCOUNT NO.: NOT AVAILABLE


3.387                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.388                                          7/6/2023                               Trade Payable                       $900

                                     ACCOUNT NO.: NOT AVAILABLE


3.389    MARKETSPHERE                          7/31/2023                              Trade Payable                     $4,925
        P O BOX 30123
        OMAHA, NE 68103-1223         ACCOUNT NO.: NOT AVAILABLE


3.390                                          7/11/2022                              Trade Payable                       $750

                                     ACCOUNT NO.: NOT AVAILABLE


3.391                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.392    MASSACHUSETTS GENERAL                12/31/2022                              Trade Payable                    $11,122
        PHYSICIANS ORGANIZATION
        ATTN WILLIAM HYNES           ACCOUNT NO.: NOT AVAILABLE
        55 FRUIT STREET
        WRN 225
        BOSTON, MA 02114


3.393                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.394                                          8/14/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                                Claim

Trade Payables

3.395                                            8/29/2023                              Trade Payable                       $600

                                       ACCOUNT NO.: NOT AVAILABLE


3.396                                           12/15/2021                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.397                                            9/18/2023                              Trade Payable                     $3,839

                                       ACCOUNT NO.: NOT AVAILABLE


3.398    MAYER BROWN LLP - WIRE                 12/18/2023                              Trade Payable                   $599,065
        311 WEST MONROE STREET
        CHICAGO, IL 60606              ACCOUNT NO.: NOT AVAILABLE


3.399    MAYO FOUNDATION FOR                     8/3/2023                               Trade Payable                       $500
        MEDICAL EDU AND RESEARCH -
        ACH                            ACCOUNT NO.: NOT AVAILABLE
        3055 41ST ST NW
        WE_01_800-NRS
        ROCHESTER, MN 55901


3.400    MCGRIFF INSURANCE AGENCY               12/15/2023                              Trade Payable                       $893
        5446 THORNWOOD DRIVE
        SUITE 200                      ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95123


3.401    MCNAIR, MCLEMORE,                       5/31/2023                              Trade Payable                    $81,920
        MIDDLEBROOKS & CO. LLC - ACH
        P.O. BOX ONE                   ACCOUNT NO.: NOT AVAILABLE
        MACON, GA 31202


3.402    MEDICAL MARKETING SERVICE               4/20/2023                              Trade Payable                    $29,121
        P.O. BOX 87916
        CAROL STREAM, IL 60188-7916    ACCOUNT NO.: NOT AVAILABLE


3.403                                            8/14/2023                              Trade Payable                     $2,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.404                                            4/5/2023                               Trade Payable                    $15,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.405                                            2/17/2022                              Trade Payable                       $250

                                       ACCOUNT NO.: NOT AVAILABLE


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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                             Account Number                                Claim

Trade Payables

3.406    MERATIVE US LP - ACH                     4/19/2023                              Trade Payable                    $54,294
        100 PHOENIX DR
        ANN ARBOR, MI 48108             ACCOUNT NO.: NOT AVAILABLE


3.407    MERRIAM D/B/A WORLD CLASS                6/30/2022                              Trade Payable                       $683
        CME - ACH
        ATTN: HEIDI WILSON, PRESIDENT   ACCOUNT NO.: NOT AVAILABLE
        6201 FAIRVIEW RD, SUITE 200
        CHARLOTTE, NC 28210


3.408    MGECOM, INC ACH                         10/15/2023                              Trade Payable                    $11,411
        5265 SUNSET LAKE RD #4
        HOLLY SPRINGS, NC 27540         ACCOUNT NO.: NOT AVAILABLE


3.409                                             12/4/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.410                                            10/23/2023                              Trade Payable                     $1,160

                                        ACCOUNT NO.: NOT AVAILABLE


3.411                                             7/6/2023                               Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.412                                             6/30/2023                              Trade Payable                       $487

                                        ACCOUNT NO.: NOT AVAILABLE


3.413                                             8/14/2023                              Trade Payable                     $1,000
                                   T
                                        ACCOUNT NO.: NOT AVAILABLE


3.414                                             3/3/2022                               Trade Payable                       $750

                                        ACCOUNT NO.: NOT AVAILABLE


3.415                                             12/4/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.416                                             11/3/2023                              Trade Payable                       $375

                                        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                                Claim

Trade Payables

3.417                                         10/28/2021                              Trade Payable                       $520

                                     ACCOUNT NO.: NOT AVAILABLE


3.418                                          9/5/2023                               Trade Payable                       $300

                                     ACCOUNT NO.: NOT AVAILABLE


3.419                                          4/3/2023                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.420                                         10/11/2021                              Trade Payable                       $460

                                     ACCOUNT NO.: NOT AVAILABLE


3.421    MICROSOFT AZURE - ACH                 12/7/2023                              Trade Payable                      ($992)
        P.O. BOX 100464
        PASADENA, CA 91189           ACCOUNT NO.: NOT AVAILABLE


3.422                                          8/3/2023                               Trade Payable                       $875

                                     ACCOUNT NO.: NOT AVAILABLE


3.423                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.424    MINERAL, INC. - ACH                   7/1/2023                               Trade Payable                     $2,100
        PO BOX 201066
        DALLAS, TX 75320             ACCOUNT NO.: NOT AVAILABLE


3.425                                          9/15/2023                              Trade Payable                       $375

                                     ACCOUNT NO.: NOT AVAILABLE


3.426                                          8/14/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.427                                          12/6/2023                              Trade Payable                       $300

                                     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                                Claim

Trade Payables

3.428    MOUNT SINAI                             12/31/2021                              Trade Payable                    $38,593
        ATTN: ANDREA BENYA
        1 GUSTAVE L LEVY PL             ACCOUNT NO.: NOT AVAILABLE
        BOX 1070
        NEW YORK, NY 10029


3.429    MOUNTAIRE CORPORATION                    3/3/2022                               Trade Payable                        $50
        C/O GLENDA SMALLWOOD
        1901 NAPA VALLEY DR             ACCOUNT NO.: NOT AVAILABLE
        LITTLE ROCK, AR 72212


3.430                                             8/22/2017                              Trade Payable                     $4,100

                                        ACCOUNT NO.: NOT AVAILABLE




3.431                                             7/6/2023                               Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.432                                             11/1/2023                              Trade Payable                       $590

                                        ACCOUNT NO.: NOT AVAILABLE


3.433                                             8/14/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.434    NALCO WATER - ACH                        12/5/2023                              Trade Payable                       $261
        P O BOX 70716
        CHICAGO, IL 60673-0716          ACCOUNT NO.: NOT AVAILABLE


3.435                                             7/11/2022                              Trade Payable                       $600

                                        ACCOUNT NO.: NOT AVAILABLE


3.436    NATIONAL CUSTOMER SUPPOT                 1/25/2021                              Trade Payable                        $53
        CTR
        UNITED STATES POSTAL SERVICE    ACCOUNT NO.: NOT AVAILABLE
        225 N HUMPHREYS BLVD, STE 501
        MEMPHIS, TN 38188-1099


3.437                                             10/5/2023                              Trade Payable                    $12,426

                                        ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                                Claim

Trade Payables

3.438    NCC GROUP SOFTWARE                    10/6/2023                              Trade Payable                        $59
        RESILIENCE (NA) LLC - ACH
        DEPT CH 18027                ACCOUNT NO.: NOT AVAILABLE
        PALATINE, IL 60055


3.439                                          9/14/2021                              Trade Payable                     $1,800

                                     ACCOUNT NO.: NOT AVAILABLE


3.440                                          2/24/2022                              Trade Payable                     $2,275

                                     ACCOUNT NO.: NOT AVAILABLE


3.441                                         10/18/2023                              Trade Payable                   $249,541

                                     ACCOUNT NO.: NOT AVAILABLE



3.442    NEW RELIC, INC. - ACH                10/31/2023                              Trade Payable                        $25
        P O BOX 101812
        PASADENA, CA 91189-1812      ACCOUNT NO.: NOT AVAILABLE


3.443                                          11/3/2023                              Trade Payable                       $500

                                     ACCOUNT NO.: NOT AVAILABLE


3.444                                          5/4/2022                               Trade Payable                     $1,500

                                     ACCOUNT NO.: NOT AVAILABLE



3.445                                          6/19/2023                              Trade Payable                     $5,000

                                     ACCOUNT NO.: NOT AVAILABLE



3.446                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.447    NONFOCAL NEUROLOGY - ACH              12/4/2023                              Trade Payable                     $1,000
        C/O MICHAEL LEVY
        217 WOLCOTT ROAD             ACCOUNT NO.: NOT AVAILABLE
        CHESTNUT HILL, MA 02467


3.448                                          8/16/2023                              Trade Payable                     $4,900

                                     ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                                Claim

Trade Payables

3.449    NORTH AMERICAN THROMBOSIS              6/30/2023                              Trade Payable                     $3,141
        FORUM INC
        368 BOYLSTON STREET           ACCOUNT NO.: NOT AVAILABLE
        BROOKLINE, MA 02445


3.450    NORTH KANSAS CITY HOSPITAL             1/27/2021                              Trade Payable                       $264
        ATTN LORI RODGERS
        2800 CLAY EDWARDS DR          ACCOUNT NO.: NOT AVAILABLE
        KANSAS CITY, MO 64116-3220


3.451    NORTHERN BENEFITS                      9/8/2021                               Trade Payable                       $366
        ATTN ACCOUNTS PAYABLE
        1233 SHELBURNE RD STE C2A     ACCOUNT NO.: NOT AVAILABLE
        SOUTH BURLINGTON, VT 05403


3.452    NRAI - ACH                             8/1/2023                               Trade Payable                       $743
        PO BOX 4349
        CAROL STREAM, IL 60197-4349   ACCOUNT NO.: NOT AVAILABLE


3.453    NUMBERSONLY INC                        10/4/2023                              Trade Payable                    $14,560
        1848 NORWOOD PLAZA
        SUITE 112                     ACCOUNT NO.: NOT AVAILABLE
        HURST, TX 76054


3.454    NUTRIEN                                3/4/2022                               Trade Payable                       $133
        C/O AMANDA WALDNER
        PO BOX 509                    ACCOUNT NO.: NOT AVAILABLE
        SASKATOON, SK S7K3L6
        CANADA


3.455    NYU GROSSMAN SCHOOL OF                 5/9/2023                               Trade Payable                    $24,000
        MEDICINE
        ATTN.: DANIELLE MILBAUER      ACCOUNT NO.: NOT AVAILABLE
        ADMIN DIRECTOR CME
        550 FIRST AVE MSB 199
        NEW YORK, NY 10016


3.456    OPTUM INSIGHT                          8/8/2023                               Trade Payable                     $1,253
        P O BOX 84019
        CHICAGO, IL 60689-4002        ACCOUNT NO.: NOT AVAILABLE


3.457    OXCYON INC                             12/1/2023                              Trade Payable                     $2,033
        127 N CLEVELAND MASSILLON
        ROAD                          ACCOUNT NO.: NOT AVAILABLE
        BATH, OH 44333




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Including Zip Code                            Account Number                                Claim

Trade Payables

3.458    PACIFIC ARCHITECTS &                    9/13/2021                              Trade Payable                     $1,456
        ENGINEERING
        C/O WILLIS OF MARYLAND         ACCOUNT NO.: NOT AVAILABLE
        12505 PARK POTOMAC AVE, 300
        POTOMAC, MD 20854


3.459    PACIFIC OFFICE AUTOMATION               8/2/2023                               Trade Payable                     $2,186
        PO BOX 41602
        PHILADELPHIA, PA 19101-1602    ACCOUNT NO.: NOT AVAILABLE


3.460    PAGEWORKS - ACH                         6/14/2023                              Trade Payable                    $49,268
        2801 OAK INDUSTRIAL DR. NE
        GRAND RAPIDS, MI 49505         ACCOUNT NO.: NOT AVAILABLE


3.461    PALMETTO DENTAL                         8/29/2023                              Trade Payable                     $1,200
        CONSULTING LLC ACH
        23 COURTYARD COMMON            ACCOUNT NO.: NOT AVAILABLE
        HILTON HEAD ISLAND, SC 29926


3.462                                            8/14/2023                              Trade Payable                       $750

                                       ACCOUNT NO.: NOT AVAILABLE




3.463    PANGEATWO                               7/18/2022                              Trade Payable                     $6,750
        3595 GRANDVIEW PKWY STE 450
        BIRMINGHAM, AL 35243           ACCOUNT NO.: NOT AVAILABLE


3.464    PARK PLACE TECHNOLOGIES -               11/6/2023                              Trade Payable                     $8,423
        ACH
        PO BOX 78000-DEPT 781156       ACCOUNT NO.: NOT AVAILABLE
        DETROIT, MI 48278-1156


3.465                                            12/6/2023                              Trade Payable                       $450

                                       ACCOUNT NO.: NOT AVAILABLE


3.466                                            4/18/2023                              Trade Payable                       $600

                                       ACCOUNT NO.: NOT AVAILABLE


3.467                                            8/16/2023                              Trade Payable                       $750

                                       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                                Claim

Trade Payables

3.468    PEERVOICE UK LTD - WIRE                3/16/2023                              Trade Payable                   $685,470
        FINANCE DEPT, 3RD FLOOR
        75 DAVIES STREET              ACCOUNT NO.: NOT AVAILABLE
        LONDON W1K 5JN


3.469    PERSISTENT SYSTEMS, INC. -             7/10/2023                              Trade Payable                     $9,629
        ACH
        2055 LAURELWOOD ROAD          ACCOUNT NO.: NOT AVAILABLE
        SUITE 210
        SANTA CLARA, CA 95054


3.470                                          10/10/2023                              Trade Payable                       $200

                                      ACCOUNT NO.: NOT AVAILABLE


3.471                                          11/20/2023                              Trade Payable                     $2,998

                                      ACCOUNT NO.: NOT AVAILABLE


3.472                                           12/8/2023                              Trade Payable                     $4,988

                                      ACCOUNT NO.: NOT AVAILABLE


3.473                                           8/14/2023                              Trade Payable                     $1,750

                                      ACCOUNT NO.: NOT AVAILABLE


3.474                                           8/14/2023                              Trade Payable                     $1,750

                                      ACCOUNT NO.: NOT AVAILABLE


3.475    PITNEY BOWES                           3/14/2022                              Trade Payable                       $324
        PO BOX 981039
        BOSTON, MA 02298-1039         ACCOUNT NO.: NOT AVAILABLE


3.476    PITNEY BOWES BANK INC                 12/14/2023                              Trade Payable                       $237
        PURCHASE POWER
        PO BOX 981026                 ACCOUNT NO.: NOT AVAILABLE
        BOSTON, MA 02298-1026


3.477    PITNEY BOWES GLOBAL                    7/11/2023                              Trade Payable                     $2,535
        FINANCIAL SERVICES LLC
        PO BOX 981022                 ACCOUNT NO.: NOT AVAILABLE
        BOSTON, MA 02298-1022


3.478    PLATFORM CONSULTING LLC                7/6/2023                               Trade Payable                     $1,000
        11116 KUETZMILL DRIVE
        CINCINNATI, OH 45249          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                                Claim

Trade Payables

3.490                                          7/6/2023                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.491    REAL ESTATE MANAGEMENT                8/4/2023                               Trade Payable                       $640
        SVC INC ACH
        PO BOX 130783                ACCOUNT NO.: NOT AVAILABLE
        BIRMINGHAM, AL 35213


3.492                                          8/14/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.493    REGENTS OF THE UNIVERSITY             6/30/2023                              Trade Payable                    $50,372
        OF CALIFORNIA
        UCLA CASHIERING DEPT         ACCOUNT NO.: NOT AVAILABLE
        BOX 957442 STE 1119
        757 WESTWOOD PLAZA
        LOS ANGELES, CA 90095-7442


3.494    RENAISSANCE HOTEL                     7/20/2023                              Trade Payable                     $6,510
        OPERATING COMPANY - ACH
        606 CONGRESS ST              ACCOUNT NO.: NOT AVAILABLE
        BOSTON, MA 02210


3.495                                          2/3/2021                               Trade Payable                     $2,202

                                     ACCOUNT NO.: NOT AVAILABLE




3.496    REPUTATION CAPITAL MEDIA              6/30/2023                              Trade Payable                    $25,750
        SERVI ACH
        950 CAMELIA AVE              ACCOUNT NO.: NOT AVAILABLE
        BATON ROUGE, LA 70806


3.497    REVEL IT - ACH                        8/31/2023                              Trade Payable                    $91,120
        4900 BLAZER PKWY
        DUBLIN, OH 43017             ACCOUNT NO.: NOT AVAILABLE


3.498                                         10/30/2023                              Trade Payable                     $2,500

                                     ACCOUNT NO.: NOT AVAILABLE


3.499                                         10/12/2023                              Trade Payable                       $200

                                     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                        Account Number                                Claim

Trade Payables

3.500                                        4/18/2023                              Trade Payable                       $600

                                   ACCOUNT NO.: NOT AVAILABLE




3.501                                        8/14/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.502                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.503                                        7/31/2023                              Trade Payable                       $621

                                   ACCOUNT NO.: NOT AVAILABLE


3.504                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.505                                        7/6/2023                               Trade Payable                     $1,250

                                   ACCOUNT NO.: NOT AVAILABLE


3.506                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.507                                       11/21/2023                              Trade Payable                     $9,553

                                   ACCOUNT NO.: NOT AVAILABLE


3.508                                        4/14/2023                              Trade Payable                     $1,500

                                   ACCOUNT NO.: NOT AVAILABLE


3.509                                        4/5/2023                               Trade Payable                     $2,640

                                   ACCOUNT NO.: NOT AVAILABLE


3.510                                        8/9/2023                               Trade Payable                       $900

                                   ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                         Account Number                                Claim

Trade Payables

3.522                                        12/22/2023                              Trade Payable                       $125

                                    ACCOUNT NO.: NOT AVAILABLE


3.523                                         12/4/2023                              Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.524                                        11/13/2023                              Trade Payable                     $6,000

                                    ACCOUNT NO.: NOT AVAILABLE



3.525                                         12/4/2023                              Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.526                                        12/10/2019                              Trade Payable                     $2,250

                                    ACCOUNT NO.: NOT AVAILABLE


3.527                                         4/18/2023                              Trade Payable                       $600

                                    ACCOUNT NO.: NOT AVAILABLE


3.528                                         3/3/2022                               Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE



3.529    SERVICE EXPRESS, INC                 7/31/2023                              Trade Payable                     $1,640
        DEPT 6306
        P O BOX 30516               ACCOUNT NO.: NOT AVAILABLE
        LANSING, MI 48909


3.530                                         12/4/2023                              Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.531                                         12/4/2023                              Trade Payable                     $1,000

                                    ACCOUNT NO.: NOT AVAILABLE


3.532                                         12/4/2023                              Trade Payable                     $4,000

                                    ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                          Account Number                                Claim

Trade Payables

3.533                                          4/18/2023                              Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE


3.534                                          3/3/2022                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.535                                          4/18/2023                              Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE


3.536                                          6/19/2023                              Trade Payable                     $6,142

                                     ACCOUNT NO.: NOT AVAILABLE


3.537                                          7/6/2023                               Trade Payable                     $2,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.538                                          6/28/2023                              Trade Payable                       $250

                                     ACCOUNT NO.: NOT AVAILABLE


3.539    SKADDEN, ARPS, SLATE,                11/30/2023                              Trade Payable                    $76,686
        MEAGHER - WIRE
        1440 NEW YORK AVE            ACCOUNT NO.: NOT AVAILABLE
        WASHINGTON, DC 20005


3.540    SMARTSHEET.COM, INC                   8/4/2023                               Trade Payable                       $468
        DEPT 3421, PO BOX 123421
        DALLAS, TX 75312-3421        ACCOUNT NO.: NOT AVAILABLE


3.541    SOCIETY FOR VASCULAR                  6/5/2023                               Trade Payable                    $17,188
        MEDICINE
        ATTN MATT HELMS              ACCOUNT NO.: NOT AVAILABLE
        1061 EAST MAIN STREET
        SUITE 300
        EAST DUNDEE, IL 60118


3.542    SOL EX - FUSION - ACH                11/20/2023                              Trade Payable                    $56,881
        PO BOX 512402
        LOS ANGELES, CA 90051-0402   ACCOUNT NO.: NOT AVAILABLE


3.543                                          9/5/2023                               Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                                Claim

Trade Payables

3.544    SOUTHERN CALIFORNIA                     5/15/2020                              Trade Payable                     $6,000
        PERMANENTE MEDICAL GROUP
        C/O KATHLEEN M POMEROY        ACCOUNT NO.: NOT AVAILABLE
        393 E WALNUT ST 7TH FL
        PASADENA, CA 91188


3.545    SPARK IPS - ACH                         8/31/2023                              Trade Payable                    $86,116
        PO BOX 371
        COVENTRY, CT 06238            ACCOUNT NO.: NOT AVAILABLE


3.546                                           11/30/2022                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.547    SS INFOTEK INC - ACH                    7/10/2023                              Trade Payable                    $35,712
        8 FIRETHORN DRIVE
        EDISON, NJ 08820              ACCOUNT NO.: NOT AVAILABLE


3.548    SSM HEALTH CARE GROUP                   11/2/2022                              Trade Payable                    $50,985
        % SAINT LOUIS UNIVERSITY
        1402 S. GRAND BLVD            ACCOUNT NO.: NOT AVAILABLE
        SCHWITALLA HALL, MS 283
        SAINT LOUIS, MO 63195


3.549    ST. MORITZ SECURITY SERVICES-         6/13/2023                                Trade Payable                    $68,426
        ACH
        4600 CLAIRTON BLVD             ACCOUNT NO.: NOT AVAILABLE
        PITTSBURGH, PA 15236-2114


3.550    STANLEY ELECTRIC HOLDING                10/7/2021                              Trade Payable                     $1,717
        ATTN LAURA TOOPS HR DEPT
        420 EAST HIGH STREET          ACCOUNT NO.: NOT AVAILABLE
        LONDON, OH 43140


3.551    STELLAR CONSULTING                      6/19/2023                              Trade Payable                    $25,000
        SOLUTIONS, LLC - ACH
        2475 NORTHWINDS PKWY          ACCOUNT NO.: NOT AVAILABLE
        SUITE 200
        ALPHARETTA, GA 30009


3.552                                            12/4/2023                              Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.553                                            8/21/2023                              Trade Payable                       $300

                                      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                        Account Number                                Claim

Trade Payables

3.554                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.555                                        8/14/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.556                                        7/6/2023                               Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE



3.557                                        8/29/2023                              Trade Payable                    $10,875

                                   ACCOUNT NO.: NOT AVAILABLE


3.558                                        12/4/2023                              Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.559                                        7/6/2023                               Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.560                                        4/3/2023                               Trade Payable                     $2,000

                                   ACCOUNT NO.: NOT AVAILABLE


3.561                                        7/6/2023                               Trade Payable                     $1,200

                                   ACCOUNT NO.: NOT AVAILABLE


3.562                                       10/11/2023                              Trade Payable                       $517

                                   ACCOUNT NO.: NOT AVAILABLE


3.563                                       11/30/2023                              Trade Payable                       $700

                                   ACCOUNT NO.: NOT AVAILABLE



3.564                                        7/6/2023                               Trade Payable                     $1,000

                                   ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                                Claim

Trade Payables

3.565                                          8/1/2023                               Trade Payable                       $375

                                     ACCOUNT NO.: NOT AVAILABLE


3.566                                          3/3/2022                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.567                                          7/6/2023                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.568                                          10/2/2023                              Trade Payable                    $15,000

                                     ACCOUNT NO.: NOT AVAILABLE



3.569                                          12/4/2023                              Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.570                                          4/18/2023                              Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE


3.571                                          3/20/2023                              Trade Payable                       $200

                                     ACCOUNT NO.: NOT AVAILABLE


3.572                                          4/19/2022                              Trade Payable                        $30

                                     ACCOUNT NO.: NOT AVAILABLE



3.573    TASC                                  8/1/2023                               Trade Payable                     $2,435
        TASC - CLIENT INVOICE
        PO BOX 88278                 ACCOUNT NO.: NOT AVAILABLE
        MILWAUKEE, WI 53288-0001


3.574                                          4/18/2023                              Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE


3.575    TEAMSUPPORT LLC - ACH                11/30/2023                              Trade Payable                     $3,285
        PO BOX 122230
        DALLAS, TX 75312             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                                Claim

Trade Payables

3.576                                            11/28/2023                              Trade Payable                       $155

                                        ACCOUNT NO.: NOT AVAILABLE



3.577    THE CHILDREN'S HEART CLINIC,             8/10/2023                              Trade Payable                       $200
        PA
        2530 CHICAGO AVE S SUITE #500   ACCOUNT NO.: NOT AVAILABLE
        MINNEAPOLIS, MN 55404


3.578    THE GENERAL HOSPITAL                     6/5/2023                               Trade Payable                     $8,827
        CORPORATION
        ATTN: ERIN DECHRISTOPER         ACCOUNT NO.: NOT AVAILABLE
        TURTEL
        55 FRUIT ST
        DIV OF VASC & END, WANG 440
        BOSTON, MA 02114


3.579                                             8/14/2023                              Trade Payable                     $2,000

                                        ACCOUNT NO.: NOT AVAILABLE



3.580                                            10/12/2023                              Trade Payable                       $200

                                        ACCOUNT NO.: NOT AVAILABLE


3.581                                             7/6/2023                               Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.582                                             8/29/2023                              Trade Payable                     $1,375

                                        ACCOUNT NO.: NOT AVAILABLE



3.583                                             7/6/2023                               Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE


3.584    THOMSON REUTERS                          4/1/2020                               Trade Payable                     $2,325
        PO BOX 417175
        BOSTON, MA 02241                ACCOUNT NO.: NOT AVAILABLE


3.585                                             12/4/2023                              Trade Payable                     $1,000

                                        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                                Claim

Trade Payables

3.596    ULINE                                   10/27/2023                              Trade Payable                       $572
        ATTN: ACCOUNTS RECEIVABLE
        P.O. BOX 88741                  ACCOUNT NO.: NOT AVAILABLE
        CHICAGO, IL 60680-1741


3.597    UNIV OF CHICAGO DEPT                     6/30/2023                              Trade Payable                       $904
        RADIOLOGY - ACH
        ATTN: KIMBERLY LENNER           ACCOUNT NO.: NOT AVAILABLE
        5841 S MARYLAND AVE MC 2026
        CHICAGO, IL 60637


3.598    UNIV OF OK HEALTH SCIENCE               10/15/2021                              Trade Payable                     $1,110
        CTR **DO NOT USE**
        COLLEGE, DEPT OF UROLOGY        ACCOUNT NO.: NOT AVAILABLE
        ATTN SHARON KERN
        920 STANTON L YOUNG WP1345
        OKLAHOMA CITY, OK 73104


3.599    UNIVERSITY OF PITTSBURGH -               9/30/2023                              Trade Payable                       $751
        ACH
        INNOVATION INSTITUTE            ACCOUNT NO.: NOT AVAILABLE
        ATTN KELLY L MERTZ
        130 THACKERAY AVE 1ST FL GSCC
        PITTSBURGH, PA 15260


3.600    UNIVERSITY OF WASHINGTON                10/17/2022                              Trade Payable                     $5,750
        1959 NE PACIFIC ST
        BOX 356422                      ACCOUNT NO.: NOT AVAILABLE
        SEATTLE, WA 98105


3.601    UPMC WORK PARTNERS                       1/19/2022                              Trade Payable                       $311
        ATTN: ERIN CELLA
        US STEEL BUILDING, 7TH FLOOR    ACCOUNT NO.: NOT AVAILABLE
        600 GRANT ST
        PITTSBURGH, PA 15219


3.602    UPS                                      9/30/2023                              Trade Payable                    $21,621
        PO BOX 650116
        DALLAS, TX 75265-0116           ACCOUNT NO.: NOT AVAILABLE


3.603    UPS SUPPLY CHAIN SOLUTIONS               10/4/2023                              Trade Payable                     $2,122
        P.O. BOX 650690
        DALLAS, TX 75265-0690           ACCOUNT NO.: NOT AVAILABLE


3.604    US POSTMASTER WIRE                       5/24/2023                              Trade Payable                    $93,000
        3470 MCCLURE BRIDGE RD
        DULUTH, GA 30096                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                                Claim

Trade Payables

3.605    USDA FOREST SERVICE                     2/1/2022                               Trade Payable                       $114
        C/O SABRINA MCCOMB
        1720 PEACHTREE ST NW RM 716N   ACCOUNT NO.: NOT AVAILABLE
        ATLANTA, GA 30309


3.606                                            4/18/2023                              Trade Payable                       $600

                                       ACCOUNT NO.: NOT AVAILABLE


3.607                                            6/26/2023                              Trade Payable                       $450

                                       ACCOUNT NO.: NOT AVAILABLE


3.608    VERACODE INC - WIRE                     6/22/2023                              Trade Payable                    $50,148
        65 BLUE SKY DRIVE
        BURLINGTON, MA 01803           ACCOUNT NO.: NOT AVAILABLE


3.609    VERIMED HEALTHCARE                      9/1/2023                               Trade Payable                     $8,550
        NETWORK LLC - ACH
        2426 EMBASSY DRIVE             ACCOUNT NO.: NOT AVAILABLE
        WEST PALM BEACH, FL 33401


3.610                                            8/14/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE



3.611                                            4/14/2023                              Trade Payable                     $2,250

                                       ACCOUNT NO.: NOT AVAILABLE


3.612                                            12/7/2023                              Trade Payable                     $1,000

                                       ACCOUNT NO.: NOT AVAILABLE


3.613    VORYS SATER SEYMOUR AND                12/14/2023                              Trade Payable                    $12,500
        PEASE LLP - WIRE
        301 EAST FOURTH STREET         ACCOUNT NO.: NOT AVAILABLE
        SUITE 3500
        CINCINNATI, OH 45202


3.614                                            8/10/2023                              Trade Payable                       $750

                                       ACCOUNT NO.: NOT AVAILABLE


3.615                                            3/24/2021                              Trade Payable                       $300

                                       ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                                Claim

Trade Payables

3.616                                          4/18/2023                              Trade Payable                       $600

                                     ACCOUNT NO.: NOT AVAILABLE


3.617                                         10/23/2023                              Trade Payable                     $3,980

                                     ACCOUNT NO.: NOT AVAILABLE


3.618    WAPAL FUND                           11/15/2021                              Trade Payable                        $20
        P.O. BOX 94166
        SEATTLE, WA 98124            ACCOUNT NO.: NOT AVAILABLE


3.619    WATKINS & EAGER PLLC                 10/31/2023                              Trade Payable                     $3,030
        400 E CAPITOL ST
        #300                         ACCOUNT NO.: NOT AVAILABLE
        JACKSON, MS 39201


3.620    WELLNESS BUNNY LLC - ACH              11/2/2023                              Trade Payable                     $7,725
        63 VIA PICO PLAZA
        SUITE 150                    ACCOUNT NO.: NOT AVAILABLE
        SAN CLEMENTE, CA 92672


3.621    WELLS FARGO FINANCIAL                 1/31/2023                              Trade Payable                      ($781)
        LEASING - ACH
        P O BOX 77096                ACCOUNT NO.: NOT AVAILABLE
        MINNEAPOLIS, MN 55480-7796


3.622    WESTERN STATES ENVELOPE               9/5/2023                               Trade Payable                     $9,942
        &LABEL
        P.O. BOX 205216              ACCOUNT NO.: NOT AVAILABLE
        DALLAS, TX 75320-5216


3.623    WEX HEALTH INC.                       7/31/2023                              Trade Payable                    $14,277
        PO BOX 9528
        FARGO, ND 58106-9528         ACCOUNT NO.: NOT AVAILABLE


3.624                                          7/6/2023                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE


3.625                                          6/20/2023                              Trade Payable                       $125

                                     ACCOUNT NO.: NOT AVAILABLE


3.626                                          7/6/2023                               Trade Payable                     $1,000

                                     ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                                Claim

Trade Payables

3.627                                            3/23/2022                              Trade Payable                       $450

                                       ACCOUNT NO.: NOT AVAILABLE


3.628                                            12/8/2022                              Trade Payable                       $152

                                       ACCOUNT NO.: NOT AVAILABLE


3.629                                            8/9/2023                               Trade Payable                       $450

                                       ACCOUNT NO.: NOT AVAILABLE


3.630    ZAKIPOINT HEALTH INC. - ACH             7/1/2023                               Trade Payable                   $343,847
        14TH FLOOR, ONE BROADWAY
        CAMBRIDGE, MA 02142            ACCOUNT NO.: NOT AVAILABLE


3.631    ZELIS                                   3/7/2023                               Trade Payable                    $15,000
        2 CROSSROADS DR
        BEDMINSTER, NJ 07921           ACCOUNT NO.: NOT AVAILABLE


3.632                                           10/23/2023                              Trade Payable                       $900

                                       ACCOUNT NO.: NOT AVAILABLE


3.633    ZTEK CONSULTING INC. - ACH              9/1/2023                               Trade Payable                   $218,911
        3161 ST IVES COUNTRY CLUB
        PKWY                           ACCOUNT NO.: NOT AVAILABLE
        DULUTH, GA 30097


3.634    ZYWAVE INC                              9/10/2023                              Trade Payable                     $5,232
        10100 W INNOVATION DR
        SUITE 300                      ACCOUNT NO.: NOT AVAILABLE
        MILWAUKEE, WI 53226


3.635 2100 SUGARHOUSE, LLC                       6/20/2023                              Trade Payable                    $20,328
      C/O CORE PROPERTY MGMT
      P O BOX 8107                     ACCOUNT NO.: NOT AVAILABLE
      MIDVALE, UT 84047


3.636 365 OPERATING COMPANY, LLC                12/22/2023                              Trade Payable                     $2,700
      BANK OF AMERICA, NA
      222 BROADWAY                     ACCOUNT NO.: NOT AVAILABLE
      NEW YORK, NY 10038


3.637 ACCUIMAGE                                  1/1/2024                               Trade Payable                       $597
      330 TENNANT AVE
      MORGAN HILL, CA 95037            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                                Claim

Trade Payables

3.638 ADFIRE HEALTH LLC - ACH                11/30/2023                              Trade Payable                     $1,317
      1297 E PUTNAM AVE #1012
      RIVERSIDE, CT 06878           ACCOUNT NO.: NOT AVAILABLE


3.639 ALLEGIANCE BENEFIT                      6/21/2023                              Trade Payable                     $6,000
      FOUNDATION
      PO BOX 3018                   ACCOUNT NO.: NOT AVAILABLE
      MISSOULA, MT 59806


3.640 AMAZON WEB SERVICES, INC -              1/2/2024                               Trade Payable                    $22,980
      ACH
      410 TERRY AVE NORTH           ACCOUNT NO.: NOT AVAILABLE
      SEATTLE, WA 98109


3.641                                         12/2/2023                              Trade Payable                     $2,040

                                    ACCOUNT NO.: NOT AVAILABLE


3.642 AT&T MOBILITY                           12/7/2023                              Trade Payable                     $3,942
      PO BOX 6463
      CAROL STREAM, IL 60197-6463   ACCOUNT NO.: NOT AVAILABLE


3.643 ATLANTA OFFICE TECHNOLOGIES            12/31/2019                              Trade Payable                    $37,387
      5600 OAKBROOK PKWY
      SUITE 260                     ACCOUNT NO.: NOT AVAILABLE
      NORCROSS, GA 30093


3.644 ATLANTA OFFICE TECHNOLOGIES            12/22/2023                              Trade Payable                     $1,700
      INC - ACH
      5600 OAKBROOK PKWY            ACCOUNT NO.: NOT AVAILABLE
      SUITE 260
      NORCROSS, GA 30093


3.645 BASS, BERRY, & SIMS                    12/31/2023                              Trade Payable                    $13,097
      150 THIRD AVE S, STE 2800
      NASHVILLE, TN 37201           ACCOUNT NO.: NOT AVAILABLE


3.646 BRIGHAM AND WOMEN'S                     12/5/2023                              Trade Payable                     $2,500
      HOSPITAL
      DEPARTMENT OF MEDICINE        ACCOUNT NO.: NOT AVAILABLE
      MICHELLE DERANEYSTEPHANIE
      TRAN
      1620 TREMONT ST RM OBC3-32
      CME
      BOSTON, MA 02120


3.647 CANADA REVENUE AGENCY                  10/25/2012                               Sales Tax                UNDETERMINED
      65 ENTERPRISE                                                                    Payable
      ALISO VIEJO, CA 92656         ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                                Claim

Trade Payables

3.648 CANON FINANCIAL SERVICES, INC            12/12/2023                              Trade Payable                       $223
      14904 COLLECTIONS CENTER
      DRIVE                           ACCOUNT NO.: NOT AVAILABLE
      CHICAGO, IL 60693-0149


3.649 CATALYST GLOBAL LLC                       12/2/2020                              Trade Payable                   $173,460
      99 MADISON AVE
      5TH FLOOR                       ACCOUNT NO.: NOT AVAILABLE
      NEW YORK, NY 10016


3.650                                          12/13/2023                              Trade Payable                     $1,606

                                      ACCOUNT NO.: NOT AVAILABLE


3.651                                          10/23/2023                              Trade Payable                     $6,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.652 CHANGE HEALTHCARE - ACH                  11/30/2023                              Trade Payable                     $9,794
      PO BOX 572490
      MURRAY, UT 84157-2490           ACCOUNT NO.: NOT AVAILABLE


3.653 CITIZENS BANK N.A.                        1/2/2024                               Trade Payable                    ($31,382)
      ONE CITIZENS PLAZA
      PROVIDENCE, RI 02903            ACCOUNT NO.: NOT AVAILABLE


3.654 COMPUTERSHARE INC                        12/19/2023                              Trade Payable                     $2,888
      DEPT CH 16934
      PALATINE, IL 60055-9228         ACCOUNT NO.: NOT AVAILABLE


3.655 COUCHBASE, INC                           10/30/2023                              Trade Payable                     $4,088
      DEPT CH 17356
      PALATINE, IL 60055              ACCOUNT NO.: NOT AVAILABLE


3.656 CRX INTERNATIONAL                        11/30/2023                              Trade Payable                       $556
      1ST FLOOR, HASTINGS HOUSE
      CHRIST CHURCH BB14034           ACCOUNT NO.: NOT AVAILABLE
      BRAZIL


3.657 DATAWEST GROUP (THE)                     12/31/2023                              Trade Payable                       $100
      125 HANGAR WAY S-110
      WATSONVILLE, CA 95076           ACCOUNT NO.: NOT AVAILABLE


3.658                                          11/11/2023                              Trade Payable                    $16,813

                                      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                                Claim

Trade Payables

3.659                                         12/29/2023                              Trade Payable                       $400

                                     ACCOUNT NO.: NOT AVAILABLE


3.660                                         12/22/2023                              Trade Payable                     $1,442

                                     ACCOUNT NO.: NOT AVAILABLE


3.661                                         12/28/2023                              Trade Payable                     $1,752

                                     ACCOUNT NO.: NOT AVAILABLE


3.662 ERNST & YOUNG (U.S.)                    12/31/2023                              Trade Payable                   $210,627
      WELLS FARGO BANK, NA
      P.O. BOX 933514                ACCOUNT NO.: NOT AVAILABLE
      ATLANTA, GA 31193-3514


3.663 ESKER, INC.                             12/31/2023                              Trade Payable                        $72
      P. O. BOX 44953
      MADISON, WI 53744-4953         ACCOUNT NO.: NOT AVAILABLE


3.664 FAMILY BREAKROOM SERVICES               11/29/2023                              Trade Payable                       $688
      805 FRANKLIN CT SE STE D
      MARIETTA, GA 30067             ACCOUNT NO.: NOT AVAILABLE


3.665 FIRST CHOICE COFFEE SERVICES             12/2/2023                              Trade Payable                        $44
      6700 DAWSON BLVD, BLDG 3-E
      NORCROSS, GA 30093             ACCOUNT NO.: NOT AVAILABLE


3.666 FIRST INSURANCE FUNDING                 10/30/2023                              Trade Payable                    $22,320
      FIRST INSURANCE FUNDING
      PO BOX 7000                    ACCOUNT NO.: NOT AVAILABLE
      CAROL STREAM, IL 60197


3.667 FOLUSHO E OGUNFIDITIMI                  12/13/2023                              Trade Payable                       $250
      1580 WYNGATE DRIVE
      DELAND, FL 32724               ACCOUNT NO.: NOT AVAILABLE


3.668 FOREIGN LANGUAGE SERVICES               11/30/2023                              Trade Payable                     $1,452
      INC.
      3609-A5 MEMORIAL PKWY SW       ACCOUNT NO.: NOT AVAILABLE
      HUNTSVILLE, AL 35801


3.669 FTI CONSULTING                          12/31/2023                              Trade Payable                   $127,418
      1201 WEST PEACHTREE ST
      SUITE 500                      ACCOUNT NO.: NOT AVAILABLE
      ATLANTA, GA 30309



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Creditor's Name, Mailing Address     Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                         Account Number                                Claim

Trade Payables

3.670 GOOGLE INC                             12/31/2023                              Trade Payable                   $130,639
      DEPT 33654 - PO BOX 39000
      SAN FRANCISCO, CA 94139       ACCOUNT NO.: NOT AVAILABLE


3.671 GREATAMERICA FINANCIAL SVCS             12/7/2023                              Trade Payable                     $2,739
      PO BOX 660831
      DALLAS, TX 75266-0831         ACCOUNT NO.: NOT AVAILABLE


3.672 IAIABC                                  7/17/2023                              Trade Payable                       $845
      IAIABC LOCKBOX
      BOX 78271                     ACCOUNT NO.: NOT AVAILABLE
      MILWAUKEE, WI 53278


3.673 INSIGHT DIRECT USA, INC.                4/28/2023                              Trade Payable                       $931
      P. O. BOX 731069
      DALLAS, TX 75373-1069         ACCOUNT NO.: NOT AVAILABLE


3.674 IRON MOUNTAIN                          12/31/2023                              Trade Payable                       $605
      P O BOX 601002
      PASADENA, CA 91189-1002       ACCOUNT NO.: NOT AVAILABLE


3.675                                        12/22/2023                              Trade Payable                     $2,970

                                    ACCOUNT NO.: NOT AVAILABLE


3.676                                         2/22/2023                              Trade Payable                    $43,359

                                        ACCOUNT NO.: 4174



3.677                                         1/3/2024                               Trade Payable                       $300

                                    ACCOUNT NO.: NOT AVAILABLE


3.678 KEYWORD ARTISTS, INC.                   1/3/2024                               Trade Payable                       $397
      1515 SEABAY RD.
      WESTON, FL 33326              ACCOUNT NO.: NOT AVAILABLE


3.679                                        12/31/2023                              Trade Payable                   $312,581

                                    ACCOUNT NO.: NOT AVAILABLE



3.680 LABCORP EMPLOYER SERVICES,             12/18/2023                              Trade Payable                       $156
      INC-ACH
      P O BOX 8034                  ACCOUNT NO.: NOT AVAILABLE
      BURLINGTON, NC 27216



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Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D     Basis For     Offset   Amount of Claim
Including Zip Code                           Account Number                                Claim

Trade Payables

3.681 MAXAIR MECHANICAL                        12/27/2023                              Trade Payable                     $3,255
      814 LIVINGSTON COURT
      MARIETTA, GA 30067              ACCOUNT NO.: NOT AVAILABLE


3.682 NATIONAL CUSTOMER SUPPOT                 12/25/2023                              Trade Payable                        $34
      CTR
      UNITED STATES POSTAL SERVICE    ACCOUNT NO.: NOT AVAILABLE
      225 N HUMPHREYS BLVD, STE 501
      MEMPHIS, TN 38188-1099


3.683 NEW RELIC, INC.                          11/30/2023                              Trade Payable                        $25
      P O BOX 101812
      PASADENA, CA 91189-1812         ACCOUNT NO.: NOT AVAILABLE


3.684 NEW RELIC, INC. - ACH                    12/31/2023                              Trade Payable                         $3
      P O BOX 101812
      PASADENA, CA 91189-1812         ACCOUNT NO.: NOT AVAILABLE


3.685 OPTUM INSIGHT                             12/7/2023                              Trade Payable                       $315
      P O BOX 84019
      CHICAGO, IL 60689-4002          ACCOUNT NO.: NOT AVAILABLE


3.686 OSAIC, INC                               11/27/2023                              Trade Payable                     $2,000
      10 EXCHANGE PLACE
      SUITE 1410                      ACCOUNT NO.: NOT AVAILABLE
      JERSEY CITY, NJ 7302


3.687                                           1/3/2024                               Trade Payable                     $1,000

                                      ACCOUNT NO.: NOT AVAILABLE


3.688 PEERVOICE UK LTD - WIRE /IN:              9/14/2023                              Trade Payable                     $1,500
      140400545-46
      FINANCE DEPT, 3RD FLOOR         ACCOUNT NO.: NOT AVAILABLE
      75 DAVIES STREET
      LONDON, -- W1K 5JN


3.689 PITNEY BOWES BANK INC                    12/14/2023                              Trade Payable                       $237
      PURCHASE POWER
      PO BOX 981026                   ACCOUNT NO.: NOT AVAILABLE
      BOSTON, MA 02298-1026


3.690                                           12/8/2023                              Trade Payable                     $2,000

                                      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                        Account Number                                Claim

Trade Payables

3.691 S&P GLOBAL MARKET                      2/15/2022                              Trade Payable                       $100
      INTELLIGENCE
      33356 COLLECTION CENTER DR   ACCOUNT NO.: NOT AVAILABLE
      CHICAGO, IL 606930333


3.692 SHARDUL AMARCHAND                     12/31/2023                              Trade Payable                     $8,794
      MANGALDAS & CO
      EXPRESS TOWERS 23RD FLOOR    ACCOUNT NO.: NOT AVAILABLE
      NARIMAN POINT
      MUMBAI 400021
      INDIA


3.693                                       12/11/2023                              Trade Payable                     $1,076

                                   ACCOUNT NO.: NOT AVAILABLE


3.694 SIDRAM                                 12/4/2023                              Trade Payable                    $15,040
      5450 MCGINNIS VILLAGE PL
      SUITE 202B                   ACCOUNT NO.: NOT AVAILABLE
      ALPHARETTA, GA 30005


3.695 SKADDEN ARPS                          12/31/2023                              Trade Payable                    $36,132
      1440 NEW YORK AVE
      WASHINGTON, DC 20005         ACCOUNT NO.: NOT AVAILABLE


3.696 SOL EX - FUSION                       12/20/2023                              Trade Payable                    $28,792
      PO BOX 512402
      LOS ANGELES, CA 90051-0402   ACCOUNT NO.: NOT AVAILABLE


3.697                                        1/2/2024                               Trade Payable                       $117

                                   ACCOUNT NO.: NOT AVAILABLE


3.698 TEAMSUPPORT LLC                       12/31/2023                              Trade Payable                       $705
      PO BOX 122230
      DALLAS, TX 75312             ACCOUNT NO.: NOT AVAILABLE


3.699 WATKINS & EAGER                       11/10/2023                              Trade Payable                     $3,030
      P.O. BOX 3858
      JACKSON, MS 39207                ACCOUNT NO.: 0345


3.700 WESTERN STATES ENVELOPE               12/14/2023                              Trade Payable                     $2,367
      &LABEL
      P.O. BOX 205216              ACCOUNT NO.: NOT AVAILABLE
      DALLAS, TX 75320-5216


                                                                                     Trade Payables Total:         $9,775,318



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Including Zip Code                         Account Number                                Claim

Customer Advances and Unclaimed Property

3.701 1ST GLOBAL                              2/13/2019                                Customer                       $1,500
      ACCOUNTING                                                                     Advances and
      PO BOX 601659                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      DALLAS, TX 75360                                                                  Property


3.702 ACE AMERICAN INSURANCE                  4/1/2019                                 Customer                       $3,750
      COMPANY                                                                        Advances and
      RICK ADAMS                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      436 WALNUT STREET                                                                 Property
      PHILADELPHIA, PA 19106


3.703                                         4/7/2021                                 Customer                          $19
                                                                                     Advances and
                                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                        Property



3.704 ADVANTEK BENEFIT                        7/31/2023                                Customer                       $1,000
      ADMINISTRATOR                                                                  Advances and
      CHRIS CHENEY                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1180 EAST SHAW SUITE 101                                                          Property
      FRESNO, CA 93710


3.705 AG-CORPORATE-                          10/21/2019                                Customer                          $37
      TRANSPORTATION                                                                 Advances and
      ATTN TO: ERIC YACULA          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      5960 BERKSHIRE LANE                                                               Property
      SUITE 800
      DALLAS, TX 75225-6068


3.706 AGNAS CHAN                              8/25/2023                                Customer                       $2,733
      UNITED FINANCIAL                                                               Advances and
      6420 W SPRING MOUNTAIN RD.    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      STE. 20                                                                           Property
      LAS VEGAS, NV 89146


3.707 AIMCOR GROUP, LLC                       8/4/2020                                 Customer                       $2,895
      TERRY ANN BROWER                                                               Advances and
      242 SISTERDALE ROAD           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BOERNE, TX 78006                                                                  Property


3.708 AMERICAN GENERAL LIFE CORP.            10/31/2019                                Customer                         $695
      SEAN GIBSON                                                                    Advances and
      2929 ALLEN PARKWAY            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      A38-50                                                                            Property
      HOUSTON, TX 77019




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Including Zip Code                         Account Number                                Claim

Customer Advances and Unclaimed Property

3.709 AMERICAN GENERAL LIFE                   3/31/2019                                Customer                       $8,104
      INSURANC                                                                       Advances and
      AMERICAN GENERAL LIFE         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      INSURANC                                                                          Property
      2727-A ALLEN PARKWAY
      5TH FLOOR
      HOUSTON, TX 77019


3.710 AMERICAN GYPSUM-                       10/25/2019                                Customer                         $603
      ALBUQUERQUE                                                                    Advances and
      ATT:ACCOUNTS PAYABLE DALLAS   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      TX                                                                                Property
      4600 PASEO DEL NORTE
      ALBUQUERQUE, NM 87113


3.711 AMERICAN INTERNATIONAL                  6/23/2017                                Customer                       $2,010
      GROUP                                                                          Advances and
      P.O. BOX 25983                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SHAWNEE MISSION, KS 66225                                                         Property


3.712 AMERICAN LUNG ASSOC-UPPER               6/30/2017                                Customer                         $180
      MW                                                                             Advances and
      ATTN: MICHAEL MARK            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      3000 KELLY LN                                                                     Property
      SPRINGFIELD, IL 62711-6226


3.713 AMERICAN NATIONAL INSURANCE             3/31/2018                                Customer                       $3,133
      CO                                                                             Advances and
      CTS FINANCIAL SERVICES        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P.O. BOX 1772                                                                     Property
      GALVESTON, TX 77553


3.714 ARBELLA INSURANCE GROUP                 3/4/2016                                 Customer                       $2,665
      ATTN: LINDA GRIFFITHS                                                          Advances and
      P.O. BOX 699103               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      QUINCY, MA 02269-9103                                                             Property


3.715                                         4/22/2021                                Customer                       $4,000
                                                                                     Advances and
                                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                        Property



3.716 ASCENSIA DIABETES CARE                  12/5/2017                                Customer                         $600
      5 WOOD HOLLOW RD                                                               Advances and
      PARSIPPANY, NJ 07054          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                        Property




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Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U       D     Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                                Claim

Customer Advances and Unclaimed Property

3.717 ASPIDA LIFE INSURANCE CO                  6/16/2023                                Customer                       $1,163
      ASPIDA FINANCIAL SERVICES LLC                                                    Advances and
      ATTN: JONATHAN COTHRAN          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2327 ENGLERT DRIVE                                                                  Property
      DURHAM, NC 27713


3.718 ASSURANCE AGENCY -                       10/31/2016                                Customer                         $480
      DISTRIBUTOR                                                                      Advances and
      ATTN: JILL MICKLOW              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      ONE CENTURY CENTRE                                                                  Property
      1750 EAST GOLF ROAD
      SCHAUMBURG, IL 60173


3.719 AUI INC                                   12/1/2022                                Customer                         $420
      CENTER LAKE OFFICE                                                               Advances and
      14101 WEST HWY 290              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BLDG. 1400C                                                                         Property
      AUSTIN, TX 78737


3.720                                           5/15/2023                                Customer                       $4,200
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.721 AZOSE COMMERCIAL PROPERTIES          3/14/2014                                     Customer                         $808
      ATTN: DOROTHY MAHONEY                                                            Advances and
      8451 SE 68TH STREET, STE 200 ACCOUNT NO.: NOT AVAILABLE                           Unclaimed
      STE 200                                                                             Property
      MERCER ISLAND, WA 98040


3.722 BARJES ANGULO                            11/16/2023                                Customer                           $1
      ANGULO STRATEGIES                                                                Advances and
      420 LEXINGTON AVE., 15TH FL.    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEW YORK, NY 10170                                                                  Property


3.723                                           6/18/2018                                Customer                         $261
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.724 BARTON MUTUAL GROUP                       5/26/2021                                Customer                       $2,910
      TABITHA BEAMAN                                                                   Advances and
      PO BOX 99                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      LIBERAL, MO 64762                                                                   Property


3.725 BENEFIT COORDINATORS                      7/29/2021                                Customer                       $1,656
      CORPORATI                                                                        Advances and
      SCOTT DE ROUSSE                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      TWO ROBINSON COURT SUITE 200                                                        Property
      PITTSBURGH, PA 15205-1324


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Including Zip Code                         Account Number                                Claim

Customer Advances and Unclaimed Property

3.726 BENEFIT MANAGEMENT INC                 12/27/2017                                Customer                         $500
      ACCOUNTS PAYABLE                                                               Advances and
      P.O. BOX 1090                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2015 16TH STREET                                                                  Property
      GREAT BEND, KS 67530


3.727 BJ’S RESTAURANTS, INC.                  1/31/2022                                Customer                          $78
      DEBBIE NICHOLS                                                                 Advances and
      7755 CENTER AVE., SUITE 300   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HUNTINGTON BEACH, CA 92647                                                        Property


3.728 BLOODCENTER OF WISCONSIN,               7/31/2017                                Customer                       $4,744
      INC.                                                                           Advances and
      ATTN: DIAMOND COLEMAN         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      638 N 18TH STREET                                                                 Property
      P.O. BOX 2178
      MILWAUKEE, WI 53233


3.729 BLUEPRINT INCOME, INC.                  5/3/2023                                 Customer                          $24
      ATTN: MATT COREY                                                               Advances and
      510 MADISON AVE. 21ST FLOOR   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEW YORK, NY 10022                                                                Property


3.730 BRANDON GILBERT                         1/31/2022                                Customer                       $2,976
      NATIONS FINANCIAL GROUP                                                        Advances and
      4000 RIVER RIDGE DR. NE       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CEDAR RAPIDS, IA 52406                                                            Property


3.731 BRIAN ROBERTS                           1/23/2017                                Customer                         $285
      MASS MUTUAL STL                                                                Advances and
      14567 N OUTER 40 RD #300      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CHESTERFIELD, MO 63017                                                            Property


3.732 BROKERS CLEARING HOUSE                  8/16/2021                                Customer                       $3,292
      BARBARA CROWLEY                                                                Advances and
      4546 CORPORATE DRIVE          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      STE 155                                                                           Property
      WEST DES MOINES, IA 50266


3.733 BROWNING INSURANCE AGENCY               8/1/2023                                 Customer                         $320
      INC                                                                            Advances and
      MARK E BROWNING               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P.O. BOX 818                                                                      Property
      BROOKSVILLE, FL 34605-0818


3.734 CARSON ESTATE TRUST                     9/30/2022                                Customer                          $37
      100 BAYVIEW CIRCLE,                                                            Advances and
      SUITE 3500                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEWPORT BEACH, CA 92660                                                           Property



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Including Zip Code                        Account Number                                Claim

Customer Advances and Unclaimed Property

3.735 CETERA FINANCIAL GROUP                 6/3/2021                                 Customer                       $5,660
      RON GIBNEY                                                                    Advances and
      200 N PACIFIC COAST HWY      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE 1200                                                                       Property
      EL SEGUNDO, CA 90245


3.736 CHANLER AGENCY INC                     9/1/2023                                 Customer                         $686
      MOLLY BERGER                                                                  Advances and
      P O BOX 7                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      LIVONIA, NY 14487-0018                                                           Property


3.737 CHARLES SCHWAB CLOSED                  2/28/2019                                Customer                      $13,347
      12/31/20                                                                      Advances and
      DEPT. 78604                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P.O. BOX 78000                                                                   Property
      DETROIT, MI 48278-0604


3.738 CIM MANAGEMENT, INC.                   5/31/2023                                Customer                       $2,237
      ATTN : TIKI WALSH                                                             Advances and
      4700 WILSHIRE BOULEVARD      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      LOS ANGELES, CA 90010                                                            Property


3.739 CINDY STRUTMAN                         7/19/2018                                Customer                         $243
      BROKERAGE UNLIMITED INC.                                                      Advances and
      PO BOX 419006                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SAINT LOUIS, MO 63141                                                            Property


3.740 CMC LIMITED                           11/30/2015                                Customer                       $1,710
      PTI BLDG.                                                                     Advances and
      5TH FLOOR                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      4, SANSAD MARG                                                                   Property
      NEW DELHI 110001
      INDIA


3.741 COMMONWEALTH CASUALTY                  2/28/2022                                Customer                       $6,450
      COMPANY                                                                       Advances and
      ATTN: JERRY KASABYAN         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2500 NORTH 24TH STREET                                                           Property
      PHOENIX, AZ 85008


3.742 COMPREHENSIVE BENEFITS                 3/31/2022                                Customer                           $0
      ADMININ                                                                       Advances and
      DAVID P. STEADY              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO BOX 2365                                                                      Property
      SOUTH BURLINGTON, VT 05407


3.743 CONNECT MGA LLC                        3/31/2019                                Customer                         $630
      PO BOX 260599                                                                 Advances and
      PLANO, TX 75026              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


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Including Zip Code                            Account Number                                Claim

Customer Advances and Unclaimed Property

3.744 CONSOCIATE                                 3/13/2023                                Customer                       $1,100
      ATTN: RICHARD SHAFFER                                                             Advances and
      2828 N MONROE ST                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      DECATUR, IL 62526                                                                    Property


3.745 CONSTANT CONTACT                          10/22/2018                                Customer                      $11,155
      1601 TRAPELO RD                                                                   Advances and
      WALTHAM, MA 02451                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.746 COREY SCHNEIDER                            4/26/2019                                Customer                         $846
      SENTINEL SOLUTIONS                                                                Advances and
      90 PARK AVE., 17TH FL.           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEW YORK, NY 10016                                                                   Property


3.747                                            9/26/2018                                Customer                         $212
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.748 CORNERSTONE NATL INSURANCE                 6/30/2021                                Customer                       $1,386
      CO                                                                                Advances and
      BROOKE WILKENS                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO BOX 968                                                                           Property
      CONCORDIA, MO 64020


3.749                                            5/23/2022                                Customer                         $217
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.750 CRUMP LIFE                                11/10/2023                                Customer                       $2,813
      ACCOUNTS PAYABLE                                                                  Advances and
      4135 N FRONT ST                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HARRISBURG, PA 17110                                                                 Property


3.751 CSAC - COUNTY OF SANTA CLARA               1/25/2019                                Customer                         $623
      COUNTY EXECUTIVE OFFICE                                                           Advances and
      RISK MANAGEMENT DEPARTMENT       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2310 NORTH FIRST ST, SUITE 203                                                       Property
      SAN JOSE, CA 95131


3.752 CUNA MUTUAL GROUP                          11/8/2014                                Customer                      $30,086
      5910 MINERAL POINT ROAD                                                           Advances and
      MADISON, WI 53705                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property




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Including Zip Code                        Account Number                                Claim

Customer Advances and Unclaimed Property

3.753                                        5/17/2023                                Customer                         $151
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.754                                        6/19/2020                                Customer                           $0
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.755 DAVENPORT COMMUNITY                   12/31/2022                                Customer                      $11,516
      SCHOOLS                                                                       Advances and
      ATTN: LAURA BROOKHART        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1702 MAIN ST                                                                     Property
      DAVENPORT, IA 52803


3.756                                        3/28/2017                                Customer                         $154
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.757                                        1/31/2022                                Customer                         $364
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.758                                       10/30/2019                                Customer                          $35
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.759 DIVERSIFIED BENEFIT ADMIN              4/30/2021                                Customer                       $3,250
      MARY BETH DONALSON                                                            Advances and
      2024 E PINETREE BLVD         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE D                                                                          Property
      THOMASVILLE, GA 31792


3.760 DMI                                    4/5/2021                                 Customer                       $8,026
      TARA COLERAN                                                                  Advances and
      50 DERBY STREET              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HINGHAM, MA 02043                                                                Property


3.761 DOCUPACE                              11/30/2023                                Customer                           $0
      JOEL FRIEDMAN                                                                 Advances and
      2001 S BARRINGTON STE 215    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      LOS ANGELES, CA 90075                                                            Property




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Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.762 DON QUANTE                              10/20/2023                                Customer                       $1,799
      SIMPLICITY GROUP                                                                Advances and
      2046 QUEENS BROOK BLVD.        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE 200                                                                          Property
      SAINT PETERS, MO 63376


3.763 DREISS INSURANCE AGENCY                  3/1/2022                                 Customer                           $0
      LEE DREISS                                                                      Advances and
      805 NORTH MAIN STREET          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BOERNE, TX 78006                                                                   Property


3.764 DUDLEY M. BARNES, CFP                    3/19/2018                                Customer                         $765
      BARNES, PETTEY & ASSOCIATES                                                     Advances and
      P.O.BOX 1234, 252 SUNFLOWER    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CLARKSDALE, MS 38614                                                               Property


3.765 EBIX HEALTH USER GROUP                   2/1/2020                                 Customer                      $32,854
      LEWIS LEBRUN                                                                    Advances and
      C/O GROUP BENEFIT SERVICES     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      6 N PARK DR STE 310                                                                Property
      HUNT VALLEY, MD 21030-1821


3.766 EG AMERICA LLC                          11/16/2018                                Customer                       $1,207
      (CUMBERLAND FARMS INC)                                                          Advances and
      ATTN: ANDRIANA STEFAK          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      165 FLANDERS ROAD                                                                  Property
      WESTBOROUGH, MA 01581


3.767 ELMTREE FUNDS LLC                        4/30/2023                                Customer                         $245
      ATTN. TO: ASSET MANAGEMENT                                                      Advances and
      120 S.CENTRAL AVE. SUITE 300   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SAINT LOUIS, MO 63105                                                              Property


3.768 ENSIGHT - ROYALTY                        9/13/2022                                Customer                     $584,966
      11455 EL CAMINO REAL                                                            Advances and
      SUITE 140                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SAN DIEGO, CA 92130                                                                Property


3.769 EVENT NETWORK                            1/31/2018                                Customer                          $11
      ATTN: MEREDITH DEMARTINO                                                        Advances and
      9606 AERO DRIVE, SUITE 1000    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SAN DIEGO, CA 92123                                                                Property


3.770 FARMERS INSURANCE GROUP                  2/28/2017                                Customer                           $7
      24000 NORTH FARMERS WAY                                                         Advances and
      ATTN: ANGELINA SEDILLO         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PHOENIX, AZ 85085                                                                  Property




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Including Zip Code                            Account Number                                Claim

Customer Advances and Unclaimed Property

3.771 FIDELITY & GUARANTY LIFE                   6/30/2023                                Customer                       $5,881
      ATTN: MARLA VEENSTRA                                                              Advances and
      TWO RUAN CENTER                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      601 LOCUST ST                                                                        Property
      DES MOINES, IA 50309


3.772 FIRST BENEFITS INS. MUTUAL INC             9/30/2022                                Customer                          $45
      209 FAYETTEVILLE STREET                                                           Advances and
      RALEIGH, NC 27601                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.773 FIRST FINANCIAL RESOURCES                  2/10/2021                                Customer                       $4,000
      JOY FIELD                                                                         Advances and
      100 SPECTRUM CENTER DRIVE        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE 400                                                                            Property
      IRVINE, CA 92618


3.774 FORETHOUGHT - GLOBAL                      11/30/2020                                Customer                      $38,702
      ATLANTIC                                                                          Advances and
      ATTN: OPS FINANCE - OPDV0201     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      ONE FINANCIAL PLAZA                                                                  Property
      755 MAIN ST,10TH FL
      HARTFORD, CT 06103


3.775 FOUR SEASONS FINANCIAL                     5/1/2018                                 Customer                       $1,671
      GROUP                                                                             Advances and
      JIM SOREBO                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      701A RTE. 73, STE. 400                                                               Property
      MARLTON, NJ 08053


3.776 GARY BLOCK                                 1/1/2023                                 Customer                       $5,043
      MID AMERICA GROUP, INC.                                                           Advances and
      1 COMMERCE SQUARE                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2005 MARKET ST., STE. 1100                                                           Property
      PHILADELPHIA, PA 19103-1392


3.777                                           10/25/2023                                Customer                       $1,625
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.778                                           12/20/2016                                Customer                         $154
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property




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Including Zip Code                            Account Number                                Claim

Customer Advances and Unclaimed Property

3.779 GEORGETOWN FINANCIAL                      10/16/2023                                Customer                       $2,697
      GROUP, IN                                                                         Advances and
      ATTN: JOHN DESALRA               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P.O. BOX 11                                                                          Property
      73 REDDING RD
      GEORGETOWN, CT 06829


3.780                                            4/7/2021                                 Customer                          $19
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.781 GREAT AMERICAN INSURANCE                   1/18/2022                                Customer                         $410
      JOHN DOUGHERTY                                                                    Advances and
      49 EAST 4TH STREET               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CINCINNATI, OH 45202                                                                 Property


3.782 GREAT-WEST LIFE & ANNUITY INS.             7/31/2020                                Customer                       $1,665
      ATTN: ROBIN GUGEL                                                                 Advances and
      FIN-OPS@PROTECTIVE.COM           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      8515 E. ORCHARD ROAD, 8T2                                                            Property
      GREENWOOD VILLAGE, CO 80111


3.783 GUARDIAN INS & ANNUITY                    12/31/2020                                Customer                       $6,182
      COMPANY                                                                           Advances and
      ATTN: CAROL KONDEL               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      6255 STERNER'S WAY                                                                   Property
      BETHLEHEM, PA 18017


3.784 GYRODATA                                  10/31/2017                                Customer                         $694
      ATTN: GINA FALUDI                                                                 Advances and
      23000 NORTHWEST LAKE DRIVE       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HOUSTON, TX 77095                                                                    Property


3.785 HARTFORD FIRE INSURANCE                    5/30/2017                                Customer                      $71,985
      ONE HARTFORD PLAZA                                                                Advances and
      HARTFORD, CT 06155               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.786 HARTFORD LIFE - TALCOTT                   11/14/2016                                Customer                       $1,314
      KARA SHEEHAN                                                                      Advances and
      1 GRIFFIN ROAD NORTH             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      MAIL CODE CT-1GRN-3 NORTH                                                            Property
      WINDSOR, CT 06095-1512


3.787                                            1/4/2021                                 Customer                       $1,020
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property



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Customer Advances and Unclaimed Property

3.788 HILLTOP NATIONAL BANK                     12/7/2023                                Customer                         $500
      ATTN: BRENDA SCHULENBERG                                                         Advances and
      300 COUNTRY CLUB ROAD           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CASPER, WY 82601                                                                    Property


3.789 HSBC INSURANCE                           10/31/2020                                Customer                         $834
      AGENCY(USA)INC.                                                                  Advances and
      JOSEPH CACCIO                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      JOSEPH.A.CACCIO@HSBCPB.COM                                                          Property
      452 5TH AVENUE
      NEW YORK, NY 10018


3.790 HUGHES, BRENNAN & WIRTZ, INC.             5/15/2023                                Customer                       $1,470
      DONNA WIRTZ                                                                      Advances and
      HIGHWAYS 4 & 18 WEST            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P. O. BOX 97                                                                        Property
      EMMETSBURG, IA 50536


3.791 ICI HOMES RESIDENTIAL                     3/31/2021                                Customer                           $0
      HOLDINGS                                                                         Advances and
      ROGER CONSOLLA                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2379 BEVILLE ROAD                                                                   Property
      DAYTONA BEACH, FL 32119


3.792 ILIFE TECHNOLOGIES                        8/31/2023                                Customer                         $100
      4 PARK PLAZA                                                                     Advances and
      STE 120                         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      IRVINE, CA 92614                                                                    Property


3.793 INNOVATIVE BROKERS CORP.                 10/30/2019                                Customer                         $990
      ATTN: JOE SITORSKY                                                               Advances and
      1276 50TH ST.                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BROOKLYN, NY 11219                                                                  Property


3.794 INTEGRITY                                 11/1/2023                                Customer                           $0
      P.O. BOX 1218                                                                    Advances and
      COLUMBUS, OH 43216              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.795 INTEGRYS BUSINESS SUPPORT                11/24/2017                                Customer                       $3,037
      ATTN: A/P REPRESENTATIVE                                                         Advances and
      PO BOX 19800                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      GREEN BAY, WI 54307                                                                 Property


3.796 INTERNATIONAL TRANSMISSION                10/9/2015                                Customer                       $4,276
      COM                                                                              Advances and
      MELANIE MCCAW                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      27175 ENERGY WAY                                                                    Property
      NOVI, MI 48377



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Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.797 IPIPELINE                                1/31/2015                                Customer                      $11,588
      222 VALLEY CREEK BLVD                                                           Advances and
      SUITE 300                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      EXTON, PA 19341                                                                    Property


3.798 J. L. THOMAS & CO, INC.                  8/1/2018                                 Customer                         $878
      ATTN: DAVE THOMAS                                                               Advances and
      1500 CHESTER AVE.              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CLEVELAND, OH 44116                                                                Property


3.799 JANNEY MONTGOMERY SCOTT                 11/30/2020                                Customer                       $3,042
      LLC                                                                             Advances and
      ATTN: ACCOUNTS PAYABLE DEPT.   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1717 ARCH ST. 17TH FLOOR                                                           Property
      PHILADELPHIA, PA 19103-1675


3.800 JEFFREY ALEXANDER                        1/20/2022                                Customer                          $68
      US WEALTH MANAGEMENT                                                            Advances and
      NEWPORT                        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      174 BELLEVUE AVE., STE. 218                                                        Property
      NEWPORT, RI 02840


3.801 JEFFREY IRLE                            10/26/2021                                Customer                          $53
      STANDARD EQUITY                                                                 Advances and
      555 SUN VALLEY DR., STE. E3    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      ROSWELL, GA 30076                                                                  Property


3.802 JEFFREY KENDALL                          2/21/2023                                Customer                          $76
      TRIUMVIRATE FINANCIAL                                                           Advances and
      SERVICES                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      13420 REESE BLVD. W                                                                Property
      HUNTERSVILLE, NC 28078


3.803 JEFFREY PERRY                            4/25/2023                                Customer                          $12
      PERRY FINANCIAL                                                                 Advances and
      13405 FOLSOM BLVD., STE. 400   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      FOLSOM, CA 95630                                                                   Property


3.804 JOE SKARDA                               5/18/2020                                Customer                         $133
      SOUTH TEXAS AGENCY                                                              Advances and
      10101 REUNION PL., STE 900     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SAN ANTONIO, TX 78216                                                              Property


3.805 JOE ZUCCOLOTTO                       5/20/2019                                    Customer                          $27
      PARTNERS ADVANTAGE INS. SVCS                                                    Advances and
      1825 CHICAGO AVE., STE. 240  ACCOUNT NO.: NOT AVAILABLE                          Unclaimed
      RIVERSIDE, CA 92507                                                                Property




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Including Zip Code                           Account Number                                Claim

Customer Advances and Unclaimed Property

3.806 JOHN J. CRANLEY, CLU, CHFC                5/24/2023                                Customer                         $249
      JOHN J. CRANLEY COMPANY, INC.                                                    Advances and
      37 W. 7TH STREET, ROOM 900      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CINCINNATI, OH 45202                                                                Property


3.807                                           1/31/2020                                Customer                         $160
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.808                                           1/31/2023                                Customer                         $692
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.809                                           11/3/2017                                Customer                         $441
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.810 KANE INS AGENCY CLOSED                   11/17/2020                                Customer                      $26,935
      BOB KANE                                                                         Advances and
      110 S. BROADWAY                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P O BOX 250                                                                         Property
      SALEM, IL 62881-1610


3.811 KANE REALTY CORPORATION                   2/28/2022                                Customer                         $341
      ATTN TO: CURTIS SPRINGER                                                         Advances and
      4321 LASSITER                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      AT NORTH HILLS AVE                                                                  Property
      RALEIGH, NC 27609


3.812                                           5/31/2018                                Customer                       $2,064
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.813 KENNETH MORRISON                          8/25/2021                                Customer                         $148
      INSURANCE NETWORK AMERICA,                                                       Advances and
      INC                             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      403 E MAIN                                                                          Property
      ADA, OK 74820


3.814                                           7/25/2018                                Customer                         $456
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property




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Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.815 L BRANDS                                11/30/2022                                Customer                          $99
      ATTN: MEG FINNEY                                                                Advances and
      THREE LIMITED PARKWAY          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      COLUMBUS, OH 43230                                                                 Property


3.816                                          4/20/2017                                Customer                         $314
                                                                                      Advances and
                                     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                         Property



3.817 LEGACY ASSET MANAGEMENT LLC         4/17/2020                                     Customer                         $816
      ATTN: TINA BROWN                                                                Advances and
      4717 CENTRAL STREET         ACCOUNT NO.: NOT AVAILABLE                           Unclaimed
      KANSAS CITY, MO 64112                                                              Property


3.818 LIFEEQUITY                               8/31/2022                                Customer                         $300
      ATTN: SCOTT WILLKOMM                                                            Advances and
      530 S MAIN ST                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      STE 1731                                                                           Property
      CLEVELAND, OH 44130


3.819 LINCOLN NATIONAL LIFE                   10/31/2021                                Customer                      $30,046
      INSURANC                                                                        Advances and
      ANITA LENGACH                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1300 S. CLINTON STREET                                                             Property
      MS 3H-10
      FORT WAYNE, IN 46802


3.820 LINCOLN NAT'L LIFE INSURANCE            10/31/2016                                Customer                     $305,309
      ATTN: MARY-LYNN MICHAUD                                                         Advances and
      350 CHURCH ST                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      MSY6                                                                               Property
      HARTFORD, CT 06103


3.821 LION STREET                              12/9/2020                                Customer                         $253
      ATTN: SCOTT WEBER                                                               Advances and
      515 CONGRESS AVE STE 2500      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      AUSTIN, TX 78701-3509                                                              Property


3.822 LONG TERM CARE ADVISORY                  2/13/2019                                Customer                         $505
      SERVIC                                                                          Advances and
      DANIEL MENSH                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      324 N. SPRING STREET                                                               Property
      WINSTON SALEM, NC 27101


3.823 LOWE ENTERPRISES                         2/28/2021                                Customer                         $151
      ATTN: LISA BOONE                                                                Advances and
      11777 SAN VICENTE BLVD         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      STE900                                                                             Property
      LOS ANGELES, CA 91201

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Including Zip Code                           Account Number                                Claim

Customer Advances and Unclaimed Property

3.824 LPBS CORP                                 9/30/2019                                Customer                       $1,709
      ATTN: ACCOUNTS PAYABLE                                                           Advances and
      138 31ST ST                     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BROOKLYN, NY 11232                                                                  Property


3.825 MADISON BROKERAGE                         2/10/2020                                Customer                         $212
      PAULA GIBSON                                                                     Advances and
      65 MADISON AVE                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE 200                                                                           Property
      MORRISTOWN, NJ 07962


3.826 MARK REIMET                               10/2/2020                                Customer                         $203
      OCEAN CITY FINANCIAL GROUP                                                       Advances and
      801 ASBURY AVE., STE. 650       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      OCEAN CITY, NJ 08226                                                                Property


3.827 MARK SULLIVAN                             9/1/2023                                 Customer                          $10
      CENTINEL FINANCIAL GROUP, LLC                                                    Advances and
      16 LAUREL AVE., STE. 300        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEEDHAM HEIGHTS, MA 02494                                                           Property


3.828 MASS MUTUAL                               5/22/2017                                Customer                      $22,320
      ATTN: BARBARA MARTEL                                                             Advances and
      W575                            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1295 STATE STREET                                                                   Property
      SPRINGFIELD, MA 01111-0001


3.829 MASS MUTUAL (VMS)                        12/31/2016                                Customer                      $86,603
      1295 STATE ST                                                                    Advances and
      SPRINGFIELD, MA 01111           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.830 MASS MUTUAL ASCEND LIFE INS               2/28/2023                                Customer                         $744
      CO                                                                               Advances and
      INVOICE PROCESSING              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BIZ UNIT: IT ATTN: K SEGER                                                          Property
      191 ROSA PARKS ST
      CINCINNATI, OH 45202-3717


3.831 MATT HALEY                                4/1/2022                                 Customer                         $192
      MCKEAGUE & HALEY INC.                                                            Advances and
      841 BISHOP ST., STE. 935        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HONOLULU, HI 96813                                                                  Property


3.832                                           10/1/2022                                Customer                         $175
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property




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Including Zip Code                            Account Number                                Claim

Customer Advances and Unclaimed Property

3.833 MED SAVE USA                               8/31/2016                                Customer                       $7,279
      ATTN: ACCOUNTS PAYABLE                                                            Advances and
      49 WIRELESS BOULEVARD            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HAUPPAUGE, NY 11788                                                                  Property


3.834 MELISSA WOLVERTON                         10/31/2018                                Customer                         $116
      INSURANCE MARKETING CORP.                                                         Advances and
      7845 25 MILE RD., STE. 102       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SHELBY TOWNSHIP, MI 48316                                                            Property


3.835 MERCURY INSURANCE GROUP                   11/30/2017                                Customer                         $601
      IT PROCUREMENT DEPARTMENT                                                         Advances and
      555 W. IMPERIAL HIGHWAY          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BREA, CA 92821                                                                       Property


3.836 MERITAIN HEALTH, INC. - OKEMOS             5/10/2021                                Customer                       $2,836
      ACCOUNTS PAYABLE                                                                  Advances and
      PO BOX 1652                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      AMHERST, NY 14226-7652                                                               Property


3.837 MERRILL LYNCH INSURANCE                    8/31/2022                                Customer                       $1,362
      GROUP                                                                             Advances and
      ATTN: CONTROL UNIT               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      4802 DEER LAKE DRIVE EAST                                                            Property
      JACKSONVILLE, FL 32246


3.838 METLIFE EXPATRIATE BENEFITS                3/31/2017                                Customer                       $1,298
      RAFAEL PEREZ COLON                                                                Advances and
      600 NORTH KING STREET            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      WILMINGTON, DE 19801                                                                 Property


3.839 MICHAEL FELDMAN                            4/19/2023                                Customer                         $116
      CMS WEALTH MANAGEMENT                                                             Advances and
      175 STRAFFORD AVE.               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BLDG. 4, STE. 300                                                                    Property
      WAYNE, PA 19087


3.840 MIDLAND NATIONAL - SAMMONS                 5/31/2021                                Customer                       $1,000
      ATTN: ACCOUNTS PAYABLE                                                            Advances and
      ONE SAMMONS PLAZA                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SIOUX FALLS, SD 57193                                                                Property


3.841 MINNESOTA LIFE                             5/16/2021                                Customer                       $3,300
      ATTN: ERIK BAKER                                                                  Advances and
      SECURIAN FINANCIAL GROUP INC     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      400 ROBERT ST N                                                                      Property
      SAINT PAUL, MN 55101-2037




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Creditor's Name, Mailing Address     Date Claim Was Incurred And       C U       D     Basis For    Offset   Amount of Claim
Including Zip Code                         Account Number                                Claim

Customer Advances and Unclaimed Property

3.842 MONEY SERVICES, INC.                    7/31/2023                                Customer                       $4,569
      AEGON/TRANSAMERICA C2947-V3                                                    Advances and
      ATTN: MEGAN CLEMENSEN         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      6400 C STREET SW                                                                  Property
      CEDAR RAPIDS, IA 52499


3.843 NATIONWIDE MUTUAL INSURANCE             7/11/2023                                Customer                       $9,452
      CO                                                                             Advances and
      JOE TRIVISONNO                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO BOX 183130                                                                     Property
      COLUMBUS, OH 43218


3.844 NEW LONDON HOSPITAL ASSO                3/31/2018                                Customer                       $2,313
      ATTN: SHARI BOSTWICK                                                           Advances and
      273 COUNTY ROAD               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEW LONDON, NH 03257                                                              Property


3.845 NORTHERN MONTANA HOSPITAL               12/5/2023                                Customer                         $575
      ATTN: GARRIT OPHUS                                                             Advances and
      30 13TH STREET                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HAVRE, MT 59501                                                                   Property


3.846 ON TOP OF THE WORLD                     4/30/2023                                Customer                       $1,163
      COMMUNITIE                                                                     Advances and
      ATTN : SARAH WOOD             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      8445 SW 80 TH ST                                                                  Property
      OCALA, FL 34481


3.847 ONEOK INC.                              3/9/2022                                 Customer                         $106
      ATTN : JOHN ELIAS                                                              Advances and
      ONEOK INC. & ONEOK PARTNERS   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      100 WEST FIFTH STREET                                                             Property
      TULSA, OK 74103


3.848 OPPEL-MALLORY ASSOCIATES,               12/5/2023                                Customer                         $382
      INC.                                                                           Advances and
      ATTN: ELAINE MALLORY          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      311 14TH ST.                                                                      Property
      PO BOX 838
      DUNCANSVILLE, PA 16635


3.849 PACIFIC ADVISORS                       12/31/2020                                Customer                      $53,681
      333 N INDIAN HILL BLVD                                                         Advances and
      CLAREMONT, CA 91711           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                        Property


3.850 PEKIN INSURANCE COMPANY                 3/22/2019                                Customer                         $103
      DENISE THALLER                                                                 Advances and
      2505 COURT ST.                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PEKIN, IL 61558                                                                   Property


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Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.851 PERMIAN CLAIM SERVICE, INC               2/28/2023                                Customer                          $19
      DAVID CHERRY                                                                    Advances and
      PO BOX 4353                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      ODESSA, TX 79760                                                                   Property


3.852 PICA (PRUDENTIAL ADVISORS)               5/31/2023                                Customer                       $6,764
      DAVID MAGRI, DIRECTOR - OU                                                      Advances and
      PRUDENTIAL FINANCIAL           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      213 WASHINGTON ST., 17TH FLR                                                       Property
      NEWARK, NJ 07102


3.853 PREMIER HEALTHCARE                      11/15/2021                                Customer                     $236,562
      EXCH/ZELIS                                                                      Advances and
      2 CROSSROADS DRIVE             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      BEDMINSTER, NJ 07921                                                               Property


3.854 PROTECTIVE LIFE INSURANCE                4/13/2022                                Customer                       $1,640
      COMP                                                                            Advances and
      ATTN: CINDY MCGILL             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      P.O. BOX 11703                                                                     Property
      BIRMINGHAM, AL 35202


3.855 PRUDENTIAL INS CO OF AMERICA             1/31/2020                                Customer                         $600
      ATTN: CINDY HABISCH                                                             Advances and
      213 WASHINGTON STREET          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEWARK, NJ 07102                                                                   Property


3.856 PRUDENTIAL INSURANCE                     7/30/2021                                Customer                       $8,833
      COMPANY                                                                         Advances and
      CYNTHIA HABISCH                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2101 WELSH ROAD                                                                    Property
      DRESHER, PA 19025


3.857 RECKITT BENCKISER                        9/29/2020                                Customer                         $150
      200 MADISON AVE                                                                 Advances and
      ATTN: MONIQUE PRESTIGIACOMO    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      H4B                                                                                Property
      NEW YORK, NY 10016


3.858 RELIANCE STANDARD                       11/30/2020                                Customer                       $2,073
      DAVID WHITEHEAD                                                                 Advances and
      VP, SYSTEMS AND DEVELOPMENT    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2001 MARKET ST., SUITE 1500                                                        Property
      PHILADELPHIA, PA 19103


3.859 RELIANCE STANDARD LIFE                   7/31/2020                                Customer                         $508
      ATTN: DAVID WHITEHEAD                                                           Advances and
      2001 MARKET ST                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PHILADELPHIA, PA 19103                                                             Property



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Customer Advances and Unclaimed Property

3.860 REM LIMITED                               5/31/2023                                Customer                      $12,985
      ACCOUNTS PAYABLE                                                                 Advances and
      2540 ROUTE 130                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CRANBURY, NJ 08512                                                                  Property


3.861 RICHARD GONZALES                         10/13/2016                                Customer                         $299
      CAPITAL INVESTMENT GROUP,                                                        Advances and
      INC.                            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1000 TOWN CENTER SUITE 2500                                                         Property
      SOUTHFIELD, MI 48075


3.862 ROBERT BARTOLOTTA                         5/1/2023                                 Customer                         $421
      NOVEM GROUP                                                                      Advances and
      350 LINDEN OAKS, STE. 140       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      ROCHESTER, NY 14625                                                                 Property


3.863                                           8/27/2018                                Customer                       $2,629
                                                                                       Advances and
                                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                          Property


3.864 ROBERT LEE                                8/24/2018                                Customer                         $291
      RETIREMENT MONEY                                                                 Advances and
      MANAGEMENT                      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      2 N TAMIAMI TRAIL                                                                   Property
      SARASOTA, FL 34236


3.865 ROBERT LINDNER                            7/20/2020                                Customer                         $546
      LINDNER CAPITAL ADVISORS                                                         Advances and
      600 VILLAGE TRC. NE, BLDG. 23   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      STE. 300                                                                            Property
      MARIETTA, GA 30067


3.866 ROCKY MOUNTAIN TPA                       10/31/2018                                Customer                           $3
      JEN HEAPS                                                                        Advances and
      PO BOX 71176                    ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SALT LAKE CITY, UT 84171                                                            Property


3.867 RONALD M. FENSTER INC.                    5/31/2023                                Customer                         $108
      RON FENSTER                                                                      Advances and
      65 TRANQUILITY ROAD             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUFFERN, NY 10901                                                                   Property


3.868 SAGICOR LIFE INS CO                       6/22/2023                                Customer                      $23,847
      ATTN: MICHAEL STRICKER                                                           Advances and
      8660 E HARTFORD DR STE 200      ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SCOTTSDALE, AZ 85255                                                                Property




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Including Zip Code                            Account Number                                Claim

Customer Advances and Unclaimed Property

3.869 SAGICOR LIFE INSURANCE                     4/30/2023                                Customer                       $5,053
      COMPANY                                                                           Advances and
      ATTN: MICHAEL STRICKER           ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      8660 EAST HARTFORD DRIVE                                                             Property
      SUITE 200
      SCOTTSDALE, AZ 85255-2583


3.870                                            8/12/2016                                Customer                         $250
                                                                                        Advances and
                                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                           Property


3.871 SAYBRUS PARTNERS                           8/31/2023                                Customer                       $7,334
      ATTN: ALI AZIZ                                                                    Advances and
      ONE AMERICAN ROW, 2ND FL.        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO BOX 5056                                                                          Property
      HARTFORD, CT 06102


3.872 SCOTT GERMAN                               11/1/2023                                Customer                           $2
      LIVEAMERICA                                                                       Advances and
      741 COOL SPRINGS BLVD, STE 108   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      FRANKLIN, TN 37067                                                                   Property


3.873 SPRINGFIELD MEDICAL CARE                  11/30/2020                                Customer                         $199
      SYST                                                                              Advances and
      ATTN: JANET LYLE                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      25 RIDGEWOOD RD                                                                      Property
      SPRINGFIELD, VT 05156


3.874 STANDARD LIFE INSURANCE                   12/31/2014                                Customer                         $658
      SUPPLIER MANAGEMENT                                                               Advances and
      INVOICES                         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      THE STANDARD, C15                                                                    Property
      900 SW 5TH AVE
      PORTLAND, OR 97204


3.875 STATE AUTO INS. COMPANY                    2/18/2020                                Customer                       $1,500
      PAT DAVIS                                                                         Advances and
      518 E. BROAD STREET              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      COLUMBUS, OH 43215-3901                                                              Property


3.876 STEVE COLLINS                              9/1/2019                                 Customer                       $1,192
      BOSTON LIGHT FINANCIAL                                                            Advances and
      300 TRADECENTER, STE. 1500       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      WOBURN, MA 01801                                                                     Property


3.877 STEVE ZIMMERMAN                            5/1/2021                                 Customer                       $2,222
      VALLEY FORGE ENTERPRISES                                                          Advances and
      998 OLD EAGLE SCHOOL RD.         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE 1206                                                                           Property
      WAYNE, PA 19087

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Including Zip Code                        Account Number                                Claim

Customer Advances and Unclaimed Property

3.878                                       12/28/2016                                Customer                          $17
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.879 STRINGER INSURANCE AGENCY              8/10/2022                                Customer                         $150
      CLARK PIERCE                                                                  Advances and
      102 MEMORIAL DR              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      DAHLONEGA, GA 30533                                                              Property


3.880 SUN LIFE ASSURANCE                     8/30/2023                                Customer                           $0
      ATTN: DUARTE DE FRIAS                                                         Advances and
      P.O. BOX HM 3070             ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HAMILTON HM, NX 0                                                                Property


3.881                                        1/29/2019                                Customer                          $50
                                                                                    Advances and
                                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
                                                                                       Property


3.882 SUTTON SPECIAL RISK                    3/31/2017                                Customer                       $4,687
      CASSIAN RODRIGUES                                                             Advances and
      33 YONGE STREET              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      TORONTO, ON M5E 1S9                                                              Property


3.883 SYMETRA FINANCIAL                      3/31/2023                                Customer                       $3,136
      CHAD ROSS OR CHRISTIE                                                         Advances and
      ROGERS                       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO BOX 34403                                                                     Property
      SEATTLE, WA 98124-1403


3.884 SYMETRA LIFE INSURANCE                 2/28/2022                                Customer                           $3
      COMPANY                                                                       Advances and
      ATTN: ACCOUNTS PAYABLE       ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      777 108TH AVE NE                                                                 Property
      SUITE 1200
      BELLEVUE, WA 98004


3.885 SYSCO BUSINESS SERVICES                6/8/2023                                 Customer                         $388
      ATTN: KATIE SARGENT                                                           Advances and
      1390 ENCLAVE PARKWAY         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HOUSTON, TX 77077                                                                Property


3.886 TAYLOR BENEFIT RESOURCE                9/20/2019                                Customer                       $5,630
      DARLENETAYLOR                                                                 Advances and
      164 COMMERCIAL DR            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO BOX 6580                                                                      Property
      THOMASVILLE, GA 31758




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D     Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.887 TD AMERITRADE                           10/26/2017                                Customer                         $182
      ATTN: ACCOUNTS PAYABLE                                                          Advances and
      P.O. BOX 2800                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      OMAHA, NE 68103                                                                    Property


3.888 TERRY FEUCHTINGER                       12/17/2021                                Customer                       $2,050
      SIMPLICITY HOUSTON                                                              Advances and
      1415 N LOOP W 740              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      HOUSTON, TX 77008                                                                  Property


3.889 THE 58-64 40TH STREET CORP.              6/20/2017                                Customer                       $3,213
      ATTN: LAURA BELT PONOMAREV                                                      Advances and
      233 BROADWAY                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SUITE 2220                                                                         Property
      NEW YORK, NY 10279Q


3.890 THOMAS BARBER                            6/20/2023                                Customer                          $73
      MAGNUS FINANCIAL GROUP, LLC                                                     Advances and
      90 PARK AVE., STE. 1800        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NEW YORK, NY 10016                                                                 Property


3.891 TOM GRAY                                10/24/2019                                Customer                       $3,602
      EMPLOYEE POOLING, LLC                                                           Advances and
      2000 GLEN ECHO RD., STE. 111   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      NASHVILLE, TN 37215                                                                Property


3.892 TOMEI INSURANCE AGENCY                   7/1/2023                                 Customer                         $900
      JOE TOMEI                                                                       Advances and
      330 E KILBOURN AVENUE          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      STE. 85                                                                            Property
      MILWAUKEE, WI 53202


3.893 TONI G. SANTAELLA                        9/19/2022                                Customer                          $89
      SANTAELLA & ASSOCIATES                                                          Advances and
      2311 ANACAPA STREET            ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SANTA BARBARA, CA 93105                                                            Property


3.894 TONY MUDD                                3/23/2017                                Customer                         $245
      CLARITY FINANCIAL                                                               Advances and
      12150 BRIDGEWATER RD.          ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      INDIANAPOLIS, IN 46256                                                             Property


3.895 TRANSAMERICA                             3/31/2022                                Customer                      $82,115
      MONEY SERVICES, INC                                                             Advances and
      6400 C ST. SW                  ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CEDAR RAPIDS, IA 52499                                                             Property




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D     Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.896 TRI COUNTIES REGIONAL CENTER             6/30/2021                                Customer                         $274
      ATTN: LORNA OWENS CFO                                                           Advances and
      520 E MONTECITO STREET         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SANTA BARBARA, CA 93103                                                            Property


3.897 TRISTAR RISK MANAGEMENT                  5/31/2023                                Customer                          $12
      100 OCEANGATE                                                                   Advances and
      STE 700                        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      LONG BEACH, CA 90802                                                               Property


3.898 UBS FINANCIAL SERVICES INC               5/9/2017                                 Customer                       $8,068
      VISHAL KHURANA                                                                  Advances and
      4TH FL                         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1000 HARBOR BLVD                                                                   Property
      WEEHAWKEN, NJ 07086-6761


3.899 UNICOM SYSTEMS, INC.                     6/30/2020                                Customer                       $3,217
      ATTN: SERGIO ANGON                                                              Advances and
      UNICOM PLAZA, SUITE 310        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      15535 SAN FERNANDO MISSION                                                         Property
      MISSION HILLS, CA 91345


3.900 UNITED OF OMAHA                          4/20/2020                                Customer                         $331
      CHRISTOPHER MCKENZIE                                                            Advances and
      3301 DODGE STREET              ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      OMAHA, NE 68131                                                                    Property


3.901 UNIVERSAL LIFE INSURANCE                 7/31/2020                                Customer                       $1,246
      COMPA                                                                           Advances and
      ATTN: XIOMARA RODRIGUEZ        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      METRO OFFICE PARK UNIVERSAL                                                        Property
      BL
      P.O BOX 2145
      SAN JUAN, PR 00922-2145


3.902 UTAH TRANSIT AUTHORITY                   8/31/2023                                Customer                         $148
      ATTN: JENNY DANG                                                                Advances and
      PO BOX 30810                   ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      PO# 20023518                                                                       Property
      SALT LAKE CITY, UT 84130


3.903 WALMART CANADA                           6/29/2021                                Customer                      $46,626
      1940 ARGENTIA RD                                                                Advances and
      MISSISSAUGA, ON L5N 1P9        ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      CANADA                                                                             Property




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D     Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                                Claim

Customer Advances and Unclaimed Property

3.904 WESTERN & SOUTHERN LIFE INS              8/31/2022                                Customer                           $0
      CO                                                                              Advances and
      MICHAEL MOUSER                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      IFS FINANCIAL SERVICES, INC.                                                       Property
      303 BROADWAY, SUITE 1100
      CINCINNATI, OH 45202-4203


3.905 WILL ZIMMERMAN                          11/16/2016                                Customer                         $107
      CR WEALTH                                                                       Advances and
      400 ROBERT ST. N, STE. 208     ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      SAINT PAUL, MN 55101                                                               Property


3.906 WILTON RE                                4/30/2014                                Customer                       $7,026
      ATTN: SUE PATERNOSTER                                                           Advances and
      20 GLOVER AVENUE               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      4TH FLOOR                                                                          Property
      NORWALK, CT 06850


3.907 WINWHOLESALE INC (WINSUPPLY)             2/28/2021                                Customer                         $799
      MIKE KIRKLAND                                                                   Advances and
      3131 S DIXIE DR.               ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      DAYTON, OH 45439                                                                   Property


3.908 ZENITH AMERICAN SOLUTIONS                7/31/2018                                Customer                      $11,304
      LISA FRIDAY                                                                     Advances and
      401 LIBERTY AVE                ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      3 GATEWAY CENTER, SUITE 1200                                                       Property
      PITTSBURGH, PA 15222


3.909 ZURICH AMERICAN LIFE                     5/31/2021                                Customer                      $25,290
      CRISTI CUDE                                                                     Advances and
      PO #4500103424                 ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      1299 ZURICH WAY                                                                    Property
      SCHAUMBURG, IL 60196-1056


3.910 ZURICH GLOBAL LIFE N AMERICA             1/18/2022                                Customer                      $34,955
      ATTN: TARA SCHROEDER                                                            Advances and
      7045 COLLEGE BOULEVARD         ACCOUNT NO.: NOT AVAILABLE                        Unclaimed
      LEAWOOD, KS 66211                                                                  Property


                                                        Customer Advances and Unclaimed Property Total:             $2,087,334




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address    Date Claim Was Incurred And       C U       D    Basis For     Offset   Amount of Claim
Including Zip Code                        Account Number                               Claim

Additional Compensation

3.911                                       UNKNOWN                                  Additional                      $2,404
                                                                                    Compensation
                                   ACCOUNT NO.: NOT AVAILABLE


3.912                                       UNKNOWN                                  Additional                        $481
                                                                                    Compensation
                                   ACCOUNT NO.: NOT AVAILABLE


3.913                                       UNKNOWN                                  Additional                      $2,692
                                                                                    Compensation
                                   ACCOUNT NO.: NOT AVAILABLE


3.914                                       UNKNOWN                                  Additional                      $1,923
                                                                                    Compensation
                                   ACCOUNT NO.: NOT AVAILABLE


3.915                                       UNKNOWN                                  Additional                      $3,269
                                                                                    Compensation
                                   ACCOUNT NO.: NOT AVAILABLE


                                                                          Additional Compensation Total:            $10,769




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D    Basis For      Offset   Amount of Claim
Including Zip Code                          Account Number                               Claim

Litigation

3.916 AMADEUS IT GROUP                         9/8/2020                                Arbitration                   $6,819,457
      171 17TH STREET, NW                                                                Award
      SUITE 2100                     ACCOUNT NO.: NOT AVAILABLE
      ATLANTA, GA 30363


3.917 ANSWERS IN CME INC.                     10/18/2023                                Litigation              UNDETERMINED
      71 BROADWAY 2B,
      SUITE 185                      ACCOUNT NO.: NOT AVAILABLE
      NEW YORK, NY 10006


3.918 BLACK DRAGON CAPITAL, LLC                6/21/2022                               Arbitration              UNDETERMINED
      SCOTT M. KESSLER, ESQ./MEGAN                                                      Demand
      M. ADMIRE, ESQ.; AKERMAN LLP   ACCOUNT NO.: NOT AVAILABLE
      520 MADISON AVENUE
      20TH FLOOR
      NEW YORK, NY 10022


3.919 JAVIER CALVO                             5/14/2021                              Class Action              UNDETERMINED
      BENJAMIN ISAAC SACHS-                                                              Lawsuit
      MICHAELS; GLANCY PRONGAY &     ACCOUNT NO.: NOT AVAILABLE
      MURRAY LLP
      745 FIFTH AVENUE
      5TH FLOOR
      NEW YORK, NY 10151


3.920 PEERVOICE AMERICA LIMITED               10/17/2023                                Litigation              UNDETERMINED
      FINANCE DEPT, 3RD FLOOR
      75 DAVIES STREET               ACCOUNT NO.: NOT AVAILABLE
      LONDON, -- W1K 5JN


3.921 RAHUL SARAF; CHRISTINE MARIE             8/17/2023                              Class Action              UNDETERMINED
      TIEFKE                                                                             Lawsuit
      MICHAEL DELL'ANGELO; BERGER    ACCOUNT NO.: NOT AVAILABLE
      MONTAGUE PC
      1818 MARKET STREET
      SUITE 3600
      PHILADELPHIA, PA 19103


3.922 SECURITIES AND EXCHANGE                 12/15/2023                               Notices of               UNDETERMINED
      BOARD OF INDIA                                                                  Violations of
      SEBI BHAVAN - II               ACCOUNT NO.: NOT AVAILABLE                        Disclosure
      C-7, BLOCK G
      BANDRA KIRLA COMPLEX,
      BANDRA (EAST)
      MUMBAI 400 051
      INDIA




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U       D    Basis For        Offset    Amount of Claim
Including Zip Code                          Account Number                               Claim

Litigation

3.923 SECURITIES AND EXCHANGE                 12/15/2023                               Notices of                  UNDETERMINED
      BOARD OF INDIA                                                                  Violations of
      SEBI BHAVAN - II               ACCOUNT NO.: NOT AVAILABLE                        Disclosure
      C-7, BLOCK G
      BANDRA KIRLA COMPLEX,
      BANDRA (EAST)
      MUMBAI 400 051
      INDIA


3.924 ST. MORITZ SECURITY SERVICES             10/4/2023                                Litigation                 UNDETERMINED
      INC.
      4600 CLAIRTON BLVD             ACCOUNT NO.: NOT AVAILABLE
      PITTSBURGH, PA 15236-2114


3.925 VOTTO, PETER                             5/14/2021                              Class Action                 UNDETERMINED
      JUSTIN AARON KUEHN; MOORE                                                          Lawsuit
      KUEHN, PLLC                    ACCOUNT NO.: NOT AVAILABLE
      30 WALL STREET
      8TH FLOOR
      NEW YORK, NY 10005


                                                                                              Litigation Total:         $6,819,457




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

                                      Total: All Creditors with NONPRIORITY Unsecured Claims      $18,692,878




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Schedule E/F: Creditors Who Have Unsecured Claims
     Part 3:       List Others to Be Notified About Unsecured Claims

4.     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
       are collection agencies, assignees of claims listed above, and attorneys for secured creditors.


 Creditor's Name, Mailing Address Including Zip Code                      On which line in Part 1 did you enter        Last 4 digits of account
                                                                                 the related creditor?                   number for this entity


4. 1                                                                                   LINE: 3.919                                Not Available




4. 2                                                                                   LINE: 3.925                                Not Available




4. 3                                                                                   LINE: 3.919                                Not Available




4. 4                                                                                   LINE: 3.925                                Not Available




4. 5                                                                                   LINE: 3.925                                Not Available




4. 6                                                                                   LINE: 3.919                                Not Available




4. 7                                                                                   LINE: 3.925                                Not Available




4. 8                                                                                   LINE: 3.919                                Not Available




4. 9                                                                                   LINE: 3.925                                Not Available




4. 10                                                                                  LINE: 3.919                                Not Available




4. 11                                                                                  LINE: 3.919                                Not Available




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 3:     List Others to Be Notified About Unsecured Claims

Creditor's Name, Mailing Address Including Zip Code                On which line in Part 1 did you enter   Last 4 digits of account
                                                                          the related creditor?              number for this entity


4. 12                                                                           LINE: 3.921                          Not Available




4. 13                                                                           LINE: 3.925                          Not Available




4. 14                                                                           LINE: 3.925                          Not Available




4. 15                                                                           LINE: 3.919                          Not Available




4. 16                                                                           LINE: 3.921                          Not Available




4. 17                                                                           LINE: 3.919                          Not Available




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.


                                                                                                       Total of claim amounts


5a.     Total claims from Part 1                                                          5a.                              $0



5b.     Total claims from Part 2                                                          5b.    +                $18,692,878




5c.     Total of Parts 1 and 2                                                            5c.                     $18,692,878

        Lines 5a + 5b = 5c.




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Ebix, Inc.                                                                                                                                                     Case Number:          23-80004-11

Schedule G: Executory Contracts and Unexpired Leases
1.   Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2.   List all contracts and unexpired leases

 Nature of the Debtor's Interest                        Expiration Date      Contract ID      Co-Debtor     Name                                            Address



Service and Supply Agreements

2. 1         DATAXCHANGE SERVICE                                                                           ADAMSBRIDGE GLOBAL                              3200 WEST END AVE, SUITE 500
             PROVIDER AGREEMENT                                                                                                                            NASHVILLE, TN 37203

2. 2         ADOBE SALES ORDER                                                                             ADOBE SYSTEMS SOFTWARE IRELAND                  4-6 RIVERWALK
                                                                                                           LIMITED (ADIR)                                  CITY WEST BUSINESS CAMPUS
                                                                                                                                                           SAGGART
                                                                                                                                                           DUBLIN 24
                                                                                                                                                           IRAN, ISLAMIC REPUBLIC OF

2. 3         CONTRACTORS MASTER                                                                            ADVANTECS GROUP                                 22 MERIDIAN ROAD, SUITE # 4
             SERVICES AGREEMENT                                                                                                                            EDISON, NJ 8820

2. 4         CONTRACTORS MASTER                                                                            ADVANTECS GROUP                                 22 MERIDIAN ROAD, SUITE # 4
             SERVICES AGREEMENT                                                                                                                            EDISON, NJ 8820

2. 5         MASTER SERVICES AGREEMENT                                                                     ADVANTECS GROUP                                 22 MERIDIAN RD, STE 4
                                                                                                                                                           EDISON, NJ 8820

2. 6         WORK ORDER                                                                                    ADVANTECS GROUP                                 22 MERIDIAN RD, STE 4


2. 7         EXHIBIT                                                                                       AIG ANNUITY INSURANCE COMPANY                   ATTN: LIZ BARTON
                                                                                                                                                           205 E 10TH AVE
                                                                                                                                                           AMARILLO, TX 79101-3546

2. 8         AMENDMENT                                                                                     AIG PC GLOBAL SERVICES                          1271 AVENUE OF THE AMERICAS
                                                                                                                                                           FL 37
                                                                                                                                                           NEW YORK, NY 10020-1304

2. 9         AGREEMENT                                                                                     AIG RETIREMENT SERVICES                         1271 AVENUE OF THE AMERICAS
                                                                                                                                                           FL 37
                                                                                                                                                           NEW YORK, NY 10020-1304

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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                                Address



Service and Supply Agreements

2. 10        AMENDMENT                                                                    AIG RETIREMENT SERVICES             1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 11        AMENDMENT                                                                    AIG RETIREMENT SERVICES             1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 12        EXHIBIT                                                                      AIG RETIREMENT SERVICES             1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 13        EXHIBIT                                                                      AIG RETIREMENT SERVICES             1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 14        THIRD AMENDMENT TO THE                                                       AIG SUNAMERICA AND LIFE ASSURANCE   FIRST SUNAMERICA LIFE INSURANCE
             INSURANCE SERVICE                                                            COMPANY, FIRST SUN AMERICA LIFE     COMPANY
             AGREEMENT                                                                    INSURANCE COMPANY, WESTERN          1999 AVENUE OF STARS
                                                                                          NATIONAL LIFE INSURANCE COMPANY,    37TH FLOOR
                                                                                          AMERICAN GENERAL LFE INSURANCE      LOS ANGELES, CA 90067
                                                                                          COMPANY, THE UNITED STATES LIFE
                                                                                          INSURANCE COMPANY, AMERICAN
                                                                                          GENERAL LIFE INSURANCE COMPANY OF
                                                                                          DELA

2. 15        THIRD AMENDMENT TO THE                                                       AIG SUNAMERICA AND LIFE ASSURANCE   WESTERN NATIONAL LIFE INSURANCE
             INSURANCE SERVICE                                                            COMPANY, FIRST SUN AMERICA LIFE     COMPANY
             AGREEMENT                                                                    INSURANCE COMPANY, WESTERN          2271 S E 27TH
                                                                                          NATIONAL LIFE INSURANCE COMPANY,    AMARILLO, TX 79103
                                                                                          AMERICAN GENERAL LFE INSURANCE
                                                                                          COMPANY, THE UNITED STATES LIFE
                                                                                          INSURANCE COMPANY, AMERICAN
                                                                                          GENERAL LIFE INSURANCE COMPANY OF
                                                                                          DELA




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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                                Address



Service and Supply Agreements

2. 16        THIRD AMENDMENT TO THE                                                       AIG SUNAMERICA AND LIFE ASSURANCE   WESTERN NATIONAL LIFE INSURANCE
             INSURANCE SERVICE                                                            COMPANY, FIRST SUN AMERICA LIFE     COMPANY
             AGREEMENT                                                                    INSURANCE COMPANY, WESTERN          2271 S E 27TH
                                                                                          NATIONAL LIFE INSURANCE COMPANY,    AMARILLO, TX 79103
                                                                                          AMERICAN GENERAL LFE INSURANCE
                                                                                          COMPANY, THE UNITED STATES LIFE
                                                                                          INSURANCE COMPANY, AMERICAN
                                                                                          GENERAL LIFE INSURANCE COMPANY OF
                                                                                          DELA

2. 17        AGREEMENT                                                                    AIG SUNAMERICA FINANCIAL            1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 18        AGREEMENT                                                                    AIG SUNAMERICA FINANCIAL            1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 19        AMENDMENT                                                                    AIG SUNAMERICA FINANCIAL            1271 AVENUE OF THE AMERICAS
                                                                                                                              FL 37
                                                                                                                              NEW YORK, NY 10020-1304

2. 20        ADDENDUM                                                                     ALLIANZ LIFE INSURANCE COMPANY OF   P.O. BOX 1344
                                                                                          NORTH AMERICA                       MINNEAPOLIS
                                                                                                                              MN, 55416-1297

2. 21        AGREEMENT                        12/17/2006                                  ALLIANZ LIFE INSURANCE COMPANY OF   1876 WAYCROSS RD
                                                                                          NORTH AMERICA                       CINCINNATI, OH 45240

2. 22        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   1876 WAYCROSS RD
                                                                                          NORTH AMERICA                       CINCINNATI, OH 45240

2. 23        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   2775 SANDERS RD
                                                                                          NORTH AMERICA                       NORTHBROOK, IL 60062

2. 24        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416




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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                                Address



Service and Supply Agreements

2. 25        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       MINNEAPOLIS, MN 55416

2. 26        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   ALLIANZ LIFE INSURANCE COMPANY
                                                                                          NORTH AMERICA                       P.O. BOX 1344
                                                                                                                              MINNEAPOLIS, MN 55416-1297

2. 27        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   ALLIANZ LIFE INSURANCE COMPANY
                                                                                          NORTH AMERICA                       P.O. BOX 1344
                                                                                                                              MINNEAPOLIS, MN 55416-1297

2. 28        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   ALLIANZ LIFE INSURANCE COMPANY
                                                                                          NORTH AMERICA                       P.O. BOX 1344
                                                                                                                              MINNEAPOLIS, MN 55416-1297

2. 29        AGREEMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   ALLIANZ LIFE INSURANCE COMPANY
                                                                                          NORTH AMERICA                       P.O. BOX 1344
                                                                                                                              MINNEAPOLIS, MN 55416-1297

2. 30        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 31        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 32        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 33        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 34        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 35        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416



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Service and Supply Agreements

2. 36        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 37        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 38        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 39        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 40        AMENDMENT                                                                    ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DRIVE
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 41        EXHIBIT -DRAFT                                                               ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 42        LETTER                                                                       ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DR
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 43        LETTER OF INTENT                                                             ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DRIVE
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 44        SCHEDULE                                                                     ALLIANZ LIFE INSURANCE COMPANY OF   5701 GOLDEN HILLS DRIVE
                                                                                          NORTH AMERICA                       GOLDEN VALLEY, MN 55416

2. 45        SOW                                6/2/2017                                  ALLIANZ LIFE INSURANCE COMPANY OF   P.O. BOX 1344
                                                                                          NORTH AMERICA                       MINNEAPOLIS, MN 55416-1297

2. 46        AGREEMENT                                                                    ALLSTATE INSURANCE COMPANY          2775 SANDERS RD
                                                                                                                              STE A1W
                                                                                                                              NORTHBROOK, IL 60062

2. 47        AGREEMENT                                                                    ALLSTATE INSURANCE COMPANY          2775 SANDERS RD
                                                                                                                              STE A1W
                                                                                                                              NORTHBROOK, IL 60062


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2. 48        AGREEMENT                                                                    ALLSTATE INSURANCE COMPANY        2775 SANDERS RD
                                                                                                                            STE A1W
                                                                                                                            NORTHBROOK, IL 60062

2. 49        AMENDMENT                                                                    ALLSTATE INSURANCE COMPANY        2775 SANDERS RD
                                                                                                                            STE A1W
                                                                                                                            NORTHBROOK, IL 60062

2. 50        AMENDMENT                                                                    ALLSTATE INSURANCE COMPANY        2775 SANDERS RD
                                                                                                                            STE A1W
                                                                                                                            NORTHBROOK, IL 60062

2. 51        SCHEDULE                                                                     ALLSTATE INSURANCE COMPANY        2775 SANDERS RD
                                                                                                                            STE A1W
                                                                                                                            NORTHBROOK, IL 60062

2. 52        SCHEDULE                                                                     ALLSTATE INSURANCE COMPANY        2775 SANDERS RD
                                                                                                                            STE A1W
                                                                                                                            NORTHBROOK, IL 60062

2. 53        SCHEDULE                                                                     ALLSTATE INSURANCE COMPANY        2775 SANDERS RD
                                                                                                                            STE A1W
                                                                                                                            NORTHBROOK, IL 60062

2. 54        VERTEX PRODUCT SUITE,                                                        AMERICAN EQUITY INVESTMENT LIFE   6000 WESTOWN PARKWAY
             MASTER LICENSE AGREEMENT                                                     INSURANCE COMPANY                 WEST DES MOINES, IA 50266

2. 55        CHANGE REQUEST                                                               AMERICAN FAMILY                   DIVES@AMFAM.COM

2. 56        SOW                                                                          AMERICAN FAMILY INSURANCE         DIVES@AMFAM.COM


2. 57        SOW                                                                          AMERICAN FAMILY INSURANCE         DIVES@AMFAM.COM


2. 58        SOW                                                                          AMERICAN FAMILY INSURANCE         DIVES@AMFAM.COM


2. 59        SOW                                                                          AMERICAN FAMILY INSURANCE         DIVES@AMFAM.COM



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Service and Supply Agreements

2. 60        SOW                                                                          AMERICAN FAMILY INSURANCE          DIVES@AMFAM.COM


2. 61        AGREEMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY                            MADISON, WI 53783-0001

2. 62        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY                            MADISON, WI 53783-0001

2. 63        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY                            MADISON, WI 53783-0001

2. 64        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY                            MADISON, WI 53783-0001

2. 65        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY                            MADISON, WI 53783-0001

2. 66        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 67        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 68        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 69        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 70        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 71        AMENDMENT                                                                    AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 72        CHANGE REQUEST                                                               AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

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2. 73        PURCHASE ORDER                                                               AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 74        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 75        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 76        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 77        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 78        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 79        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 80        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 81        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 82        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 83        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 84        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001




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Service and Supply Agreements

2. 85        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 86        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 87        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 88        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 89        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 90        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 91        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 92        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 93        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 94        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 95        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 96        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001




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Service and Supply Agreements

2. 97        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 98        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 99        SOW                                                                          AMERICAN FAMILY MUTUAL INSURANCE   6000 AMERICAN PRKWY
                                                                                          COMPANY, S.I.                      MADISON, WI 53783-0001

2. 100       ADDENDUM                                                                     AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 101       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2727-A ALLEN PKWY
                                                                                          COMPANY                            HOUSTON, TX 77019

2. 102       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2727-A ALLEN PRKWY
                                                                                          COMPANY                            3D-01
                                                                                                                             HOUSTON, TX 77019

2. 103       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2727-A ALLEN PRKWY
                                                                                          COMPANY                            3D-01
                                                                                                                             HOUSTON, TX 77019

2. 104       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 105       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 106       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PRKWY
                                                                                          COMPANY                            AT30
                                                                                                                             HOUSTON, TX 77019




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Service and Supply Agreements

2. 107       AGREEMENT                                                                    AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PRKWY
                                                                                          COMPANY                           AT30
                                                                                                                            HOUSTON, TX 77019

2. 108       AMENDMENT                                                                    AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 109       AMENDMENT                                                                    AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 110       AMENDMENT                                                                    AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 111       AMENDMENT                                                                    AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 112       CHANGE ORDER                                                                 AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 113       CHANGE ORDER                                                                 AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 114       CHANGE ORDER                                                                 AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 115       CHANGE ORDER                                                                 AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 116       CHANGE ORDER                     12/31/2011                                  AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

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2. 117       CHANGE ORDER                                                                 AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 118       CHANGE ORDER                     12/31/2011                                  AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 119       EXHIBIT                                                                      AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 120       EXHIBIT                                                                      AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 121       MASTER AGREEMENT                                                             AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019

2. 122       SERVICE AGREEMENT                                                            AMERICAN GENERAL LIFE INSURANCE   2727-A ALLEN PKWY, 5TH FL
                                                                                          COMPANY                           HOUSTON, TX 77019

2. 123       SERVICE AGREEMENT                                                            AMERICAN GENERAL LIFE INSURANCE   2727-A ALLEN PKWY, 5TH FL
                                                                                          COMPANY                           HOUSTON, TX 77019

2. 124       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE   2727-A ALLEN PKWY
                                                                                          COMPANY                           HOUSTON, TX 77019

2. 125       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE   2727-A ALLEN PKWY
                                                                                          COMPANY                           HOUSTON, TX 77019

2. 126       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE   2929 ALLEN PKWY
                                                                                          COMPANY                           35TH FL
                                                                                                                            HOUSTON, TX 77019




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2. 127       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 128       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 129       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL

2. 130       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL

2. 131       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL

2. 132       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 133       SOW                                                                          AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY                            35TH FL
                                                                                                                             HOUSTON, TX 77019

2. 134       STATEMENT OF WORK                                                            AMERICAN GENERAL LIFE INSURANCE    2727-A ALLEN PKWY
                                                                                          COMPANY                            KATHY DIPRATO / JENNIFER COLE
                                                                                                                             HOUSTON, TX 77019

2. 135       STATEMENT OF WORK                                                            AMERICAN GENERAL LIFE INSURANCE    ATTN: CHRISTOPHER STRAZISHAR
                                                                                          COMPANY                            2727 A ALLEN PKWY, 5-G1
                                                                                                                             HOUSTON, TX 77019

2. 136       AMENDMENT                                                                    AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
                                                                                          COMPANY AND THE UNITED STATES LIFE 35TH FL
                                                                                          INSURANCE COMPANY IN THE CITY OF   HOUSTON, TX 77019
                                                                                          NEW YORK



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2. 137       ADDENDUM #4 TO THE                                                           AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
             INSURANCE SERVICES                                                           COMPANY, MERGED WITH AND           35TH FL
             AGREEMENT                                                                    SUCCESSOR TO SUNAMERICA ANNUITY    HOUSTON, TX 77019
                                                                                          AND LIFE ASSURANCE COMPANY F/K/A
                                                                                          AIG SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, WESTERN NATIONAL LIFE
                                                                                          INSURANCE COMPANY F/K/A AIG
                                                                                          ANNUITY INSURANCE COMPANY, AND
                                                                                          THE UNITED ST

2. 138       ADDENDUM #4 TO THE                                                           AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
             INSURANCE SERVICES                                                           COMPANY, MERGED WITH AND           35TH FL
             AGREEMENT                                                                    SUCCESSOR TO SUNAMERICA ANNUITY    HOUSTON, TX 77019
                                                                                          AND LIFE ASSURANCE COMPANY F/K/A
                                                                                          AIG SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, WESTERN NATIONAL LIFE
                                                                                          INSURANCE COMPANY F/K/A AIG
                                                                                          ANNUITY INSURANCE COMPANY, AND
                                                                                          THE UNITED ST

2. 139       FIFTH AMENDMENT TO THE                                                       AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
             INSURANCE SERVICES                                                           COMPANY, MERGED WITH AND           35TH FL
             AGREEMENT                                                                    SUCCESSOR TO SUNAMERICA ANNUITY    HOUSTON, TX 77019
                                                                                          AND LIFE ASSURANCE COMPANY F/K/A
                                                                                          AIG SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, WESTERN NATIONAL LIFE
                                                                                          INSURANCE COMPANY F/K/A AIG
                                                                                          ANNUITY INSURANCE COMPANY, AND
                                                                                          THE UNITED ST

2. 140       FIFTH AMENDMENT TO THE                                                       AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
             INSURANCE SERVICES                                                           COMPANY, MERGED WITH AND           35TH FL
             AGREEMENT                                                                    SUCCESSOR TO SUNAMERICA ANNUITY    HOUSTON, TX 77019
                                                                                          AND LIFE ASSURANCE COMPANY F/K/A
                                                                                          AIG SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, WESTERN NATIONAL LIFE
                                                                                          INSURANCE COMPANY F/K/A AIG
                                                                                          ANNUITY INSURANCE COMPANY, AND
                                                                                          THE UNITED ST




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2. 141       SIXTH AMENDMENT TO THE                                                       AMERICAN GENERAL LIFE INSURANCE    2727-A ALLEN PKWY, 5TH FL
             INSURANCE SERVICES                                                           COMPANY, MERGED WITH AND           HOUSTON, TX 77019
             AGREEMENT                                                                    SUCCESSOR TO SUNAMERICA ANNUITY
                                                                                          AND LIFE ASSURANCE COMPANY F/K/A
                                                                                          AIG SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, WESTERN NATIONAL LIFE
                                                                                          INSURANCE COMPANY F/K/A AIG
                                                                                          ANNUITY INSURANCE COMPANY, AND
                                                                                          THE UNITED ST

2. 142       SIXTH AMENDMENT TO THE                                                       AMERICAN GENERAL LIFE INSURANCE    2929 ALLEN PKWY
             INSURANCE SERVICES                                                           COMPANY, MERGED WITH AND           35TH FL
             AGREEMENT                                                                    SUCCESSOR TO SUNAMERICA ANNUITY    HOUSTON, TX 77019
                                                                                          AND LIFE ASSURANCE COMPANY F/K/A
                                                                                          AIG SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, WESTERN NATIONAL LIFE
                                                                                          INSURANCE COMPANY F/K/A AIG
                                                                                          ANNUITY INSURANCE COMPANY, AND
                                                                                          THE UNITED ST

2. 143       AGREEMENT                                                                    AMERICAN NATIONAL INSURANCE        ONE MOODY PLAZA
                                                                                          COMPANY                            9TH FL
                                                                                                                             GALVESTON, TX 77550

2. 144       AGREEMENT                                                                    AMERICAN NATIONAL INSURANCE        ONE MOODY PLAZA
                                                                                          COMPANY                            9TH FL
                                                                                                                             GALVESTON, TX 77550

2. 145       AGREEMENT                                                                    AMERICAN NATIONAL INSURANCE        ONE MOODY PLAZA
                                                                                          COMPANY                            9TH FL
                                                                                                                             GALVESTON, TX 77550

2. 146       AGREEMENT                                                                    AMERICAN NATIONAL INSURANCE        ONE MOODY PLAZA
                                                                                          COMPANY                            9TH FL
                                                                                                                             GALVESTON, TX 77550

2. 147       AMENDMENT                                                                    AMERICAN NATIONAL INSURANCE        ONE MOODY PLAZA
                                                                                          COMPANY                            9TH FL
                                                                                                                             GALVESTON, TX 77550


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Service and Supply Agreements

2. 148       AMENDMENT                                                                    AMERICAN NATIONAL INSURANCE   ONE MOODY PLAZA
                                                                                          COMPANY                       9TH FL

2. 149       DATAXCHANGE SERVICE                                                          AMERICAN PARA PROFESSIONAL    1 JERICHO PLAZA
             PROVIDER AGREEMENT                                                           SYSTEMS, INC                  JERICHO, NY 11753

2. 150       SERVICE PROVIDER AGREEMENT                                                   AMERICAN PARA PROFESSIONAL    1 JERICHO PLZ
                                                                                          SYSTEMS, INC.                 JERICHO, NY 11753

2. 151       EXHIBIT                          12/31/2023                                  AMERICAN STUDENT DENTAL       211 E CHICAGO AVE, #700,
                                                                                          ASSOCIATION                   CHICAGO, IL 60611

2. 152       MEMBER BENEFIT AGREEMENT         12/31/2023                                  AMERICAN STUDENT DENTAL       211 E CHICAGO AVE, #700,
                                                                                          ASSOCIATION                   CHICAGO, IL 60611

2. 153       AGREEMENT                                                                    AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402

2. 154       AGREEMENT                                                                    AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402

2. 155       AMENDMENT                                                                    AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402

2. 156       AMENDMENT                                                                    AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402

2. 157       AMENDMENT                                                                    AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402

2. 158       SCHEDULE                                                                     AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402

2. 159       SCHEDULE                                                                     AMERIPRISE FINANCIAL, INC.    707 2ND AVE S
                                                                                                                        MINNEAPOLIS, MN 55402




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Service and Supply Agreements

2. 160       SCHEDULE                                                                     AMERIPRISE FINANCIAL, INC.   707 2ND AVE S
                                                                                                                       MINNEAPOLIS, MN 55402

2. 161       SCHEDULE                                                                     AMERIPRISE FINANCIAL, INC.   707 2ND AVE S
                                                                                                                       MINNEAPOLIS, MN 55402

2. 162       SCHEDULE                                                                     AMERIPRISE FINANCIAL, INC.   707 2ND AVE S
                                                                                                                       MINNEAPOLIS, MN 55402

2. 163       SCHEDULE                                                                     AMERIPRISE FINANCIAL, INC.   707 2ND AVE S
                                                                                                                       MINNEAPOLIS, MN 55402

2. 164       SOW                                                                          AMERIPRISE FINANCIAL, INC.   707 2ND AVE S
                                                                                                                       MINNEAPOLIS, MN 55402

2. 165       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     1876 WAYCROSS RD
                                                                                                                       CINCINNATI, OH 45240

2. 166       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     1876 WAYCROSS RD
                                                                                                                       CINCINNATI, OH 45240

2. 167       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     5900 O ST
                                                                                                                       LINCOLN, NE 68510

2. 168       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     5900 O ST
                                                                                                                       LINCOLN, NE 68510

2. 169       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     5900 O ST
                                                                                                                       LINCOLN, NE 68510

2. 170       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     5900 O ST
                                                                                                                       LINCOLN, NE 68510

2. 171       AGREEMENT                                                                    AMERITAS HOLDING COMPANY     5900 O ST
                                                                                                                       LINCOLN, NE 68510




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Service and Supply Agreements

2. 172       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 173       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 174       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 175       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 176       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 177       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 178       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 179       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 180       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 181       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 182       AGREEMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 183       AMENDMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510




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Service and Supply Agreements

2. 184       AMENDMENT                                                                    AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 185       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 186       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 187       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 188       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 189       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 190       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 191       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 192       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 193       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 194       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 195       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510




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Service and Supply Agreements

2. 196       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 197       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 198       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 199       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 200       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 201       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 202       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 203       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 204       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 205       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 206       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 207       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510




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Service and Supply Agreements

2. 208       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 209       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 210       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 211       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 212       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 213       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 214       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 215       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 216       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 217       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 218       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510

2. 219       SOW                                                                          AMERITAS HOLDING COMPANY   5900 O ST
                                                                                                                     LINCOLN, NE 68510




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Service and Supply Agreements

2. 220       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 221       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 222       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 223       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 224       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 225       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 226       SOW                                                                          AMERITAS HOLDING COMPANY            5900 O ST
                                                                                                                              LINCOLN, NE 68510

2. 227       SCHEDULE                                                                     ANNUITYNET                          751 BROAD STREET
                                                                                                                              NEWARK, NJ 7102

2. 228       WORK REQUEST                                                                 ANNUITYNET4, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102

2. 229       WORK REQUEST                                                                 ANNUITYNET4, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102

2. 230       WORK REQUEST                                                                 ANNUITYNET4, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102

2. 231       SOW                                                                          ANNUITYWORKS                        5900 O STREET
                                                                                                                              LINCOLN, NE 68510-2234




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Service and Supply Agreements

2. 232       SERVICE PROVIDER AGREEMENT                                                   APS WORKFLOW, INC                 750 GODDARD AVE
                                                                                                                            CHESTERFIELD, MO 63005

2. 233       DATAXCHANGE SERVICE                                                          APS WORKFLOW, INC.                750 GODDARD AVE
             PROVIDER AGREEMENT                                                                                             CHESTERFIELD, MO 63005

2. 234       AGREEMENT                        12/31/2023                                  ASCENSION GROWTH & INNOCATION     2000 RIVEREDGE PKWY, STE 660
                                                                                          STRATEGIES                        ATLANTA, GA 30328
                                                                                                                            ATLANTA, GA 30328

2. 235       AGREEMENT                                                                    ASCENSION GROWTH & INNOCATION     2000 RIVEREDGE PKWY, STE 660
                                                                                          STRATEGIES                        ATLANTA, GA 30328
                                                                                                                            ATLANTA, GA 30328

2. 236       AGREEMENT                                                                    ASCENSION GROWTH & INNOCATION     2000 RIVEREDGE PKWY, STE 660
                                                                                          STRATEGIES                        ATLANTA, GA 30328
                                                                                                                            ATLANTA, GA 30328

2. 237       AGREEMENT                                                                    ASCENSION GROWTH & INNOCATION     2000 RIVEREDGE PKWY, STE 660
                                                                                          STRATEGIES                        ATLANTA, GA 30328
                                                                                                                            ATLANTA, GA 30328

2. 238       ADDENDUM                                                                     ASSURITY LIFE INSURANCE COMPANY   2000 Q ST
                                                                                                                            LINCOLN, NE 68503

2. 239       ADDENDUM                                                                     ASSURITY LIFE INSURANCE COMPANY   2000 Q ST
                                                                                                                            LINCOLN, NE 68503

2. 240       AGREEMENT                                                                    ASSURITY LIFE INSURANCE COMPANY   2000 Q ST
                                                                                                                            LINCOLN, NE 68503

2. 241       MASTER AGREEMENT                                                             ASSURITY LIFE INSURANCE COMPANY   2000 Q ST
                                                                                                                            LINCOLN, NE 68503

2. 242       ADDENDUM                                                                     ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES , IA 50266



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Service and Supply Agreements

2. 243       ADDENDUM                                                                     ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES , IA 50266

2. 244       AGREEMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   2000 WADE HAMPTON BLVD
                                                                                                                            GREENVILLE, SC 29615

2. 245       AGREEMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   2000 WADE HAMPTON BLVD
                                                                                                                            GREENVILLE, SC 29615

2. 246       AGREEMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA 50266

2. 247       AGREEMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   P.O. BOX 1389
                                                                                                                            GREENVILLE, SC 29602

2. 248       AMENDMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA

2. 249       AMENDMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA 50266

2. 250       AMENDMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA

2. 251       AMENDMENT                                                                    ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA

2. 252       CONTRACT                                                                     ATHENE ANNUITY AND LIFE COMPANY   2000 WADE HAMPTON BLVD
                                                                                                                            P.O. BOX 1389
                                                                                                                            GREENVILLE, SC 29615

2. 253       LETTER                                                                       ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA

2. 254       NDA                                                                          ATHENE ANNUITY AND LIFE COMPANY   7700 MILLS CIVIC PRKWY
                                                                                                                            WEST DES MOINES, IA 50266



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Service and Supply Agreements

2. 255       AMENDMENT                                                                    ATHENE USA CORPORATION              7700 MILLS CIVIC PRKWY
                                                                                                                              WEST DES MOINES, IA

2. 256       LETTER                                                                       ATHENE USA CORPORATION              7700 MILLS CIVIC PRKWY
                                                                                                                              WEST DES MOINES, IA 50266

2. 257       SOW                                4/7/2023                                  AVANTAX WEALTH MANAGEMTN, INC.      3200 OLYMPUS BLVD. SUITE 100
                                                                                                                              DALLAS, TEXAS 75019

2. 258       AGREEMENT                                                                    AVANTAX WEALTH MANAGEMTN, INC., A   ATTN: PAUL SHARKEY, DIR. WM
                                                                                          TEXAS CORPORATION                   PLATFORM AND ANALYTICS
                                                                                                                              3200 OLYMPUS BLVD, STE 100
                                                                                                                              DALLAS, TX 75109

2. 259       SOW                               9/29/2023                                  AVCOM INFOTECH PVT LTD              7/37-B GROUND FLOOR
                                                                                                                              JANGPURA
                                                                                                                              NEW DEHLI
                                                                                                                              SOUTH DELHI, DL 110014
                                                                                                                              INDIA

2. 260       AGREEMENT                                                                    AVIVA LIFE & ANNUITY COMPANY        7700 MILLS CIVIC PRKWY
                                                                                                                              WEST DES MOINES, IA 50266

2. 261       AGREEMENT                                                                    AXA EQUITABLE LIFE INSURANCE        1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                             NEW YORK, NY 10104

2. 262       AMENDMENT                                                                    AXA EQUITABLE LIFE INSURANCE        1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                             NEW YORK, NY 10104

2. 263       AMENDMENT                                                                    AXA EQUITABLE LIFE INSURANCE        1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                             NEW YORK, NY 10104

2. 264       AMENDMENT                                                                    AXA EQUITABLE LIFE INSURANCE        1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                             NEW YORK, NY 10104

2. 265       AMENDMENT                                                                    AXA EQUITABLE LIFE INSURANCE        1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                             NEW YORK, NY 10104


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2. 266       AMENDMENT                                                                    AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 267       AMENDMENT                                                                    AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 268       LICENSE AGREEMENT                                                            AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 269       MASTER AGREEMENT                                                             AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 270       MODIFIED AMENDMENT                                                           AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 271       SOW                                4/7/2023                                  AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 272       SOW                                4/7/2023                                  AXA EQUITABLE LIFE INSURANCE   PO BOX 1047
                                                                                          COMPANY                        CHARLOTTE, NC 28201- 1047

2. 273       STATEMENT OF WORK                                                            AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 274       STATEMENT OF WORK                                                            AXA EQUITABLE LIFE INSURANCE   1290 AVENUE OF THE AMERICAS
                                                                                          COMPANY                        NEW YORK, NY 10104

2. 275       EXHIBIT                                                                      BANK OF AMERICA                1290 AVENUE OF THE AMERICAS
                                                                                                                         NEW YORK, NY 10104

2. 276       EXHIBIT                                                                      BANK OF AMERICA                4800 DEER LAKE DR E
                                                                                                                         JACKSONVILLE, FL 32246

2. 277       APPLICATION SERVICE                                                          BANK OF AMERICA N.A            101 HUDSON STREET
             AGREEMENT                                                                                                   JERSEY CITY, NJ 7302




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2. 278       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   101 HUDSON STREET
             AGREEMENT                                                                                          JERSEY CITY, NJ 7302

2. 279       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   101 HUDSON STREET
             AGREEMENT                                                                                          JERSEY CITY, NJ 7302

2. 280       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   LEGAL DEPARTMENT CONTACT
             AGREEMENT                                                                                          214 NO. TRYON STREET, NC1-027-20-05
                                                                                                                CHARLOTTE, NC 28255

2. 281       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   LEGAL DEPARTMENT CONTACT
             AGREEMENT                                                                                          214 NO. TRYON STREET, NC1-027-20-05
                                                                                                                CHARLOTTE, NC 28255

2. 282       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   LEGAL DEPARTMENT CONTACT
             AGREEMENT                                                                                          214 NO. TRYON STREET, NC1-027-20-05
                                                                                                                CHARLOTTE, NC 28255

2. 283       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   MAIL CODE FL9-805-03-09
             AGREEMENT                                                                                          JACKSONVILLE 1
                                                                                                                4800 DEER LAKE DRIVE E
                                                                                                                JACKSONVILLE, FL 33246-6484

2. 284       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   MAIL CODE FL9-805-03-09
             AGREEMENT                                                                                          JACKSONVILLE 1
                                                                                                                4800 DEER LAKE DRIVE E
                                                                                                                JACKSONVILLE, FL 33246-6484

2. 285       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   MAIL CODE FL9-805-03-09
             AGREEMENT                                                                                          JACKSONVILLE 1
                                                                                                                4800 DEER LAKE DRIVE E
                                                                                                                JACKSONVILLE, FL 33246-6484

2. 286       APPLICATION SERVICE                                                          BANK OF AMERICA N.A   MAIL CODE FL9-805-03-12
             AGREEMENT                                                                                          JACKSONVILLE 1
                                                                                                                4800 DEER LAKE DRIVE E
                                                                                                                JACKSONVILLE, FL 33246-6484




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Service and Supply Agreements

2. 287       APPLICATION SERVICE                                                          BANK OF AMERICA N.A               MAIL CODE FL9-805-03-12
             AGREEMENT                                                                                                      JACKSONVILLE 1
                                                                                                                            4800 DEER LAKE DRIVE E
                                                                                                                            JACKSONVILLE, FL 33246-6484

2. 288       APPLICATION SERVICE                                                          BANK OF AMERICA N.A               MAIL CODE FL9-805-03-12
             AGREEMENT                                                                                                      JACKSONVILLE 1
                                                                                                                            4800 DEER LAKE DRIVE E
                                                                                                                            JACKSONVILLE, FL 33246-6484

2. 289       ORDER SCHEDULE CW 937083                                                     BANK OF AMERICA N.A               4800 DEER LAKE DR E
                                                                                                                            JACKSONVILLE, FL 32246

2. 290       PRODUCT LICENSE SCHEDULE                                                     BANK OF AMERICA, N.A              4800 DEER LAKE DR E
                                                                                                                            JACKSONVILLE, FL 32246

2. 291       PRODUCT LICENSE SCHEDULE                                                     BANK OF AMERICA, N.A              4800 DEER LAKE DR E
                                                                                                                            JACKSONVILLE, FL 32246

2. 292       AMENDMENT                                                                    BANK OF AMERICA, N.A.             4800 DEER LAKE DR E
                                                                                                                            JACKSONVILLE, FL 32246

2. 293       APPLICATION                                                                  BANK OF AMERICA, N.A.             MAIL CODE FL9-805-03-12
                                                                                                                            JACKSONVILLE I
                                                                                                                            4800 DEER LAKE DRIVE I
                                                                                                                            JACKSONVILLE, FL 32246

2. 294       ORDER SCHEDULE                                                               BANK OF AMERICA, N.A.             4800 DEER LAKE DR E
                                                                                                                            JACKSONVILLE, FL 32246

2. 295       SOW                                4/7/2023                                  BANK OF AMERICA, N.A.             BANK OF AMERICA CORPORATE
                                                                                                                            CENTER
                                                                                                                            100 NORTH TRYON STREET
                                                                                                                            CHARLOTTE, NC 28255

2. 296       AMENDMENT 2                                                                  BANK OF AMERICA. N.A("BANK OF     4800 DEER LAKE DR E
                                                                                          AMERICA" OR CUSTOMER)". MERRILL   JACKSONVILLE, FL 32246
                                                                                          LYNCH, PIERCE, FENNER &SMITH,


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2. 297       AMENDMENT                                                                    BANK OF MONTREAL        1 FIRST CANADIAN PL
                                                                                                                  100 KING ST W
                                                                                                                  28TH FL
                                                                                                                  TORONTO, ON M5X1A1
                                                                                                                  CANADA

2. 298       SOW                                                                          BANK OF MONTREAL        1 FIRST CANADIAN PL
                                                                                                                  100 KING ST W
                                                                                                                  28TH FL
                                                                                                                  TORONTO, ON M5X1A1
                                                                                                                  CANADA

2. 299       SOW                                                                          BANK OF MONTREAL        1 FIRST CANADIAN PL
                                                                                                                  100 KING ST W
                                                                                                                  28TH FL
                                                                                                                  TORONTO, ON M5X1A1
                                                                                                                  CANADA

2. 300       TERM RENEWAL NOTICE                                                          BANK OF MONTREAL        1 FIRST CANADIAN PL
                                                                                                                  100 KING ST W
                                                                                                                  28TH FL
                                                                                                                  TORONTO, ON M5X1A1
                                                                                                                  CANADA

2. 301       SCHEDULE                                                                     BCN SOLUTIONS EXPRESS   550 HILLS DRIVE
                                                                                                                  BEDMINSTER, NJ 07921

2. 302       SCHEDULE                                                                     BCN SOLUTIONS EXPRESS   550 HILLS DRIVE
                                                                                                                  BEDMINSTER, NJ 07921

2. 303       SERVICE PROPOSAL - SCHEDULE                                                  BCN SOLUTIONS EXPRESS   EBIX - SUNGARD VOIP PRI
             A                                                                                                    11650 GREAT OAKS WAY
                                                                                                                  ALPHARETTA, GA 30022

2. 304       MASTER DIGITAL SERVICES                                                      BCN TELECOM             BCN TELECOM
             AGREEMENT                                                                                            550 HILLS DRIVE
                                                                                                                  BEDMINSTER, NJ 7921




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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                       Address



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2. 305       MASTER SERVICE AGREEMENT                                                     BCN TELECOM                 550 HILLS DRIVE
                                                                                                                      BEDMINSTER, NJ 7921

2. 306       SERVICE AGREEMENT                                                            BCN TELECOM                 550 HILLS DRIVE
                                                                                                                      BEDMINSTER, NJ 07921

2. 307       AMENDMENT TO PAYPAL                                                          BIG COMMERCE PTY. LTD.,     L 5 124-130 PITT ST
             AGREEMENT(                                                                                               SYDNEY, NEW SOUTH WALES 2000
                                                                                                                      AUSTRALIA

2. 308       MASTER ENTERPRISE                                                            BIGCOMMERCE                 11305 FOUR POINTS DRIVE BLVD, II,
             AGREEMENT                                                                                                THIRD FLOOR
                                                                                                                      AUSTIN, TX 78726

2. 309       AGREEMENT                                                                    BREATHE LIFE INC            50 RUE QUEEN
                                                                                                                      STE 104
                                                                                                                      MONTREAL, QC H#C 2N5
                                                                                                                      CANADA

2. 310       AGREEMENT                                                                    BREATHE LIFE INC            50 RUE QUEEN, STE 104
                                                                                                                      MONTREAL, QC H3C 2N5
                                                                                                                      CANADA

2. 311       ADDENDUM                                                                     BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 312       ADDENDUM                                                                     BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277




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Service and Supply Agreements

2. 313       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 314       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 315       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 316       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 317       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 318       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277




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2. 319       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 320       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 321       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 322       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 323       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 324       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277




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Service and Supply Agreements

2. 325       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 326       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 327       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 328       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 329       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 330       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277




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2. 331       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 332       AGREEMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 333       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 334       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 335       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 336       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277




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2. 337       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 338       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 339       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 340       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 341       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 342       AMENDMENT                                                                    BRIGHTHOUSE SERVICES, LLC   BRIGHTHOUSE SERVICES, LLC
                                                                                                                      C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                      GRAGG BUILDING 11225 N COMMUNITY
                                                                                                                      HOUSE RD
                                                                                                                      CHARLOTTE, NC 28277

2. 343       LEASE AGREEMENT                  11/30/2024        2NS01022,                 CANON WIDE FORMAT           2700 CORPORATE DRIVE
                                                                SNS01070                                              SUITE 100
                                                                                                                      BIRMINGHAM, AL 35242


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Service and Supply Agreements

2. 344       SERVICES AGREEMENT




2. 345       SERVICE ORDER                    11/17/2017                                  CENTURYLINK                       BUSINESS SVCS
                                                                                                                            P.O. BOX 52187
                                                                                                                            PHOENIX, AZ 85072

2. 346       ORDER                                                                        CENTURYLINK TECHNOLOGY SOLUTIONS ATTN: LEGAL - BANKRUPTCY
                                                                                                                           1025 EL DORADO BLVD

2. 347       ORDER                                                                        CENTURYLINK TECHNOLOGY SOLUTIONS P.O. BOX 29040
                                                                                                                           PHOENIX, AZ 85038

2. 348       ORDER                                                                        CENTURYLINK TECHNOLOGY SOLUTIONS P.O. BOX 4786
                                                                                                                           MONROE, LA 71211-4786

2. 349       SERVICE ORDER                                                                CENTURYLINK TECHNOLOGY SOLUTIONS ATTN: BANKRUPTCY
                                                                                                                           220 N 5TH ST
                                                                                                                           BISMARK, ND 58501

2. 350       SERVICE ORDER                                                                CENTURYLINK TECHNOLOGY SOLUTIONS P.O. BOX 52187
                                                                                                                           PHOENIX, AZ 85072

2. 351       ADDENDUM                                                                     CETERA FINANCIAL GROUP            200 N PACIFIC COAST HWY
                                                                                                                            STE 1200
                                                                                                                            EL SEGUNDO, CA 90245

2. 352       ADDENDUM                                                                     CETERA FINANCIAL GROUP            200 N PACIFIC COAST HWY
                                                                                                                            STE 1200
                                                                                                                            EL SEGUNDO, CA 90245

2. 353       AGREEMENT                                                                    CETERA FINANCIAL GROUP            200 N PACIFIC COAST HWY
                                                                                                                            STE 1200
                                                                                                                            EL SEGUNDO, CA 90245




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2. 354       AGREEMENT                                                                    CETERA FINANCIAL GROUP   200 N PACIFIC COAST HWY
                                                                                                                   STE 1200
                                                                                                                   EL SEGUNDO, CA 90245

2. 355       AMENDMENT                                                                    CETERA FINANCIAL GROUP   200 N PACIFIC COAST HWY
                                                                                                                   STE 1200
                                                                                                                   EL SEGUNDO, CA 90245

2. 356       AMENDMENT                                                                    CETERA FINANCIAL GROUP   200 N PACIFIC COAST HWY
                                                                                                                   STE 1200
                                                                                                                   EL SEGUNDO, CA 90245

2. 357       AMENDMENT                                                                    CETERA FINANCIAL GROUP   200 N PACIFIC COAST HWY
                                                                                                                   STE 1200
                                                                                                                   EL SEGUNDO, CA 90245

2. 358       AMENDMENT                                                                    CETERA FINANCIAL GROUP   200 N PACIFIC COAST HWY
                                                                                                                   STE 1200
                                                                                                                   EL SEGUNDO, CA 90245

2. 359       EXHIBIT                                                                      CHARLES SCHWAB           ATTN: SHEE-YEE WU
                                                                                                                   215 FREMONT ST
                                                                                                                   SF215FMT-05-265
                                                                                                                   SAN FRANCISCO, CA 94105

2. 360       EXHIBIT                                                                      CHARLES SCHWAB           C/O GL ACCT: 6310001 NEWS & QUOTE
                                                                                                                   C/O INCOME SOLUTIONS PM - 965
                                                                                                                   P.O. BOX 636009
                                                                                                                   LITTLETON, CO 80153

2. 361       EXHIBIT                                                                      CHARLES SCHWAB           SOUTHWEST AIRLINES PILOTS RET
                                                                                                                   FBO MONTE WAYNE YOUNG
                                                                                                                   3100 75TH ST, APT 17
                                                                                                                   GALVESTON, TX 77551

2. 362       PARTICIPATION AGREEMENT                                                      CHARLES SCHWAB           SOUTHWEST AIRLINES PILOTS RET
                                                                                                                   FBO STEPHEN D DREW CHAMBERLAIN
                                                                                                                   7325 SHOREHAM PL
                                                                                                                   CASTLE ROCK, CO 80108

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2. 363       PARTICIPATION AGREEMENT                                                      CHARLES SCHWAB & CO., INC.   70 HUDSON ST.
                                                                                                                       JERSEY CITY, NJ 7311

2. 364       SERVICE PROVIDER                                                             CHARLES SCHWAB & CO., INC.   70 HUDSON ST.
                                                                                                                       JERSEY CITY, NJ 7311

2. 365       STATEMENT OF WORK                                                            CIBC WOOD GUNDY FINANCIAL    161 BAY STREET, 9TH FLOOR
                                                                                          SERVICES INC                 TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 366       SOW                                                                          CIBC WOOD GUNDY FINANCIAL    161 BAY STREET, 9TH FLOOR
                                                                                          SERVICES INC.                TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 367       LICENSE AGREEMENT                                                            CIBC WORLD MARKETS INC       161 BAY STREET, 9TH FLOOR
                                                                                                                       TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 368       STATEMENT OF WORK                                                            CIBC WORLD MARKETS INC       161 BAY STREET, 9TH FLOOR
                                                                                                                       TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 369       STATEMENT OF WORK                                                            CIBC WORLD MARKETS INC       161 BAY STREET, 9TH FLOOR
                                                                                                                       TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 370       AGREEMENT                                                                    CIBC WORLD MARKETS, INC.     161 BAY STREET, 9TH FLOOR
                                                                                                                       TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 371       SOW                                                                          CIBC WORLD MARKETS, INC.     161 BAY STREET, 9TH FLOOR
                                                                                                                       TORONTO, ONTARIO M5J 2S8
                                                                                                                       CANADA

2. 372       TERMS AND CONDITIONS                                                         CISCO                        P.O. BOX 41602
                                                                                                                       PHILADELPHIA, PA 19101-1602




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Service and Supply Agreements

2. 373       AMENDMENT                                                                    CMFG LIFE INSURANCE COMPANY        5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 374       AMENDMENT                                                                    CMFG LIFE INSURANCE COMPANY        5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 375       AMENDMENT                                                                    CMFG LIFE INSURANCE COMPANY        5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 376       MASTER AGREEMENT                                                             CMFG LIFE INSURANCE COMPANY        5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 377       AGREEMENT                                                                    COALITION TECHNOLOGIES             445 S FIGUEROA ST
                                                                                                                             STE 3100
                                                                                                                             LOS ANGELES, CA 90071

2. 378       FLEX ACCOUNT AGREEMENT                                                       COALITION TECHNOLOGIES             445 S FIGUEROA ST. SUITE 3100
                                                                                                                             LOS ANGELES, CA 90071

2. 379       AMENDMENT                                                                    COLUMBUS LIFE INSURANCE COMPANY    400 BROADWAY STREET
                                                                                                                             CINCINNATI, OH 45202

2. 380       MASTER AGREEMENT                                                             COLUMBUS LIFE INSURANCE COMPANY    400 BROADWAY STREET
                                                                                                                             CINCINNATI, OH 45202

2. 381       MASTER AGREEMENT                                                             COLUMBUS LIFE INSURANCE COMPANY,   400 BROADWAY
                                                                                                                             CINCINNATI, OHIO 45202

2. 382       SCHEDULE A OF MASTER                                                         COLUMBUS LIFE INSURANCE COMPANY,   400 BROADWAY
             AGREEMENT                                                                                                       CINCINNATI, OHIO 45202

2. 383       AMENDMENT                                                                    COMMONWEALTH ANNUITY AND LIFE      20 GUEST STREET
                                                                                          INSURANCE COMPANY                  BRIGHTON, MA 2135

2. 384       SERVICE AGREEMENT                                                            CONCORD FAX                        101 STEWART STREET
                                                                                                                             STE 1000
                                                                                                                             SEATTLE, WA 98101


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Service and Supply Agreements

2. 385       SERVICE AGRREEMENT                                                           CONCORD III, LLC              101 STEWART STREET, #1000
                                                                                                                        SEATTLE, WA 98101

2. 386       STATEMENT OF WORK                                                            CONCOURSE FINANCIAL GROUP     2801 HWY 280
                                                                                                                        BIRMINGHAM, AL 35202

2. 387       LICENSE AND AGREEMENT                                                        CONNECTICUT GENERAL LIFE      900 COTTAGE GROVE RD
                                                                                          INSURANCE COMPANY             HARTFORD, CT 06152-7026

2. 388       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 389       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 390       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 391       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 392       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 393       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 394       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA




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Service and Supply Agreements

2. 395       AGREEMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 396       AMENDMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 397       AMENDMENT                                                                    CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 398       CHANGE REQUEST                                                               CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 399       CHANGE REQUEST                                                               CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 400       CHANGE REQUEST                                                               CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 401       CHANGE REQUEST                                                               CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 402       CHANGE REQUEST                                                               CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 403       CHANGE REQUEST                                                               CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 404       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

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2. 405       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 406       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 407       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 408       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 409       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 410       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 411       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 412       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 413       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 414       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

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Service and Supply Agreements

2. 415       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 416       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 417       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 418       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 419       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 420       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 421       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 422       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 423       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 424       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

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Service and Supply Agreements

2. 425       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 426       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 427       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 428       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 429       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 430       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 431       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 432       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 433       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

2. 434       SOW                                                                          CO-OPERATORS LIFE INSURANCE   1920 COLLEGE AVE
                                                                                          COMPANY                       REGINA, SK S4P 1C4
                                                                                                                        CANADA

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Service and Supply Agreements

2. 435       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 436       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 437       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 438       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 439       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 440       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 441       SOW                                                                          CO-OPERATORS LIFE INSURANCE        1920 COLLEGE AVE
                                                                                          COMPANY                            REGINA, SK S4P 1C4
                                                                                                                             CANADA

2. 442       ADDENDUM                                                                     COVR FINANCIAL TECHNOLOGIES INC    401 W FRONT S, STE 500
                                                                                                                             BOSIE, ID 83702

2. 443       AGREEMENT                                                                    COVR FINANCIAL TECHNOLOGIES INC    401 W FRONT S, STE 500
                                                                                                                             BOSIE, ID 83702

2. 444       ADDENDUM                                                                     COVR FINANCIAL TECHNOLOGIES, INC   401 W FRONT S, STE 500
                                                                                                                             BOSIE, ID 83702




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Service and Supply Agreements

2. 445       MASTER AGREEMENT                                                             COVR FINANCIAL TECHNOLOGIES, INC   401 W FRONT STREET
                                                                                                                             STE 500
                                                                                                                             BOISE, ID 83702

2. 446       PURCHASE ORDER                                                               CRAFTSMAN PRINTNG INC              ATTN: MARK CAMPBELL
                                                                                                                             120 CITATION CT
                                                                                                                             BIRMINGHAM, AL 35209
                                                                                                                             BIRMINGHAM, AL 35209

2. 447       MASTER AGREEMENT                                                             CUNA MUTUAL INSURANCE SOCIETY      5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 448       MASTER AGREEMENT                                                             CUNA MUTUAL INSURANCE SOCIETY      5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 449       PROFESSIONAL SERVICES                                                        CUNA MUTUAL INSURANCE SOCIETY      5910 MINERAL POINT ROAD
             AGREEMENT                                                                                                       MADISON, WI 53705

2. 450       SOFTWARE LICENSE AGREEMENT                                                   CUNA MUTUAL INSURANCE SOCIETY      5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 451       SOFTWARE LICENSE AGREEMENT                                                   CUNA MUTUAL INSURANCE SOCIETY      5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 452       SUBJECT AGREEMENT                                                            CUNA MUTUAL INSURANCE SOCIETY      5910 MINERAL POINT ROAD
                                                                                                                             MADISON, WI 53705

2. 453       STATEMENT OF WORK                                                            CUSTOM RELATIONSHIP MANAGEMENT     BRIGHTHOUSE SERVICES, LLC
                                                                                          SYSTEMS                            C/O BRIGHTHOUSE FINANCIAL, INC.
                                                                                                                             GRAGG BUILDING
                                                                                                                             CHARLOTTE, NC 28277

2. 454       LEASE AGREEMENT                   7/31/2026         39073136                 CVFI - S LAKE AVENUE, LP           PO BOX 847341
                                                                                                                             LOS ANGELES, CA 90084-7341

2. 455       MASTER AGREEMENT                                                             DATA GLOVE INC                     125 VILLAGE BLVD
                                                                                                                             STE 2720
                                                                                                                             PRINCETON, NJ 8540

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Service and Supply Agreements

2. 456       SERVICE AGREEMENT                                                            DATASYSTEM SOLUTIONS                8001 CONSER
                                                                                                                              STE 140
                                                                                                                              OVERLAND PARK, KS 66204

2. 457       SIGNATURE PAGE                                                               DATASYSTEM SOLUTIONS                8001 CONSER
                                                                                                                              STE 140
                                                                                                                              OVERLAND PARK, KS 66204

2. 458       ENGAGEMENT LETTER                                                            DELOITTE                            52
                                                                                                                              VENKATNARAYANA ROAD
                                                                                                                              CHENNAI
                                                                                                                              TAMIL NADU 600 017
                                                                                                                              INDIA

2. 459       ENGAGEMENT LETTER                                                            DELOITTE                            52
                                                                                                                              VENKATNARAYANA ROAD
                                                                                                                              CHENNAI
                                                                                                                              TAMIL NADU 600 017
                                                                                                                              INDIA

2. 460       ENGAGEMENT LETTER                                                            DELOITTE HASKINS & SELLS LLP        TOHMATSU INDIA LLP
                                                                                                                              ASV N RAMANA TOWER
                                                                                                                              52 VENKATNARAYANA ROAD T NAGAR
                                                                                                                              TAMIL NADU, CHENNAI 600-017
                                                                                                                              INDIA

2. 461       AMENDMENT                                                                    DELOITTE TOUCHE                     TOHMATSU INDIA LLP
                                                                                                                              ASV N RAMANA TOWER
                                                                                                                              52 VENKATNARAYANA ROAD T NAGAR
                                                                                                                              TAMIL NADU, CHENNAI 600-017
                                                                                                                              INDIA

2. 462       SIGNED AGREEMENT                  3/15/2024                                  DEPARTMENT OF MEDICINE AT BRIGHAM   1620 TREMONT STREET
                                                                                          & WOMEN’S HOSPITAL                  BOSTON, MA 02120

2. 463       SIGNED AGREEMENT                                                             DEPARTMENT OF MEDICINE AT BRIGHAM   801 MASSACHUSETTS AVENUE
                                                                                          & WOMEN’S HOSPITAL                  RM 5010 5TH FLOOR
                                                                                                                              BOSTON, MA 02118



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2. 464       CONFIDENTIALITY UNDERTAKING                                                  DESJARDINS FINANCIAL SECURITY LIFE   200 AVENUE DES COMMANDEURS
                                                                                          ASSURANCE COMPANY                    LEVIS, QUEBEC G6V 6R2
                                                                                                                               CANADA

2. 465       CONFIDENTIALITY UNDERTAKING                                                  DESJARDINS FINANCIAL SECURITY LIFE   200 AVENUE DES COMMANDEURS
                                                                                          ASSURANCE COMPANY                    LEVIS, QUEBEC G6V 6R2
                                                                                                                               CANADA

2. 466       CONFIDENTIALITY UNDERTAKING                                                  DESJARDINS FINANCIAL SECURITY LIFE   200 AVENUE DES COMMANDEURS
                                                                                          ASSURANCE COMPANY                    LEVIS, QUEBEC G6V 6R2
                                                                                                                               CANADA

2. 467       ADDENDUM                                                                     DIGICERT                             2801 N THANKSGIVING WAY
                                                                                                                               STE 500
                                                                                                                               LEHI , UT 84043

2. 468       NON- ADDENDUM                                                                DIGICERT, INC. AK UTAH , U.S.        2801 N THANKSGIVING WAY, STE 500
                                                                                          CORPORATION                          LEHI, UT 84043

2. 469       AGREEMENT                                                                    DISNEY STREAMING SERVICES LLC        DISNERY STREAMING SERVICES LLC
                                                                                                                               500 S BUENA VISTA ST
                                                                                                                               BURBANK, CA 91521

2. 470       AGREEMENT                                                                    DISNEY STREAMING SERVICES LLC        THE WALT DISNEY COMPANY
                                                                                                                               500 S BUENA VISTA ST
                                                                                                                               BURBANK, CA 91521

2. 471       AGREEMENT                                                                    DOCUPACE TECHNOLOGIES, LLC           11766 WILSHIRE BOULEVARD, SUITE
                                                                                                                               1120
                                                                                                                               LOS ANGELES, CA 90025

2. 472       AMENDMENT                                                                    DOCUPACE TECHNOLOGIES, LLC           11766 WILSHIRE BOULEVARD, SUITE
                                                                                                                               1120
                                                                                                                               LOS ANGELES, CA 90025

2. 473       ISV LICENSE - RENEWAL                                                        DOCUSIGN                             221 MAIN ST, SUITE 1000
                                                                                                                               SAN FRANCISCO, CA 94105



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2. 474       ORDER FORM AND TERMS AND                                                     DOCUSIGN, INC.                       221 MAIN ST, STE 1000
             CONDITIONS AGREEMENT                                                                                              SAN FRANCISCO, CA 94105

2. 475       AUTHORIZATION FORM                                                           DTCC                                 570 WASHINGTON BLVD
                                                                                                                               JERSEY CITY, NJ 7310

2. 476       LICENSE AGREEMENT                                                            DXC.TECHNOLOGY                       P.O. BOX 740868
                                                                                                                               ATLANTA, GA 30374-0868

2. 477       SOFTWARE DEVELOPMENT             12/31/2024                                  EBIX ASIA PACIFIC FZ-LLC             1208 12TH FLOOR
             SERVICES AGREEMENT                                                                                                AL SUFOUH COMPLEX
                                                                                                                               DUBAI
                                                                                                                               UKRAINE

2. 478       LIMITED SALES AND                 7/16/2016                                  EBIX ASIA PACIFIC FZ-LLC.            1208 12TH FLOOR
             DISTRIBUTION AGREEMENT                                                                                            AL SUFOUH COMPLEX
                                                                                                                               DUBAI
                                                                                                                               UKRAINE

2. 479       SALES AND DISTRIBUTION                                                       EBIX ASIA PACIFIC FZ-LLC., A DUBAI   1208 12TH FLOOR
             AGREEMENT                                                                    CORPORATION                          AL SUFOUH COMPLEX
                                                                                                                               DUBAI

2. 480       LIMITED RISK SALES AND            7/16/2016                                  EBIX SINGAPOREPTE. LTD.              6 SHENTON WAY #20-10A
             DISTRIBUTION AGREEMENT                                                                                            OUE
                                                                                                                               DOWNTOWN 2
                                                                                                                               SINGAPORE 68809
                                                                                                                               SINGAPORE

2. 481       EQUIPMENT AGREEMENT                                                          EDGE BUSINESS SYSTEMS                1350 NORTHMEADOW PKWY, STE 130
                                                                                                                               ROSWELL, GA 30076

2. 482       EQUIPMENT AGREEMENT                                                          EDGE BUSINESS SYSTEMS                1350 NORTHMEADOW PKWY, STE 130
                                                                                                                               ROSWELL, GA 30076

2. 483       PARTNERSHIP AGREEMENT                                                        EDISABILITY, LLC                     9444 WAPLES STREET, SUITE 290
                                                                                                                               SAN DIEGO, CA 92121



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2. 484       PARTNER AGREEMENT                                                            EDISABILITY, LLC DBA ASSURANCE      ATTN: BILL UNRUE, CEO
                                                                                                                              9444 WAPLES ST, STE 290
                                                                                                                              SAN DIEGO, CA 92121

2. 485       DRAFT SOW, NON-EXECUTED                                                      EDISABILITY, LLC DBA ENSIGHT INC.   ATTN: BILL UNRUE, CEO
                                                                                                                              9444 WAPLES ST, STE 290
                                                                                                                              SAN DIEGO, CA 92121

2. 486       AMENDMENT                                                                    EDWARD D. JONES AND CO, L.P.        ATTN: CHERYL PERLMUTTER
                                                                                                                              8640 S RIVER PKWY
                                                                                                                              TEMPE, AZ 5284

2. 487       AMENDMENT                                                                    EDWARD D. JONES AND CO, L.P.        ATTN: MARK HOLTHAUS
                                                                                                                              8640 S RIVER PKWY
                                                                                                                              TEMPE, AZ 5284

2. 488       AMENDMENT                                                                    EDWARD D. JONES AND CO, L.P.        FBO CRYSTAL DAWN WALTERS RTH
                                                                                                                              4062 35TH ST
                                                                                                                              DORR, MI 49323-9526

2. 489       AMENDMENT                                                                    EDWARD D. JONES AND CO, L.P.        FBO CRYSTAL DAWN WALTERS RTH
                                                                                                                              4062 35TH ST
                                                                                                                              DORR, MI 49323-9526

2. 490       AMENDMENT                                                                    EDWARD D. JONES AND CO, L.P.        FBO JENNIFER WININGER IRA
                                                                                                                              1674 GRAEFENBURG RD
                                                                                                                              LAWRENCEBURG, KY 40342-9607

2. 491       SERVICES AGREEMENT                                                           EDWARD D. JONES AND CO, L.P.        FBO JOSHUA JOHN REDMOND IRA
                                                                                                                              19164 MUD LAKE RD 63131

2. 492       SERVICES AGREEMENT                                                           EDWARD D. JONES AND CO, L.P.        FBO MARK FREDERICK COOK RTH
                                                                                                                              P.O. BOX 250 63131

2. 493       SUBJECT AGREEMENT                                                            EDWARD D. JONES AND CO, L.P.        2248 COMMUNICATIONS LLC
                                                                                                                              FBO MICHAEL W BREAUX PS
                                                                                                                              22335 FULMER AVE
                                                                                                                              CLARKSBURG, MD 20871


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2. 494       SUBJECT AGREEMENT                12/31/2023                                  EDWARD D. JONES AND CO, L.P.        2248 COMMUNICATIONS LLC
                                                                                                                              FBO MICHAEL W BREAUX PS
                                                                                                                              22335 FULMER AVE
                                                                                                                              CLARKSBURG, MD 20871

2. 495       SUBJECT AGREEMENT                                                            EDWARD D. JONES AND CO, L.P.        ATTN: CHERYL PERLMUTTER
                                                                                                                              8640 S RIVER PKWY
                                                                                                                              TEMPE, AZ 5284

2. 496       SUBJECT AGREEMENT                                                            EDWARD D. JONES AND CO, L.P.        ATTN: MARK HOLTHAUS
                                                                                                                              8620 S RIVER PKWY
                                                                                                                              TEMPE, AZ 5284

2. 497       AMENDMENT                                                                    EDWARD D. JONES AND COMPANY, L.P.   FBO MILIND G RAJGURU RTH
                                                                                                                              3271 WEST GOLDEN LN
                                                                                                                              CHANDLER, AZ 85226-1411

2. 498       CONFIDENTIALITY AGREEMENT                                                    EDWARD D. JONES AND COMPANY, L.P.   FBO RUSSELL A HANAN IRA
                                                                                                                              1312 BERKLEY RD
                                                                                                                              NORMAL, IL 61761-9550

2. 499       ADDENDUM                                                                     EMPLOYEE POOLING                    ATTN: TOM GRAY
                                                                                                                              2000 GLENN ECHO RD, STE 111
                                                                                                                              NASHVILLE, TN 37205

2. 500       AGREEMENT                                                                    EMPLOYEE POOLING                    ATTN: TOM GRAY
                                                                                                                              2000 GLENN ECHO RD, STE 111
                                                                                                                              NASHVILLE, TN 37205

2. 501       ADDENDUM                                                                     EMPLOYEE POOLING, INC               ATTN: TOM GRAY
                                                                                                                              2000 GLENN ECHO RD, STE 111
                                                                                                                              NASHVILLE, TN 37205

2. 502       AGREEMENT                                                                    EMPLOYEE POOLING, INC               ATTN: TOM GRAY
                                                                                                                              2000 GLENN ECHO RD, STE 111
                                                                                                                              NASHVILLE, TN 37205




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2. 503       PARTNERSHIP AGREEMENT                                                        EMPLOYEE POOLING, INC                ATTN: TOM GRAY
                                                                                                                               2000 GLENN ECHO RD, STE 111
                                                                                                                               NASHVILLE, TN 37205

2. 504       ADDENDUM                                                                     EVERLY LIFE INSURANCE COMPANY        1 SW SECURITY BENEFIT PLACE
                                                                                                                               TOPEKA, KS 66636

2. 505       ADDENDUM                                                                     EVERLY LIFE INSURANCE COMPANY        1 SW SECURITY BENEFIT PLACE
                                                                                                                               TOPEKA, KS 66636

2. 506       ADDENDUM                                                                     EVERLY LIFE INSURANCE COMPANY        1 SW SECURITY BENEFIT PLACE
                                                                                                                               TOPEKA, KS 66636

2. 507       ADDENDUM                                                                     EVERLY LIFE INSURANCE COMPANY        1 SW SECURITY BENEFIT PLACE
                                                                                                                               TOPEKA, KS 66636

2. 508       AMENDMENT                                                                    EVERLY LIFE INSURANCE COMPANY        1 SW SECURITY BENEFIT PLACE
                                                                                                                               TOPEKA, KS 66636

2. 509       MASTER AGREEMENT                                                             EVERLY LIFE INSURANCE COMPANY        1 SW SECURITY BENEFIT PLACE
                                                                                                                               TOPEKA, KS 66636

2. 510       DATAXCHANGE SERVICE                                                          EXAMINATION MANAGEMENT SERVICES,     3050 REGENT BLVD., SUITE 400
             PROVIDER AGREEMENT                                                           INC.                                 IRVING, TX 75063

2. 511       SERVICE PROVIDER AGREEMENT                                                   EXAMINATION MANAGEMENT SERVICES,     3050 REGENT BLVD, STE 400
                                                                                          INC.                                 IRVING, TX 75063

2. 512       SERVICE PROVIDER AGREEMENT                                                   EXPRESS IMAGING                      1805 W 208TH ST
                                                                                                                               TORRANCE, CA 90501

2. 513       DATAXCHANGE SERVICE                                                          EXPRESS IMAGING SERVICES             1805 208TH ST, STE 201
             PROVIDER AGREEMENT                                                                                                TORRANCE , CA 90501

2. 514       SOW                                                                          FIDELITY INVESTMENTS LIFE INSURANCE 900 SALEM STREET
                                                                                          CO.                                 SMITHFIELD, RI 2917



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2. 515       INSURANCE SERVICES               12/31/2022                                  FIDELITY INVESTMENTS LIFE INSURANCE FIDELITY INVESTMENTS LIFE
             AGREEMENT                                                                    COMPANY                             INSURANCE SERVICE CENTER
                                                                                                                              PO BOX 770001
                                                                                                                              CINCINNATI, OH 45277-0050

2. 516       SOW                                                                          FINANCIAL COMPUTER SERVICES          21 SHERWOOD LANE
                                                                                                                               FAIRFEILD , NJ 7004

2. 517       NON-AGREEMENT                                                                FINANCIAL COMPUTER SERVICES, AN IT   21 SHERWOOD LN
                                                                                          MANAGED SERVICES PROVIDER            FAIRFIELD, NJ 07004

2. 518       NON-AGREEMENT                                                                FINANCIAL COMPUTER SERVICES, AN IT   ATTN: ERIC EDELMAN, PRESIDENT
                                                                                          MANAGED SERVICES PROVIDER            21 SHERWOOD LN
                                                                                                                               FAIRFIELD, NJ 7004

2. 519       AMENDED AND REINSTATED                                                       FIRST SECURITY BENEFIT LIFE          800 WESTCHESTER PL, STE 641N
             AGREEMENT                                                                    INSURANCE AND ANNUITY COMPANY OF     RYE BROOK, NY 10573
                                                                                          NEW YORK

2. 520       AMENDED AND RESTATED                                                         FIRST SECURITY BENEFIT LIFE          800 WESTCHESTER PL, STE 641N
             AGREEMENT                                                                    INSURANCE AND ANNUITY COMPANY OF     RYE BROOK, NY 10573
                                                                                          NEW YORK

2. 521       EXHIBIT TO AGREEMENT                                                         FIRST SECURITY BENEFIT LIFE          800 WESTCHESTER PL, STE 641N
                                                                                          INSURANCE AND ANNUITY COMPANY OF     RYE BROOK, NY 10573
                                                                                          NEW YORK

2. 522       INSURANCE SERVICES                                                           FIRST SECURITY BENEFIT LIFE          70 W RED OAK LN, 4TH FL
             AGREEMENT                                                                    INSURANCE AND ANNUITY COMPANY OF     WHITE PLAINS, NY 10604
                                                                                          NEW YORK

2. 523       INSURANCE SERVICES                                                           FIRST SECURITY BENEFIT LIFE          C/O SECURITY BENEFIT LIFE INS. CO.
             AGREEMENT                                                                    INSURANCE AND ANNUITY COMPANY OF     ATTN: GENERAL COUNSEL
                                                                                          NEW YORK                             1 SECURITY BENEFIT PL
                                                                                                                               TOPEKA, KS 66636




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2. 524       INSURANCE SERVICES                                                           FIRST SECURITY BENEFIT LIFE        C/O SECURITY BENEFIT LIFE INS. CO.
             AGREEMENT                                                                    INSURANCE AND ANNUITY COMPANY OF   ATTN: IT VENDOR RELATIONSHIPS MGT
                                                                                          NEW YORK                           1 SECURITY BENEFIT PL
                                                                                                                             TOPEKA, KS 66636

2. 525       AMENDMENT                                                                    FIRST SYMETRA NATIONAL LIFE        777 108TH AVE NE
                                                                                          INSURANCE COMPANY OF NEW YORK      STE 1200
                                                                                                                             BELLEVUE, WA 98004

2. 526       AGREEMENT                                                                    FORETHOUGHT LIFE INSURANCE         300 N MERIDIAN ST, STE 1800
                                                                                          COMPANY                            INDIANAPOLIS, IN 46204

2. 527       AMENDED AGREEMENT                                                            FORETHOUGHT LIFE INSURANCE         300 N MERIDIAN ST, STE 1800
                                                                                          COMPANY                            INDIANAPOLIS, IN 46204

2. 528       AMENDED AGREEMENT                                                            FORETHOUGHT LIFE INSURANCE         300 N MERIDIAN ST, STE 1800
                                                                                          COMPANY                            INDIANAPOLIS, IN 46204

2. 529       AMENDED AGREEMENT                                                            FORETHOUGHT LIFE INSURANCE         300 N MERIDIAN ST, STE 1800
                                                                                          COMPANY                            INDIANAPOLIS, IN 46204

2. 530       NON-AGREEMENT                                                                FORTRA, LLC                        11095 VIKING DR, STE 100
                                                                                                                             EDEN PRAIRIE, MN 55344

2. 531       SERVICES AGREEMENT                                                           FUELED, INC                        5141 NEWTON ST
                                                                                                                             DENVER, CO 80221
                                                                                                                             DENVER, CO 80221

2. 532       AGREEMENT                                                                    GENERAL REINSURANCE                120 LONG RIDGE RD
                                                                                                                             STAMFORD, CT 06902

2. 533       AMENDED SOW                                                                  GENERAL REINSURANCE                120 LONG RIDGE RD
                                                                                                                             STAMFORD, CT 06902

2. 534       AMENDED SOW                                                                  GENERAL REINSURANCE                120 LONG RIDGE RD
                                                                                                                             STAMFORD, CT 06902



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2. 535       PROFESSIONAL SEVICES                                                         GENERAL REINSURANCE               ATTN: FRANK BUCCIERO
             AGREEMENT                                                                                                      120 LONG RIDGE ROAD
                                                                                                                            STAMFORD, CT 06902

2. 536       PROFESSIONAL SEVICES              6/30/2023                                  GENERAL REINSURANCE               ATTN: FRANK BUCCIERO
             AGREEMENT - STATEMENT OF                                                                                       120 LONG RIDGE ROAD
             WORK                                                                                                           STAMFORD, CT 06902

2. 537       SOFTWARE LICENSE AGREEMENT                                                   GENERAL REINSURANCE               ATTN: FRANK BUCCIERO
                                                                                                                            120 LONG RIDGE ROAD
                                                                                                                            STAMFORD, CT 06902

2. 538       SOFTWARE MAINTENANCE AND                                                     GENERAL REINSURANCE               ATTN: FRANK BUCCIERO
             SUPPORT AGREEMENT                                                                                              120 LONG RIDGE ROAD
                                                                                                                            STAMFORD, CT 06902

2. 539       SOW                                                                          GENERAL REINSURANCE               120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 540       SOW                                                                          GENERAL REINSURANCE               120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 541       SOW                                                                          GENERAL REINSURANCE               120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 542       AGREEMENT                                                                    GENERAL REINSURANCE CORPORATION   120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 543       AGREEMENT                                                                    GENERAL REINSURANCE CORPORATION   120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 544       PROJECT PROPOSAL                                                             GENERAL REINSURANCE CORPORATION   120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 545       SOFTWARE MAINTENANCE AND                                                     GENERAL REINSURANCE CORPORATION   120 LONG RIDGE RD
             SUPPORT AGREEMENT                                                                                              STAMFORD, CT 06902



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2. 546       SOW                                                                          GENERAL REINSURANCE CORPORATION   120 LONG RIDGE RD
                                                                                                                            STAMFORD, CT 06902

2. 547       AGREEMENT                                                                    GREAT-WEST LIFE & ANNUITY         ATTN: ROBIN GUGEL
                                                                                          INSURANCE COMPANY                 8515 E ORCHARD RD
                                                                                                                            GREENWOOD VILLAGE, CO 80111

2. 548       8./2003                                                                      HOOPER HOLMES PORTAMEDIC          170 MT AIRY ROAD
                                                                                                                            BASKING RIDGE, NJ 7920

2. 549       DATAXCHANGE SERVICE                                                          HOOPER HOLMES PORTAMEDIC          170 MT. AIRY ROAD
             PROVIDER AGREEMENT                                                                                             BASKING RIDGE, NJ 7920

2. 550       CODE OF CONDUCT                                                              HSBC                              2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 551       AMENDMENT                                                                    HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 552       AMENDMENT                                                                    HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 553       AMENDMENT                                                                    HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 554       AMENDMENT                                                                    HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 555       AMENDMENT                                                                    HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 556       MASTER SERVICE AGREEMENT                                                     HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043

2. 557       MASTER SERVICE AGREEMENT                                                     HSBC SECURITIES (USA) INC.        2929 WALDEN AVE
                                                                                                                            DEPEW, NY 14043



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2. 558       MSA                                                                          HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 559       MSA                                                                          HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 560       SCHEDULE A TO MASTER                                                         HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
             AGREEMENT                                                                                                 DEPEW, NY 14043

2. 561       SCHEDULE A TO MASTER                                                         HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
             AGREEMENT                                                                                                 DEPEW, NY 14043

2. 562       SIG PAGE                                                                     HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 563       SIGNATURE PAGE                                                               HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 564       SIGNATURE PAGE                                                               HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 565       SIGNATURE PAGE                                                               HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 566       SOW                                                                          HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 567       SOW                                                                          HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 568       SOW                                                                          HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043

2. 569       SOW                                                                          HSBC SECURITIES (USA) INC.   2929 WALDEN AVE
                                                                                                                       DEPEW, NY 14043




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2. 570       AMENDMENT                                                                    HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 571       AMENDMENT                                                                    HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 572       REQUEST FORM                                                                 HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 573       SOW                                                                          HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 574       SOW                                                                          HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 575       SOW                                                                          HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 576       SOW                                                                          HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 577       SOW                                                                          HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 578       SOW                                                                          HSBC TECHNOLOGY & SERVICES (USA)   2929 WALDEN AVE
                                                                                          INC.                               DEPEW, NY 14043

2. 579       DATAXCHANGE SERVICE                                                          HUMAN API, INC                     951 MARINERS ISLAND BLVD. SUITE 300
             PROVIDER AGREEMENT                                                                                              SAN MATEO, CA 94404

2. 580       AGREEMENT                                                                    IBEXIS LIFE & ANNUITY INSURANCE    700 S ROSEMARY AVE, STE 204
                                                                                          COMPANY                            WEST PALM BEACH, FL 33401

2. 581       STATEMENT OF WORK                                                            IBEXIS LIFE & ANNUITY INSURANCE    700 S ROSEMARY AVE, STE 204
                                                                                          COMPANY                            WEST PALM BEACH, FL 33401




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2. 582       LICENSING AGREEMENT                                                          INDIANA FARM BUREAU, INC.           ATTN: RENEE BRUCE
                                                                                                                              225 S EAST ST
                                                                                                                              INDIANAPOLIS, IN 46202

2. 583       SERVICES AGREEMENT                                                           INDIANA FARM BUREAU, INC.           ATTN: DARLENE WARREN &
                                                                                                                              CHRISTONE MCC
                                                                                                                              225 S EAST ST
                                                                                                                              INDIANAPOLIS, IN 46202

2. 584       SERVICES AGREEMENT                                                           INDIANA FARM BUREAU, INC.           C/O DARLENE WARREN & CHRISTONE
                                                                                                                              MCC
                                                                                                                              225 S EAST ST
                                                                                                                              INDIANAPOLIS, IN 46202

2. 585       AMENDMENT                                                                    INDIANA FARM BUREAU, INC., UNITED   ATTN: RENEE BRUCE
                                                                                          FARM FAMILY LIFE INSURANCE          225 S EAST ST
                                                                                          COMPANY, UNITED HOME LIFE           INDIANAPOLIS, IN 46206
                                                                                          INSURANCE COMPANY

2. 586       AGREEMENT                                                                    ING NORTH AMERICA INSURANCE         5780 POWERS FERRY RD NW
                                                                                          CORPORATION                         ATLANTA, GA 30327

2. 587       AGREEMENT                                                                    INTEGRITY LIFE INSURANCE COMPANY    PO BOX 5720
                                                                                                                              CINCINNATI, OH 45201

2. 588       AMENDMENT                                                                    INTEGRITY LIFE INSURANCE COMPANY    PO BOX 5720
                                                                                                                              CINCINNATI, OH 45201

2. 589       AGREEMENT                                                                    INTERNATIONAL BUSINESS MACHINES     ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                         INTERNAL MAIL DROP: 901-2E007
                                                                                                                              11501 BURNET RD
                                                                                                                              AUSTIN, TX 78758-3400

2. 590       NON-AGREEMENT                                                                INTERNATIONAL BUSINESS MACHINES     ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                         INTERNAL MAIL DROP: 901-2E007
                                                                                                                              11501 BURNET RD
                                                                                                                              AUSTIN, TX 78758-3400




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2. 591       NON-AGREEMENT                                                                INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 592       NON-AGREEMENT                                                                INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 593       NON-AGREEMENT                                                                INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 594       NON-AGREEMENT                                                                INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 595       NON-AGREEMENT                                                                INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 596       SOFTWARE AGREEMENT                                                           INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 597       SOFTWARE AGREEMENT                                                           INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 598       SOFTWARE AGREEMENT                                                           INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400


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2. 599       SOFTWARE AGREEMENT                                                           INTERNATIONAL BUSINESS MACHINES   ATTN: ASL SOFTWARE CONTRACTS
                                                                                          CORPORATION                       INTERNAL MAIL DROP: 901-2E007
                                                                                                                            11501 BURNET RD
                                                                                                                            AUSTIN, TX 78758-3400

2. 600       MASTER AGREEMENT                                                             IPP FINANCIAL ADVISERS            78 SHENTON WAY
                                                                                                                            #30-01/02 79120
                                                                                                                            SLOVENIA

2. 601       SOW                               5/29/2024                                  IQVIA INC.                        2400 ELLIS RD
                                                                                                                            DURHAM, GA 30096

2. 602       SOW                                                                          IQVIA INC.                        2400 ELLIS RD
                                                                                                                            DURHAM, GA 30096

2. 603       AGREEMENT                                                                    IRON MOUNTAIN                     1725 YOUNG COURT
                                                                                                                            NORCROSS, GA 30071

2. 604       AGREEMENT                                                                    IRON MOUNTAIN                     1725 YOUNG COURT
                                                                                                                            NORCROSS, GA 30071

2. 605       AGREEMENT                                                                    IRON MOUNTAIN                     1725 YOUNG COURT
                                                                                                                            NORCROSS, GA 30071

2. 606       CUSTOMER AGREEMENT                                                           IRON MOUNTAIN INFORMATION         1725 YOUNG COURT
                                                                                          MANAGEMENT, LLC                   NORCROSS, GA 30071

2. 607       ESCROW SERVICE AGREEMENT          12/5/2024                                  IRON MOUNTAIN INTELLECTUAL        PO BOX 27128
                                                                                          PROPERTY MANAGEMENT, INC.         NEW YORK, NY 10087-7128

2. 608       THREE-PARTY MASTER                                                           IRON MOUNTAIN INTELLECTUAL        2100 NORCROSS PARKWAY, SUITE 150
             DEPOSITOR ESCROW                                                             PROPERTY MANAGEMENT, INC.         NORCROSS, GA 30071
             AGREEMENT

2. 609       MASTER SERVICES AGREEMENT                                                    ITERABLE                          71 STEVENSEN ST
                                                                                                                            STE 300
                                                                                                                            SAN FRANCISCO, CA 94105


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2. 610       QUOTE                                                                        ITERABLE                          2261 MARKET STREET
                                                                                                                            #5212
                                                                                                                            SAN FRANCISCO, CA 94114

2. 611       SALES ORDER                                                                  ITERABLE                          2261 MARKET ST
                                                                                                                            #5212
                                                                                                                            SAN FRANCISCO, CA 94114

2. 612       SALES ORDER                                                                  ITERABLE                          71 STEVENSON ST
                                                                                                                            STE 300
                                                                                                                            SAN FRANCISCO, CA 94105

2. 613       DATAXCHANGE SERVICE                                                          J&H COPY SERVICES INC             PO BOX 27307
             PROVIDER AGREEMENT                                                                                             ANAHEIM, CA 92809

2. 614       VTXML ANNUITY SUITE SERVICES                                                 JACKSON NATIONAL LIFE INSURANCE   JACKSON NATIONAL LIFE INSURANCE
             MASTER AGREEMENT                                                             COMPANY                           COMPANY
                                                                                                                            1 CORPORATE WAY
                                                                                                                            LANSING, MI 48951

2. 615       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE       601 CONGRESS STREET
                                                                                          COMPANY                           BOSTON, MA 2210

2. 616       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE       601 CONGRESS STREET
                                                                                          COMPANY                           BOSTON, MA 2210

2. 617       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE       601 CONGRESS STREET
                                                                                          COMPANY                           BOSTON, MA 2210

2. 618       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE       601 CONGRESS STREET
                                                                                          COMPANY                           BOSTON, MA 2210

2. 619       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE       601 CONGRESS STREET
                                                                                          COMPANY                           BOSTON, MA 2210

2. 620       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE       601 CONGRESS STREET
                                                                                          COMPANY                           BOSTON, MA 2210


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Service and Supply Agreements

2. 621       ADDENDUM                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 622       AGREEMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 623       AGREEMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 624       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 625       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 626       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 627       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 628       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 629       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 630       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 631       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 632       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210




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Service and Supply Agreements

2. 633       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 634       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 635       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 636       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 637       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 638       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 639       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 640       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 641       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 642       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 643       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 644       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210




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Service and Supply Agreements

2. 645       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 646       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 647       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 648       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 649       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 650       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 651       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 652       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 653       AMENDMENT                                                                    JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 654       LICENSE AGREEMENT                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 655       LICENSE AGREEMENT                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 656       MASTER AGREEMENT                  10/1/2012                                  JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210




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Service and Supply Agreements

2. 657       MASTER CONTRACT                                                              JOHN HANCOCK LIFE INSURANCE   380 STUART STREET
                                                                                          COMPANY                       BOSTON, MA 2116

2. 658       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 659       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 660       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 661       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 662       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 663       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 664       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 665       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 666       SCHEDULE                                                                     JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 667       SERVICE AGREEMENT                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 668       SERVICES AGREEMENT                                                           JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210




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Service and Supply Agreements

2. 669       SETTLEMENT AGREEMENT                                                         JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 670       SIGNING PAGE                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 671       SIGNING PAGE                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 672       SOFTWARE LICENSE                                                             JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 673       SOFTWARE LICENSE                                                             JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 674       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 675       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 676       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 677       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 678       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 679       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 680       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210




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Service and Supply Agreements

2. 681       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 682       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 683       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 684       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 685       STATEMENT OF WORK                                                            JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 686       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 687       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 688       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 689       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 690       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 691       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210

2. 692       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE   601 CONGRESS STREET
                                                                                          COMPANY                       BOSTON, MA 2210




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2. 693       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE    601 CONGRESS STREET
                                                                                          COMPANY                        BOSTON, MA 2210

2. 694       WORK REQUEST                                                                 JOHN HANCOCK LIFE INSURANCE    601 CONGRESS STREET
                                                                                          COMPANY                        BOSTON, MA 2210

2. 695       SUBJECT AGREEMENT                                                            JOHN HANCOCK LIFEE INSURANCE   200 BERKELEY STREET
                                                                                          COMPANY (USA)                  BOSTON, MA 2116

2. 696       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 697       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 698       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 699       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 700       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 701       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 702       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 703       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179

2. 704       ADDENDUM                                                                     JPMORGAN CHASE BANK            383 MADISON AVE
                                                                                                                         NEW YORK, NY 10179




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2. 705       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 706       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 707       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 708       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 709       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 710       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 711       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 712       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 713       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 714       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 715       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 716       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179




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Service and Supply Agreements

2. 717       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 718       ADDENDUM                                                                     JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 719       AMENDMENT                                                                    JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 720       AMENDMENT                                                                    JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 721       AMENDMENT                                                                    JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 722       AMENDMENT                                                                    JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 723       MASTER AGREEMENT                                                             JPMORGAN CHASE BANK   REFERENCE: CONTRACT ID NO
                                                                                                                CW2852634
                                                                                                                MAIL CODE NY1-E088
                                                                                                                4 NEW YORK PLAZA 8TH FL
                                                                                                                NEW YORK, NY 10004-2413

2. 724       MASTER AGREEMENT                                                             JPMORGAN CHASE BANK   REFERENCE: CONTRACT ID NO
                                                                                                                CW2852634
                                                                                                                MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 725       NON-DISCLOSURE AGREEMENT                                                     JPMORGAN CHASE BANK   ATTN: WORKFLOW MANAGER
                                                                                                                MAIL CODE NY1-E088
                                                                                                                4 NEW YORK PLAZA 21ST FL
                                                                                                                NEW YORK, NY 10004-2413




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Service and Supply Agreements

2. 726       NON-DISCLOSURE AGREEMENT                                                     JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 727       SCHEDULE ONE                                                                 JPMORGAN CHASE BANK   277 PARK AVE
                                                                                                                FL 13
                                                                                                                NEW YORK, NY 10172

2. 728       SCHEDULE TWO                                                                 JPMORGAN CHASE BANK   277 PARK AVE
                                                                                                                FL 13
                                                                                                                NEW YORK, NY 10172-0003

2. 729       SOW                                                                          JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 730       SOW                                                                          JPMORGAN CHASE BANK   383 MADISON AVE
                                                                                                                NEW YORK, NY 10179

2. 731       SOW                                                                          JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 732       SOW                                                                          JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 733       SOW                                                                          JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 734       SOW                                                                          JPMORGAN CHASE BANK   MAIL CODE OH1-0638
                                                                                                                1111 POLARIS PRKWY STE 1N
                                                                                                                COLUMBUS, OHIO 43240-0638

2. 735       AMENDMENT TO MASTER                                                          KNIGHTS OF COLUMBUS   1 COLUMBUS PLZ
             AGREEMENT                                                                                          NEW HAVEN, CT 6510




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Service and Supply Agreements

2. 736       MASTER AGREEMENT                                                              KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
                                                                                                                             NEW HAVEN, CT 6510

2. 737       MASTER AGREEMENT                                                              KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
                                                                                                                             NEW HAVEN, CT 6510

2. 738       NOTICE OF RENEWAL OF                                                          KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
             CONSULTING AGREEMENT                                                                                            NEW HAVEN, CT 06510-3326

2. 739       SERVICES AGREEMENT                                                            KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
                                                                                                                             NEW HAVEN, CT 6510

2. 740       SERVICES AGREEMENT                                                            KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
                                                                                                                             NEW HAVEN, CT 6510

2. 741       SOFTWARE LICENSE                                                              KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
                                                                                                                             NEW HAVEN, CT 6510

2. 742       SOFTWARE LICENSE                                                              KNIGHTS OF COLUMBUS               1 COLUMBUS PLAZA
                                                                                                                             NEW HAVEN, CT 6510

2. 743       LEASE AGREEMENT                  12/24/2023        100-4782026-               LEAF CAPITAL FUNDING LLC          1 EBIX WAY
                                                                     003                                                     JOHNS CREEK, GA 30097

2. 744       LEASE AGREEMENT                    5/3/2026        100-4782026-               LEAF CAPITAL FUNDING LLC          11650 GREAT OAKS WAY
                                                                     006                                                     ALPHARETTA, GA 30022-2418

2. 745       LEASE AGREEMENT                    3/1/2027          20367A                   LEAF CAPITAL FUNDING LLC          5600 OAKBROOK PARKWAY
                                                                                                                             SUITE 260
                                                                                                                             NORCROSS, GA 30093

2. 746       LEASE AGREEMENT                   5/10/2027          20458A                   LEAF CAPITAL FUNDING LLC          5600 OAKBROOK PARKWAY
                                                                                                                             SUITE 260
                                                                                                                             NORCROSS, GA 30093

2. 747       ADDENDUM TO INSURANCE                                                         LEXISNEXIS RISK SOLUTIONS, INC.   16815 VON KARMAN AV
             INFORMATION THIRD PARTY                                                                                         SUITE 135
             PROCESSOR AGREEMENT                                                                                             IRVINE, CA 92606

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Service and Supply Agreements

2. 748       MASTER AGREEMENT                                                             LIBERTY BANKERS LIFE INSURANCE      1605 LBJ FREEWAY
                                                                                                                              SUITE 700
                                                                                                                              DALLAS, TX

2. 749       SCHEDULE                                                                     LIBERTY BANKERS LIFE INSURANCE      1605 LBJ FREEWAY
                                                                                                                              SUITE 700
                                                                                                                              DALLAS, TX

2. 750       STATEMENT OF WORK                                                            LIBERTY BANKERS LIFE INSURANCE      1605 LBJ FREEWAY
                                                                                                                              SUITE 700
                                                                                                                              DALLAS, TX

2. 751       BILLING AGREEMENT                                                            LIFE PRODUCTS SOLUTION GROUP, LLC   ATTN: SCOTT PRICE, CFO
                                                                                                                              1450 MADRUGA AVE, STE 210
                                                                                                                              CORAL GABLES, FL 33146

2. 752       CONFIDENTIALITY AGREEMENT                                                    LIFE PRODUCTS SOLUTION GROUP, LLC   ATTN: SCOTT PRICE, CFO
                                                                                                                              1450 MADRUGA AVE, STE 210
                                                                                                                              CORAL GABLES, FL 33146

2. 753       AGREEMENT                                                                    LIFE PRODUCTS SOLUTION GROUP. LLC   1450 MADRUGA AVE, SUITE 210
                                                                                                                              CORAL GABLES, FL 33146

2. 754       LICENSE AGREEMENT                                                            LIFELINK CORPORATION                1918 PROSPECTOR AVENUE
                                                                                                                              PARK CITY, UT 84060

2. 755       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE     751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102

2. 756       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE     751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102

2. 757       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE     751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102

2. 758       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE     751 BROAD STREET
                                                                                          COMPANY OF AMERICA                  NEWARK, NJ 7102


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2. 759       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 760       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 761       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 762       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 763       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 764       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 765       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 766       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 767       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 768       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 769       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102

2. 770       WORK REQUEST                                                                 LIFESPEED, PRUDENTIAL INSURANCE   751 BROAD STREET
                                                                                          COMPANY OF AMERICA                NEWARK, NJ 7102




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Service and Supply Agreements

2. 771       SERVICE ORDER                                                                LINCOLN FINANCIAL GROUP          1300 S CLINTON ST
                                                                                                                           FORT WAYNE, IN 46802

2. 772       EMAIL                                                                        LINCOLN NATIONAL LIFE INS. CO.   1300 S CLINTON ST
                                                                                                                           FT. WAYNE, IN 46802-3506

2. 773       MASTER SERVICES AGREEMENT                                                    LTERABLE, INC.                   71 STEVENSON ST
                                                                                                                           #300
                                                                                                                           SAN FRANCISCO, CA 94105

2. 774       LICENSE AGREEMENT                                                            MALWAREBYTES                     3979 FREEDOM CIRCLE
                                                                                                                           SANTA CLARA, CA 95054

2. 775       LICENSE AGREEMENT                                                            MALWAREBYTES                     3979 FREEDOM CIRCLE
                                                                                                                           SANTA CLARA, CA 95054

2. 776       AMENDMENT                                                                    MANUFACTURERS LIFE INSURANCE     200 BLOOR STREET EAST
                                                                                          COMPANY                          TORONTIO, ONTARIO M4W 1E5
                                                                                                                           CANADA

2. 777       AMENDMENT                                                                    MANUFACTURERS LIFE INSURANCE     200 BLOOR STREET EAST
                                                                                          COMPANY                          TORONTIO, ONTARIO M4W 1E5
                                                                                                                           CANADA

2. 778       MASTER AGREEMENT                                                             MANUFACTURERS LIFE INSURANCE     200 BLOOR STREET EAST
                                                                                          COMPANY                          TORONTIO, ONTARIO M4W 1E5
                                                                                                                           CANADA

2. 779       SERVICE AGREEMENT                                                            MANUFACTURERS LIFE INSURANCE     200 BLOOR STREET EAST
                                                                                          COMPANY                          TORONTO, ONTARIO M4W 1E5

2. 780       SOW                                                                          MANULIFE FINANCIAL               1295 STATE STREET, MIP E415
                                                                                                                           SPRINGFIELD, MA 1111

2. 781       SOW                                                                          MANULIFE FINANCIAL               1295 STATE STREET, MIP E415
                                                                                                                           SPRINGFIELD, MA 1111



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Service and Supply Agreements

2. 782       AMENDMENT                                                                    MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET, MIP E415
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 783       LICENSE AGREEMENT                                                            MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET, MIP E415
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 784       MASTER AGREEMENT                  10/1/2012                                  MASSACHUSETTS MUTUAL LIFE          120 LONG RIDGE RD
                                                                                          INSURANCE COMPANY                  STAMFORD, CT 06902
                                                                                                                             STAMFORD, CT 06902

2. 785       MASTER AGREEMENT                 12/31/2023                                  MASSACHUSETTS MUTUAL LIFE          120 LONG RIDGE RD
                                                                                          INSURANCE COMPANY                  STAMFORD, CT 06902
                                                                                                                             STAMFORD, CT 06902

2. 786       MASTER AGREEMENT                                                             MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 787       MASTER AGREEMENT                                                             MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 788       MASTER AGREEMENT                                                             MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 789       SCHEDULE                                                                     MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 790       SERVICES AGREEMENT                                                           MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 791       SOFTWARE LICENSE AGREEMENT                                                   MASSACHUSETTS MUTUAL LIFE          1295 STATE STREET
                                                                                          INSURANCE COMPANY                  SPRINGFIELD, MA 1111

2. 792       LICENSE AGREEMENT                                                            MASSMUTUAL LIFE INSURANCE COMPANY 1295 STATE STREET
                                                                                                                            SPRINGFIELD, MA 1111

2. 793       NDA                                                                          MEDICAL RECORD COPY SOLUTION       25 MAUCHIY
                                                                                                                             #313
                                                                                                                             IRVINE, CA 92618

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Service and Supply Agreements

2. 794       NDA                                                                          MEDICAL RECORD COPY SOLUTION         25 MAUNCHLY #313
                                                                                                                               IRVINE, CA 92618

2. 795       AMENDMENT 1                                                                  MEMLL LYNCH, PIERCE, FENNER & SMITH, FINANCIAL DATA SERVICES, INC.
                                                                                                                               4800 DEER LAKE DRIVE EAST
                                                                                                                               JACKSONVILLE, FL 32246

2. 796       ANNUITY AGREEMENT                                                            MERRILL LYNCH LIFE INSURACE          FINANCIAL DATA SERVICES, INC.
                                                                                          COMPANY AND ML LIFE INSURANCE        4800 DEER LAKE DRIVE EAST
                                                                                          COMPANY OF NEW YORK                  JACKSONVILLE, FL 32246

2. 797       ANNUITY AGREEMENT                                                            MERRILL LYNCH LIFE INSURACE          TECHNOLOGY SOURCING
                                                                                          COMPANY AND ML LIFE INSURANCE        95 GREENE STREET, 6TH FLOOR
                                                                                          COMPANY OF NEW YORK                  JERSEY CITY, NJ 7302

2. 798       AMENDMENT 3                                                                  MERRILL LYNCH, PIERCE, FENNER &      FINANCIAL DATA SERVICES, INC.
                                                                                          SMITH INCORPORATED (“                4800 DEER LAKE DRIVE EAST
                                                                                                                               JACKSONVILLE, FL 32246

2. 799       AGREEMENT                                                                    MIB GROUP, INC                       50 BRAINTREE HILL PARK, STE 400
                                                                                                                               BRAINTREE, MA 2841

2. 800       LICENSE AGREEMENT                                                            MICROSOFT CORPORATION                120 LONG RIDGE RD
                                                                                                                               STAMFORD, CT 06902
                                                                                                                               STAMFORD, CT 06902

2. 801       SIGNATURE                                                                    MICROSOFT CORPORATION                DEPT 551, VOLUME LICENSING
                                                                                                                               6880 SIERRA CENTER PARKWAY
                                                                                                                               RENO, NV 89511

2. 802       ORDER ACKNOWLEDGEMENT                                                        MMS, INC.                            17550 N PERIMETER DR #110
                                                                                                                               SCOTTSDALE, AZ 85255

2. 803       ADD-IN PARTICULARS                                                           MONDAGO LIMITED                      2 COMMERCE RD
                                                                                                                               LYNCH WOOD, PETERBOROUGH PE2
                                                                                                                               6LR




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Service and Supply Agreements

2. 804       ADD-IN PARTICULARS               11/15/2019                                  MONDAGO LIMITED        2 COMMERCE RD
                                                                                                                 LYNCH WOOD, PETERBOROUGH PE2
                                                                                                                 6LR

2. 805       AGREEMENT                                                                    MONDAGO LIMITED        2 COMMERCE RD
                                                                                                                 PETERBOROUGH PE2 6LR

2. 806       NON-AGREEMENT                                                                MONDAGO LIMITED        2 COMMERCE RD
                                                                                                                 PETERBOROUGH PE2 6LR

2. 807       NON-AGREEMENT                                                                MONDAGO LIMITED        2 COMMERCE RD
                                                                                                                 PETERBOROUGH PE2 6LR

2. 808       PARTNERSHIP AGREEMENT                                                        MONDAGO LIMITED        2 COMMERCE RD
                                                                                                                 LYNCH WOOD, PETERBOROUGH PE2
                                                                                                                 6LR

2. 809       AGREEMENT                                                                    MONEY SERVICES, INC.   5780 POWERS FERRY RD NW
                                                                                                                 ATLANTA, GA 30327

2. 810       MASTER AGREEMENT                  10/1/2012                                  MONEY SERVICES, INC.   78 SHENTON WAY
                                                                                                                 #30-01/02 79120
                                                                                                                 SLOVENIA

2. 811       SAAS AGREEMENT                                                               MONEY SERVICES, INC.   4333 EDGEWOOD ROAD NE
                                                                                                                 CEDAR RAPIDS, IA 52499

2. 812       SAAS AGREEMENT                                                               MONEY SERVICES, INC.   6400 C STEET SW
                                                                                                                 CEDAR RAPIDS, IA 52499

2. 813       SAAS AGREEMENT                                                               MONEY SERVICES, INC.   6400 C STEET SW
                                                                                                                 CEDAR RAPIDS, IA 52499

2. 814       SERVICE AGRREEMENT                                                           MULTIPUB               DATASYSTEM SOLUTIONS, INC.
                                                                                                                 8001 CONSER STREET SUITE 140
                                                                                                                 OVERLAND, KS 66204



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Service and Supply Agreements

2. 815       RECEIPT                                                                      NAMECHEAP, INC.                     4600 E WASHINGTON ST, STE 305
                                                                                                                              PHOENIX, AZ 85034

2. 816       AGREEMENT                                                                    NATIONAL BROKERAGE ASSOCIATION      JEAN YERRINGTON, EXECUTIVE DIR
                                                                                                                              990 ELLIS WOODS RD
                                                                                                                              POTTSTOWN, PA 19465

2. 817       ENDORSEMENT                                                                  NATIONAL BROKERAGE ASSOCIATION      C/O NATIONAL BROKERAGE AGENCIES
                                                                                                                              IN
                                                                                                                              4600 PARK RD, STE 303
                                                                                                                              CHARLOTT, NC 28277

2. 818       ADDENDUM                                                                     NATIONAL INTEGRITY LIFE INSURANCE   NATIONAL WESTERN LIF INSURANCE
                                                                                          COMPANY                             COMPANY
                                                                                                                              850 EAST ANDERSON LANE
                                                                                                                              AUSTIN, TX 78752

2. 819       STATEMENT OF WORK 02,                                                        NATIONAL WESTERN LIFE               NATIONAL WESTERN LIFE
             CHANGE ORDER 01

2. 820       LETTER OF INTENT AGREEMENT                                                   NATIONAL WESTERN LIFE INSURANCE     NATIONAL WESTERN LIF INSURANCE
                                                                                          COMPANY                             COMPANY
                                                                                                                              850 EAST ANDERSON LANE
                                                                                                                              AUSTIN, TX 78752

2. 821       MUTUAL CONFIDENTIALITY AND                                                   NATIONAL WESTERN LIFE INSURANCE     NATIONAL WESTERN LIF INSURANCE
             NONDISCLOSURE AGREEMENT                                                      COMPANY                             COMPANY
                                                                                                                              850 EAST ANDERSON LANE
                                                                                                                              AUSTIN, TX 78752

2. 822       VERTEX PRODUCT SUITE,                                                        NATIONAL WESTERN LIFE, INC.         NATIONAL WESTERN LIFE, INC.
             MASTER LICENSE AGREEMENT                                                                                         850 EAST ANDERSON LANE
                                                                                                                              AUSTIN, TX 78752

2. 823       STATEMENT OF WORK                                                            NATIONAL WESTERNLIFE INSURANCE      NATIONAL WESTERN LIF INSURANCE
                                                                                          COMPANY                             COMPANY
                                                                                                                              850 EAST ANDERSON LANE
                                                                                                                              AUSTIN, TX 78752


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2. 824       EXHIBIT                                                                      NATIONWIDE EVICTION, LLC           ONE NATIONWIDE PLAZA
                                                                                                                             COLUMBUS, OH 43215-2220

2. 825       AMENDMENT                                                                    NATIONWIDE LIFE INSURANCE COMPANY ONE NATIONWIDE PLAZA
                                                                                                                            COLUMBUS, OH 43215-2220

2. 826       ADDENDUM                                                                     NATIONWIDE LIFE INSURANCE COMPANY ONE NATIONWIDE PLAZA
                                                                                          AND NATIONWIDE LIFE AND ANNUITY   COLUMBUS, OH 43215-2220
                                                                                          INSURANCE CO

2. 827       AGREEMENT                                                                    NATIONWIDE LIFE INSURANCE COMPANY 1725 YOUNG COURT
                                                                                          AND NATIONWIDE LIFE AND ANNUITY   NORCROSS, GA 30071
                                                                                          INSURANCE CO

2. 828       AGREEMENT                                                                    NATIONWIDE LIFE INSURANCE COMPANY ONE NATIONWIDE PLAZA
                                                                                          AND NATIONWIDE LIFE AND ANNUITY   COLUMBUS, OH 43215-2220
                                                                                          INSURANCE CO

2. 829       AMENDMENT                                                                    NATIONWIDE LIFE INSURANCE COMPANY ONE NATIONWIDE PLAZA
                                                                                          AND NATIONWIDE LIFE AND ANNUITY   COLUMBUS, OH 43215-2220
                                                                                          INSURANCE CO

2. 830       ADDENDUM                                                                     NATIONWIDE MUTUAL INSURANCE        ONE NATIONWIDE PLAZA
                                                                                          COMPANY                            COLUMBUS, OH 43215-2220

2. 831       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE        ATTN: VANDERBILT B EDMONDS
                                                                                          COMPANY                            DIRECTOR, SUPPLY MANAGEMENT
                                                                                                                             ONE NATIONWIDE PLAZA
                                                                                                                             COLUMBUS, OH 43215-2220

2. 832       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE        NATIONWIDE LIFE INSURANCE
                                                                                          COMPANY                            COMPANY
                                                                                                                             ONE NATIONWIDE PLAZA
                                                                                                                             COLUMBUS, OH 43215

2. 833       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE        NATIONWIDE LIFE INSURANCE
                                                                                          COMPANY                            COMPANY
                                                                                                                             ONE NATIONWIDE PLAZA
                                                                                                                             COLUMBUS, OH 43215

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2. 834       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 835       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 836       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 837       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 838       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 839       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215-2220




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2. 840       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215-2220

2. 841       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215-2220

2. 842       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 843       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 844       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 845       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215




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2. 846       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 847       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 848       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 849       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 850       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 851       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 852       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 853       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 854       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 855       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220


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Service and Supply Agreements

2. 856       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 857       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 858       AGREEMENT                                                                    NATIONWIDE MUTUAL INSURANCE   ONE NATIONWIDE PLAZA
                                                                                          COMPANY                       COLUMBUS, OH 43215-2220

2. 859       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 860       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 861       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 862       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 863       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215



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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                         Address



Service and Supply Agreements

2. 864       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 865       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 866       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 867       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 868       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 869       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215




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Service and Supply Agreements

2. 870       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 871       CHANGE ORDER                                                                 NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 872       CHANGE ORDER                                                                 NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 873       CHANGE ORDER                                                                 NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 874       CHANGE ORDER                                                                 NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 875       CHANGE ORDER                                                                 NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215




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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                         Address



Service and Supply Agreements

2. 876       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 877       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 878       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 879       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 880       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 881       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215




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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                         Address



Service and Supply Agreements

2. 882       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 883       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 884       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 885       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 886       EXHIBIT                                                                      NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215

2. 887       LETTER                                                                       NATIONWIDE MUTUAL INSURANCE   NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                       COMPANY
                                                                                                                        ONE NATIONWIDE PLAZA
                                                                                                                        1-32-304
                                                                                                                        COLUMBUS, OH 43215




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Service and Supply Agreements

2. 888       LETTER                                                                       NATIONWIDE MUTUAL INSURANCE       NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY                           COMPANY
                                                                                                                            ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 889       ADDENDUM                                                                     NATIONWIDE MUTUAL INSURANCE       NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY AND NATIONWIDE LIFE       COMPANY
                                                                                          INSURANCE COMPANY                 ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 890       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE       NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY AND NATIONWIDE LIFE       COMPANY
                                                                                          INSURANCE COMPANY                 ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 891       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE       NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY AND NATIONWIDE LIFE       COMPANY
                                                                                          INSURANCE COMPANY                 ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 892       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE       NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY AND NATIONWIDE LIFE       COMPANY
                                                                                          INSURANCE COMPANY                 ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 893       AMENDMENT                                                                    NATIONWIDE MUTUAL INSURANCE       NATIONWIDE MUTUAL INSURANCE
                                                                                          COMPANY AND NATIONWIDE LIFE       COMPANY
                                                                                          INSURANCE COMPANY                 ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 894       DEVELOPMENT SUPPORT                                                          NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYL)                             NEW YORK, NY 11001




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Service and Supply Agreements

2. 895       MASTER SERVICE AGREEMENT                                                     NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYL)                             NEW YORK, NY 11001

2. 896       SOFTWARE LICENSE AGREEMENT                                                   NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYL)                             NEW YORK, NY 11001

2. 897       STATEMENT OF WORK                 6/30/2024                                  NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYL)                             NEW YORK, NY 11001

2. 898       STATEMENT OF WORK                                                            NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYL)                             NEW YORK, NY 11001

2. 899       SUBJECT AGREEMENT OF                                                         NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             MASTER AGREEMENT                                                             (NYL)                             NEW YORK, NY 11001

2. 900       SUBJECT AGREEMENT OF                                                         NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             WINFLEX WEB SOFTWARE                                                         (NYL)                             NEW YORK, NY 11001
             LICENSE AGREEMENT

2. 901       ADDENDUM TO INSURANCE                                                        NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             SERVICES AGREEMENT                                                           (NYLIC)                           NEW YORK, NY 11001

2. 902       ADDENDUM TO INSURANCE                                                        NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             SERVICES AGREEMENT                                                           (NYLIC)                           NEW YORK, NY 11001

2. 903       ADDENDUM TO INSURANCE                                                        NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             SERVICES AGREEMENT                                                           (NYLIC)                           NEW YORK, NY 11001

2. 904       AMENDMENT TO INSURANCE                                                       NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             SERVICES AGREEMENT                                                           (NYLIC)                           NEW YORK, NY 11001

2. 905       AMENDMENT TO INSURANCE                                                       NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             SERVICES AGREEMENT                                                           (NYLIC)                           NEW YORK, NY 11001

2. 906       ANNUITY AGREEMENT (PART 1 OF                                                 NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             3)                                                                           (NYLIC)                           NEW YORK, NY 11001



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Service and Supply Agreements

2. 907       ANNUITY AGREEMENT (PART 2 OF                                                 NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             3)                                                                           (NYLIC)                           NEW YORK, NY 11001

2. 908       ANNUITY AGREEMENT (PART 3 OF                                                 NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
             3)                                                                           (NYLIC)                           NEW YORK, NY 11001

2. 909       EXHIBIT B                                                                    NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYLIC)                           NEW YORK, NY 11001

2. 910       FEE AGREEMENT                                                                NEW YORK LIFE INSURANCE COMPANY   51 MADISON AVE
                                                                                          (NYLIC)                           NEW YORK, NY 11001

2. 911       STATEMENT OF                                                                 NEW YORK LIFE INSURANCE           51 MADISON AVE
             WORK/EXTENSION OF                                                            COMPANY(NYL)                      NEW YORK, NY 11001
             PRODUCTION SUPPORT

2. 912       WORK ORDER                                                                   NEW YORK LIFE INSURANCE           51 MADISON AVE
                                                                                          COMPANY(NYL)                      NEW YORK, NY 11001

2. 913       ADDENDUM TO INSURANCE                                                        NEW YORK LIFE INSURANCE           51 MADISON AVE
             SERVICES AGREEMENT                                                           COMPANY(NYLIC)                    NEW YORK, NY 11001

2. 914       INSURANCE SERVICES                                                           NEW YORK LIFE INSURANCE           1918 PROSPECTOR AVENUE
             AGREEMENT                                                                    COMPANY(NYLIC)                    PARK CITY, UT 84060

2. 915       INSURANCE SERVICES                                                           NEW YORK LIFE INSURANCE           51 MADISON AVE
             AGREEMENT                                                                    COMPANY(NYLIC)                    NEW YORK, NY 11001

2. 916       INSURANCE SERVICES                                                           NEW YORK LIFE INSURANCE           51 MADISON AVE
             AGREEMENT/ TRANS FEES FINAL                                                  COMPANY(NYLIC)                    NEW YORK, NY 11001
             EXECUTED

2. 917       CHANGE ORDER                                                                 NTT COMMUNICATIONS                OTEMACHI PLACE WEST TOWER 2-3-1
                                                                                                                            OTEMACHI, CHIYODA-KU
                                                                                                                            TOKYO 100-8019




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Service and Supply Agreements

2. 918       CHANGE ORDER                                                                 NTT COMMUNICATIONS                  OTEMACHI PLACE WEST TOWER 2-3-1
                                                                                                                              OTEMACHI, CHIYODA-KU
                                                                                                                              TOKYO 100-8019

2. 919       ORDER FORM                                                                   NTT COMMUNICATIONS|NTT EUROPE       90 AVENUE DES CHAMPS
                                                                                                                              PARIS 75008
                                                                                                                              FRANCE

2. 920       ORDER FORM                                                                   NTT COMMUNICATIONS|NTT EUROPE       90 AVENUE DES CHAMPS
                                                                                                                              PARIS 75008
                                                                                                                              FRANCE

2. 921       EXHIBIT                                                                      OCEANVIEW LIFE AND ANNUITY          410 N 44TH ST SUITE 210
                                                                                                                              PHOENIX, AZ 85008

2. 922       CONTRACT                                                                     OHIO NATIONAL LIFE                  ONE FINANCIAL WY
                                                                                                                              MONTGOMERY, OH 45242

2. 923       STATEMENT OF WORK                                                            ONEAMERICA                          ATTN: VENDOR MGMT OFFICE (ILFS VM)
                                                                                                                              ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206

2. 924       ADDENDUM                                                                     ONEAMERICA FINANCIAL PARTNERS INC   ATTN: SIMON HERBERT
                                                                                                                              ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206

2. 925       ADDENDUM                                                                     ONEAMERICA FINANCIAL PARTNERS INC   ATTN: VENDOR MGMT OFFICE (ILFS VM)
                                                                                                                              ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206

2. 926       AGREEMENT                                                                    ONEAMERICA FINANCIAL PARTNERS INC   ATTN: SIMON HERBERT, VP SYSTEMS
                                                                                                                              ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206




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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                               Address



Service and Supply Agreements

2. 927       AGREEMENT                                                                    ONEAMERICA FINANCIAL PARTNERS INC   ATTN: SIMON HERBERT, VP SYSTEMS
                                                                                                                              ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206

2. 928       AGREEMENT                                                                    ONEAMERICA FINANCIAL PARTNERS INC   ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206

2. 929       AGREEMENT                                                                    ONEAMERICA FINANCIAL PARTNERS INC   ONE AMERICA SQ
                                                                                                                              INDIANAPOLIS, IN 46206

2. 930       AMENDMENT                                                                    ONEAMERICA FINANCIAL PARTNERS INC   ATTN: VENDOR MGMT OFFICE (ILFS VM)
                                                                                                                              ONE AMERICA SQ
                                                                                                                              P.O. BOX 368
                                                                                                                              INDIANAPOLIS, IN 46206

2. 931       INVOICE                                                                      ONESPAN CANADA INC                  250-1100 AV DES CANADIENS-DE-
                                                                                                                              MONTREAL
                                                                                                                              MONTREAL, QC H3B 2S2
                                                                                                                              CANADA

2. 932       ORDER CONFIRMATION                                                           ONESPAN CANADA INC.                 1100 AVE DES CANADIENS-DE-
                                                                                                                              MONTREAL, STE 250
                                                                                                                              MONTREAL, QC H3B 2S2
                                                                                                                              CANADA

2. 933       PURCHASE ORDER                                                               ONESPAN CANADA INC.                 1100 AVENUE DES CANADIENS-DE-
                                                                                                                              MONTRÉAL, SUITE 250
                                                                                                                              MONTREAL, QC H3B 2S2
                                                                                                                              CANADA

2. 934       APPLICATION REGISTRATION          7/31/2021                                  ORACLE                              30211 AVENIDA DE LAS BANDERAS
             FORM                                                                                                             STE 200
                                                                                                                              RANCHO SANTA MARGARITA, CA 92688

2. 935       APPLICATION REGISTRATION          7/31/2019                                  ORACLE                              P.O. BOX 203448
             FORM                                                                                                             DALLAS, TX 75320-3448


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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                       Address



Service and Supply Agreements

2. 936       DISTRIBUTION ADDENDUM                                                        ORACLE AMERICA, INC.        ATTN: VP OF LEGAL, DEVELOPMENT
                                                                                                                      AND ENGINEERING
                                                                                                                      500 ORACLE PKWY
                                                                                                                      MS-50P10
                                                                                                                      REDWOOD SHORES, CA 94065

2. 937       LICENSE AND SERVICES                                                         ORACLE AMERICA, INC.        ATTN: VP OF LEGAL, DEVELOPMENT
             AGREEMENT                                                                                                AND ENGINEERING
                                                                                                                      500 ORACLE PKWY
                                                                                                                      MS-50P10
                                                                                                                      REDWOOD SHORES, CA 94065

2. 938       MASTER AGREEMENT                                                             ORACLE AMERICA, INC.        ATTN: GENERAL COUNSEL/LEGAL DEPT
                                                                                                                      500 ORACLE PKWY
                                                                                                                      REDWOOD SHORES, CA 94065

2. 939       SERVICES AGREEMENT                                                           ORACLE AMERICA, INC.        ATTN: VP OF LEGAL, DEVELOPMENT
                                                                                                                      AND ENGINEERING
                                                                                                                      500 ORACLE PKWY
                                                                                                                      MS-50P10
                                                                                                                      REDWOOD SHORES, CA 94065

2. 940       ADDENDUM                                                                     ORACLE CREDIT CORPORATION   30211 AVENIDA DE LAS BANDERAS
                                                                                                                      STE 200
                                                                                                                      RANCHO SANTA MARGARITA, CA 92688

2. 941       AGREEMENT                         9/15/2023                                  ORACLE CREDIT CORPORATION   30211 AVENIDA DE LAS BANDERAS
                                                                                                                      STE 200
                                                                                                                      RANCHO SANTA MARGARITA, CA 92688

2. 942       AGREEMENT                                                                    ORACLE CREDIT CORPORATION   30211 AVENIDA DE LAS BANDERAS
                                                                                                                      STE 200
                                                                                                                      RANCHO SANTA MARGARITA, CA 92688

2. 943       CUSTOMER INFORMATION FORM                                                    ORACLE CREDIT CORPORATION   30211 AVENIDA DE LAS BANDERAS
                                                                                                                      STE 200
                                                                                                                      RANCHO SANTA MARGARITA, CA 92688




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Service and Supply Agreements

2. 944       PAYMENT PLAN AGREEMENT                                                       ORACLE CREDIT CORPORATION       30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 945       PAYMENT SCHEDULE                                                             ORACLE CREDIT CORPORATION       30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 946       PAYMENT SCHEDULE                                                             ORACLE CREDIT CORPORATION       30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 947       SERVICE                           9/30/2022                                  ORACLE CREDIT CORPORATION       30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 948       SERVICE                                                                      ORACLE CREDIT CORPORATION       30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 949       FINANCING APPROVAL LETTER                                                    ORACLE FINANCING                30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 950       AGREEMENT                                                                    ORACLE PROGRAMS                 30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 951       LICENSE RENEWAL FORM                                                         ORACLE PROGRAMS                 30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 952       LICENSE RENEWAL FORM                                                         ORACLE PROGRAMS                 30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 953       ADDENDUM                                                                     OXFORD LIFE INSURANCE COMPANY   30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

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Service and Supply Agreements

2. 954       MASTER AGREEMENT                                                             OXFORD LIFE INSURANCE COMPANY    40 EAST VIRGINIA
                                                                                                                           PHOENIX, AZ 85004

2. 955       STATEMENT OF WORK                                                            OXFORD LIFE INSURANCE COMPANY    2721 N CENTRAL AVE
                                                                                                                           PHOENIX, AZ 85004

2. 956       ANNUITY LICENSE CERTIFCATE                                                   PACIFIC LIFE INSURANCE COMPANY   700 NEWPORT CENTER DR
                                                                                                                           NEWPORT, CA 92660

2. 957       INSURANCE SERVICE                                                            PACIFIC LIFE INSURANCE COMPANY   700 NEWPORT CENTER DR
             AGREEMENT                                                                                                     NEWPORT, CA 92660

2. 958       MASTER CONTRACT                                                              PACIFIC LIFE INSURANCE COMPANY   700 NEWPORT CENTER DR
                                                                                                                           NEWPORT, CA 92660

2. 959       MASTER CONTRACT ADDENDUM                                                     PACIFIC LIFE INSURANCE COMPANY   700 NEWPORT CENTER DR
                                                                                                                           NEWPORT, CA 92660

2. 960       MASTER CONTRACT ADDENDUM                                                     PACIFIC LIFE INSURANCE COMPANY   700 NEWPORT CENTER DR
                                                                                                                           NEWPORT, CA 92660

2. 961       SOFTAWARE AGREEMENT                                                          PACIFIC LIFE INSURANCE COMPANY   700 NEWPORT CENTER DR
                                                                                                                           NEWPORT, CA 92660

2. 962       SCHEDULE                          1/31/2024                                  PARK PLACE TECHNOLOGIES          5910 LANDERBROOK DRIVE
                                                                                                                           STE 300
                                                                                                                           MAYFIELD HEIGHTS, OH 44124

2. 963       SERVICE AGREEMENT                                                            PARK PLACE TECHNOLOGIES          5910 LANDERBROOK DR, STE 300
                                                                                                                           MAYFIELD HEIGHTS, OH 44124

2. 964       RENEWAL PRICING SCHEDULE,                                                    PARK PLACE TECHNOLOGIES LLC      5910 LANDERBROOK DR, STE 300
             NON-EXECUTED                                                                                                  MAYFIELD HEIGHTS, OH 44124

2. 965       MAINTENANCE SERVICE                                                          PARK PLACE TECHNOLOGIES, INC.    5910 LANDERBROOK DR, STE 300
             AGREEMENT, NON-EXECUTED                                                                                       MAYFIELD HEIGHTS, OH 44124



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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name                             Address



Service and Supply Agreements

2. 966       QUOTE, TERMS AND CONDITIONS                                                  PARK PLACE TECHNOLOGIES, INC.     8401 CHAGRIN RD
             AND SERVICE LEVEL AGREEMENT                                                                                    CLEVELAND, OH 44023

2. 967       SCHEDULE                                                                     PATHIAN, LLC                      32110 AGOURA RD
                                                                                                                            WESTLAKE VILLAGE, CA 91361-4426

2. 968       STATEMENT OF WORK                                                            PATHIAN, LLC                      32110 AGOURA RD
                                                                                                                            WESTLAKE VILLAGE, CA 91361

2. 969       MASTER SERVICE AGREEMENT                                                     PENN MUTUAL LIFE INSURANCE        600 DRESHER RD
                                                                                          COMPANY                           HORSHAM, PA 19044

2. 970       MASTER CONTRACT ADDENDUM                                                     PENN MUTUAL LIFE REPRESENTATIVE   600 DRESHER RD
                                                                                                                            HORSHAM, PA 19044

2. 971       MASTER CONTRACT ADDENDUM         12/19/2023                                  PENN MUTUAL LIFE REPRESENTATIVE   NATIONWIDE MUTUAL INSURANCE
                                                                                                                            COMPANY
                                                                                                                            ONE NATIONWIDE PLAZA
                                                                                                                            1-32-304
                                                                                                                            COLUMBUS, OH 43215

2. 972       AGREEMENT                                                                    PERFORMANCE TECHNOLOGIES, INC     TWO HANOVER SQUARE
                                                                                                                            13TH FLOOR
                                                                                                                            434 FAYETTEVILLE STREET
                                                                                                                            RALEIGH, NC 27601

2. 973       DATA AGREEMENT                                                               PERFORMANCE TECHNOLOGIES, INC     TWO HANOVER SQUARE
                                                                                                                            13TH FLOOR
                                                                                                                            434 FAYETTEVILLE STREET
                                                                                                                            RALEIGH, NC 27601

2. 974       NDA                                                                          PERFORMANCE TECHNOLOGIES, INC     TWO HANOVER SQUARE
                                                                                                                            13TH FLOOR
                                                                                                                            434 FAYETTEVILLE STREET
                                                                                                                            RALEIGH, NC 27601

2. 975       AGREEMENT                         1/31/2024                                  PERFORMANCE TECHNOLOGIES, INC.    TWO HANOVER SQUARE, 13TH FLOOR
                                                                                                                            434 FAYETTEVILLE ST
                                                                                                                            RALEIGH, NC 27601

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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor    Name               Address



Service and Supply Agreements

2. 976       ADDENDUM                                                                     PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 977       AGREEMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 978       AGREEMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 979       AGREEMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 980       AGREEMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 981       AMENDMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 982       AMENDMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 983       AMENDMENT                                                                    PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 984       LETTER                                                                       PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 985       LETTER                                                                       PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

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Service and Supply Agreements

2. 986       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 987       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 988       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 989       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 990       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 991       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 992       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 993       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 994       NON-AGREEMENT                                                                PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

2. 995       STATEMENT OF WORK                                                            PERSHING LLC        95 CHRISTOPHER COLUMBUS DR
                                                                                                              ONE PERSHING PLAZA
                                                                                                              JERSEY CITY, NJ 7399

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Service and Supply Agreements

2. 996       STATEMENT OF WORK                                                            PERSHING LLC              95 CHRISTOPHER COLUMBUS DR
                                                                                                                    ONE PERSHING PLAZA
                                                                                                                    JERSEY CITY, NJ 7399

2. 997       AMENDMENT TO MSA                  1/31/2024                                  PERSISTENT SYSTEMS, INC   2055 LAURELWOOD RD
                                                                                                                    STE 210
                                                                                                                    SANTA CLARA, CA 95054

2. 998       STATEMENT OF WORK                                                            PERSISTENT SYSTEMS, INC   2055 LAURELWOOD RD
                                                                                                                    STE 210
                                                                                                                    SANTA CLARA, CA 95054
                                                                                                                    INDIA

2. 999       STATEMENT OF WORK                                                            PERSISTENT SYSTEMS, INC   2055 LAURELWOOD RD
                                                                                                                    STE 210
                                                                                                                    SANTA CLARA, CA 95054

2. 1000      AGREEMENT                                                                    PLUM LIFE, INC            ATTN: MANISH BHATT
                                                                                                                    400 CONNELL DR, STE 1300
                                                                                                                    BERKELEY HEIGHTS, NJ 7922

2. 1001      PARTNERSHIP AGREEMENT                                                        PLUM LIFE, INC            ATTN: MANISH BHATT
                                                                                                                    400 CONNELL DR, STE 1300
                                                                                                                    BERKELEY HEIGHTS, NJ 7922

2. 1002      AGREEMENT                                                                    POLICYGENIUS INC          32 OLD SLIP, 30TH FL
                                                                                                                    NEW YORK, NY 10005

2. 1003      NDA                                                                          POLICYGENIUS, INC         32 OLD SLIP, 30TH FL
                                                                                                                    NEW YORK, NY 10005

2. 1004      AGREEMENT                                                                    PREDICTIVE TECHNOLOGIES   30211 AVENIDA DE LAS BANDERAS
                                                                                                                    STE 200
                                                                                                                    RANCHO SANTA MARGARITA, CA 92688

2. 1005      STATEMENT OF WORK                                                            PREDICTIVE TECHNOLOGIES   30211 AVENIDA DE LAS BANDERAS
                                                                                                                    STE 200
                                                                                                                    RANCHO SANTA MARGARITA, CA 92688


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Service and Supply Agreements

2. 1006      FINANCING APPROVAL LETTER                                                    PREDICTIVE TECHNOLOGIES, INC.   30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 1007      PAYMENT SCHEDULE                                                             PREDICTIVE TECHNOLOGIES, INC.   30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 1008      PAYMENT SCHEDULE                                                             PREDICTIVE TECHNOLOGIES, INC.   30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 1009      QUOTE AND ORDER FORM FOR                                                     PREDICTIVE TECHNOLOGIES, INC.   30211 AVENIDA DE LAS BANDERAS
             LICENSE                                                                                                      STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 1010      SOW                                                                          PREDICTIVE TECHNOLOGIES, INC.   30211 AVENIDA DE LAS BANDERAS
                                                                                                                          STE 200
                                                                                                                          RANCHO SANTA MARGARITA, CA 92688

2. 1011      AGREEMENT                                                                    PRIMEVEST FINANCIAL SERVICES    400 FIRST ST S
                                                                                                                          STE 300
                                                                                                                          ST. CLOUD, MN 56301-3600

2. 1012      AGREEMENT                                                                    PRIMEVEST FINANCIAL SERVICES    400 FIRST ST S
                                                                                                                          STE 300
                                                                                                                          ST. CLOUD, MN 56301-3600

2. 1013      AMENDMENT                                                                    PRIMEVEST FINANCIAL SERVICES    400 FIRST ST S
                                                                                                                          STE 300
                                                                                                                          ST. CLOUD, MN 56301-3600

2. 1014      AMENDMENT                                                                    PRIMEVEST FINANCIAL SERVICES    400 FIRST ST S
                                                                                                                          STE 300
                                                                                                                          ST. CLOUD, MN 56301-3600

2. 1015      AMENDMENT                                                                    PRIMEVEST FINANCIAL SERVICES    400 FIRST ST S
                                                                                                                          STE 300
                                                                                                                          ST. CLOUD, MN 56301-3600

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Service and Supply Agreements

2. 1016      AMENDMENT                                                                    PRIMEVEST FINANCIAL SERVICES       400 FIRST ST S
                                                                                                                             STE 300
                                                                                                                             ST. CLOUD, MN 56301-3600

2. 1017      ADDENDUM                                                                     PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1018      ADDENDUM                                                                     PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1019      AGREEMENT                                                                    PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1020      AMENDMENT                                                                    PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1021      AMENDMENT                                                                    PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1022      AMENDMENT                                                                    PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1023      AMENDMENT                                                                    PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1024      LICENSE AGREEMENT                                                            PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1025      RENEWAL                                                                      PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1026      RENEWAL                                                                      PRINCIPAL LIFE INSURANCE COMPANY   711 HIGH STREET
                                                                                                                             DES MOINES, IA 50392

2. 1027      AGREEMENT                                                                    PRO SCAN PARTNERS                  23052-H ALICIA PKWY #636
                                                                                                                             MISSION VIEJO, CA 92692



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Service and Supply Agreements

2. 1028      SLA                                                                          PRO SOFTNET CORPORATION             ATTN: VANDERBILT B EDMONDS
                                                                                                                              DIRECTOR, SUPPLY MANAGEMENT
                                                                                                                              ONE NATIONWIDE PLAZA
                                                                                                                              COLUMBUS, OH 43215-2220

2. 1029      SUPPLIER AGREEMENT                                                           PRO UNLIMITED, INC/                 1150 IRON POINT ROAD
                                                                                                                              SUITE 100
                                                                                                                              FOLSOM, CA 95630

2. 1030      ADDENDUM                                                                     PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1031      ADDENDUM                                                                     PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1032      ADDENDUM                                                                     PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1033      ADDENDUM                                                                     PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1034      ADDENDUM                                                                     PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1035      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1036      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1037      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1038      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1039      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

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Service and Supply Agreements

2. 1040      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1041      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1042      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1043      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1044      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1045      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1046      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1047      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1048      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1049      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1050      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1051      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223




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Service and Supply Agreements

2. 1052      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1053      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1054      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1055      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1056      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1057      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1058      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1059      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1060      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1061      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1062      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1063      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223




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Service and Supply Agreements

2. 1064      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1065      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1066      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1067      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1068      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1069      AGREEMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1070      AMENDMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1071      AMENDMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1072      AMENDMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1073      AMENDMENT                                                                    PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1074      NON-ADDENDUM                                                                 PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1075      NON-AGREEMENT                                                                PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223




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Service and Supply Agreements

2. 1076      NON-AGREEMENT                                                                PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1077      NON-AGREEMENT                                                                PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1078      NON-AGREEMENT                                                                PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1079      NON-AGREEMENT                                                                PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1080      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1081      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1082      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1083      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1084      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1085      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1086      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1087      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223




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Service and Supply Agreements

2. 1088      STATEMENT OF WORK                                                            PROTECTIVE LIFE INSURANCE COMPANY   2801 HWY 280 S
                                                                                                                              BIRMINGHAM, AL 35223

2. 1089      MASTER AGREEMENT                                                             PRUCO SECURITIES LLC                213 WASHINGTON STREET
                                                                                                                              NEWARK, NJ 7102

2. 1090      MASTER AGREEMENT                                                             PRUCO SECURITIES LLC                213 WASHINGTON STREET
                                                                                                                              NEWARK, NJ 7102

2. 1091      MASTER AGREEMENT                                                             PRUCO SECURITIES LLC                213 WASHINGTON STREET
                                                                                                                              NEWARK, NJ 7102

2. 1092      AGREEMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1093      AGREEMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1094      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1095      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1096      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1097      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1098      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102

2. 1099      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF     751 BROAD STREET
                                                                                          AMERICA                             NEWARK, NJ 7102




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Service and Supply Agreements

2. 1100      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1101      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1102      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1103      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1104      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1105      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1106      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1107      AMENDMENT                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1108      EXHIBIT                                                                      PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1109      EXHIBIT A                                                                    PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1110      FIRST AMENDMENT                                                              PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1111      FOURTH AMENDMENT                                                             PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102




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Service and Supply Agreements

2. 1112      LETTER                                                                       PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1113      LETTER AMENDMENT                                                             PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1114      MASTER AGREEMENT                                                             PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1115      MASTER AGREEMENT                                                             PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1116      MUTUAL CONFIDENTIALITY AND                                                   PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
             NDA                                                                          AMERICA                           NEWARK, NJ 7102

2. 1117      MUTUAL NDA                                                                   PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1118      SERVICES AGREEMENT                                                           PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1119      STATEMENT OF WORK                                                            PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1120      STATEMENT OF WORK                                                            PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1121      SUBJECT AGREEMENT                                                            PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1122      TERMINATION NOTICE                                                           PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102

2. 1123      THIRD AMENDMENT                                                              PRUDENTIAL INSURANCE COMPANY OF   751 BROAD STREET
                                                                                          AMERICA                           NEWARK, NJ 7102




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Service and Supply Agreements

2. 1124      QUOTE                                                                        QUALYS                                919 E HILLSDALE BLVD
                                                                                                                                FOSTER CITY, CA 94404

2. 1125      ADDENDUM                                                                     RBC                                   60 S 6TH ST
                                                                                                                                MINNEAPOLIS, MN 55402

2. 1126      AGREEMENT                                                                    RBC CORRESPONDENT AND ADVISOR         60 S 6TH ST
                                                                                          SERVICES, A DIVISION OF RBC CAPITAL   MINNEAPOLIS, MN 55402
                                                                                          MARKETS

2. 1127      AGREEMENT                                                                    RBC CORRESPONDENT AND ADVISOR         60 S 6TH ST
                                                                                          SERVICES, A DIVISION OF RBC CAPITAL   MINNEAPOLIS, MN 55402
                                                                                          MARKETS

2. 1128      AGREEMENT                                                                    RBC CORRESPONDENT AND ADVISOR         60 S 6TH ST
                                                                                          SERVICES, A DIVISION OF RBC CAPITAL   MINNEAPOLIS, MN 55402
                                                                                          MARKETS

2. 1129      AGREEMENT                                                                    RBC CORRESPONDENT AND ADVISOR         60 S 6TH ST
                                                                                          SERVICES, A DIVISION OF RBC CAPITAL   MINNEAPOLIS, MN 55402
                                                                                          MARKETS

2. 1130      BOOK OF BUSINESS                                                             RBC WEALTH MANAGEMENT                 60 S 6TH ST
                                                                                                                                MINNEAPOLIS, MN 55402

2. 1131      AMENDMENT TO MASTER                                                          RBC WEALTH MANAGEMENT FINANCIAL       60 S 6TH ST
             LICENSE AGREEMENT - EXHIBIT E                                                SERVICES                              MINNEAPOLIS, MN 55402

2. 1132      AMENDMENT TO MASTER                                                          RBC WEALTH MANAGEMENT FINANCIAL       60 S 6TH ST
             LICENSE AGREEMENT - EXHIBIT F                                                SERVICES                              MINNEAPOLIS, MN 55402

2. 1133      STATEMENT OF WORK                                                            RBC WEALTH MANAGEMENT FINANCIAL       60 S 6TH ST
                                                                                          SERVICES                              MINNEAPOLIS, MN 55402

2. 1134      WORK REQUEST FORM                                                            RBC WEALTH MANAGEMENT FINANCIAL       NATIONWIDE LIFE INSURANCE
                                                                                          SERVICES                              COMPANY
                                                                                                                                ONE NATIONWIDE PLAZA
                                                                                                                                COLUMBUS, OH 43215

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Service and Supply Agreements

2. 1135      INTERCOMPANY SUBORDINATION                                                    REGIONS BANK, AS ADMINISTRATIVE      521 E. MOREHEAD ST
             AGREEMENT                                                                     AGENT                                SUITE 200
                                                                                                                                CHARLOTTE, NC 28202

2. 1136      MASTER AGREEMENT                                                              RELIANCE STANDARD LIFE INSURANCE     2001 MARKET STREET
                                                                                           COMPANY                              SUITE 1500
                                                                                                                                PHILADELPHIA, PA 19103

2. 1137      AGREEMENT                                                                     REPUTATION CAPITAL MEDIA SERVICES,   ATTN: MARY ELLEN SLAYTER
                                                                                           LLC                                  950 CAMELLIA AVE, STE B
                                                                                                                                BATON ROUGE, LA 70806
                                                                                                                                BATON ROUGE, LA 70806

2. 1138      SOW                                                                           RIVERSOURCE LIFE INSURANCE           227 AMERIPRISE FINANCIAL CTR
                                                                                           COMPANY                              MINNEAPOLIS, MN 55474

2. 1139      SOW                                                                           RIVERSOURCE LIFE INSURANCE           227 AMERIPRISE FINANCIAL CTR
                                                                                           COMPANY                              MINNEAPOLIS, MN 55474

2. 1140      ADDENDUM                                                                      ROBERT W BAIRD & CO, INC             777 EAST WISCONSIN AVENUE
                                                                                                                                MILWAIKEE, WI 53202

2. 1141      MASTER AGREEMENT                                                              ROBERT W BAIRD & CO, INC             777 EAST WISCONSIN AVENUE
                                                                                                                                MILWAIKEE, WI 53202

2. 1142      STOCK APPRECIATION RIGHT                                                      ROBIN RAINA                          EBIX, INC.
             AWARD AGREEMENT                                                                                                    1 EBIX WAY
                                                                                                                                JOHNS CREEK, GA 30097

2. 1143      ISV SOFTWARE AGREEMENT                                                        ROCKET ENTITY                        77 4TH AVE.
             NUMBER: D3 EBIX INC BASE 2015,                                                                                     WALTHAM, MA 2451
             D3 TRANSACTION DOCUMENT
             NUMBER: D3 EBIX INCTD 2015,
             TRANSACTION DOCUMENT
             AMENDMENT 01: DISCOUNT
             DETERMINATION




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Service and Supply Agreements

2. 1144      ISV SOFTWARE AGREEMENT                                                        ROCKET ENTITY          77 4TH AVE.
             NUMBER: D3 EBIX INC BASE 2015,                                                                       WALTHAM, MA 2451
             D3 TRANSACTION DOCUMENT
             NUMBER: D3 EBIX INCTD 2015,
             TRANSACTION DOCUMENT
             AMENDMENT 01: DISCOUNT
             DETERMINATION

2. 1145      ISV SOFTWARE AGREEMENT                                                        ROCKET ENTITY          77 4TH AVE.
             NUMBER: U2EBIXBASE 2012, U2                                                                          WALTHAM, MA 2451
             TRANSACTION DOCUMENT
             NUMBER: U2EBIXTD012012,
             TRANSACTION DOCUMENT
             AMENDMENT 01: DISCOUNT
             DETERMINATION

2. 1146      ISV SOFTWARE AGREEMENT                                                        ROCKET ENTITY          77 4TH AVE.
             NUMBER: U2EBIXBASE 2012, U2                                                                          WALTHAM, MA 2451
             TRANSACTION DOCUMENT
             NUMBER: U2EBIXTD012012,
             TRANSACTION DOCUMENT
             AMENDMENT 01: DISCOUNT
             DETERMINATION

2. 1147      AMENDMENT                         12/20/2021                                  ROCKET SOFTWARE        P.O. BOX 842965
                                                                                                                  BOSTON, MA 02286-3965

2. 1148      AMENDMENT                                                                     ROCKET SOFTWARE        P.O. BOX 842965
                                                                                                                  BOSTON, MA 02286-3965

2. 1149      SOFTWARE AGREEMENT                                                            ROCKET SOFTWARE        P.O. BOX 842965
                                                                                                                  BOSTON, MA 02286-3965

2. 1150      SOFTWARE USAGE AGREEMENT                                                      ROYAL BANK OF CANADA   200 BAY STREET
                                                                                                                  TORONTO, ONTARIO
                                                                                                                  CANADA

2. 1151      STATEMENT OF WORK                                                             ROYAL BANK OF CANADA   200 BAY STREET
                                                                                                                  TORONTO, ONTARIO
                                                                                                                  CANADA

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Service and Supply Agreements

2. 1152      STATEMENT OF WORK                                                            ROYAL BANK OF CANADA             200 BAY STREET
                                                                                                                           TORONTO, ONTARIO
                                                                                                                           CANADA

2. 1153      STATEMENT OF WORK                                                            ROYAL BANK OF CANADA             200 BAY STREET
                                                                                                                           TORONTO, ONTARIO
                                                                                                                           CANADA

2. 1154      STATEMENT OF WORK                                                            ROYAL BANK OF CANADA             200 BAY STREET
                                                                                                                           TORONTO, ONTARIO
                                                                                                                           CANADA

2. 1155      STATEMENT OF WORK                                                            ROYAL BANK OF CANADA             200 BAY STREET
                                                                                                                           TORONTO, ONTARIO
                                                                                                                           CANADA

2. 1156      STATEMENT OF WORK                                                            ROYAL BANK OF CANADA             200 BAY STREET
                                                                                                                           TORONTO, ONTARIO
                                                                                                                           CANADA

2. 1157      ADDENDUM                                                                     ROYAL NEIGHBORS OF AMERICA       ATTN: GENERAL COUNSEL AND CIO
                                                                                                                           230 16 ST
                                                                                                                           ROCK ISLAND, IL 61201

2. 1158      AGREEMENT                                                                    ROYAL NEIGHBORS OF AMERICA       ATTN: GENERAL COUNSEL AND CIO
                                                                                                                           230 16 ST
                                                                                                                           ROCK ISLAND, IL 61201-8645

2. 1159      STATEMENT OF WORK                                                            ROYAL NEIGHBORS OF AMERICA       230 16 ST
                                                                                                                           ROCK ISLAND, IL 61201-8645

2. 1160      AGREEMENT                                                                    ROYAL NEIGHBORS OF AMERICAN      230 16 ST
                                                                                                                           ROCK ISLAND, IL 6120

2. 1161      AMENDMENT                                                                    SAGICOR LIFE INSURANCE COMPANY   8660 EAST HARTFORD DRIVE, SUITE 200
                                                                                                                           SCOTTSDALE, AZ 85255




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Service and Supply Agreements

2. 1162      INSURANCE SERVICES                                                           SAGICOR LIFE INSURANCE COMPANY    8660 EAST HARTFORD DRIVE, SUITE 200
             AGREEMENT                                                                                                      SCOTTSDALE, AZ 85255

2. 1163      MASTER AGREEMENT                                                             SAGICOR LIFE INSURANCE COMPANY    8660 EAST HARTFORD DRIVE, SUITE 200
                                                                                                                            SCOTTSDALE, AZ 85255

2. 1164      MASTER LICENSE AGREEMENT                                                     SAGICOR LIFE INSURANCE COMPANY    8660 EAST HARTFORD DRIVE, SUITE 200
                                                                                                                            SCOTTSDALE, AZ 85255

2. 1165      MASTER SERVICES AGREEMENT                                                    SAGICOR LIFE INSURANCE COMPANY    8660 EAST HARTFORD DRIVE, SUITE 200
                                                                                                                            SCOTTSDALE, AZ 85255

2. 1166      WINFLEX WEB SOFTWARE                                                         SAGICOR LIFE INSURANCE COMPANY    4343 N SCOTTSDALE RD., STE. 300
             LICENSE AGREEMENT                                                                                              SCOTTSDALE, AZ 85251

2. 1167      SCHEDULE                          7/31/2018                                  SAVVIS                            1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1168      SCHEDULE                                                                     SAVVIS                            1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1169      SCHEDULE                           1/2/2023                                  SAVVIS                            1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1170      SCHEDULE                                                                     SAVVIS                            1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1171      SCHEDULE                                                                     SAVVIS COMMUNICATIONS CORPORATION 1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1172      SCHEDULE                                                                     SAVVIS COMMUNICATIONS CORPORATION 1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1173      SCHEDULE                                                                     SAVVIS COMMUNICATIONS CORPORATION 1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017




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Service and Supply Agreements

2. 1174      SERVICE AGREEMENT                                                            SAVVIS COMMUNICATIONS CORPORATION 1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1175      SERVICE AGREEMENT                 6/30/2018                                  SAVVIS COMMUNICATIONS CORPORATION 1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1176      SERVICE AGREEMENT                                                            SAVVIS COMMUNICATIONS CORPORATION 1 SAVVIS PARKWAY
                                                                                                                            TOWN AND COUNTRY, MO 63017

2. 1177      ORDER                                                                        SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1178      ORDER                                                                        SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1179      ORDER                                                                        SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1180      ORDER                                                                        SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1181      SCHEDULE                                                                     SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1182      SCHEDULE                                                                     SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1183      SERVICE AGREEMENT                                                            SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1184      SIGNATURE PAGE                                                               SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017

2. 1185      SIGNATURE PAGE                   12/31/2017                                  SAVVIS COMMUNICATIONS             1 SAVVIS PARKWAY
                                                                                          CORPORATION DBA CENTURYLINK TS    TOWN AND COUNTRY, MO 63017




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Service and Supply Agreements

2. 1186      AGREEMENT                                                                    SBLI                               1 LINSCOTT RD
                                                                                                                             WOBURN, MA 1801

2. 1187      AGREEMENT                                                                    SBLI USA LIFE INSURANCE COMPANY    ATTN: GENERAL COUNSEL AND
                                                                                                                             CORPORATE SECRETARY
                                                                                                                             4415 PHEASANT RIDGE RD
                                                                                                                             ROANOKE, VA 24014

2. 1188      ADDENDUM                                                                     SBLI USA LIFE INSURANCE COMPANY, INC ATTN: GENERAL COUNSEL AND
                                                                                                                               CORPORATE SECRETARY
                                                                                                                               4415 PHEASANT RIDGE RD
                                                                                                                               ROANOKE, VA 24014

2. 1189      AGREEMENT                                                                    SBLI USA LIFE INSURANCE COMPANY, INC ATTN: GENERAL COUNSEL AND
                                                                                                                               CORPORATE SECRETARY
                                                                                                                               4415 PHEASANT RIDGE RD
                                                                                                                               ROANOKE, VA 24014

2. 1190      AGREEMENT                                                                    SBLI USA LIFE INSURANCE COMPANY, INC ATTN: GENERAL COUNSEL AND
                                                                                                                               CORPORATE SECRETARY
                                                                                                                               4415 PHEASANT RIDGE RD
                                                                                                                               ROANOKE, VA 24014

2. 1191      STATEMENT OF WORK                                                            SBLI USA LIFE INSURANCE COMPANY, INC ATTN: GENERAL COUNSEL AND
                                                                                                                               CORPORATE SECRETARY
                                                                                                                               4415 PHEASANT RIDGE RD
                                                                                                                               ROANOKE, VA 24014

2. 1192      WARRANTY LETTER                                                              SCOTTSDALE INSURANCE COMPANY       7 WORLD TRADE CENTER
                                                                                                                             33RD FL
                                                                                                                             NEW YORK, NY 10007

2. 1193      ADDENDUM TO INSURANCE                                                        SE2, LLC                           5801 SW 6TH AVE
             INFORMATION THIRD PARTY                                                                                         TOPEKA, KS 66636
             PROCESSOR AGREEMENT

2. 1194      AGREEMENT                                                                    SECURITY BENEFIT CORPORATION       1 SW SECURITY BENEFIT PLACE
                                                                                                                             TOPEKA, KS 66636


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Service and Supply Agreements

2. 1195      ADDENDUM TO INSURANCE                                                        SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
             INFORMATION THIRD PARTY                                                      COMPANY                           TOPEKA, KS 66636
             PROCESSOR AGREEMENT

2. 1196      ADDENDUM TO MSA                                                              SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1197      AGREEMENT                                                                    SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1198      AMENDED AGREEMENT                                                            SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1199      AMENDED AND REINSTATED                                                       SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
             INSURANCE SERVICES                                                           COMPANY                           TOPEKA, KS 66636
             AGREEMENT

2. 1200      AMENDED AND RESTATED                                                         SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
             INSURANCE SERVICES                                                           COMPANY                           TOPEKA, KS 66636
             AGREEMENT

2. 1201      AMENDMENT TO SOW                                                             SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1202      AMENDMENT TO SOW                                                             SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1203      AMENDMENT TO SOW                                                             SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1204      LETTER ADDENDUM                                                              SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1205      PROFESSIONAL SERVICES                                                        SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
             AGREEMENT, SCHEDULE TO                                                       COMPANY                           TOPEKA, KS 66636
             MASTER AGREEMENT



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Service and Supply Agreements

2. 1206      SOFTWARE LICENSE                                                             SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
             AGREEMENT, SCHEDULE TO                                                       COMPANY                           TOPEKA, KS 66636
             MASTER AGREEMENT

2. 1207      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1208      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1209      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1210      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1211      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1212      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1213      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1214      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1215      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1216      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1217      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636



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Service and Supply Agreements

2. 1218      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1219      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1220      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1221      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1222      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1223      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1224      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1225      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1226      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1227      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1228      SOW                                                                          SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1229      SOW, NON-EXECUTED                                                            SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636




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Service and Supply Agreements

2. 1230      SOW, NON-EXECUTED                                                            SECURITY BENEFIT LIFE INSURANCE   1 SW SECURITY BENEFIT PLACE
                                                                                          COMPANY                           TOPEKA, KS 66636

2. 1231      SECOND ADDENDUM TO                                                           SECURITY MUTUAL LIFE INSURANCE    100 COURT STREET
             SOFTWARE LICENSE AGREEMENT                                                   COMPANY OF NEW YORK               PO BOX 1625
                                                                                                                            BINGHAMPTON, NY 13902

2. 1232      SOFTWARE LICENSE AGREEMENT                                                   SECURITY MUTUAL LIFE INSURANCE    100 COURT STREET
                                                                                          COMPANY OF NEW YORK               PO BOX 1625
                                                                                                                            BINGHAMPTON, NY 13902

2. 1233      CLARIFICATION LETTER                                                         SEI GLOBAL SERVICES, INC.         3854 BROADMORE AVE, SE
                                                                                                                            GRAND RAPIDS

2. 1234      STRATEGIC PARTNERSHIP                                                        SEI GLOBAL SERVICES, INC.         ATTN: RAEF LEE
             AGREEMENT                                                                                                      1 FREEDOM VALLEY DR
                                                                                                                            OAKS, PA 19456

2. 1235      SERVICE AGREEMENT                                                            SEI SERVICE EXPRESS, INC          3854 BROADMORE AVE, SE
                                                                                                                            GRAND RAPIDS, MI 49512

2. 1236      SERVICE AGREEMENT                                                            SEI SERVICE EXPRESS, INC          3854 BROADMORE AVE, SE
                                                                                                                            GRAND RAPIDS, MI 49512

2. 1237      AGREEMENT                                                                    SERVICE EXPRESS, INC              3854 BROADMOOR AVE, SE
                                                                                                                            GRAND RAPIDS, MI 49512

2. 1238      AGREEMENT                                                                    SERVICE EXPRESS, INC              3854 BROADMOOR AVE, SE
                                                                                                                            GRAND RAPIDS, MI 49512

2. 1239      SERVICE PROPOSAL - SCHEDULE                                                  SERVICE PROPOSAL - SCHEDULE A     11650 GREAT OAKS WAY
             A                                                                                                              ALPHARETTA, GA 30022

2. 1240      MASTER SERVICES AGREEMENT                                                    SIDRAM TACHNOLOGIES LLC           5515 BRECKINRIDGE LN
                                                                                                                            CUMMING, GA 30040

2. 1241      WORK ORDER                                                                   SIDRAM TACHNOLOGIES LLC           5515 BRECKINRIDGE LN
                                                                                                                            CUMMING, GA 30040

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Service and Supply Agreements

2. 1242      CONTRACTORS MASTER                                                           SIDRAMTECHNOLOGIES        5515 BRECKINRIDGE LANE
             SERVICES AGREEMENT                                                                                     CUMMING, GA 30040

2. 1243      CONTRACTORS MASTER                                                           SIDRAMTECHNOLOGIES        5515 BRECKINRIDGE LANE
             SERVICES AGREEMENT                                                                                     CUMMING, GA 30040

2. 1244



2. 1245      PURCHASE ORDER                                                               SOFTLINE SERVICES INDIA   A-WING-614, KANAKIA WALLSTREET
                                                                                                                    CHAKALA, ANDHERI-KURLA RD
                                                                                                                    HANUMAN NAGAR
                                                                                                                    ANDHERI EAST
                                                                                                                    MUMBAI 400093
                                                                                                                    INDIA

2. 1246      LICENSE RENEWAL FORM                                                         SOLEX                     ATTN: VP OF LEGAL, DEVELOPMENT
                                                                                                                    AND ENGINEERING
                                                                                                                    500 ORACLE PKWY
                                                                                                                    MS-50P10
                                                                                                                    REDWOOD SHORES, CA 94065

2. 1247      SERVICE                                                                      SOLEX                     254 S MAIN ST
                                                                                                                    NEW CITY, NY 10956

2. 1248      SERVICE ATTACHMENT                                                           SOLEX                     254 S. MAIN ST
                                                                                                                    NEW CITY, NJ 10965

2. 1249      SERVICE ATTACHMENT                                                           SOLEX                     254 S. MAIN ST
                                                                                                                    NEW CITY, NJ 10965

2. 1250      SERVICE ATTACHMENT                                                           SOLEX                     254 S. MAIN ST
                                                                                                                    NEW CITY, NJ 10965

2. 1251      SERVICE ATTACHMENT                                                           SOLEX                     254 S. MAIN ST
                                                                                                                    NEW CITY, NJ 10965




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Service and Supply Agreements

2. 1252      SERVICE ATTACHMENT                                                           SOLEX                   254 S. MAIN ST
                                                                                                                  NEW CITY, NJ 10965

2. 1253      SERVICE ATTACHMENT                                                           SOLEX                   ATTN: VP OF LEGAL, DEVELOPMENT
                                                                                                                  AND ENGINEERING
                                                                                                                  500 ORACLE PKWY
                                                                                                                  MS-50P10
                                                                                                                  REDWOOD SHORES, CA 94065

2. 1254      SERVICE ATTACHMENT                                                           SOLEX                   ATTN: VP OF LEGAL, DEVELOPMENT
                                                                                                                  AND ENGINEERING
                                                                                                                  500 ORACLE PKWY
                                                                                                                  MS-50P10
                                                                                                                  REDWOOD SHORES, CA 94065

2. 1255      SERVICE ATTACHMENT                                                           SOLEX                   ATTN: VP OF LEGAL, DEVELOPMENT
                                                                                                                  AND ENGINEERING
                                                                                                                  500 ORACLE PKWY
                                                                                                                  MS-50P10
                                                                                                                  REDWOOD SHORES, CA 94065

2. 1256      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE   254 MAIN ST
                                                                                                                  NEW CITY, NY 10956

2. 1257      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE   254 MAIN ST
                                                                                                                  NEW CITY, NY 10956

2. 1258      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE   254 MAIN ST
                                                                                                                  NEW CITY, NY 10956

2. 1259      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE   254 MAIN ST
                                                                                                                  NEW CITY, NY 10956

2. 1260      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE   254 MAIN ST
                                                                                                                  NEW CITY, NY 10956

2. 1261      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE   254 MAIN ST
                                                                                                                  NEW CITY, NY 10956


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Service and Supply Agreements

2. 1262      ATTACHMENT                                                                   SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1263      DATA SERVICE ATTACHEMNT                                                      SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1264      DATA SERVICE ATTACHEMNT                                                      SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1265      DATA SERVICE ATTACHEMNT                                                      SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1266      LETTER                                                                       SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1267      SERVICE ATTACHMENT                                                           SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1268      SERVICE ATTACHMENT                                                           SOLEX SOLUTIONS SUITE             254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1269      DID LOA (LETTER OF AGNECY)                                                   SOLEX SUITE OF SOLUTIONS          254 MAIN ST
                                                                                                                            NEW CITY, NY 10956

2. 1270      LEASE AGREEMENT                                                              SOUTH LAKE AVENTM INVESTORS LLC   251 SOUTH LAKE AVENUE
                                                                                                                            SUITE 100
                                                                                                                            PASADENA, CA 91101

2. 1271      MASTER AGREEMENT                                                             STANDARD INSURANCE COMPANY        900 SW 5TH AVENUE
                                                                                                                            PORTLAND, OR 97204

2. 1272      MASTER AGREEMENT                                                             STELLAR CONSULTING SOLUTIONS      2475 NORTHWINDS PKWY, STE 200
                                                                                                                            ALPHARETTA, GA 30009

2. 1273      ADDENDUM                                                                     SUN LIFE ASSURANCE COMPANY OF     96 WORCESTER ST
                                                                                          CANADA                            WELLESLEY HILLS, MA 2481



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Service and Supply Agreements

2. 1274      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1275      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1276      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1277      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1278      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1279      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1280      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1281      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1282      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1283      AGREEMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1284      AMENDMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481
                                                                                                                          CANADA

2. 1285      AMENDMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481



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2. 1286      AMENDMENT                                                                    SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1287      CHANGE CONTROL FORM                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1288      CHANGE CONTROL FORM                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1289      EXHIBIT                                                                      SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1290      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1291      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1292      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1293      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1294      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1295      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1296      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1297      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481




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Service and Supply Agreements

2. 1298      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1299      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1300      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1301      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1302      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1303      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1304      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1305      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1306      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1307      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1308      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1309      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481




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Service and Supply Agreements

2. 1310      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1311      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1312      SOW                                                                          SUN LIFE ASSURANCE COMPANY OF   96 WORCESTER ST
                                                                                          CANADA                          WELLESLEY HILLS, MA 2481

2. 1313      AGREEMENT                                                                    SUNAMERICA ANNUITY              ATTN: LISA EDWARDS
                                                                                                                          21650 OXNARD ST, STE 750
                                                                                                                          WOODLAND HILLS, CA 91367

2. 1314      AMENDMENT                                                                    SUNAMERICA ANNUITY AND LIFE     ATTN: LISA EDWARDS
                                                                                          ASSURANCE COMPANY               21650 OXNARD ST, STE 750
                                                                                                                          WOODLAND HILLS, CA 91367

2. 1315      AMENDMENT                                                                    SUNAMERICA ANNUITY AND LIFE     ATTN: LISA EDWARDS
                                                                                          ASSURANCE COMPANY               21650 OXNARD ST, STE 750
                                                                                                                          WOODLAND HILLS, CA 91367

2. 1316      AMENDMENT                                                                    SUNAMERICA ANNUITY AND LIFE     ATTN: LISA EDWARDS
                                                                                          ASSURANCE COMPANY               21650 OXNARD ST, STE 750
                                                                                                                          WOODLAND HILLS, CA 91367

2. 1317      AMENDMENT                                                                    SUNAMERICA ANNUITY AND LIFE     ATTN: LISA EDWARDS
                                                                                          ASSURANCE COMPANY               21650 OXNARD ST, STE 750
                                                                                                                          WOODLAND HILLS, CA 91367

2. 1318      STATEMENT OF WORK                                                            SUNAMERICA ANNUITY AND LIFE     ATTN: LISA EDWARDS
                                                                                          ASSURANCE COMPANY               21650 OXNARD ST, STE 750
                                                                                                                          WOODLAND HILLS, CA 91367




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Service and Supply Agreements

2. 1319      AMENDMENT TO THE INSURANCE                                                   SUNAMERICA ANNUITY AND LIFE         21650 OXNARD ST
             SERVICES AGREEMENT                                                           ASSURANCE COMPANY F/K/A AIG         WOODLAND HILLS, CA 91367
                                                                                          SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, FIRST SUNAMERICA LIFE
                                                                                          INSURANCE COMPANY, WESTERN
                                                                                          NATIONAL LIFE INSURANCE COMPANY
                                                                                          F/K/A AIG ANNUITY INSURANCE
                                                                                          COMPANY, AMERICAN GENERAL LIFE
                                                                                          INSURANCE COMPANY, THE U

2. 1320      AMENDMENT TO THE INSURANCE                                                   SUNAMERICA ANNUITY AND LIFE         2929 ALLEN PKWY
             SERVICES AGREEMENT                                                           ASSURANCE COMPANY F/K/A AIG         35TH FL
                                                                                          SUNAMERICA LIFE ASSURANCE
                                                                                          COMPANY, FIRST SUNAMERICA LIFE
                                                                                          INSURANCE COMPANY, WESTERN
                                                                                          NATIONAL LIFE INSURANCE COMPANY
                                                                                          F/K/A AIG ANNUITY INSURANCE
                                                                                          COMPANY, AMERICAN GENERAL LIFE
                                                                                          INSURANCE COMPANY, THE U

2. 1321      SECOND AMENDMENT TO THE                                                      SUNAMERICA, FIRST SUNAMERICA,       21650 OXNARD ST
             INSURANCE SERVICES                                                           WNLIC, AGL,USL, AND AGDL,           WOODLAND HILLS, CA 91367
             AGREEMENT                                                                    COLLECTIVELY SUNAMERICA, FIRST
                                                                                          SUNAMERICA, WNLIC, AGL, USL, AGDL
                                                                                          AND AI LIFE

2. 1322      EXCEL                                                                        SUNGARD                             ATTN: CONTRACT ADMINISTRATION
                                                                                                                              680 E SWEDESFORD RD
                                                                                                                              WAYNE, PA 19087

2. 1323      ADDENDUM                                                                     SUNGARD AVAILABILITY SERVCES LP     ATTN: CONTRACT ADMINISTRATION
                                                                                                                              680 E SWEDESFORD RD
                                                                                                                              WAYNE, PA 19087

2. 1324      AGREEMENT                                                                    SUNGARD AVAILABILITY SERVCES LP     ATTN: CONTRACT ADMINISTRATION
                                                                                                                              680 E SWEDESFORD RD
                                                                                                                              WAYNE, PA 19087

2. 1325      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP    11650 GREAT OAKS WAY
                                                                                                                              ALPHARETTA, GA 30022

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2. 1326      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   55 CITY CENTRE DR
                                                                                                                             MISSISSAUGA, ON L5B 1M3
                                                                                                                             CANADA

2. 1327      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   550 E 84TH AVE


2. 1328      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   550 E 84TH AVE
                                                                                                                             THORNTON, CO 80229

2. 1329      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA

2. 1330      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1331      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1332      ADDENDUM TO ORDER                                                            SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1333      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1334      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1335      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1336      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1337      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022
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Service and Supply Agreements

2. 1338      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1339      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1340      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1341      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1342      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1343      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1344      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1345      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1346      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1347      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   SMYRNA, GA
                                                                                                                             SMYRNA, GA

2. 1348      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   SMYRNA, GA
                                                                                                                             SMYRNA, GA

2. 1349      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   SMYRNA, GA
                                                                                                                             SMYRNA, GA



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Service and Supply Agreements

2. 1350      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   SMYRNA, GA
                                                                                                                             SMYRNA, GA

2. 1351      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   SMYRNA, GA
                                                                                                                             SMYRNA, GA

2. 1352      ADDENDUM TO SCHEDULE                                                         SUNGARD AVAILABILITY SERVICES LP   SMYRNA, GA
                                                                                                                             SMYRNA, GA

2. 1353      MASTER SERVICES AGREEMENT                                                    SUNGARD AVAILABILITY SERVICES LP   680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1354      MASTER SERVICES AGREEMENT                                                    SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1355      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   55 CITY CENTRE DR
                                                                                                                             MISSISSAUGA, ON L5B 1M3
                                                                                                                             CANADA

2. 1356      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   55 CITY CENTRE DR
                                                                                                                             MISSISSAUGA, ON L5B 1M3
                                                                                                                             CANADA

2. 1357      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1358      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1359      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1360      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

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Service and Supply Agreements

2. 1361      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1362      ORDER                                                                        SUNGARD AVAILABILITY SERVICES LP   ATTN: CONTRACT ADMINISTRATION
                                                                                                                             680 E SWEDESFORD RD
                                                                                                                             WAYNE, PA 19087

2. 1363      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1364      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1365      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1366      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1367      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1368      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   11650 GREAT OAKS WAY
                                                                                                                             ALPHARETTA, GA 30022

2. 1369      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1370      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1371      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082

2. 1372      SCHEDULE                                                                     SUNGARD AVAILABILITY SERVICES LP   5600 UNITED DR
                                                                                                                             SMYRNA, GA 30082


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Service and Supply Agreements

2. 1373      PROVIDER AGREEMENT                                                           SUPERIOR MOBIL MEDICS            3838 CAMINO DEL RIO N, STE 250
                                                                                                                           SAN DIEGO, CA 92108-1708

2. 1374      AGREEMENT                                                                    SUPERIOR MOBILE MEDICS, INC      3838 CAMINO DEL RIO N, STE 250
                                                                                                                           SAN DIEGO, CA 92108

2. 1375      ADDENDUM                                                                     SYMANTEC                         350 ELLIS STREET
                                                                                                                           MOUNTAIN VIEW, CA 94043

2. 1376      AMENDMENT                                                                    SYMANTEC                         350 ELLIS STREET
                                                                                                                           MOUNTAIN VIEW, CA 94043

2. 1377      RESELLER AGREEMENT                                                           SYMANTEC CORPORATION             350 ELLIS STREET
                                                                                                                           MOUNTAIN VIEW, CA 94043

2. 1378      STATEMENT OF WORK                                                            SYMANTEC CORPORATION,            350 ELLIS STREET
                                                                                                                           MOUNTAIN VIEW, CA 94043

2. 1379      STATEMENT OF WORK                                                            SYMANTEC CORPORATION,            350 ELLIS STREET
                                                                                                                           MOUNTAIN VIEW, CA 94043

2. 1380      ADDENDUM                                                                     SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1381      ADDENDUM                                                                     SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1382      ADDENDUM                                                                     SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1383      ADDENDUM                                                                     SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004



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Service and Supply Agreements

2. 1384      AGREEMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1385      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1386      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1387      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1388      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1389      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1390      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1391      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1392      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1393      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

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2. 1394      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1395      AMENDMENT                                                                    SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1396      LETTER OF ENGAGEMENT                                                         SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1397      MASTER SERVICE AGREEMENT                                                     SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1398      SCHEDULE TO MSA                                                              SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1399      SCHEDULE TO MSA                                                              SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1400      SERVICE AGREEMENT                                                            SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1401      SERVICE AGREEMENT                                                            SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1402      SERVICE AGREEMENT                                                            SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

2. 1403      STATEMENT OF WORK                                                            SYMETRA LIFE INSURANCE COMPANY   777 108TH AVE NE
                                                                                                                           STE 1200
                                                                                                                           BELLEVUE, WA 98004

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2. 1404      STATEMENT OF WORK                                                            SYMETRA LIFE INSURANCE COMPANY    777 108TH AVE NE
                                                                                                                            STE 1200
                                                                                                                            BELLEVUE, WA 98004

2. 1405      STATEMENT OF WORK                                                            SYMETRA LIFE INSURANCE COMPANY    777 108TH AVE NE
                                                                                                                            STE 1200
                                                                                                                            BELLEVUE, WA 98004

2. 1406      AMENDMENT                                                                    SYMETRA NATIONAL LIFE INSURANCE   777 108TH AVE NE
                                                                                          COMPANY                           STE 1200
                                                                                                                            BELLEVUE, WA 98004

2. 1407      QUOTE                             1/31/2021                                  TANDESA LLC                       5330 CALLE VISTA
                                                                                                                            SAN DIEGO, CA 92109

2. 1408      QUOTE                                                                        TANDESA LLC                       5330 CALLE VISTA
                                                                                                                            SAN DIEGO, CA 92109-1920

2. 1409      STATEMENT OF WORK                                                            TD BANK                           1701 ROUTE 70 EAST,
                                                                                                                            CHERRY HILL, NJ 8034

2. 1410      MASTER AGREEMENT OVER ALL                                                    TD BANK, N.A                      1701 ROUTE 70 EAST,
             SOW                                                                                                            CHERRY HILL, NJ 8034

2. 1411      MASTER AGREEMENT OVER ALL                                                    TD BANK, N.A                      1701 ROUTE 70 EAST,
             SOW                                                                                                            CHERRY HILL, NJ 8034

2. 1412      MASTER AGREEMENT OVER ALL                                                    TD BANK, N.A                      2059 SPRINGDALE ROAD
             SOW                                                                                                            CHERRY HILL, NJ 8003

2. 1413      MASTER AGREEMENT OVER ALL                                                    TD BANK, N.A                      2059 SPRINGDALE ROAD
             SOW                                                                                                            CHERRY HILL, NJ 8003

2. 1414      MASTER AGREEMENT OVER ALL                                                    TD BANK, N.A                      TWO HANOVER SQUARE, 13TH FLOOR
             SOW                                                                                                            434 FAYETTEVILLE ST
                                                                                                                            RALEIGH, NC 27601



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2. 1415      STATEMENT OF WORK                                                            TD BANK, N.A                        2059 SPRINGDALE ROAD
                                                                                                                              CHERRY HILL, NJ 8003

2. 1416      STATEMENT OF WORK                                                            TD BANK, N.A.                       2059 SPRINGDALE RD
                                                                                                                              CHERRY HILL, NJ 8003

2. 1417      AMENDMENT TWO (2) TO THE                                                     THE AMERICAN GENERAL LIFE           2929 ALLEN PKWY
             INSURANCE SERVICES                                                           INSURANCE COMPANY, AND THE UNITED
             AGREEMENT                                                                    STATES LIFE INSURANCE COMPANY IN
                                                                                          THE CITY OF NEW YORK

2. 1418      NON-AGREEMENT                                                                THE BANK OF NEW YORK MELLON         240 GREENWICH ST
                                                                                          CORPORATION                         NEW YORK, NY 10286

2. 1419      NON-AGREEMENT                                                                THE BANK OF NEW YORK MELLON         240 GREENWICH ST
                                                                                          CORPORATION AND PERSHING LLC        NEW YORK, NY 10286

2. 1420      ADDENDUM                                                                     THE CINCINNATI LIFE INSURANCE       THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                             6200 S GILMORE RD
                                                                                                                              FAIRFIELD, OH 45014

2. 1421      ADDENDUM                                                                     THE CINCINNATI LIFE INSURANCE       THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                             6200 S GILMORE RD
                                                                                                                              FAIRFIELD, OH 45014

2. 1422      ADDENDUM                                                                     THE CINCINNATI LIFE INSURANCE       THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                             6200 S GILMORE RD
                                                                                                                              FAIRFIELD, OH 45014

2. 1423      AGREEMENT                                                                    THE CINCINNATI LIFE INSURANCE       6200 S GILMORE RD
                                                                                          COMPANY                             FAIRFIELD, OH 45014

2. 1424      AGREEMENT                                                                    THE CINCINNATI LIFE INSURANCE       THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                             6200 S GILMORE RD
                                                                                                                              FAIRFIELD, OH 45014




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Service and Supply Agreements

2. 1425      AGREEMENT                                                                    THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1426      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1427      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1428      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1429      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1430      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1431      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1432      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1433      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

2. 1434      SOW                                                                          THE CINCINNATI LIFE INSURANCE   THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                         6200 S GILMORE RD
                                                                                                                          FAIRFIELD, OH 45014

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Service and Supply Agreements

2. 1435      SOW                                                                          THE CINCINNATI LIFE INSURANCE     THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                           6200 S GILMORE RD
                                                                                                                            FAIRFIELD, OH 45014

2. 1436      SOW                                                                          THE CINCINNATI LIFE INSURANCE     THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                           6200 S GILMORE RD
                                                                                                                            FAIRFIELD, OH 45014

2. 1437      SOW                                                                          THE CINCINNATI LIFE INSURANCE     THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                           6200 S GILMORE RD
                                                                                                                            FAIRFIELD, OH 45014

2. 1438      SOW                                                                          THE CINCINNATI LIFE INSURANCE     THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                           6200 S GILMORE RD
                                                                                                                            FAIRFIELD, OH 45014

2. 1439      SOW                                                                          THE CINCINNATI LIFE INSURANCE     THE CINCINNATI INSURANCE COMPANY
                                                                                          COMPANY                           6200 S GILMORE RD
                                                                                                                            FAIRFIELD, OH 45014

2. 1440      AGREEMENT                                                                    THE DEPOSITORY TRUST & CLEARING   55 WATER STREET
                                                                                          CORPORATION                       NEW YORK, NY 11220

2. 1441      AGREEMENT                                                                    THE GUARDIAN LIFE INSURANCE       7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                NEW YORK, NY 10004

2. 1442      AGREEMENT                                                                    THE GUARDIAN LIFE INSURANCE       7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                NEW YORK, NY 10004

2. 1443      AGREEMENT                                                                    THE GUARDIAN LIFE INSURANCE       7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                NEW YORK, NY 10004

2. 1444      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE       10 HUDSON YARDS
                                                                                          COMPANY OF AMERICA                NEW YORK, NY 10001

2. 1445      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE       251 SOUTH LAKE AVENUE, SUITE 200
                                                                                          COMPANY OF AMERICA                PASADENA, CA 91106


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Service and Supply Agreements

2. 1446      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1447      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1448      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1449      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1450      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1451      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1452      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1453      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1454      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1455      AMENDMENT                                                                    THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1456      EXHIBIT                                                                      THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1457      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004




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Service and Supply Agreements

2. 1458      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1459      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1460      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1461      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1462      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1463      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1464      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1465      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1466      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1467      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1468      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1469      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004




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Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                          Address



Service and Supply Agreements

2. 1470      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1471      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1472      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1473      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1474      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1475      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1476      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1477      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1478      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1479      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1480      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1481      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004




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Service and Supply Agreements

2. 1482      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1483      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1484      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1485      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1486      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1487      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1488      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1489      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1490      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1491      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1492      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004

2. 1493      SOW                                                                          THE GUARDIAN LIFE INSURANCE   7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA            NEW YORK, NY 10004




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Service and Supply Agreements

2. 1494      SOW                                                                          THE GUARDIAN LIFE INSURANCE        7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                 NEW YORK, NY 10004

2. 1495      SOW                                                                          THE GUARDIAN LIFE INSURANCE        7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                 NEW YORK, NY 10004

2. 1496      SOW                                                                          THE GUARDIAN LIFE INSURANCE        7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                 NEW YORK, NY 10004

2. 1497      SOW                                                                          THE GUARDIAN LIFE INSURANCE        7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                 NEW YORK, NY 10004

2. 1498      SOW                                                                          THE GUARDIAN LIFE INSURANCE        7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                 NEW YORK, NY 10004

2. 1499      SOW                                                                          THE GUARDIAN LIFE INSURANCE        7 HANOVER SQUARE
                                                                                          COMPANY OF AMERICA                 NEW YORK, NY 10004

2. 1500      MASTER AGREEMENT                                                             THE LINCOLN NATIONAL LIFE INSURANCE 100 N GREENE ST
                                                                                          COMPANY                             GREENSBORO, NC 27401

2. 1501      SOW                                                                          THE LINCOLN NATIONAL LIFE INSURANCE 100 N GREENE ST
                                                                                          COMPANY                             GREENSBORO, NC 27401

2. 1502      AGREEMENT                                                                    THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1503      AGREEMENT                                                                    THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1504      AMENDMENT                                                                    THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

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Service and Supply Agreements

2. 1505      AMENDMENT                                                                    THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1506      LETTER AGREEMENT                                                             THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1507      LETTER AGREEMENT                                                             THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1508      SOW                                                                          THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1509      SOW                                                                          THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1510      SOW                                                                          THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1511      SOW                              12/31/2023                                  THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA

2. 1512      SOW                                                                          THE MANUFACTURES LIFE INSURANCE   200 BLOOR ST
                                                                                          COMPANY                           NORTH TOWER 10
                                                                                                                            TORONTO, ON M4W 1E5
                                                                                                                            CANADA


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Service and Supply Agreements

2. 1513      SOW                                                                          THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1514      SOW                                                                          THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1515      SOW                                                                          THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1516      SOW                                                                          THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1517      SOW                                                                          THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1518      SOW                              12/31/2023                                  THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1519      SOW                                                                          THE MANUFACTURES LIFE INSURANCE    200 BLOOR ST
                                                                                          COMPANY                            NORTH TOWER 10
                                                                                                                             TORONTO, ON M4W 1E5
                                                                                                                             CANADA

2. 1520      ADDENDUM                                                                     THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242




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Service and Supply Agreements

2. 1521      ADDENDUM                                                                     THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242

2. 1522      ADDENDUM                         12/20/2025                                  THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242

2. 1523      AGREEMENT                                                                    THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242

2. 1524      AGREEMENT                                                                    THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242

2. 1525      AGREEMENT                                                                    THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242

2. 1526      AGREEMENT                                                                    THE OHIO NATIONAL LIFE INSURANCE   ONE FINANCIAL WY
                                                                                          COMPANY                            CINCINNATI, OH 45242

2. 1527      AGREEMENT                                                                    THE SAVINGS BANK LIFE INSURANCE    ATTN: PETER SCAVONGELLI, SVP &
                                                                                          COMPANY                            GENERAL COUNSEL
                                                                                                                             1 LINSCOTT RD
                                                                                                                             WOBURN, MA 1801

2. 1528      MASTER AGREEMENT                                                             THRIVENT FINANCIAL FOR LUTHERANS   625 FOURTH AVE
                                                                                                                             SOUTH MINNEAPOLIS, MN 55415

2. 1529      SCHEDULE A TO MASTER                                                         THRIVENT FINANCIAL FOR LUTHERANS   625 FOURTH AVE
             AGREEMENT                                                                                                       SOUTH MINNEAPOLIS, MN 55415

2. 1530      SCHEDULE B TO MASTER                                                         THRIVENT FINANCIAL FOR LUTHERANS   4321 NORTH BALLARD RD
             AGREEMENT                                                                                                       APPLETON, WI 54919

2. 1531      SERVICES AGREEMENT                                                           THRIVENT FINANCIAL FOR LUTHERANS   4321 NORTH BALLARD RD
                                                                                                                             APPLETON, WI 54919

2. 1532      AGREEMENT                                                                    TRANSAMERICA LIFE CANADA           5000 YONGE STREET
                                                                                                                             TORONTA, ONTARIO M2N 7J8
                                                                                                                             CANADA

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Service and Supply Agreements

2. 1533      AGREEMENT                                                                    TRANSAMERICA LIFE INSURANCE        4333 EDGEWOOD ROAD NE
                                                                                          COMPANY                            CEDAR RAPIDS, IA 52499

2. 1534      AGREEMENT                                                                    TRANSAMERICA LIFE INSURANCE        4333 EDGEWOOD ROAD NE
                                                                                          COMPANY                            CEDAR RAPIDS, IA 52499

2. 1535      AGREEMENT                                                                    TRANSAMERICA LIFE INSURANCE        4333 EDGEWOOD ROAD NE
                                                                                          COMPANY                            CEDAR RAPIDS, IA 52499

2. 1536      AGREEMENT                                                                    TRANSAMERICA LIFE INSURANCE        4333 EDGEWOOD ROAD NE
                                                                                          COMPANY                            CEDAR RAPIDS, IA 52499

2. 1537      AGREEMENT                                                                    TRANSAMERICA LIFE INSURANCE        2350 CORPORATE PARK DRIVE, SUITE
                                                                                          COMPANY; TRANSAMERICA LIFE AND     600
                                                                                          ANNUITY COMPANY; TRANSAMERICA      HERNDON, VA 20171
                                                                                          OCCIDENTAL LIFE INSURANCE COMPANY;
                                                                                          TRANSAMERICA FINANCIAL LIFE
                                                                                          INSURANCE COMPANY; PEOPLES
                                                                                          BENEFIT LIFE INSURANCE COMPANY;
                                                                                          WESTERN RESERVE LIFE ASSURANCE
                                                                                          COMPANY OF OH

2. 1538      AGREEMENT                                                                    TRANSAMERICA LIFE INSURANCE        2350 CORPORATE PARK DRIVE, SUITE
                                                                                          COMPANY; TRANSAMERICA LIFE AND     600
                                                                                          ANNUITY COMPANY; TRANSAMERICA      HERNDON, VA 20171
                                                                                          OCCIDENTAL LIFE INSURANCE COMPANY;
                                                                                          TRANSAMERICA FINANCIAL LIFE
                                                                                          INSURANCE COMPANY; PEOPLES
                                                                                          BENEFIT LIFE INSURANCE COMPANY;
                                                                                          WESTERN RESERVE LIFE ASSURANCE
                                                                                          COMPANY OF OH

2. 1539      ORDER FORM                                                                   TWILIO SEGMENT, TWILIO INC.        TWILIO SEGMENT, TWILIO INC.
                                                                                                                             101 SPEAR STREET
                                                                                                                             5TH FLOOR
                                                                                                                             SAN FRANCISCO, CA 94105

2. 1540      ORDER FORM                                                                   TWILIO, INC.                       101 SPEAR STREET
                                                                                                                             5TH FLOOR
                                                                                                                             SAN FRANCISCO, CA 94105

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Service and Supply Agreements

2. 1541      LICENSING AGREEMENT                                                          UNITED FARM FAMILY LIFE INSURANCE   225 S. EAST STREET
                                                                                          COMPANY                             INDIANAPOLIS, IN 46202

2. 1542      SERVICES AGREEMENT               11/30/2024                                  UNITED FARM FAMILY LIFE INSURANCE   225 S. EAST STREET
                                                                                          COMPANY                             INDIANAPOLIS, IN 46202

2. 1543      SERVICES AGREEMENT                                                           UNITED FARM FAMILY LIFE INSURANCE   225 S. EAST STREET
                                                                                          COMPANY                             INDIANAPOLIS, IN 46202

2. 1544      LICENSING AGREEMENT                                                          UNITED HOME LIFE INSURANCE COMPANY 225 S. EAST STREET
                                                                                                                             INDIANAPOLIS, IN 46202

2. 1545      SERVICES AGREEMENT                                                           UNITED HOME LIFE INSURANCE COMPANY 225 S. EAST STREET
                                                                                                                             INDIANAPOLIS, IN 46202

2. 1546      SERVICES AGREEMENT                                                           UNITED HOME LIFE INSURANCE COMPANY ATTN: MATTHEW MILLER, PRODUCT
                                                                                                                             MANAGER
                                                                                                                             1201 W COURT ST
                                                                                                                             PARAGOULD, AR 72450

2. 1547      NDA                                                                          UNITED SERVICES AUTOMOBILE          9800 FREDERICKSBURG ROAD
                                                                                          ASSOCIATION                         SAN ANTONIO, TX 78288

2. 1548      NDA                                                                          UNITED SERVICES AUTOMOBILE          9800 FREDERICKSBURG ROAD
                                                                                          ASSOCIATION                         SAN ANTONIO, TX 78288

2. 1549      NDA                                                                          UNITED SERVICES AUTOMOBILE          9800 FREDERICKSBURG ROAD
                                                                                          ASSOCIATION                         SAN ANTONIO, TX 78288

2. 1550      NDA                                                                          UNITED SERVICES AUTOMOBILE          9800 FREDERICKSBURG ROAD
                                                                                          ASSOCIATION                         SAN ANTONIO, TX 78288

2. 1551      NDA                                                                          UNITED SERVICES AUTOMOBILE          9800 FREDERICKSBURG ROAD
                                                                                          ASSOCIATION                         SAN ANTONIO, TX 78288

2. 1552      NDA                                                                          UNITED SERVICES AUTOMOBILE          9800 FREDERICKSBURG ROAD
                                                                                          ASSOCIATION                         SAN ANTONIO, TX 78288


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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                               Address



Service and Supply Agreements

2. 1553      ADDENDUM                                                                     UNIVERSAL LIFE INSURANCE COMPANY   MEJICO ST #16
                                                                                                                             SAN JUAN, PR 917

2. 1554      MASTER AGREEMENT                                                             UNIVERSAL LIFE INSURANCE COMPANY   MEJICO ST #16
                                                                                                                             SAN JUAN, PR 917

2. 1555      AMENDMENT                        12/11/2024                                  USAA LIFE INSURANCE COMPANY AND    9800 FREDERICKSBURG ROAD
                                                                                          USAA LIFE INSURANCE COMPANY OF     SAN ANTONIO, TX 78288
                                                                                          NEW YORK

2. 1556      MASTER AGREEMENT                                                             USAA LIFE INSURANCE COMPANY AND    9800 FREDERICKSBURG ROAD
                                                                                          USAA LIFE INSURANCE COMPANY OF     SAN ANTONIO, TX 78288
                                                                                          NEW YORK

2. 1557      SUBJECT AGREEMENT                12/11/2024                                  USAA LIFE INSURANCE COMPANY AND    9800 FREDERICKSBURG ROAD
                                                                                          USAA LIFE INSURANCE COMPANY OF     SAN ANTONIO, TX 78288
                                                                                          NEW YORK

2. 1558      SUBJECT AGREEMENT                                                            USAA LIFE INSURANCE COMPANY AND    9800 FREDERICKSBURG ROAD
                                                                                          USAA LIFE INSURANCE COMPANY OF     SAN ANTONIO, TX 78288
                                                                                          NEW YORK

2. 1559      AGREEMENT                        12/11/2024                                  VALMARK FINANCIAL GROUP            130 SPRINGSIDE DR, STE 300
                                                                                                                             AKRON, OH 44333

2. 1560      SMARTOFFICE DISCOUNT             12/11/2024                                  VALMARK FINANCIAL GROUP            130 SPRINGSIDE DR, STE 300
             PROGRAM AGREEMENT                                                                                               AKRON, OH 44333

2. 1561      SALES ORDER                                                                  VERACODE                           65 NETWORK DRIVE
                                                                                                                             BURLINGTON, MA 1803

2. 1562      SALES ORDER                        8/6/2024                                  VERACODE                           65 NETWORK DRIVE
                                                                                                                             BURLINGTON, MA 1803

2. 1563      SUMMARY OF CHARGES                1/31/2024                                  VONAGE                             1375 PEACHTREE ST NE
                                                                                                                             SUITE 175
                                                                                                                             ATLANTA, GA 30309


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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                           Address



Service and Supply Agreements

2. 1564      MASTER AGREEMENT                                                             WELLS FARGO BANK, N.A.         255 SECOND AVENUE SOUTH
                                                                                                                         MINNEAPOLIS, MN 55479

2. 1565      STATEMENT OF WORK                                                            WELLS FARGO BANK, N.A.         255 SECOND AVENUE SOUTH
                                                                                                                         MINNEAPOLIS, MN 55479

2. 1566      ADDENDUM                          9/29/2024                                  WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1567      ADDENDUM                                                                     WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1568      ADDENDUM                                                                     WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1569      ADDENDUM                                                                     WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1570      ADDENDUM                         12/31/2024                                  WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1571      ADDENDUM                                                                     WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1572      AMENDMENT TO MASTER                                                          WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
             AGREEMENT                                                                    GROUP                          CINCINNATI, OH 45202

2. 1573      SCHEDULE                                                                     WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1574      SOW                                                                          WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202

2. 1575      STATEMENT OF WORK                                                            WESTERN & SOUTHERN FINANCIAL   400 BROADWAY STREET
                                                                                          GROUP                          CINCINNATI, OH 45202




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Schedule G: Executory Contracts and Unexpired Leases
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Service and Supply Agreements

2. 1576      WORK REQUEST                                                                 WESTERN & SOUTHERN FINANCIAL       400 BROADWAY STREET
                                                                                          GROUP                              CINCINNATI, OH 45202

2. 1577      ADDENDUM                          9/29/2024                                  WESTERN-SOUTHERN LIFE ASSSURANCE 6075 THE CORNERS PKWY NW
                                                                                          COMPANY                          SUITE 205
                                                                                                                           PEACHTREE CORNERS, GA 30092

2. 1578      ADDENDUM                                                                     WESTERN-SOUTHERN LIFE ASSSURANCE 6075 THE CORNERS PKWY NW
                                                                                          COMPANY                          SUITE 205
                                                                                                                           PEACHTREE CORNERS, GA 30092

2. 1579      ADDENDUM                                                                     WESTERN-SOUTHERN LIFE ASSSURANCE 6075 THE CORNERS PKWY NW
                                                                                          COMPANY                          SUITE 205
                                                                                                                           PEACHTREE CORNERS, GA 30092

2. 1580      ADDENDUM                                                                     WESTERN-SOUTHERN LIFE ASSURANCE    6075 THE CORNERS PKWY NW
                                                                                          COMPANY                            SUITE 205
                                                                                                                             PEACHTREE CORNERS, GA 30092

2. 1581      AMENDMENT                                                                    WESTERN-SOUTHERN LIFE ASSURANCE    6075 THE CORNERS PKWY NW
                                                                                          COMPANY                            SUITE 205
                                                                                                                             PEACHTREE CORNERS, GA 30092

2. 1582      SERVICE AGREEMENT                                                            WESTERN-SOUTHERN LIFE ASSURANCE    6075 THE CORNERS PKWY NW
                                                                                          COMPANY                            SUITE 205
                                                                                                                             PEACHTREE CORNERS, GA 30092

2. 1583      MASTER CONTRACT FOR                                                          WILTON RE SERVICES, INC.           WILTON RE SERVICES, INC.
             CONSULTING SERVICES                                                                                             187 DANBURY ROAD
                                                                                                                             RIVERVIEW BUILDING 3RD FLOOR
                                                                                                                             WILTON , CT 6897

2. 1584      CONFIDENTIALITY AND SECURITY                                                 WILTON RE SERVICES, INC., WILTON   WILTON RE SERVICES, INC.
             ADDENDUM                                                                     REASSURANCE COMPANY OF NEW         187 DANBURY ROAD
                                                                                          YORK, WILCAC LIFE INSURANCE        RIVERVIEW BUILDING 3RD FLOOR
                                                                                          COMPANY                            WILTON , CT 6897




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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date     Contract ID   Co-Debtor   Name                             Address



Service and Supply Agreements

2. 1585      THRID AMENDMENT TO THE                                                        WNLIC AND FIRST SUNAMERICA       FIRST SUNAMERICA LIFE INSURANCE
             INSURANCE SERVICES                                                                                             COMPANY
             AGREEMENT                                                                                                      1999 AVENUE OF THE STARS
                                                                                                                            37TH FLOOR
                                                                                                                            LOS ANGELES, CA 90067

2. 1586      THRID AMENDMENT TO THE                                                        WNLIC AND FIRST SUNAMERICA       WESTERN NATIONAL LIFE INSURANCE
             INSURANCE SERVICES                                                                                             COMPANY
             AGREEMENT                                                                                                      2271 S E 27TH
                                                                                                                            AMARILLO, TX 79103

2. 1587      LEASE AGREEMENT                   9/30/2025        003-1686281-               XEROX PRIME LINK                 1 EBIX WAY
                                                                     000                                                    JOHNS CREEK, GA 30097

2. 1588      PROVIDER AGREEMENT                                                            ZTEK CONSULTING INC.             3161 ST IVES COUNTRY CLUB PKWY
                                                                                                                            DULUTH, GA 30097

2. 1589      ADDENDUM TO CONTRACT                                                          ZURICH AMERICAN LIFE INSURANCE   7045 COLLEGE BLVD
                                                                                           COMPANY                          OVERLAND PARK, KS 66211-1523

2. 1590      AGREEMENT                                                                     ZURICH AMERICAN LIFE INSURANCE   JUDITH HENDERSON, HEAD OFIT
                                                                                           COMPANY                          7045 COLLEGE BLVD
                                                                                                                            OVERLAND PARK, KS 66211-1523

2. 1591      AGREEMENT                                                                     ZURICH AMERICAN LIFE INSURANCE   JUDITH HENDERSON, HEAD OFIT
                                                                                           COMPANY                          7045 COLLEGE BLVD
                                                                                                                            OVERLAND PARK, KS 66211-1523

2. 1592      NDA                                                                           ZURICH AMERICAN LIFE INSURANCE   1600 MCCONNOR PARKWAY
                                                                                           COMPANY                          SCHAUMBURG, IL 60196

2. 1593      NDA                                                                           ZURICH AMERICAN LIFE INSURANCE   ONE LIBERTY PLAZA, 165 BROADWAY
                                                                                           COMPANY                          ATTENTION: CORPORATE LAW DEPT.
                                                                                                                            NEW YORK, NY 10006

2. 1594      NON-DISCLOSURE AGREEMENT                                                      ZURICH AMERICAN LIFE INSURANCE   7045 COLLEGE BLVD
                                                                                           COMPANY                          OVERLAND PARK, KS 66211-1523



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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date    Contract ID   Co-Debtor   Name                             Address



Service and Supply Agreements

2. 1595      SERVICES AGREEMENT                                                           ZURICH AMERICAN LIFE INSURANCE   7045 COLLEGE BLVD
                                                                                          COMPANY                          OVERLAND PARK, KS 66211-1523

2. 1596      SMARTOFFICE ENTERPRISE                                                       ZURICH AMERICAN LIFE INSURANCE   7045 COLLEGE BLVD
             AGREEMENT                                                                    COMPANY                          OVERLAND PARK, KS 66211-1523




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Schedule G: Executory Contracts and Unexpired Leases

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Schedule H: Codebtors
1.     Does the debtor have any codebtors?
             No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
             Yes

2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G.
       Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
       listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1                                                            Column 2                                                    Applicable Schedules

 Codebtor Name and Mailing Address                                   Creditor Name                                                  D     E/F   G



2. 1       A.D.A.M., INC.                                            REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 2       A.D.A.M., INC.                                            REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 3       A.D.A.M., INC.                                            REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 4       AGENCY SOLUTIONS.COM, LLC D/B/A/                          REGIONS BANK, AS ADMINISTRATIVE AGENT
           HEALTH CONNECT LLC
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER

2. 5       AGENCY SOLUTIONS.COM, LLC D/B/A/                          REGIONS BANK, AS ADMINISTRATIVE AGENT
           HEALTH CONNECT LLC
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 6       AGENCY SOLUTIONS.COM, LLC D/B/A/                          REGIONS BANK, AS ADMINISTRATIVE AGENT
           HEALTH CONNECT LLC
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST




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Schedule H: Codebtors
Column 1                                        Column 2                                     Applicable Schedules

 Codebtor Name and Mailing Address               Creditor Name                                  D     E/F   G



2. 7       CONFIRMNET CORPORATION                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 8       CONFIRMNET CORPORATION                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 9       CONFIRMNET CORPORATION                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 10      DOCTORS EXCHANGE, INC.                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 11      DOCTORS EXCHANGE, INC.                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 12      DOCTORS EXCHANGE, INC.                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 13      EBIX CONSULTING, INC.                 REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 14      EBIX CONSULTING, INC.                 REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN




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Schedule H: Codebtors
Column 1                                        Column 2                                     Applicable Schedules

 Codebtor Name and Mailing Address               Creditor Name                                  D     E/F   G



2. 15      EBIX CONSULTING, INC.                 REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 16      EBIX INTERNATIONAL LLC                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 17      EBIX INTERNATIONAL LLC                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 18      EBIX INTERNATIONAL LLC                REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 19      EBIX LATIN AMERICA, LLC               REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 20      EBIX LATIN AMERICA, LLC               REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 21      EBIX LATIN AMERICA, LLC               REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 22      EBIX US, LLC                          REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER




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Schedule H: Codebtors
Column 1                                        Column 2                                     Applicable Schedules

 Codebtor Name and Mailing Address               Creditor Name                                  D     E/F   G



2. 23      EBIX US, LLC                          REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 24      EBIX US, LLC                          REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 25      FACTS SERVICES, INC.                  REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 26      FACTS SERVICES, INC.                  REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 27      FACTS SERVICES, INC.                  REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST


2. 28      P.B. SYSTEMS, INC.                    REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 29      P.B. SYSTEMS, INC.                    REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 30      P.B. SYSTEMS, INC.                    REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST




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Schedule H: Codebtors
Column 1                                        Column 2                                            Applicable Schedules

 Codebtor Name and Mailing Address               Creditor Name                                          D     E/F   G



2. 31      VERTEX, INCORPORATED                  REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF REVOLVER


2. 32      VERTEX, INCORPORATED                  REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF TERM LOAN


2. 33      VERTEX, INCORPORATED                  REGIONS BANK, AS ADMINISTRATIVE AGENT
           1 EBIX WAY

           JOHNS CREEK, GA 30097

           GUARANTOR OF ACCRUED INTEREST

                                                                        Total Number of Co-Debtor / Creditor rows: 33




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Fill in this information to identify the case and this filing:
 Debtor Name:      Ebix, Inc.

 United States Bankruptcy Court for the:      Northern District of Texas
 Case Number (if known):        23-80004-11



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual's position
or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

         Declaration and Signature

   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
   individual serving as a representative of the debtor in this case.

   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



    X   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

    X   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

    X   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    X   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

    X   Schedule H: Codebtors (Official Form (206H)

    X   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        Amended Schedule ______________

        Other document that requires a declaration _______________________________________________________________




   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on:             January 19, 2024                               Signature:    /s/ Amit K. Garg


                                                                           Amit K. Garg, Chief Financial Officer
                                                                           Name and Title
